





0D\

0U/)UDQFLV&LVVQD
'LUHFWRU
86&LWL]HQVKLS ,PPLJUDWLRQ6HUYLFHV
'HSDUWPHQWRI+RPHODQG6HFXULW\
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

'HDU'LUHFWRU&LVVQD
1$)6$$VVRFLDWLRQRI,QWHUQDWLRQDO(GXFDWRUVZULWHVLQUHVSRQVHWRWKH86&LWL]HQVKLS
DQG,PPLJUDWLRQ6HUYLFHV 86&,6 SROLF\PHPRUDQGXPRI0D\³$FFUXDORI
8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´7KHPHPRLVDQDEUXSWUDGLFDO
GHSDUWXUHIURPPRUHWKDQ\HDUVRISROLF\JXLGDQFH1$)6$UHTXHVWVWKDW86&,6
ZLWKGUDZWKHPHPRDQGLPSOHPHQWWKHUHFRPPHQGDWLRQVSURYLGHGEHORZ
7KHSURSRVHGFKDQJHLVRSHUDWLRQDOO\FRPSOH[DQGPD\OHDGWRZURQJO\LGHQWLI\LQJD
ODUJHQXPEHURIIRUHLJQVWXGHQWVDQGH[FKDQJHYLVLWRUVDVIDLOLQJWRPDLQWDLQODZIXOVWDWXV
WKXVXQIDLUO\VXEMHFWLQJWKHPWRWKH\HDU\HDURUSHUPDQHQWEDUVWRUHHQWU\WRWKH
8QLWHG6WDWHV/LNH$PHULFDQVWXGHQWVLQWHUQDWLRQDOVWXGHQWVVKRXOGEHDOORZHGWR
FRPSOHWHWKHLUVWXGLHVDWWKHLUFKRVHQLQVWLWXWLRQZLWKRXWWKHVWUHVVRUIHDURIEHLQJ
GHSRUWHGEDVHGRQDQRYHUVLJKWRIZKLFKWKH\PD\QRWEHDZDUH
7KLVPHPRHOLPLQDWHVWKHORQJKHOGGLVWLQFWLRQEHWZHHQYLRODWLQJLPPLJUDWLRQVWDWXVDQG
EHLQJXQODZIXOO\SUHVHQWLQWKH8QLWHG6WDWHV7KHFRQFHSWRIXQODZIXOSUHVHQFHZLWK
YDULRXVFORFNVWROOLQJSURYLVLRQVDQGEDUVKDVWRWKLVSRLQWEHHQWKHSXUYLHZRI
LPPLJUDWLRQODZVSHFLDOLVWVDQGODZVFKRROFODVVHV,PPLJUDWLRQSROLF\LVLQFUHGLEO\
FRPSOH[ZLWKGLUHFRQVHTXHQFHVIRUYLRODWLRQ)RUHLJQVWXGHQWVVFKRODUVDQGH[FKDQJH
YLVLWRUVDUHQRWLPPLJUDWLRQDWWRUQH\VRUSROLF\SURIHVVLRQDOVDQGLWLVXQIDLUWRWUHDWWKHP
DVVXFK8QODZIXOSUHVHQFHVKRXOGRQO\WULJJHUZKHQWKHUHLVFOHDUQRWLFHRIUHPDLQLQJ
EH\RQGDQH[SLUDWLRQGDWHRIDXWKRUL]HGVWD\LQWKH8QLWHG6WDWHVDQGQRWZKHQWKHUHLVD
FRQWHVWDEOHDOOHJDWLRQRIYLRODWLRQRIVWDWXV
7KLVSURSRVDOLV\HWDQRWKHUSROLF\ZKLFKPDNHVWKH8QLWHG6WDWHVOHVVDWWUDFWLYHWR
WDOHQWHGLQWHUQDWLRQDOVWXGHQWVVFKRODUVDQGH[FKDQJHYLVLWRUVDQGXQGRXEWHGO\ZLOO
HQFRXUDJHWKHPWRORRNHOVHZKHUHWRGRWKHLUJURXQGEUHDNLQJUHVHDUFKDQGEXLOG
GLSORPDWLFWLHV)RUHLJQVWXGHQWVVFKRODUVDQGH[FKDQJHYLVLWRUVDUHKHUHWROHDUQDQG
WKH\PDNH$PHULFDVDIHUE\EHFRPLQJWKHQDWLRQ¶VEHVWDPEDVVDGRUVDQGDOOLHV%\
WUHDWLQJWKHPDOODVFULPLQDOVIRUPLQRURUWHFKQLFDOYLRODWLRQVZHZLOOEHPDNLQJ
$PHULFDOHVVVDIHDQGDOHVVGHVLUDEOHSODFHWRVWXG\7KLVLVFRQWUDU\WRRXUQDWLRQ¶V
YDOXHVDVDZHOFRPLQJQDWLRQRILPPLJUDQWV



                                                                                   *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 1 of 203



)XUWKHU86&,6PD\DFKLHYHWKHJRDORIUHGXFLQJWKHQXPEHURIQRQLPPLJUDQWVZKR
YLRODWHLPPLJUDWLRQVWDWXVRUVWD\EH\RQGWKHOHJDOO\DOORZDEOHSHULRGWKURXJKWKH
LPSOHPHQWDWLRQRIYDULRXVSROLFLHVZLWKLQWKHVXEDJHQFLHVRIWKH'HSDUWPHQWRI
+RPHODQG6HFXULW\ '+6 DQGLQFROODERUDWLRQZLWKRWKHUIHGHUDODJHQFLHV7KHVHSROLF\
FKDQJHVPXVWEHLPSOHPHQWHGEHIRUHDQQRXQFLQJDSROLF\FKDQJHWKDWZLOODSSO\D
GLVSURSRUWLRQDWHSXQLVKPHQWRIWKH\HDU\HDUDQGSHUPDQHQWEDUVRIDGPLVVLELOLW\WR
LQWHUQDWLRQDOVWXGHQWVDQGH[FKDQJHYLVLWRUVDQGWKHLUVSRXVHVDQGFKLOGUHQ
%DFNJURXQG
7KHFXUUHQWSROLF\KDVKHOGXSIRUPRUHWKDQWZHQW\\HDUVEHFDXVHLWSURYLGHVEULJKWOLQH
GDWHVHVWDEOLVKHGLQJRYHUQPHQWV\VWHPVZKLFKJLYHDGHTXDWHQRWLFHWRVWXGHQWVDQG
H[FKDQJHYLVLWRUVDQGWKHLUVFKRROVDQGH[FKDQJHSURJUDPV
7KHH[SLUDWLRQGDWHRQD)RUP,LVRQHVXFKFOHDUO\HVWDEOLVKHGGDWH,IDQLQGLYLGXDO
VWD\VEH\RQGWKDWGDWHKHRUVKHEHJLQVWRDFFXPXODWHGD\VRIXQODZIXOSUHVHQFH0DQ\
VWDWXVYLRODWLRQVGRQRWSUHVHQWVXFKDEULJKWOLQHSDUWLFXODUO\EHFDXVHWKHUHLVRYHUODS
EHWZHHQGLIIHUHQWW\SHVRI³VWDWXV´)RUH[DPSOH
x   9LVDVWDWXV WKHYDOLGLW\SHULRGRIWKHQRQLPPLJUDQWYLVDLQ\RXUSDVVSRUW 
x   6(9,6VWDWXV WKHGUDIWLQLWLDODFWLYHFRPSOHWHGGHDFWLYDWHGRUWHUPLQDWHGVWDWXVRI
     DQRQLPPLJUDQW¶VHOHFWURQLFUHFRUGLQWKH6WXGHQWDQG([FKDQJH9LVLWRU,QIRUPDWLRQ
     6\VWHPGDWDEDVH 
x   1RQLPPLJUDQWVWDWXV DELGLQJE\WKHGXUDWLRQDQGRWKHUFRQGLWLRQVRIWKH
     QRQLPPLJUDQWFDWHJRU\LQZKLFKDQDOLHQLVDGPLWWHGWRWKH8QLWHG6WDWHVE\'+6 
'+6QRZSURSRVHVWRGLUHFWO\HTXDWHDYLRODWLRQRIQRQLPPLJUDQWVWDWXVDFFRUGHGXQGHU
,1$ZLWKWKHVWDUWRIFRXQWLQJGD\VRIXQODZIXOSUHVHQFHXQGHU,1$ D  % 
:KLOHDQDOLHQZKRYLRODWHVKLVRUKHUQRQLPPLJUDQWVWDWXVLVFHUWDLQO\UHPRYDEOHWKH
SROLF\LQSODFHIRUWKHODVW\HDUVWKDWGLVWLQJXLVKHVEHWZHHQVWDWXVYLRODWLRQVDQG
XQODZIXOSUHVHQFHPDNHVVHQVHIRUSXUSRVHVRIDSSO\LQJ,1$ D  % IURPERWK
OHJDODQGSXEOLFSROLF\YLHZSRLQWV$FOHDUJRYHUQPHQWGHWHUPLQDWLRQZKHWKHULWLVWKH
H[SLUDWLRQGDWHRQDQRQLPPLJUDQW¶V)RUP,RUDIRUPDOILQGLQJRIDVWDWXVYLRODWLRQ
PDGHLQWKHFRXUVHRID'+6EHQHILWVGHWHUPLQDWLRQRUE\DQLPPLJUDWLRQMXGJHVHUYHVDV
DIDLUDQGFOHDUZDUQLQJWRDQDOLHQWKDWWKHFORFNLVWLFNLQJDQGKHRUVKHPXVWWDNHDFWLRQ
WROHDYHWKH8QLWHG6WDWHVRURWKHUZLVHFXUHWKHVWDWXVGHILFLHQF\$QDOLHQZKRSHUVLVWV
DIWHUVXFKIDLUQRWLFHPXVWIDFHWKHSRVVLELOLW\RIQRWEHLQJDEOHWRUHWXUQWRWKH8QLWHG
6WDWHVIRUHLWKHURU\HDUV
&RPSOH[LW\
,1$ D  SURYLGHVWKDW³DGPLVVLRQWRWKH8QLWHG6WDWHVRIDQ\DOLHQDVD
QRQLPPLJUDQWVKDOOEHIRUVXFKWLPHDQGXQGHUVXFKFRQGLWLRQVDVWKH$WWRUQH\*HQHUDO
>'+66HFUHWDU\@PD\E\UHJXODWLRQVSUHVFULEH´
1RQLPPLJUDQWVWDWXVLVDOHJDOFRQGLWLRQQRWDSK\VLFDOWKLQJ,WLVDOVRG\QDPLFQRW
VWDWLFZKLFKPHDQVWKDWDSHUVRQ VQRQLPPLJUDQWVWDWXVPXVWEHDFTXLUHGDQGPDLQWDLQHG
DQGFDQEHFKDQJHGRUORVWDQGLQVRPHFLUFXPVWDQFHVUHLQVWDWHG,QPDQ\UHVSHFWV



                                                                                     *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 2 of 203



QRQLPPLJUDQWVWDWXVLVDUHODWLRQVKLSZLWKWKH86LPPLJUDWLRQV\VWHPZLWKDFWLRQV
HYHQWVDQGGDWDLQWKHUHDOZRUOGFRQWULEXWLQJWRWKHDFTXLVLWLRQDQGௗPDLQWHQDQFH
FKDQJHORVVRUUHVWRUDWLRQRIWKHQRQLPPLJUDQWUHODWLRQVKLS
7KHVHDFWLRQVHYHQWVDQGGDWDDUHRIWHQUHFRUGHGDQGSUHVHQWHGLQUHODWLRQWRRQHDQRWKHU
LQWKHIRUPRISK\VLFDODQGHOHFWURQLFGRFXPHQWVDQGUHFRUGV'RFXPHQWVDQGHOHFWURQLF
UHFRUGVRQO\SRLQWWRLPPLJUDWLRQVWDWXVWKRXJKWKH\GRQRWVWDQGLQWKHSODFHRILW,Q
WKLVVHQVHWKHYDULRXVGRFXPHQWVDVVRFLDWHGZLWKDQRQLPPLJUDQWVWDWXVDQGWKHGDWD
FRQWDLQHGLQGDWDEDVHVDVVRFLDWHGZLWKWKDWVWDWXVVKRXOGEHYLHZHGDVLQGLFDWRUVRI
QRQLPPLJUDQWVWDWXV,IDOOGRFXPHQWVDQGHOHFWURQLFUHFRUGVDUHFRQVLVWHQWWKHLU
UHOLDELOLW\DVLQGLFDWRUVRILPPLJUDWLRQVWDWXVLVKLJK+RZHYHUWKHVHGRFXPHQWVDQG
UHFRUGVUHIOHFWRQO\DVQDSVKRWLQWLPHWKH\UHIOHFWRQO\VRPHQRWDOODFWLRQVHYHQWVDQG
GDWDDQGWKH\DUHVXEMHFWWRERWKPDFKLQHDQGKXPDQHUURU
$IDLOXUHWRDFFRXQWIRULQFRQVLVWHQF\DPRQJLPPLJUDWLRQGRFXPHQWVHOHFWURQLFUHFRUGV
DQGDFWLRQVDQGHYHQWVLQWKHUHDOZRUOGFRXOGOHDGWRDQDGYHUVHGHWHUPLQDWLRQRQVWDWXV
RUEHQHILWHOLJLELOLW\:KHWKHUWKHGDWDLQGRFXPHQWVDQGHOHFWURQLFUHFRUGVLVEHLQJ
LQWHUSUHWHGFRUUHFWO\WDNLQJLQWRDFFRXQWDOODSSOLFDEOHODZDQGSROLF\LVDOVRDSULPDU\
FRQFHUQ
,PPLJUDWLRQODZLVFRPSOLFDWHGDQGERWKFRPSOLDQFHDQGHQIRUFHPHQWLVDYHU\WHFKQLFDO
PDWWHUWKDWUHTXLUHVWUDLQLQJDQGH[SHUWLVH%HFDXVHRIWKLVFRPSOH[LW\DQDOLHQPLJKWQRW
HYHQNQRZKHRUVKHLV³RXWRIVWDWXV´XQWLOLQIRUPHGE\WKHJRYHUQPHQW
)DLUQHVV
%HFDXVHWKH,1$ D  % SHQDOWLHVDUHVRVHYHUHZHPXVWDOVRZHLJKWKHIDLUQHVVRI
WKHSROLFLHVHQIRUFLQJWKDWODZ/RQJ86&,6DGMXGLFDWLRQWLPHVIRUH[DPSOHPD\OHDGWR
VRPHRQHEHFRPLQJVXEMHFWWRWKHXQODZIXOSUHVHQFHSHQDOWLHVLQDQ\FDVHWKDWLV
XOWLPDWHO\GHQLHG)RUH[DPSOHFRQVLGHUDVWXGHQWZKRUHJLVWHUVIRUIHZHUFODVVHVWKDQ
VKHVKRXOGKDYHRQHVHPHVWHUZKLFKOHDGVKHUVFKRROWRWHUPLQDWHKHU6(9,6UHFRUG,Q
JRRGIDLWKWKHVWXGHQWUHJLVWHUVIRUDIXOOFRXUVHRIVWXG\WKHQH[WVHPHVWHUDQGDSSOLHVLQ
JRRGIDLWKWR86&,6WRUHLQVWDWHKHUVWXGHQWVWDWXV,WLVQRWXQFRPPRQIRUD86&,6
6HUYLFH&HQWHUWRWDNHVL[PRQWKVRUORQJHUWRDGMXGLFDWHDQDSSOLFDWLRQIRUUHLQVWDWHPHQW
WRVWXGHQWVWDWXV
8QGHUFXUUHQW86&,6SROLF\LI86&,6XOWLPDWHO\GHQLHVKHUUHLQVWDWHPHQWWKHVWXGHQW
ZRXOGVWDUWFRXQWLQJXQODZIXOSUHVHQFHDVRIWKHGDWHRIWKHGHQLDOZKLFKJLYHVVXIILFLHQW
WLPHWRHLWKHUPDNHDUUDQJHPHQWVWROHDYHWKHFRXQWU\RUSRVVLEO\WRDVN86&,6WR
UHFRQVLGHULWVGHFLVLRQ,QWKHSURSRVHGSROLF\YLUWXDOO\DOOVWXGHQWVZKRVHUHLQVWDWHPHQW
DSSOLFDWLRQVDUHGHQLHGZRXOGILQGWKHPVHOYHVVXEMHFWWRDWOHDVWWKH\HDUEDUPHUHO\
EHFDXVH86&,6WDNHVVRORQJWRDGMXGLFDWHDSSOLFDWLRQVIRUUHLQVWDWHPHQW
,QDGGLWLRQDVWXGHQWRUH[FKDQJHYLVLWRUPLJKWQRWHYHQNQRZWKDWKHRUVKHZDVLQ
YLRODWLRQRIVWDWXVXQWLO'+6PDNHVDIRUPDOGHWHUPLQDWLRQRIWKDW,IWKHXQODZIXO
SUHVHQFH³FORFN´LVVHHQWRVWDUWDWVRPHGLVWDQWWLPHLQWKHSDVWLQVXFKFDVHVDQ\ZLQGRZ
IRUGHSDUWLQJWKHFRXQWU\ZLOOKDYHSDVVHG





                                                                                    *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 3 of 203



,QWHUDJHQF\&RRUGLQDWLRQ
7KHUHLVQRLQGLFDWLRQWKDW86&,6KDVDGHTXDWHO\FRRUGLQDWHGLPSOHPHQWDWLRQRIWKLV
H[WUHPHSROLF\VKLIWZLWKRWKHUJRYHUQPHQWVWDNHKROGHUVLQFOXGLQJWKH'HSDUWPHQWRI
6WDWH LQFOXGLQJWKH9LVD2IILFHDQGWKH%XUHDXRI(GXFDWLRQDQG&XOWXUDO$IIDLUV¶
([FKDQJH9LVLWRU3URJUDP DQGRWKHUGLYLVLRQVRI'+6VXFKDV,PPLJUDWLRQDQG
&XVWRPV(QIRUFHPHQW ,&( WKH6WXGHQWDQG([FKDQJH9LVLWRU3URJUDP 6(93 
DQG&XVWRPVDQG%RUGHU3URWHFWLRQ
5HFRPPHQGDWLRQV
,QOLHXRILPSOHPHQWLQJWKHSROLF\GHVFULEHGLQWKHPHPR1$)6$UHFRPPHQGVWKH
IROORZLQJ
x   /HDYHLQSODFHWKHFXUUHQWSROLF\ZKLFKKDVVHUYHGIRURYHU\HDUV1HLWKHU'+6
     QRUOHJDF\,16HYHUSXEOLVKHGUHJXODWLRQVWRLPSOHPHQWWKLVLPSRUWDQWDUHDRIODZ,I
     WKHDJHQF\ZLVKHVWRLPSOHPHQWVXFKDGUDVWLFFKDQJHWRORQJVWDQGLQJFRPPRQ
     LQWHUSUHWDWLRQRIWKHODZLWPXVWEHGRQHWKURXJKWKHQRWLFHDQGFRPPHQWSURFHVV
x   'RQRWLPSOHPHQWDQ\SROLF\FKDQJHXQWLOLPSOHPHQWDWLRQKDVEHHQIXOO\FRRUGLQDWHG
     ZLWKWKH'HSDUWPHQWRI6WDWHDQGRWKHU'+6XQLWVVXFKDV&%3DQG6(93
x   ([FOXGHIURPWKHXQODZIXOSUHVHQFHFRXQWDQ\VWDWXVYLRODWLRQVWKDWRFFXUUHGXQGHU
     FRORURIODZWRDYRLG³JRWFKD´VFHQDULRVZKHUHWKHVWXGHQWUHDVRQDEO\UHOLHGRQWKH
     DXWKRUL]DWLRQVJUDQWHG)RUH[DPSOHFXUULFXODUSUDFWLFDOWUDLQLQJDXWKRUL]HGLQ6(9,6
     WKDW'+6ODWHUGHWHUPLQHVPD\KDYHEHHQLPSURSHUO\JLYHQVKRXOGQRWVWDUWWKH
     XQODZIXOSUHVHQFH³FORFN´XQWLO'+6RUDQLPPLJUDWLRQMXGJHPDNHVDIRUPDOVWDWXV
     GHWHUPLQDWLRQ
x   $SSO\WKHFKDQJHRIVWDWXVH[WHQVLRQRIVWD\WROOLQJUXOHVWRUHLQVWDWHPHQW
     DSSOLFDWLRQV
x   ([SDQGWKHVHFWLRQVGHVFULELQJH[DPSOHVZKHUH)0DQG-QRQLPPLJUDQWV³GRQRW
     DFFUXHXQODZIXOSUHVHQFHLQFHUWDLQVLWXDWLRQV´>GUDIW$GMXGLFDWRU¶V)LHOG0DQXDO
      E  ( LLL @
7KDQN\RXIRUWKHRSSRUWXQLW\WRFRPPHQW
6LQFHUHO\




                                  
(VWKHU'%ULPPHU([HFXWLYH'LUHFWRUDQG&(2






                                                                                    *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 4 of 203

  ͺǡʹͲͳͺ

 Ǥ  
 
ǤǤ  
ǤǤ  
ʹͲ ǡ
ǡǤǤʹͲͷʹͻ

 ǣ

   ǡ ͻͲ
      ǡ
 ǤǤ  ȋ Ȍ 
ͳͲǡʹͲͳͺ  ǲ   ǡ ǡǤǳ
 ǡ
    Ǥ

 
 Ǥ 
ǤǤ  ǡ 
ǡ
ǡ   Ǥ ǡ  
 ǤǤ
 Ǥ  ǡ   
 ǡ
 ʹʹ ͸ʹǤͶͷǤ   
 ǡ ȋȌǤǤ
ǡ  Ǥ

  ǡ  
 ǲ 
 ǡ Ǥǳ
  ǡ  
ǡ  Ǧ Ǥ

   ǡ
   Ǥ 
   Ǥ 
  ǤǤ 
     
  Ǥ

 ǡ  
  Ǥ ǡ 
 ǤǤ ǡ



                                                                                         *&&$5

   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 5 of 203

  Ǥ 
   
  Ǥ

   ǤǤ
 Ǥ 
 Ǥ

 ǡ




  
  





                                                                                      *&&$5

   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 6 of 203

ǤǤ          Submitted via publicengagementfeedback@uscis.dhs.gov
 
                             ͹ǡʹͲͳͺ
  
ʹͲ ǡ
ǡʹͲͷʹͻ
        
Re: Accrual of Unlawful Presence and F, J, and M Nonimmigrants (PM-602-1060),
Dated May 10, 2018

 ǣ

        Ǥ 
  ǤͳͲǡʹͲͳͺ ǡǦ͸ͲʹǦͳͲ͸Ͳon
Accrual of Unlawful Presence and F, J, and M non-immigrantsȋʹͲͳͺȌ
     
ǡ
 ǡ ǡǦǤǡ ǯ  
  ǡ ǡǦǡǡ
 ǡ  Ǧ 
  ȋȌǤ

         Ǥ
 ǡ ǡ  ǡ
͸Ͳ ǡ
Ǥ
  ǡ ǡ ǡǤ

 ǡǡǦ
  
   ǤǤ
 ʹͲͳͺ   
    ǡ ǡ
ǦǤ
         
           ǡǤ 
  ȋ Ȍ   
 ʹͲͳͺǡ
 ͸ǡʹͲͲͻ Consolidation of




                                                                                    *&&$5


    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 7 of 203
Guidance Concerning Unlawful Presence for Purposes of Sections 212(a)(9)(B)(i) and
212(a)(9)(C)(i)(I)ȋʹͲͲͻȌǤ
          
About the University of St. Thomas:
          
          ǤǦ Ǥ
ǡ ǡǡ Ǥ
  ͳͺͺͷǡǤ
ǡ    ǤǤ
  Ǥ
  ǡ  ǡ 
 ǤǤǯ
ͳͲǡͲͲͲǡ
Ǥ

          ǡǤͷͲͲ Ǧͳ Ǧ
ͳ ͹Ͳ Ǥ
 Ǧͳ Ǧͳ  Ǥ
Ǥǯ   ȋ Ȍ
  Ǧͳ Ǧͳǡ 
   ǦǤ  Ǧ
  Ǥ
          
          Ǥǯ  
     ȋȌ
   Ǥ  
Ǥ  Ǥ

The May 2018 Memorandum Is Too Vague:
          
          ʹͲͳͺ ǡ
    
 ǤͶǡʹͲͳͺͻǡʹͲͳͺ
  ǡ ǡȋȌ  ǲ
 ǡ ǡ 
 ǡ Ǥǳ 
ǡ
    Ǥ
          




                                                                                   *&&$5


    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 8 of 203
           ǲ ǳ
 ǡǡȀǤ
ǲ ǡ ǡ 
ǳǡ ǲǳ 
 Ǥ 
  ǡ   
   ǡ ǡǦǯ
   
  Ǥ ʹͲͳͺ 
ǡ ͺ Ț
ʹͳͶǤʹȋȌȋ͸Ȍǲ Ǥǳ
        
            Ǧͳ 
 ǡ  
 Ǥ   

 ǤʹͲͳͺ  
    ǡǡ 
 ǡǤʹͲͳͺ
 ǡ  ǯ
  ǡ ǡ 
ǯ  
 Ǥ
        
          ǡ  
 ǡ Ǥ
 ʹͲͳͺ Ȁ
 ǤʹͲͳͺ
  
ǡǯ ǡ ǡ
Ǧǡ ȋ
ǯ ȌǤ
        
        ǡ ʹͲͳͺ  
 ǲ Ǥǳ   
   ǡ 
  ʹͲͳͺǤ
ͺ ȚʹͳͶǤʹȋȌ  ǡ
   ȋȌǡ ǡ
 ǡǡǦ Ǧ




                                                                                    *&&$5


    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 9 of 203
 ǦǡǦ
Ǧǡǡ
ǡǤ   ʹͲͳͺ
 ǡǤ
ǡǦǡ  Ǧǡ
 ǡǤ 
   ͳͲͳͳ
Ǧ ͺ ȚʹͳͶǤʹȋȌǤ 
   ǲ 
 ǡǳ ǡ  
  Ǧ 
Ǥ
        
The May 2018 Memorandum Process Proposed by USCIS for Determining Unlawful
Presence Retroactively Is Unfair and Appears to Second Guess the Authority
Delegated to Designated School Officials:
        
        ʹͲͳͺ 
   ǡ ǡǦ Ǥ
  ǡǡ 
ǯ Ǥ ǡ
    ǡ ǡ
Ǧ  ͳͺͲ͵͸ͷ
Ǥ  ǡ
  Ǥ
        
        ǡ   
ͺ ȚʹͳͶǤ͵ͺ ȚʹͳͶǤͶ  ȋȌ

  Ǥ ʹͲͳͺ
 
Ǥ
        
The May 2018 Memorandum Imposes Too Great A Penalty for Potentially Minor
Violationsǣ
        
          ǡǤǤǡ Ǥ
 
Ǥ   
  ǤǤǯ




                                                                                     *&&$5


   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 10 of 203
  
     ǡǡ
Ǥ
ǡ   Ǥǡ 
ǡ   
ǤʹͲͳͺǦ
ǡ Ǥ  Ǧ
  ǡ  
  ǡ Ǥ  ǡ 
   
    Ǥ

The May 2018 Memorandum Does Not Encourage Reporting Issues and Applying for
Re-instatement:
        
        ʹͲͳͺ 
Ǥ  
  Ǥ
ʹͲͳͺǡ 
Ǥ ʹͻ
ʹͲͳͺǡ  
ǡǡ Ǥ 
  ǡ
͸Ǥ ǡ
ǡ  
  ͵ǦͳͲǤǤǡ
 Ǥ

University of St. Thomas’ Policy Recommendations for USCISǣ
   x  ͳͺǡʹͲͳͺ 
      ʹͲͲͻǤ
   x  Ǧ   ǡ ǡǦ
         
      Ǥ ǡʹͲͳͺǡ  
      ͸ǡʹͲͲͻ   ǡ ǡ
         ȋȌ
       ȋȌ ȋȌ ǡ ǡǦ
      ǯ   Ǥ
        ǡ  
       ʹͲͲͻǤ




                                                                                    *&&$5


   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 11 of 203
       ʹͲͲͻ 
        ǡ ǡǦǤ
   x     ǡʹͶǡʹͲͳͺ
        Ǥ

     Ǥ

 ǡ
      



                               
 ǡ
 ǡ  Ƭ 
Ǥ
       




                                                                                 *&&$5


   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 12 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 13 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 14 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 15 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 16 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 17 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 18 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 19 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 20 of 203
-XQH

86'HSDUWPHQWRI+RPHODQG6HFXULW\
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
2IILFHRIWKH'LUHFWRU
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

6XEPLWWHGYLDHPDLOSXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY

         5H 86&,63ROLF\0HPRUDQGXP$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG0
                1RQLPPLJUDQWV

'HDU0DGDPRU6LU

,DPZULWLQJWRH[SUHVVP\RSSRVLWLRQDQGFRQFHUQVUHJDUGLQJWKHQHZSROLF\PHPRUDQGXP
³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´SRVWHGE\86&LWL]HQVKLSDQG
,PPLJUDWLRQ6HUYLFHV 86&,6 RQ0D\

%ULHIO\VWDWHGWKHQHZPHPRUDQGXPZLOOUHYHUVHPRUHWKDQ\HDUVRI86&,6SUDFWLFH
UHJDUGLQJWKHDFFUXDORI³XQODZIXOSUHVHQFH´DOHJDOWHUPGHILQHGXQGHUVHFWLRQ D  % LL 
RIWKH,PPLJUDWLRQDQG1DWLRQDOLW\$FW ,1$ E\UHIHUHQFHWRDQLQGLYLGXDOZKR³LVSUHVHQWLQ
WKH8QLWHG6WDWHVDIWHUH[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDORULV
SUHVHQWLQWKH8QLWHG6WDWHVZLWKRXWEHLQJDGPLWWHGRUSDUROHG´)RUQRQLPPLJUDQWVWXGHQWVDQG
H[FKDQJHYLVLWRUVLQWKH)-DQG0FDWHJRULHVOHJDF\,PPLJUDWLRQDQG1DWXUDOL]DWLRQ6HUYLFH
  ,16 DQG86&,6KDYHLQWHUSUHWHGWKHVWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQVWRUHTXLUHQRWLFHWR
WKHLQGLYLGXDORIDVWDWXVYLRODWLRQSULRUWRWKHFRPPHQFHPHQWRIWKHXQODZIXOSUHVHQFHFORFN
6XFKQRWLFHLVSURYLGHGLQWKHFRQWH[WRIWKHDGMXGLFDWLRQRIDUHTXHVWIRUDQLPPLJUDWLRQEHQHILW
E\86&,6RUDGHWHUPLQDWLRQRIDVWDWXVYLRODWLRQE\DQLPPLJUDWLRQMXGJH7KH86&,6JXLGDQFH
DUWLFXODWLQJWKLVSRVLWLRQVWDWHV³,WPXVWEHHPSKDVL]HGWKDWWKHDFFUXDORIXQODZIXOSUHVHQFH
QHLWKHUEHJLQVRQWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVQRURQWKHGD\RQZKLFKUHPRYDO
SURFHHGLQJVDUHLQLWLDWHG´ 7KLVORQJVWDQGLQJSROLF\SURYLGHVFHUWDLQW\LQGHWHUPLQLQJZKHQ
XQODZIXOSUHVHQFHEHJLQVWRDFFUXHZKLFKWKHQHZSROLF\GRHVQRW

$VGHVFULEHGLQWKH0D\PHPRUDQGXP86&,6ZLOOQRZGHHPXQODZIXOSUHVHQFHWR
KDYHVWDUWHGDFFUXLQJDVRIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJWKH
FULWLFDOSURFHGXUDOVDIHJXDUGRISURYLGLQJQRWLFHWRDIIHFWHGLQGLYLGXDOVWKDWPD\ILQGWKHPVHOYHV
VXEMHFWWRWKHWKUHHDQGWHQ\HDUEDUVWRDGPLVVLELOLW\7KLVUDLVHVVHULRXVTXHVWLRQVUHJDUGLQJ
IXQGDPHQWDOIDLUQHVVDQGGXHSURFHVVDQGZLOOKDYHDVLJQLILFDQWQHJDWLYHLPSDFWRQWKHVWXGHQW
YRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHV

,QUHFRJQLWLRQRIWKHIOXLGLW\RIDFDGHPLFSURJUDPV)0DQG-QRQLPPLJUDQWVDUHQRWDGPLWWHG
WRWKH86XQWLODGDWHFHUWDLQ,QVWHDGWKH\DUHDGPLWWHGIRUWKH³GXUDWLRQRIWKHLUVWDWXV´RU


 See86&,60HPRUDQGXP&RQVROLGDWLRQRI*XLGDQFH&RQFHUQLQJ8QODZIXO3UHVHQFHIRU3XUSRVHVRI6HFWLRQV
 D  % L DQG D  & L , RIWKH$FW´ 0D\ available atKWWSZZZDLODRUJLQIRQHWXVFLV
FRQVROLGDWLRQJXLGDQFHXQODZIXOSUHVHQFH



                                                                                                *&&$5


       Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 21 of 203
³'6´ZKLFKPHDQVWKHVWXGHQWRUH[FKDQJHYLVLWRUFDQUHPDLQLQWKH8QLWHG6WDWHVDVORQJDV
WKH\PDLQWDLQWKHLUQRQLPPLJUDQWVWDWXV7KLVJHQHUDOO\PHDQVWKHVWXGHQWPXVWPDLQWDLQDIXOO
FRXUVHRIVWXG\RUUHPDLQLQWKHH[FKDQJHSURJUDPQRWHQJDJHLQXQDXWKRUL]HGHPSOR\PHQWRU
RWKHUXQDXWKRUL]HGDFWLYLWLHVDQGFRPSOHWHWKHDFDGHPLFRUH[FKDQJHSURJUDPLQDWLPHO\
PDQQHURUREWDLQDQH[WHQVLRQ:KDWWKHQHZPHPRUDQGXPIDLOVWRUHFRJQL]HLVWKDWWKHTXHVWLRQ
DVWRZKHWKHUDQLQGLYLGXDOKDVYLRODWHGWKHLUQRQLPPLJUDQWVWDWXVLVFRPSOH[DQGQXDQFHG
6WXGHQWVDQGH[FKDQJHYLVLWRUVFDQDFFLGHQWDOO\DQGXQNQRZLQJO\YLRODWHWKHLUVWDWXVE\GURSSLQJ
VOLJKWO\EHORZDIXOOFRXUVHRIVWXG\RUE\HQJDJLQJLQLQQRFHQWEXWXQDXWKRUL]HGDFWLYLW\)RU
H[DPSOH)VWXGHQWVDUHSHUPLWWHGWRHQJDJHLQZRUNDWD³TXDOLI\LQJRQFDPSXVMRE´IRUXSWR
KRXUVSHUZHHNZKLOHVFKRROLVLQVHVVLRQ7KHUHIRUHDQ)VWXGHQWZKRLQDGYHUWHQWO\
H[FHHGVWKHKRXUOLPLWE\MXVWDFRXSOHRIKRXUVKDVWHFKQLFDOO\YLRODWHGKLVRUKHUVWXGHQW
VWDWXV,QDGGLWLRQD'HVLJQDWHG6FKRRO2IILFLDOPD\PDNHDJRRGIDLWKHUURULQDGYLVLQJD
VWXGHQWE\DXWKRUL]LQJDUHGXFHGFRXUVHORDGWKDWVKRXOGQRWKDYHEHHQDSSURYHGWKHUHE\
OHDGLQJWKHVWXGHQWWRXQNQRZLQJO\DQGXQLQWHQWLRQDOO\YLRODWHWKHLUVWDWXV7KLVXQIDLUQHVVLV
FRPSRXQGHGZKHQWKHVWDWXVYLRODWLRQDOVRVHUYHVDVWKH³WULJJHU´IRUWKHDFFUXDORIXQODZIXO
SUHVHQFHE\GHSHQGHQWVRIVWXGHQWVDQGH[FKDQJHYLVLWRUV

$QRWKHUH[DPSOHPD\EHDFFHSWLQJHHPSOR\PHQWZKLFKLVODWHUGHHPHGE\86&,6DVQRWEHLQJ
UHODWHGWRWKHVWXGHQW¶VGHJUHH

86&,6VWDWHVWKDWWKHSXUSRVHRIWKHQHZJXLGDQFHLVWR³UHGXFHWKHQXPEHURIRYHUVWD\V´DQG
³WRLPSURYHKRZ86&,6LPSOHPHQWVWKHXQODZIXOSUHVHQFHJURXQGRILQDGPLVVLELOLW\´
8QIRUWXQDWHO\WKLVDSSURDFKDFFRPSOLVKHVQHLWKHURIWKHVHJRDOVDQGZLOOLQVWHDGXQIDLUO\SXQLVK
DSRWHQWLDOO\VLJQLILFDQWSRUWLRQRIWKHVWXGHQWDQGH[FKDQJHYLVLWRUSRSXODWLRQIXUWKHUHURGH
IRUHLJQVWXGHQWHQUROOPHQWVDW86FROOHJHVDQGXQLYHUVLWLHVDQGXQQHFHVVDULO\GDPDJHWKH86
HFRQRP\,XUJH86&,6WRDEDQGRQWKLVPLVJXLGHGGLUHFWLYHDQGWRPDLQWDLQWKHXQODZIXO
SUHVHQFHJXLGDQFHWKDWKDVEHHQLQSODFHIRUGHFDGHVDQGHQVXUHVWKDWIXQGDPHQWDOIDLUQHVVLVD
FULWLFDOFRPSRQHQWLQLQWHUSUHWLQJDQGLPSOHPHQWLQJWKHXQODZIXOSUHVHQFHVWDWXWH

6LQFHUHO\

(ULFD/RRPED
$WWRUQH\DW/DZ
3URVNDXHU5RVH//3




                                                                                     *&&$5


   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 22 of 203


LAW OFFICES OF MOKHIBER & MORETTI PLLC
GREAT FALLS, VIRGINIA           USA
TEL:

-XQH

86'HSDUWPHQWRI+RPHODQG6HFXULW\
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
2IILFHRIWKH'LUHFWRU
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

6XEPLWWHGYLDHPDLOSXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY

        Re:     USCIS Policy Memorandum: Accrual of Unlawful Presence and F, J, and M
                Nonimmigrants

'HDU0DGDPRU6LU

,DPZULWLQJWRH[SUHVVP\RSSRVLWLRQDQGFRQFHUQVUHJDUGLQJWKHQHZSROLF\PHPRUDQGXP
³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´SRVWHGE\86&LWL]HQVKLSDQG
,PPLJUDWLRQ6HUYLFHV 86&,6 RQ0D\

%ULHIO\VWDWHGWKHQHZPHPRUDQGXPZLOOUHYHUVHPRUHWKDQ\HDUVRI86&,6SUDFWLFH
UHJDUGLQJWKHDFFUXDORI³XQODZIXOSUHVHQFH´DOHJDOWHUPGHILQHGXQGHUVHFWLRQ D  % LL 
RIWKH,PPLJUDWLRQDQG1DWLRQDOLW\$FW ,1$ E\UHIHUHQFHWRDQLQGLYLGXDOZKR³LVSUHVHQWLQ
WKH8QLWHG6WDWHVDIWHUH[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDORULV
SUHVHQWLQWKH8QLWHG6WDWHVZLWKRXWEHLQJDGPLWWHGRUSDUROHG´)RUQRQLPPLJUDQWVWXGHQWVDQG
H[FKDQJHYLVLWRUVLQWKH)-DQG0FDWHJRULHVOHJDF\,PPLJUDWLRQDQG1DWXUDOL]DWLRQ6HUYLFH
  ,16 DQG86&,6KDYHLQWHUSUHWHGWKHVWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQVWRUHTXLUHQRWLFHWR
WKHLQGLYLGXDORIDVWDWXVYLRODWLRQSULRUWRWKHFRPPHQFHPHQWRIWKHXQODZIXOSUHVHQFHFORFN
6XFKQRWLFHLVSURYLGHGLQWKHFRQWH[WRIWKHDGMXGLFDWLRQRIDUHTXHVWIRUDQLPPLJUDWLRQEHQHILW
E\86&,6RUDGHWHUPLQDWLRQRIDVWDWXVYLRODWLRQE\DQLPPLJUDWLRQMXGJH7KH86&,6JXLGDQFH
DUWLFXODWLQJWKLVSRVLWLRQVWDWHV³,WPXVWEHHPSKDVL]HGWKDWWKHDFFUXDORIXQODZIXOSUHVHQFH
QHLWKHUEHJLQVRQWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVQRURQWKHGD\RQZKLFKUHPRYDO
SURFHHGLQJVDUHLQLWLDWHG´ 7KLVORQJVWDQGLQJSROLF\SURYLGHVFHUWDLQW\LQGHWHUPLQLQJZKHQ
XQODZIXOSUHVHQFHEHJLQVWRDFFUXHZKLFKWKHQHZSROLF\GRHVQRW





 See86&,60HPRUDQGXP&RQVROLGDWLRQRI*XLGDQFH&RQFHUQLQJ8QODZIXO3UHVHQFHIRU3XUSRVHVRI6HFWLRQV
 D  % L DQG D  & L , RIWKH$FW´ 0D\ available atKWWSZZZDLODRUJLQIRQHWXVFLV
FRQVROLGDWLRQJXLGDQFHXQODZIXOSUHVHQFH




                                                                                                   GC CAR 000579
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 23 of 203
$VGHVFULEHGLQWKH0D\PHPRUDQGXP86&,6ZLOOQRZGHHPXQODZIXOSUHVHQFHWR
KDYHVWDUWHGDFFUXLQJDVRIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJWKH
FULWLFDOSURFHGXUDOVDIHJXDUGRISURYLGLQJQRWLFHWRDIIHFWHGLQGLYLGXDOVWKDWPD\ILQGWKHPVHOYHV
VXEMHFWWRWKHWKUHHDQGWHQ\HDUEDUVWRDGPLVVLELOLW\7KLVUDLVHVVHULRXVTXHVWLRQVUHJDUGLQJ
IXQGDPHQWDOIDLUQHVVDQGGXHSURFHVVDQGZLOOKDYHDVLJQLILFDQWQHJDWLYHLPSDFWRQWKHVWXGHQW
YRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHV

,QUHFRJQLWLRQRIWKHIOXLGLW\RIDFDGHPLFSURJUDPV)0DQG-QRQLPPLJUDQWVDUHQRWDGPLWWHG
WRWKH86XQWLODGDWHFHUWDLQ,QVWHDGWKH\DUHDGPLWWHGIRUWKH³GXUDWLRQRIWKHLUVWDWXV´RU
³'6´ZKLFKPHDQVWKHVWXGHQWRUH[FKDQJHYLVLWRUFDQUHPDLQLQWKH8QLWHG6WDWHVDVORQJDV
WKH\PDLQWDLQWKHLUQRQLPPLJUDQWVWDWXV7KLVJHQHUDOO\PHDQVWKHVWXGHQWPXVWPDLQWDLQDIXOO
FRXUVHRIVWXG\RUUHPDLQLQWKHH[FKDQJHSURJUDPQRWHQJDJHLQXQDXWKRUL]HGHPSOR\PHQWRU
RWKHUXQDXWKRUL]HGDFWLYLWLHVDQGFRPSOHWHWKHDFDGHPLFRUH[FKDQJHSURJUDPLQDWLPHO\
PDQQHURUREWDLQDQH[WHQVLRQ:KDWWKHQHZPHPRUDQGXPIDLOVWRUHFRJQL]HLVWKDWWKHTXHVWLRQ
DVWRZKHWKHUDQLQGLYLGXDOKDVYLRODWHGWKHLUQRQLPPLJUDQWVWDWXVLVFRPSOH[DQGQXDQFHG
6WXGHQWVDQGH[FKDQJHYLVLWRUVFDQDFFLGHQWDOO\DQGXQNQRZLQJO\YLRODWHWKHLUVWDWXVE\GURSSLQJ
VOLJKWO\EHORZDIXOOFRXUVHRIVWXG\RUE\HQJDJLQJLQLQQRFHQWEXWXQDXWKRUL]HGDFWLYLW\)RU
H[DPSOH)VWXGHQWVDUHSHUPLWWHGWRHQJDJHLQZRUNDWD³TXDOLI\LQJRQFDPSXVMRE´IRUXSWR
KRXUVSHUZHHNZKLOHVFKRROLVLQVHVVLRQ7KHUHIRUHDQ)VWXGHQWZKRLQDGYHUWHQWO\
H[FHHGVWKHKRXUOLPLWE\MXVWDFRXSOHRIKRXUVKDVWHFKQLFDOO\YLRODWHGKLVRUKHUVWXGHQW
VWDWXV,QDGGLWLRQD'HVLJQDWHG6FKRRO2IILFLDOPD\PDNHDJRRGIDLWKHUURULQDGYLVLQJD
VWXGHQWE\DXWKRUL]LQJDUHGXFHGFRXUVHORDGWKDWVKRXOGQRWKDYHEHHQDSSURYHGWKHUHE\
OHDGLQJWKHVWXGHQWWRXQNQRZLQJO\DQGXQLQWHQWLRQDOO\YLRODWHWKHLUVWDWXV7KLVXQIDLUQHVVLV
FRPSRXQGHGZKHQWKHVWDWXVYLRODWLRQDOVRVHUYHVDVWKH³WULJJHU´IRUWKHDFFUXDORIXQODZIXO
SUHVHQFHE\GHSHQGHQWVRIVWXGHQWVDQGH[FKDQJHYLVLWRUV

86&,6VWDWHVWKDWWKHSXUSRVHRIWKHQHZJXLGDQFHLVWR³UHGXFHWKHQXPEHURIRYHUVWD\V´DQG
³WRLPSURYHKRZ86&,6LPSOHPHQWVWKHXQODZIXOSUHVHQFHJURXQGRILQDGPLVVLELOLW\´
8QIRUWXQDWHO\WKLVDSSURDFKDFFRPSOLVKHVQHLWKHURIWKHVHJRDOVDQGZLOOLQVWHDGXQIDLUO\SXQLVK
DSRWHQWLDOO\VLJQLILFDQWSRUWLRQRIWKHVWXGHQWDQGH[FKDQJHYLVLWRUSRSXODWLRQIXUWKHUHURGH
IRUHLJQVWXGHQWHQUROOPHQWVDW86FROOHJHVDQGXQLYHUVLWLHVDQGXQQHFHVVDULO\GDPDJHWKH86
HFRQRP\,XUJH86&,6WRDEDQGRQWKLVPLVJXLGHGGLUHFWLYHDQGWRPDLQWDLQWKHXQODZIXO
SUHVHQFHJXLGDQFHWKDWKDVEHHQLQSODFHIRUGHFDGHVDQGHQVXUHVWKDWIXQGDPHQWDOIDLUQHVVLVD
FULWLFDOFRPSRQHQWLQLQWHUSUHWLQJDQGLPSOHPHQWLQJWKHXQODZIXOSUHVHQFHVWDWXWH

6LQFHUHO\

Albert Mokhiber

$OEHUW0RNKLEHU




                                                                                          GC CAR 000580
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 24 of 203

-XQH

86'HSDUWPHQWRI+RPHODQG6HFXULW\
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
2IILFHRIWKH'LUHFWRU
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

6XEPLWWHGYLDHPDLOSXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY

         5H 86&,63ROLF\0HPRUDQGXP$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG0
                1RQLPPLJUDQWV

'HDU0DGDPRU6LU

,DPZULWLQJWRH[SUHVVP\RSSRVLWLRQDQGFRQFHUQVUHJDUGLQJWKHQHZSROLF\PHPRUDQGXP
³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´SRVWHGE\86&LWL]HQVKLSDQG
,PPLJUDWLRQ6HUYLFHV 86&,6 RQ0D\

%ULHIO\VWDWHGWKHQHZPHPRUDQGXPZLOOUHYHUVHPRUHWKDQ\HDUVRI86&,6SUDFWLFH
UHJDUGLQJWKHDFFUXDORI³XQODZIXOSUHVHQFH´DOHJDOWHUPGHILQHGXQGHUVHFWLRQ D  % LL 
RIWKH,PPLJUDWLRQDQG1DWLRQDOLW\$FW ,1$ E\UHIHUHQFHWRDQLQGLYLGXDOZKR³LVSUHVHQWLQ
WKH8QLWHG6WDWHVDIWHUH[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDORULV
SUHVHQWLQWKH8QLWHG6WDWHVZLWKRXWEHLQJDGPLWWHGRUSDUROHG´)RUQRQLPPLJUDQWVWXGHQWVDQG
H[FKDQJHYLVLWRUVLQWKH)-DQG0FDWHJRULHVOHJDF\,PPLJUDWLRQDQG1DWXUDOL]DWLRQ6HUYLFH
  ,16 DQG86&,6KDYHLQWHUSUHWHGWKHVWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQVWRUHTXLUHQRWLFHWR
WKHLQGLYLGXDORIDVWDWXVYLRODWLRQSULRUWRWKHFRPPHQFHPHQWRIWKHXQODZIXOSUHVHQFHFORFN
6XFKQRWLFHLVSURYLGHGLQWKHFRQWH[WRIWKHDGMXGLFDWLRQRIDUHTXHVWIRUDQLPPLJUDWLRQEHQHILW
E\86&,6RUDGHWHUPLQDWLRQRIDVWDWXVYLRODWLRQE\DQLPPLJUDWLRQMXGJH7KH86&,6JXLGDQFH
DUWLFXODWLQJWKLVSRVLWLRQVWDWHV³,WPXVWEHHPSKDVL]HGWKDWWKHDFFUXDORIXQODZIXOSUHVHQFH
QHLWKHUEHJLQVRQWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVQRURQWKHGD\RQZKLFKUHPRYDO
SURFHHGLQJVDUHLQLWLDWHG´ 7KLVORQJVWDQGLQJSROLF\SURYLGHVFHUWDLQW\LQGHWHUPLQLQJZKHQ
XQODZIXOSUHVHQFHEHJLQVWRDFFUXHZKLFKWKHQHZSROLF\GRHVQRW

$VGHVFULEHGLQWKH0D\PHPRUDQGXP86&,6ZLOOQRZGHHPXQODZIXOSUHVHQFHWR
KDYHVWDUWHGDFFUXLQJDVRIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJWKH
FULWLFDOSURFHGXUDOVDIHJXDUGRISURYLGLQJQRWLFHWRDIIHFWHGLQGLYLGXDOVWKDWPD\ILQGWKHPVHOYHV
VXEMHFWWRWKHWKUHHDQGWHQ\HDUEDUVWRDGPLVVLELOLW\7KLVUDLVHVVHULRXVTXHVWLRQVUHJDUGLQJ
IXQGDPHQWDOIDLUQHVVDQGGXHSURFHVVDQGZLOOKDYHDVLJQLILFDQWQHJDWLYHLPSDFWRQWKHVWXGHQW
YRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHV




 See86&,60HPRUDQGXP&RQVROLGDWLRQRI*XLGDQFH&RQFHUQLQJ8QODZIXO3UHVHQFHIRU3XUSRVHVRI6HFWLRQV
 D  % L DQG D  & L , RIWKH$FW´ 0D\ available atKWWSZZZDLODRUJLQIRQHWXVFLV
FRQVROLGDWLRQJXLGDQFHXQODZIXOSUHVHQFH



                                                                                                *&&$5


       Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 25 of 203
,QUHFRJQLWLRQRIWKHIOXLGLW\RIDFDGHPLFSURJUDPV)0DQG-QRQLPPLJUDQWVDUHQRWDGPLWWHG
WRWKH86XQWLODGDWHFHUWDLQ,QVWHDGWKH\DUHDGPLWWHGIRUWKH³GXUDWLRQRIWKHLUVWDWXV´RU
³'6´ZKLFKPHDQVWKHVWXGHQWRUH[FKDQJHYLVLWRUFDQUHPDLQLQWKH8QLWHG6WDWHVDVORQJDV
WKH\PDLQWDLQWKHLUQRQLPPLJUDQWVWDWXV7KLVJHQHUDOO\PHDQVWKHVWXGHQWPXVWPDLQWDLQDIXOO
FRXUVHRIVWXG\RUUHPDLQLQWKHH[FKDQJHSURJUDPQRWHQJDJHLQXQDXWKRUL]HGHPSOR\PHQWRU
RWKHUXQDXWKRUL]HGDFWLYLWLHVDQGFRPSOHWHWKHDFDGHPLFRUH[FKDQJHSURJUDPLQDWLPHO\
PDQQHURUREWDLQDQH[WHQVLRQ:KDWWKHQHZPHPRUDQGXPIDLOVWRUHFRJQL]HLVWKDWWKHTXHVWLRQ
DVWRZKHWKHUDQLQGLYLGXDOKDVYLRODWHGWKHLUQRQLPPLJUDQWVWDWXVLVFRPSOH[DQGQXDQFHG
6WXGHQWVDQGH[FKDQJHYLVLWRUVFDQDFFLGHQWDOO\DQGXQNQRZLQJO\YLRODWHWKHLUVWDWXVE\GURSSLQJ
VOLJKWO\EHORZDIXOOFRXUVHRIVWXG\RUE\HQJDJLQJLQLQQRFHQWEXWXQDXWKRUL]HGDFWLYLW\)RU
H[DPSOH)VWXGHQWVDUHSHUPLWWHGWRHQJDJHLQZRUNDWD³TXDOLI\LQJRQFDPSXVMRE´IRUXSWR
KRXUVSHUZHHNZKLOHVFKRROLVLQVHVVLRQ7KHUHIRUHDQ)VWXGHQWZKRLQDGYHUWHQWO\
H[FHHGVWKHKRXUOLPLWE\MXVWDFRXSOHRIKRXUVKDVWHFKQLFDOO\YLRODWHGKLVRUKHUVWXGHQW
VWDWXV,QDGGLWLRQD'HVLJQDWHG6FKRRO2IILFLDOPD\PDNHDJRRGIDLWKHUURULQDGYLVLQJD
VWXGHQWE\DXWKRUL]LQJDUHGXFHGFRXUVHORDGWKDWVKRXOGQRWKDYHEHHQDSSURYHGWKHUHE\
OHDGLQJWKHVWXGHQWWRXQNQRZLQJO\DQGXQLQWHQWLRQDOO\YLRODWHWKHLUVWDWXV7KLVXQIDLUQHVVLV
FRPSRXQGHGZKHQWKHVWDWXVYLRODWLRQDOVRVHUYHVDVWKH³WULJJHU´IRUWKHDFFUXDORIXQODZIXO
SUHVHQFHE\GHSHQGHQWVRIVWXGHQWVDQGH[FKDQJHYLVLWRUV

86&,6VWDWHVWKDWWKHSXUSRVHRIWKHQHZJXLGDQFHLVWR³UHGXFHWKHQXPEHURIRYHUVWD\V´DQG
³WRLPSURYHKRZ86&,6LPSOHPHQWVWKHXQODZIXOSUHVHQFHJURXQGRILQDGPLVVLELOLW\´
8QIRUWXQDWHO\WKLVDSSURDFKDFFRPSOLVKHVQHLWKHURIWKHVHJRDOVDQGZLOOLQVWHDGXQIDLUO\SXQLVK
DSRWHQWLDOO\VLJQLILFDQWSRUWLRQRIWKHVWXGHQWDQGH[FKDQJHYLVLWRUSRSXODWLRQIXUWKHUHURGH
IRUHLJQVWXGHQWHQUROOPHQWVDW86FROOHJHVDQGXQLYHUVLWLHVDQGXQQHFHVVDULO\GDPDJHWKH86
HFRQRP\,XUJH86&,6WRDEDQGRQWKLVPLVJXLGHGGLUHFWLYHDQGWRPDLQWDLQWKHXQODZIXO
SUHVHQFHJXLGDQFHWKDWKDVEHHQLQSODFHIRUGHFDGHVDQGHQVXUHVWKDWIXQGDPHQWDOIDLUQHVVLVD
FULWLFDOFRPSRQHQWLQLQWHUSUHWLQJDQGLPSOHPHQWLQJWKHXQODZIXOSUHVHQFHVWDWXWH

6LQFHUHO\


(QROD)UHQFK




                                                                                       *&&$5


   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 26 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 27 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 28 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 29 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 30 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 31 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 32 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 33 of 203
                                                                 GC CAR 000590
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 34 of 203

-XQH

86'HSDUWPHQWRI+RPHODQG6HFXULW\
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
2IILFHRIWKH'LUHFWRU
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

6XEPLWWHGYLDHPDLOSXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY

         5H 86&,63ROLF\0HPRUDQGXP$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG0
                1RQLPPLJUDQWV

'HDU0DGDPRU6LU

,DPZULWLQJWRH[SUHVVP\RSSRVLWLRQDQGFRQFHUQVUHJDUGLQJWKHQHZSROLF\PHPRUDQGXP
³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´SRVWHGE\86&LWL]HQVKLSDQG
,PPLJUDWLRQ6HUYLFHV 86&,6 RQ0D\

%ULHIO\VWDWHGWKHQHZPHPRUDQGXPZLOOUHYHUVHPRUHWKDQ\HDUVRI86&,6SUDFWLFH
UHJDUGLQJWKHDFFUXDORI³XQODZIXOSUHVHQFH´DOHJDOWHUPGHILQHGXQGHUVHFWLRQ D  % LL 
RIWKH,PPLJUDWLRQDQG1DWLRQDOLW\$FW ,1$ E\UHIHUHQFHWRDQLQGLYLGXDOZKR³LVSUHVHQWLQ
WKH8QLWHG6WDWHVDIWHUH[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDORULV
SUHVHQWLQWKH8QLWHG6WDWHVZLWKRXWEHLQJDGPLWWHGRUSDUROHG´)RUQRQLPPLJUDQWVWXGHQWVDQG
H[FKDQJHYLVLWRUVLQWKH)-DQG0FDWHJRULHVOHJDF\,PPLJUDWLRQDQG1DWXUDOL]DWLRQ6HUYLFH
  ,16 DQG86&,6KDYHLQWHUSUHWHGWKHVWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQVWRUHTXLUHQRWLFHWR
WKHLQGLYLGXDORIDVWDWXVYLRODWLRQSULRUWRWKHFRPPHQFHPHQWRIWKHXQODZIXOSUHVHQFHFORFN
6XFKQRWLFHLVSURYLGHGLQWKHFRQWH[WRIWKHDGMXGLFDWLRQRIDUHTXHVWIRUDQLPPLJUDWLRQEHQHILW
E\86&,6RUDGHWHUPLQDWLRQRIDVWDWXVYLRODWLRQE\DQLPPLJUDWLRQMXGJH7KH86&,6JXLGDQFH
DUWLFXODWLQJWKLVSRVLWLRQVWDWHV³,WPXVWEHHPSKDVL]HGWKDWWKHDFFUXDORIXQODZIXOSUHVHQFH
QHLWKHUEHJLQVRQWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVQRURQWKHGD\RQZKLFKUHPRYDO
SURFHHGLQJVDUHLQLWLDWHG´ 7KLVORQJVWDQGLQJSROLF\SURYLGHVFHUWDLQW\LQGHWHUPLQLQJZKHQ
XQODZIXOSUHVHQFHEHJLQVWRDFFUXHZKLFKWKHQHZSROLF\GRHVQRW

$VGHVFULEHGLQWKH0D\PHPRUDQGXP86&,6ZLOOQRZGHHPXQODZIXOSUHVHQFHWR
KDYHVWDUWHGDFFUXLQJDVRIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJWKH
FULWLFDOSURFHGXUDOVDIHJXDUGRISURYLGLQJQRWLFHWRDIIHFWHGLQGLYLGXDOVWKDWPD\ILQGWKHPVHOYHV
VXEMHFWWRWKHWKUHHDQGWHQ\HDUEDUVWRDGPLVVLELOLW\7KLVUDLVHVVHULRXVTXHVWLRQVUHJDUGLQJ
IXQGDPHQWDOIDLUQHVVDQGGXHSURFHVVDQGZLOOKDYHDVLJQLILFDQWQHJDWLYHLPSDFWRQWKHVWXGHQW
YRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHV




 See86&,60HPRUDQGXP&RQVROLGDWLRQRI*XLGDQFH&RQFHUQLQJ8QODZIXO3UHVHQFHIRU3XUSRVHVRI6HFWLRQV
 D  % L DQG D  & L , RIWKH$FW´ 0D\ available atKWWSZZZDLODRUJLQIRQHWXVFLV
FRQVROLGDWLRQJXLGDQFHXQODZIXOSUHVHQFH



                                                                                                *&&$5


       Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 35 of 203
,QUHFRJQLWLRQRIWKHIOXLGLW\RIDFDGHPLFSURJUDPV)0DQG-QRQLPPLJUDQWVDUHQRWDGPLWWHG
WRWKH86XQWLODGDWHFHUWDLQ,QVWHDGWKH\DUHDGPLWWHGIRUWKH³GXUDWLRQRIWKHLUVWDWXV´RU
³'6´ZKLFKPHDQVWKHVWXGHQWRUH[FKDQJHYLVLWRUFDQUHPDLQLQWKH8QLWHG6WDWHVDVORQJDV
WKH\PDLQWDLQWKHLUQRQLPPLJUDQWVWDWXV7KLVJHQHUDOO\PHDQVWKHVWXGHQWPXVWPDLQWDLQDIXOO
FRXUVHRIVWXG\RUUHPDLQLQWKHH[FKDQJHSURJUDPQRWHQJDJHLQXQDXWKRUL]HGHPSOR\PHQWRU
RWKHUXQDXWKRUL]HGDFWLYLWLHVDQGFRPSOHWHWKHDFDGHPLFRUH[FKDQJHSURJUDPLQDWLPHO\
PDQQHURUREWDLQDQH[WHQVLRQ:KDWWKHQHZPHPRUDQGXPIDLOVWRUHFRJQL]HLVWKDWWKHTXHVWLRQ
DVWRZKHWKHUDQLQGLYLGXDOKDVYLRODWHGWKHLUQRQLPPLJUDQWVWDWXVLVFRPSOH[DQGQXDQFHG
6WXGHQWVDQGH[FKDQJHYLVLWRUVFDQDFFLGHQWDOO\DQGXQNQRZLQJO\YLRODWHWKHLUVWDWXVE\GURSSLQJ
VOLJKWO\EHORZDIXOOFRXUVHRIVWXG\RUE\HQJDJLQJLQLQQRFHQWEXWXQDXWKRUL]HGDFWLYLW\)RU
H[DPSOH)VWXGHQWVDUHSHUPLWWHGWRHQJDJHLQZRUNDWD³TXDOLI\LQJRQFDPSXVMRE´IRUXSWR
KRXUVSHUZHHNZKLOHVFKRROLVLQVHVVLRQ7KHUHIRUHDQ)VWXGHQWZKRLQDGYHUWHQWO\
H[FHHGVWKHKRXUOLPLWE\MXVWDFRXSOHRIKRXUVKDVWHFKQLFDOO\YLRODWHGKLVRUKHUVWXGHQW
VWDWXV,QDGGLWLRQD'HVLJQDWHG6FKRRO2IILFLDOPD\PDNHDJRRGIDLWKHUURULQDGYLVLQJD
VWXGHQWE\DXWKRUL]LQJDUHGXFHGFRXUVHORDGWKDWVKRXOGQRWKDYHEHHQDSSURYHGWKHUHE\
OHDGLQJWKHVWXGHQWWRXQNQRZLQJO\DQGXQLQWHQWLRQDOO\YLRODWHWKHLUVWDWXV7KLVXQIDLUQHVVLV
FRPSRXQGHGZKHQWKHVWDWXVYLRODWLRQDOVRVHUYHVDVWKH³WULJJHU´IRUWKHDFFUXDORIXQODZIXO
SUHVHQFHE\GHSHQGHQWVRIVWXGHQWVDQGH[FKDQJHYLVLWRUV

2WKHUH[DPSOHVLQFOXGH

     x 'XHWRIHHOLQJSUHVVXUHGWRNHHSWKHLU*3$KLJKQRWWRORVHWKHLUVFKRODUVKLSVWXGHQWV
         VRPHWLPHVGURSDFODVVDWWKHHQGRIWKHLUVHPHVWHUWRDYRLGDORZJUDGHDQGIDOOEHORZ
         IXOOWLPHHQUROOPHQW6WXGHQW¶V6(9,6UHFRUGZLOOKDYHWREHWHUPLQDWHG+RZHYHUWKH
         VWXGHQWLVHOLJLEOHWRILOHIRUUHLQVWDWHPHQW+RZHYHUVLQFHWKRVHUHLQVWDWHPHQW
         DSSOLFDWLRQVWDNHPRUHWKDQPRQWK RIWHQXSWRD\HDU WRJHWDGMXGLFDWHGLPSOHPHQWLQJ
         WKHQHZUXOHZRXOGFDXVHWKLVVWXGHQWWRDFFUXHXQODZIXOSUHVHQFHLIWKHDSSOLFDWLRQ
         ZRXOGJHWGHQLHG

86&,6VWDWHVWKDWWKHSXUSRVHRIWKHQHZJXLGDQFHLVWR³UHGXFHWKHQXPEHURIRYHUVWD\V´DQG
³WRLPSURYHKRZ86&,6LPSOHPHQWVWKHXQODZIXOSUHVHQFHJURXQGRILQDGPLVVLELOLW\´
8QIRUWXQDWHO\WKLVDSSURDFKDFFRPSOLVKHVQHLWKHURIWKHVHJRDOVDQGZLOOLQVWHDGXQIDLUO\SXQLVK
DSRWHQWLDOO\VLJQLILFDQWSRUWLRQRIWKHVWXGHQWDQGH[FKDQJHYLVLWRUSRSXODWLRQIXUWKHUHURGH
IRUHLJQVWXGHQWHQUROOPHQWVDW86FROOHJHVDQGXQLYHUVLWLHVDQGXQQHFHVVDULO\GDPDJHWKH86
HFRQRP\,XUJH86&,6WRDEDQGRQWKLVPLVJXLGHGGLUHFWLYHDQGWRPDLQWDLQWKHXQODZIXO
SUHVHQFHJXLGDQFHWKDWKDVEHHQLQSODFHIRUGHFDGHVDQGHQVXUHVWKDWIXQGDPHQWDOIDLUQHVVLVD
FULWLFDOFRPSRQHQWLQLQWHUSUHWLQJDQGLPSOHPHQWLQJWKHXQODZIXOSUHVHQFHVWDWXWH

6LQFHUHO\


.DULQ6HQIW




                                                                                       *&&$5


   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 36 of 203
                                                                 GC CAR 000593
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 37 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 38 of 203
                                                                 GC CAR 000595
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 39 of 203
                                                                                
                                  Law Office of Paul S. Zoltan
                                               Dallas, Texas


          Phone:                                                                           Fax

-XQH

.LUVWMHQ01LHOVHQ6HFUHWDU\
86'HSDUWPHQWRI+RPHODQG6HFXULW\
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
2IILFHRIWKH'LUHFWRU
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

5H       86&,63ROLF\0HPRUDQGXP$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG0
          1RQLPPLJUDQWV

'HDU6HFUHWDU\1LHOVHQ

,ZULWHWRH[SUHVVP\RSSRVLWLRQWRWKHQHZSROLF\PHPRUDQGXP³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG0
1RQLPPLJUDQWV´SRVWHGE\86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV 86&,6 RQ0D\

)RUQRQLPPLJUDQWVWXGHQWVDQGH[FKDQJHYLVLWRUVLQWKH)-DQG0FDWHJRULHVOHJDF\,PPLJUDWLRQDQG1DWXUDOL]DWLRQ6HUYLFH
  ,16 DQG86&,6KDYHLQWHUSUHWHGWKHVWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQVWRUHTXLUHQRWLFHWRWKHLQGLYLGXDORIDVWDWXV
YLRODWLRQSULRUWRWKHFRPPHQFHPHQWRIWKHXQODZIXOSUHVHQFHFORFN6XFKQRWLFHLVSURYLGHGLQWKHFRQWH[WRIWKHDGMXGLFDWLRQRI
DUHTXHVWIRUDQLPPLJUDWLRQEHQHILWE\86&,6RUDGHWHUPLQDWLRQRIDVWDWXVYLRODWLRQE\DQLPPLJUDWLRQMXGJH7KLV
ORQJVWDQGLQJSROLF\SURYLGHVFHUWDLQW\LQGHWHUPLQLQJZKHQXQODZIXOSUHVHQFHEHJLQVWRDFFUXHZKLFKWKHQHZSROLF\GRHVQRW

'HHPLQJXQODZIXOSUHVHQFHWRKDYHVWDUWHGDFFUXLQJDVRIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVUHPRYHVFULWLFDO
SURFHGXUDOVDIHJXDUGVDQGYLRODWHVGXHSURFHVV,WZLOOJULHYRXVO\KDUPDJUHDWPDQ\SHRSOHDGPLWWHGWRWKH86DV)0DQG-
QRQLPPLJUDQWVIRUDQLQGHWHUPLQDWHSHULRGRIWLPH6XFK³GXUDWLRQRIWKHLUVWDWXV´RU³'6´DGPLVVLRQVUHTXLUHHDFKVWXGHQWWR
PDLQWDLQDIXOOFRXUVHRIVWXG\RUUHPDLQLQWKHH[FKDQJHSURJUDPIRUELGWKHPIURPHQJDJLQJLQXQDXWKRUL]HGHPSOR\PHQWRU
RWKHUXQDXWKRUL]HGDFWLYLWLHVDQGFRPSHOWKHPWRSURPSWO\FRPSOHWHWKHDFDGHPLFRUH[FKDQJHSURJUDPRUREWDLQDQH[WHQVLRQ

:KDWWKHQHZPHPRUDQGXPIDLOVWRUHFRJQL]HLVWKDWWKHTXHVWLRQDVWRZKHWKHUDQLQGLYLGXDOKDVYLRODWHGWKHLUQRQLPPLJUDQW
VWDWXVLVFRPSOH[DQGQXDQFHG6WXGHQWVDQGH[FKDQJHYLVLWRUVFDQDFFLGHQWDOO\DQGXQNQRZLQJO\YLRODWHWKHLUVWDWXVE\GURSSLQJ
VOLJKWO\EHORZDIXOOFRXUVHRIVWXG\RUE\HQJDJLQJLQLQQRFHQWEXWXQDXWKRUL]HGDFWLYLW\
86&,6VWDWHVWKDWWKHSXUSRVHRIWKHQHZJXLGDQFHLVWR³UHGXFHWKHQXPEHURIRYHUVWD\V´DQG³WRLPSURYHKRZ86&,6
LPSOHPHQWVWKHXQODZIXOSUHVHQFHJURXQGRILQDGPLVVLELOLW\´8QIRUWXQDWHO\WKLVDSSURDFKDFFRPSOLVKHVQHLWKHURIWKHVHJRDOV
DQGZLOOLQVWHDGXQIDLUO\SXQLVKDSRWHQWLDOO\VLJQLILFDQWSRUWLRQRIWKHVWXGHQWDQGH[FKDQJHYLVLWRUSRSXODWLRQIXUWKHUHURGH
IRUHLJQVWXGHQWHQUROOPHQWVDW86FROOHJHVDQGXQLYHUVLWLHVDQGXQQHFHVVDULO\GDPDJHWKH86HFRQRP\,XUJH86&,6WR
DEDQGRQWKLVPLVJXLGHGGLUHFWLYHDQGWRPDLQWDLQWKHXQODZIXOSUHVHQFHJXLGDQFHWKDWKDVEHHQLQSODFHIRUGHFDGHVDQGHQVXUHV
WKDWIXQGDPHQWDOIDLUQHVVLVDFULWLFDOFRPSRQHQWLQLQWHUSUHWLQJDQGLPSOHPHQWLQJWKHXQODZIXOSUHVHQFHVWDWXWH

6LQFHUHO\




                                        
3DXO6=ROWDQ




                                                                


                                                                                                                    GC CAR 000596
     Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 40 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 41 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 42 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 43 of 203
-XQH

86 'HSDUWPHQWRI+RPHODQG6HFXULW\
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
2IILFHRIWKH'LUHFWRU
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

6XEPLWWHGYLDHPDLOSXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY

        5H      86&,63ROLF\0HPRUDQGXP$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG0
                 1RQLPPLJUDQWV

'HDU0DGDPRU6LU

,DPZULWLQJWRH[SUHVVP\RSSRVLWLRQDQGFRQFHUQV UHJDUGLQJWKHQHZSROLF\PHPRUDQGXP
³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´SRVWHGE\86&LWL]HQVKLSDQG
,PPLJUDWLRQ6HUYLFHV 86&,6 RQ0D\

%ULHIO\VWDWHGWKHQHZPHPRUDQGXPZLOOUHYHUVHPRUHWKDQ\HDUVRI86&,6SUDFWLFH
UHJDUGLQJWKHDFFUXDORI³XQODZIXOSUHVHQFH´DOHJDOWHUPGHILQHGXQGHUVHFWLRQ D  % LL 
RIWKH,PPLJUDWLRQDQG1DWLRQDOLW\$FW ,1$ E\UHIHUHQFHWRDQLQGLYLGXDOZKR³LVSUHVHQWLQ
WKH8QLWHG6WDWHVDIWHUH[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDORULV
SUHVHQWLQWKH8QLWHG6WDWHVZLWKRXWEHLQJDGPLWWHGRUSDUROHG´)RUQRQLPPLJUDQWVWXGHQWVDQG
H[FKDQJHYLVLWRUVLQWKH)-DQG0FDWHJRULHVOHJDF\,PPLJUDWLRQDQG1DWXUDOL]DWLRQ6HUYLFH
 ,16 DQG86&,6KDYHLQWHUSUHWHGWKHVWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQV WR UHTXLUH QRWLFHWR
WKHLQGLYLGXDORIDVWDWXVYLRODWLRQSULRUWRWKHFRPPHQFHPHQWRIWKHXQODZIXOSUHVHQFHFORFN
6XFKQRWLFHLV SURYLGHGLQWKHFRQWH[WRI WKHDGMXGLFDWLRQRIDUHTXHVWIRUDQLPPLJUDWLRQEHQHILW
E\86&,6RUDGHWHUPLQDWLRQRIDVWDWXVYLRODWLRQE\DQLPPLJUDWLRQMXGJH7KH86&,6JXLGDQFH
DUWLFXODWLQJWKLVSRVLWLRQVWDWHV³,W PXVWEHHPSKDVL]HGWKDWWKHDFFUXDORIXQODZIXOSUHVHQFH
QHLWKHUEHJLQVRQWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVQRURQWKHGD\RQZKLFKUHPRYDO
SURFHHGLQJVDUHLQLWLDWHG´ 7KLVORQJVWDQGLQJSROLF\SURYLGHVFHUWDLQW\LQGHWHUPLQLQJ ZKHQ
XQODZIXOSUHVHQFHEHJLQVWRDFFUXHZKLFKWKHQHZSROLF\GRHVQRW

$VGHVFULEHGLQWKH0D\PHPRUDQGXP86&,6ZLOOQRZGHHPXQODZIXOSUHVHQFHWR
KDYHVWDUWHGDFFUXLQJDVRIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJ WKH
FULWLFDO SURFHGXUDOVDIHJXDUGRISURYLGLQJQRWLFHWRDIIHFWHGLQGLYLGXDOVWKDWPD\ILQGWKHPVHOYHV
VXEMHFWWRWKHWKUHH DQGWHQ\HDUEDUVWRDGPLVVLELOLW\7KLV UDLVHVVHULRXVTXHVWLRQVUHJDUGLQJ
IXQGDPHQWDOIDLUQHVVDQGGXHSURFHVVDQGZLOOKDYHDVLJQLILFDQWQHJDWLYHLPSDFWRQWKH VWXGHQW
YRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHV

,QUHFRJQLWLRQRIWKHIOXLGLW\RIDFDGHPLFSURJUDPV)0DQG-QRQLPPLJUDQWVDUHQRWDGPLWWHG
WRWKH86XQWLODGDWHFHUWDLQ,QVWHDGWKH\DUHDGPLWWHGIRUWKH³GXUDWLRQRIWKHLUVWDWXV´RU


 See 86&,60HPRUDQGXP&RQVROLGDWLRQRI*XLGDQFH&RQFHUQLQJ8QODZIXO3UHVHQFHIRU3XUSRVHVRI6HFWLRQV
 D  % L DQG D  & L , RIWKH$FW´ 0D\ available at KWWSZZZDLODRUJLQIRQHWXVFLV
FRQVROLGDWLRQJXLGDQFHXQODZIXOSUHVHQFH



                                                                                                 *&&$5


    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 44 of 203
³'6´ZKLFKPHDQVWKHVWXGHQWRUH[FKDQJHYLVLWRUFDQUHPDLQLQWKH8QLWHG6WDWHVDVORQJDV
WKH\PDLQWDLQWKHLUQRQLPPLJUDQWVWDWXV7KLVJHQHUDOO\PHDQVWKHVWXGHQWPXVWPDLQWDLQDIXOO
FRXUVHRIVWXG\RUUHPDLQLQWKHH[FKDQJHSURJUDPQRWHQJDJHLQXQDXWKRUL]HGHPSOR\PHQWRU
RWKHUXQDXWKRUL]HGDFWLYLWLHVDQGFRPSOHWHWKHDFDGHPLFRUH[FKDQJHSURJUDPLQDWLPHO\
PDQQHURUREWDLQDQH[WHQVLRQ:KDWWKHQHZPHPRUDQGXPIDLOVWRUHFRJQL]HLVWKDWWKHTXHVWLRQ
DVWRZKHWKHUDQLQGLYLGXDOKDVYLRODWHGWKHLUQRQLPPLJUDQWVWDWXVLVFRPSOH[DQGQXDQFHG
6WXGHQWVDQGH[FKDQJHYLVLWRUVFDQDFFLGHQWDOO\DQGXQNQRZLQJO\YLRODWHWKHLUVWDWXVE\GURSSLQJ
VOLJKWO\EHORZDIXOOFRXUVHRIVWXG\RUE\HQJDJLQJLQLQQRFHQWEXWXQDXWKRUL]HGDFWLYLW\ )RU
H[DPSOH)VWXGHQWVDUHSHUPLWWHGWRHQJDJHLQZRUNDWD³TXDOLI\LQJRQFDPSXVMRE´IRUXSWR
KRXUVSHUZHHNZKLOHVFKRROLVLQVHVVLRQ7KHUHIRUHDQ)VWXGHQWZKRLQDGYHUWHQWO\
H[FHHGVWKHKRXUOLPLWE\MXVWDFRXSOHRIKRXUVKDVWHFKQLFDOO\YLRODWHGKLVRUKHUVWXGHQW
VWDWXV ,QDGGLWLRQD'HVLJQDWHG6FKRRO2IILFLDOPD\PDNHDJRRGIDLWKHUURULQDGYLVLQJD
VWXGHQWE\DXWKRUL]LQJDUHGXFHGFRXUVHORDGWKDWVKRXOGQRWKDYHEHHQDSSURYHGWKHUHE\
OHDGLQJWKHVWXGHQWWRXQNQRZLQJO\DQGXQLQWHQWLRQDOO\YLRODWHWKHLUVWDWXV7KLVXQIDLUQHVVLV
FRPSRXQGHGZKHQWKHVWDWXVYLRODWLRQDOVRVHUYHVDVWKH³WULJJHU´IRUWKHDFFUXDORIXQODZIXO
SUHVHQFHE\GHSHQGHQWVRIVWXGHQWVDQGH[FKDQJHYLVLWRUV

2WKHUH[DPSOHVLQFOXGH

   x   $VWXGHQWZKRXQNQRZLQJO\WDNHVPRUHWKDQWKHDOORZDEOHDPRXQWRIRQOLQHRQO\
       FRXUVHZRUNGXHWR PLVFRPPXQLFDWLRQZLWKWKHDFDGHPLFDGYLVRURUGXHWRSRRUDGYLVLQJ
       IURPWKHDFDGHPLFDGYLVRU
   x   $VWXGHQWZKRPD\DFFLGHQWDOO\IDOORXWRIVWDWXVGXHWRH[WHQXDWLQJFLUFXPVWDQFHVVXFK
       DVDPHGLFDO LVVXHV LQMXU\PHQWDOKHDOWK DQGIRUJHWVWRFRQVXOWZLWKWKHLU'HVLJQDWHG
       6FKRRO2IILFHIRUDVVLVWDQFHRQUHFHLYLQJDQDXWKRUL]HGPHGLFDOUHGXFHGFRXUVHORDGRU
       VWUXJJOHVILQDQFLDOO\GXHWRXQH[SHFWHGORVVRIIXQGLQJ

86&,6VWDWHVWKDWWKHSXUSRVHRIWKHQHZJXLGDQFHLVWR³UHGXFHWKHQXPEHURIRYHUVWD\V´DQG
³WRLPSURYHKRZ86&,6LPSOHPHQWVWKHXQODZIXOSUHVHQFHJURXQGRILQDGPLVVLELOLW\´
8QIRUWXQDWHO\WKLVDSSURDFKDFFRPSOLVKHVQHLWKHURIWKHVHJRDOVDQGZLOOLQVWHDGXQIDLUO\SXQLVK
DSRWHQWLDOO\VLJQLILFDQWSRUWLRQRIWKHVWXGHQWDQGH[FKDQJHYLVLWRUSRSXODWLRQIXUWKHUHURGH
IRUHLJQVWXGHQWHQUROOPHQWVDW86FROOHJHVDQGXQLYHUVLWLHV DQGXQQHFHVVDULO\GDPDJHWKH86
HFRQRP\,XUJH86&,6WRDEDQGRQWKLVPLVJXLGHGGLUHFWLYHDQGWRPDLQWDLQWKHXQODZIXO
SUHVHQFHJXLGDQFHWKDWKDVEHHQLQSODFHIRUGHFDGHVDQGHQVXUHVWKDWIXQGDPHQWDOIDLUQHVVLVD
FULWLFDOFRPSRQHQWLQLQWHUSUHWLQJDQGLPSOHPHQWLQJWKHXQODZIXOSUHVHQFHVWDWXWH

6LQFHUHO\


&KULVW\&]HUZLHQ




                                                                                     *&&$5


   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 45 of 203
  U.S. Department of Homeland Security
  U.S. Citizenship and Immigration Services
  Office of the Director
  20 Massachusetts Avenue, NW
  Washington, DC 20529-2140

  Submitted via email: publicengagementfeedback@uscis.dhs.gov

  Re: USCIS Policy Memorandum: Accrual of Unlawful Presence and F, J, and M Nonimmigrants


  Dear Madam or Sir:

  I am writing to express my opposition and concerns regarding the new policy memorandum, “Accrual of
  Unlawful Presence and F, J, and M Nonimmigrants,” posted by U.S. Citizenship and Immigration Services
  (USCIS) on May 11, 2018.

  This new memorandum would reverse over 20 years of USCIS practice regarding the accrual of “unlawful
  presence.” For nonimmigrant students and exchange visitors in the F, J, and M categories, legacy
  Immigration and Naturalization Service (INS) and USCIS have interpreted the statutory unlawful
  presence provisions to require notice to the individual of a status violation prior to the commencement
  of the unlawful presence clock. Such notice is provided in the context of the adjudication of a request
  for an immigration benefit by USCIS or a determination of a status violation by an immigration judge.
  The USCIS guidance articulating this position states, “It must be emphasized that the accrual of unlawful
  presence neither begins on the date that a status violation occurs, nor on the day on which removal
  proceedings are initiated.”1 This longstanding policy provides certainty in determining when unlawful
  presence begins to accrue, which the new policy does not. The law must provide certainty to those who
  are living under it and trying to abide by it.

  As described in the May 11, 2018 memorandum, USCIS will now deem unlawful presence to have
  started accruing as of the day after the date that a status violation occurs, thus removing the critical
  procedural safeguard of providing notice to affected individuals that may find themselves subject to the
  three- and ten-year bars to admissibility. This raises serious questions regarding fundamental fairness
  and due process and will have a significant negative impact on the student, vocational, and exchange
  visitor communities.

  In recognition of the fluidity of academic programs, F, M, and J nonimmigrants are not admitted to the
  U.S. until a date-certain. Instead, they are admitted for the “duration of their status,” or “D/S,” which
  means the student or exchange visitor can remain in the United States as long as they maintain their

  
   See86&,60HPRUDQGXP&RQVROLGDWLRQRI*XLGDQFH&RQFHUQLQJ8QODZIXO3UHVHQFHIRU3XUSRVHVRI6HFWLRQV
   D  % L DQG D  & L , RIWKH$FW´ 0D\ available atKWWSZZZDLODRUJLQIRQHWXVFLV
  FRQVROLGDWLRQJXLGDQFHXQODZIXOSUHVHQFH



CHENHALLS      NISSEN,     S.C.,                .                ,               ,   Milwaukee,      WI
                Phone                       | Fax                       | www.cnvisalaw.com
                                                                                                     GC CAR 000602
      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 46 of 203
nonimmigrant status. This generally means the student must maintain a full course of study or remain in
the exchange program, not engage in unauthorized employment or other unauthorized activities, and
complete the academic or exchange program in a timely manner or obtain an extension. What the new
memorandum fails to recognize is that the question as to whether an individual has violated their
nonimmigrant status is complex and nuanced. Students and exchange visitors can accidentally and
unknowingly violate their status by dropping slightly below a full course of study, or by engaging in
innocent, but unauthorized activity. For example, F-1 students are permitted to engage in work at a
“qualifying on-campus job” for up to 20 hours per week while school is in session. Therefore, an F-1
student who inadvertently exceeds the 20-hour limit by just a couple of hours has technically violated
his or her student status. In addition, a Designated School Official may make a good faith error in
advising a student by authorizing a reduced course load that should not have been approved, thereby
leading the student to unknowingly and unintentionally violate their status. This unfairness is
compounded when the status violation also serves as the “trigger” for the accrual of unlawful presence
by dependents of students and exchange visitors.

In my practice I have seen specific examples of DSOs who are new to the position, filling in for someone
on leave, or just not well-trained in the SEVIS system who have made minor errors in the system
regarding employment authorization or course loads. These minor errors not even committed by
student him/herself could not have catastrophic, long-term effects on the unwitting students who trust
these officials to manage their status.

USCIS states that the purpose of the new guidance is to “reduce the number of overstays” and “to
improve how USCIS implements the unlawful presence ground of inadmissibility.” Unfortunately, this
approach accomplishes neither of these goals and will instead unfairly punish a potentially significant
portion of the student and exchange visitor population, further erode foreign student enrollments at
U.S. colleges and universities, and unnecessarily damage the U.S. economy. I urge USCIS to abandon this
misguided directive and to maintain the unlawful presence guidance that has been in place for decades
and ensures that fundamental fairness is a critical component in interpreting and implementing the
unlawful presence statute.

Sincerely,




Kelley A. Chenhalls
Attorney at Law




                                                                                              GC CAR 000603
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 47 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 48 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 49 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 50 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 51 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 52 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 53 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 54 of 203
               Teaching Assistants’ Association | 520 University Avenue, Suite 220, Madison, WI 53703
                                    taa@taa-madison.org | www.taa-madison.org 


        7KH7HDFKLQJ$VVLVWDQWV$VVRFLDWLRQDWWKH8QLYHUVLW\RI:LVFRQVLQ0DGLVRQ
H[SUHVVHVLWVGHHSHVWFRQFHUQIRUWKHUHFHQWFKDQJHVSURSRVHGE\86&LWL]HQVKLSDQG
,PPLJUDWLRQ6HUYLFHVRQWKHFRQGLWLRQVLQZKLFKLQWHUQDWLRQDOVWXGHQWVLQWKH86FDQ
DFFUXHXQODZIXOSUHVHQFH7KHSURSRVHGFKDQJHVZRXOGFUHDWHXQQHFHVVDU\EXUGHQ
RQLQWHUQDWLRQDOVWXGHQWVWKHLUSHHUVDQGWKHDFDGHPLFFRPPXQLW\DVDZKROH
        8QGHUWKHFXUUHQWSROLF\LQWHUQDWLRQDOVWXGHQWVFDQDFFUXHXQODZIXOSUHVHQFHLQ
WKH86DIWHUWKH\DUHIRXQGWRKDYHYLRODWHGWKHWHUPVRIWKHLUYLVD$IWHUGD\VRI
XQODZIXOSUHVHQFHWKH\FDQEHEDUUHGIURPUHWXUQLQJWRWKH86IRUXSWR\HDUV
7KHSURSRVHGFKDQJHVZRXOGGHFODUHDQLQWHUQDWLRQDOVWXGHQWDVXQODZIXOO\SUHVHQWLQ
WKHFRXQWU\IURPWKHPRPHQWWKH\DUHVDLGWRKDYHYLRODWHGWKHWHUPVRIWKHLUYLVDHYHQ
LIWKH\GRLWXQNQRZLQJO\DQGDUHQRWQRWLILHG7KLVFKDQJHJHQHUDWHVGHHSFRQFHUQLQ
WHUPVRIVWXGHQWV ULJKWVWREHLQIRUPHGXQGHUVWDQGDQGFRQWHVWDQ\DOOHJDWLRQV7KLV
VLWXDWLRQFUHDWHVJUHDWXQFHUWDLQW\WKDWFDQKDUPQRWRQO\LQWHUQDWLRQDOVWXGHQWVDW8:
0DGLVRQEXWDOVRWKHODUJHUXQLYHUVLW\FRPPXQLW\
        ,QWHUQDWLRQDOVWXGHQWVDUHNH\PHPEHUVRIRXUFRPPXQLW\5HVHDUFKOHDUQLQJ
DQGWHDFKLQJSURMHFWVUHTXLUHDGLYHUVLW\RISHUVSHFWLYHVH[SHULHQFHVDQGWKHODERURI
LQWHUQDWLRQDOVWXGHQWV$OOXQGHUJUDGXDWHVWXGHQWVEHQHILWZKHQWKH\OHDUQZLWKDQGDUH
WDXJKWE\WKHLULQWHUQDWLRQDOSHHUV$VHTXDOPHPEHUVRIWKH8:0DGLVRQFRPPXQLW\
ZHEHOLHYHWKDWLQWHUQDWLRQDOVWXGHQWVGHVHUYHVWDELOLW\DQGFHUWDLQW\UHJDUGLQJWKHLUYLVD
VWDWXV7KHXQFHUWDLQW\LQWURGXFHGE\WKHSURSRVHGSROLF\FKDQJHZRXOGKDUPWKH
DGYDQFHPHQWRIXQLYHUVLW\SURMHFWVVWLIOHLQQRYDWLRQDQGLPSHGHLQVWUXFWLRQJRDOVDW
8:0DGLVRQ
        %\OLPLWLQJWKHSRVVLELOLW\WRFRQWHVWDOOHJHGYLRODWLRQVRIYLVDVWDWXVWKHSURSRVHG
SROLF\FKDQJHZRXOGDGGFRQVLGHUDEOHOHJDOEXUGHQDQGHPRWLRQDOYXOQHUDELOLW\IRU
LQWHUQDWLRQDOVWXGHQWV)XUWKHUPRUHWKHFKDQJHVZRXOGGLVSURSRUWLRQDWHO\DIIHFWORZHU
LQFRPHVWXGHQWVZKRODFNDFFHVVWROHJDOFRXQVHO7KLVSROLF\IXUWKHUGLVDGYDQWDJHV
WKHVHVWXGHQWVZKRDOUHDG\IDFHVHYHUHOLPLWDWLRQVWRREWDLQLQJDQHGXFDWLRQ
        :HEHOLHYHWKDWDOOVWXGHQWVUHJDUGOHVVRIWKHLUFRXQWU\RIRULJLQDQGHFRQRPLF
PHDQVVKRXOGKDYHWKHULJKWWRFRPSOHWHWKHLUVWXGLHVDQGSDUWLFLSDWHLQLQQRYDWLRQDQG
LQVWUXFWLRQDW8:0DGLVRQ7KH7$$VWDQGVLQVROLGDULW\ZLWKLQWHUQDWLRQDOVWXGHQWVWR
DGYDQFHHGXFDWLRQUHVHDUFKDQGWHDFKLQJLQDGLJQLILHGDQGIUHHHQYLURQPHQW

7KH([HFXWLYH%RDUG




                                                                                                        *&&$5


   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 55 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 56 of 203
                                                               *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 57 of 203
DHS Overestimates Visa Overstays
for 2016; Overstay Population
Growth Near Zero During the Year
Robert Warren
Center for Migration Studies

     Executive Summary
     For years, noncitizens who fail to abide by the terms of their nonimmigrant
     (temporary) visas were not widely recognized as major contributors to the
     US undocumented population. Yet since 2005, the ratio of overstays to
     illegal entries across the border has increased rapidly as the number of
     ERUGHUFURVVLQJVGURSSHGWRVOHYHOV$VDUHVXOWWKHLQÁRZRIRYHUVWD\V
     has exceeded border crossers for nearly a decade. These developments
     highlight the importance of accurate and timely estimates of overstays.
     In 2017, the US Department of Homeland Security (DHS) released a
     report, Fiscal Year 2016 Entry/Exit Overstay Report, showing estimates
     of overstays, by country, for the 50.4 million nonimmigrants admitted in
     ÀVFDO \HDU  '+6   $W WKH HQG RI WKH ÀVFDO \HDU '+6 KDG QRW
     YHULÀHGWKHGHSDUWXUHRIQRQLPPLJUDQWV1
     The Center for Migration Studies (CMS) compared the DHS overstay
     estimates to CMS’s estimates of the number of undocumented residents that
     arrived in the past few years. Data were available to make the comparisons
     for 133 countries; these countries account for 99 percent of all overstays.
     7KHPDMRUÀQGLQJVLQFOXGHWKHIROORZLQJ
     • For 90 of the 133 countries, the DHS and CMS estimates differ by less
       than 2,000, and the correlation between the estimates for those 90
       countries is .97, which indicates a very close mutual relationship.
     • The DHS estimates of overstays for Canada are far too high.
     • The DHS estimates greatly exceed the CMS estimates for about 30
       countries, half of them participants in the US Visa Waiver Program
       (VWP).2
7KH¿JXUHUHIHUVWRQRQLPPLJUDQWVWKDWDUULYHGLQDQGZKRVHGHSDUWXUHKDGQRWEHHQYHUL¿HG
E\WKHHQGRI7KXVDVGHPRQVWUDWHGLQWKLVSDSHULWLQFOXGHVQRQLPPLJUDQWDGPLVVLRQVZKRVHGHSDUWXUH
ZDVQRWYHUL¿HGand DFWXDORYHUVWD\V
7KH869LVD:DLYHU3URJUDP 9:3 LVGHVFULEHGDWKWWSVZZZGKVJRYYLVDZDLYHUSURJUDPDVIROORZV
³7KH9:3ZKLFKLVDGPLQLVWHUHGE\WKH'HSDUWPHQWRI+RPHODQG6HFXULW\ '+6 LQFRQVXOWDWLRQZLWKWKH
6WDWH'HSDUWPHQWSHUPLWVFLWL]HQVRIFRXQWULHVWRWUDYHOWRWKH8QLWHG6WDWHVIRUEXVLQHVVRUWRXULVPIRU
VWD\VRIXSWRGD\VZLWKRXWDYLVD,QUHWXUQWKRVHFRXQWULHVPXVWSHUPLW86FLWL]HQVDQGQDWLRQDOVWR
WUDYHOWRWKHLUFRXQWULHVIRUDVLPLODUOHQJWKRIWLPHZLWKRXWDYLVDIRUEXVLQHVVRUWRXULVPSXUSRVHV´
              © 2017 by the Center for Migration Studies of New York. All rights reserved.

                                                      JMHS Volume 5 Number 4 (2017): *&&$5
                                                                                     768-779

Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 58 of 203
                     DHS Overestimates Visa Overstays for 2016; O


     • Slightly more than halfRIWKHUHSRUWHGWREHRYHUVWD\VE\'+6
       actually left the country but their departures were not recorded.
     • After adjusting the DHS estimates to take account of unrecorded
       GHSDUWXUHVDVZHOODVGHSDUWXUHVLQRIRYHUVWD\VWKDWOLYHGKHUHLQ
       RYHUVWD\SRSXODWLRQJURZWKZDVQHDU]HURLQ
     • Thus, while overstays account for a large percentage of the newly
       undocumented, they represent less than half (44 percent) of the overall
       undocumented population, and they are less likely than illegal border
       crossers to be long-term residents.
     • 7KH FRXQWU\VSHFLÀF ÀJXUHV VKRZQ KHUH VKRXOG KHOS '+6 IRFXV LWV
       HIIRUWVRQLPSURYLQJWKHYHULÀFDWLRQRIGHSDUWXUHVRIWHPSRUDU\YLVLWRUV
     • Finally, these comparisons indicate that the DHS estimates do not
       provide a sound basis for making decisions about admission to, or
       continuation in, the VWP.


Introduction
6LQFH  WKH SULPDU\ PRGH RI HQWHULQJ WKH XQGRFXPHQWHG SRSXODWLRQ LQ WKH 8QLWHG
6WDWHVKDVEHHQWRDUULYHOHJDOO\ DIWHUVFUHHQLQJ RQQRQLPPLJUDQW WHPSRUDU\ YLVDVDQG
WKHQRYHUVWD\WKHSHULRGRIDGPLVVLRQRURWKHUZLVHYLRODWHWKHWHUPVRIWKHYLVDV :DUUHQ
DQG.HUZLQ %HIRUHIDUPRUHDUULYHGLOOHJDOO\DFURVVWKHVRXWKHUQERUGHU HQWU\
ZLWKRXWLQVSHFWLRQ(:, WKDQRYHUVWD\HG7KHUHYHUVDOLQWKHVHWZRPRGHVRIHQWU\GLG
QRWRFFXUEHFDXVHRYHUVWD\VLQFUHDVHGEXWEHFDXVHWKHDQQXDOQXPEHURI(:,VGURSSHG
VKDUSO\IURPWRUHDFKLQJKLVWRULFDOO\ORZOHYHOVLQWKHSDVWIHZ\HDUV :DUUHQ
 
7KHLVVXHRIRYHUVWD\VKDVEHFRPHLQFUHDVLQJO\LPSRUWDQWLQGLVFXVVLRQVRILPPLJUDWLRQ
SROLF\LQWKHSDVWWZR\HDUV$UHFHQW&HQWHUIRU0LJUDWLRQ6WXGLHV &06 UHSRUWQRWHG
³7KHVWULNLQJFKDQJHLQWKHPRGHRIDUULYDODIWHUUDLVHVLPSRUWDQWSROLF\TXHVWLRQV
QRW MXVW DERXW WKH QHHG IRU D PLOH ZDOO EXW DERXW WKH DOORFDWLRQ RI LPPLJUDWLRQ
HQIRUFHPHQW UHVRXUFHV DQG IXQGLQJ OHYHOV IRU ERUGHU HQIRUFHPHQW FRPSDUHG WR RWKHU
VWUDWHJLHVWKDWPLJKWUHGXFHQHZDUULYDOVLQWRWKHXQGRFXPHQWHGSRSXODWLRQDQGVWUDWHJLHV
WRUHGXFHWKHRYHUDOOVL]HRIWKLVSRSXODWLRQ´ :DUUHQDQG.HUZLQ 
'HVSLWH WKH LQFUHDVLQJ UHFRJQLWLRQ RI WKH LPSRUWDQFH RI RYHUVWD\V R൶FLDO VWDWLVWLFV RQ
WKLV SKHQRPHQRQ KDYH QRW EHHQ DYDLODEOH XQWLO UHFHQWO\7KH QHZHVW 86 'HSDUWPHQW RI
+RPHODQG6HFXULW\ '+6 HVWLPDWHVRIRYHUVWD\VUHOHDVHGLQDUHLQWKHFiscal Year
2016 Entry/Exit Overstay Report7KHUHSRUW³SURYLGHVGDWDRQGHSDUWXUHVDQGRYHUVWD\V
E\FRXQWU\IRUIRUHLJQYLVLWRUVWRWKH8QLWHG6WDWHVZKRHQWHUHGDVQRQLPPLJUDQWYLVLWRUV
WKURXJKDQDLURUVHD3RUWRI(QWU\ 32( DQGZKRZHUHH[SHFWHGWRGHSDUWLQ)<
 2FWREHU    6HSWHPEHU   ´ '+6   7KH '+6 SURFHGXUHV XVHG WR
86'HSDUWPHQWRI+RPHODQG6HFXULW\ '+6 UHSRUWLQJUHTXLUHPHQWVIRURYHUVWD\VDUHVHWIRUWKLQ6HFWLRQ
 D RIWKH,PPLJUDWLRQDQG1DWXUDOL]DWLRQ6HUYLFH'DWD0DQDJHPHQW,PSURYHPHQW$FWRI 3XE/1R
6WDW>@ +RXVH5HSRUWDQG6HQDWH5HSRUW
                                                                                                              769

                                                                                                *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 59 of 203
                                Journal on Migration and Human Security


      HVWLPDWHRYHUVWD\VDUHGHVFULEHGLQGHWDLOLQWKHUHSRUW7KH'+6VWDWLVWLFVHYDOXDWHGKHUH
      DUHWKHVXPRIWKH¿JXUHVVKRZQLQWKH³6XVSHFWHG,Q&RXQWU\2YHUVWD\V´FROXPQLQWDEOHV
      %WKURXJK)
      7KLVUHSRUWDVVHVVHVWKHFUHGLELOLW\RIWKH'+6HVWLPDWHVIRUFRXQWULHVE\FRPSDULQJ
      WKHPWRHVWLPDWHVIRUFRPSDUDEOHFRXQWULHVGHULYHGE\&067KH&06HVWLPDWHVDUHEDVHG
      RQ VWDWLVWLFV RQ WKH IRUHLJQERUQ SRSXODWLRQ FROOHFWHG LQ WKH &HQVXV %XUHDX¶V$PHULFDQ
      &RPPXQLW\ 6XUYH\ $&6  DV GHVFULEHG LQ GHWDLO LQ :DUUHQ  $ VXPPDU\ RI WKH
      HVWLPDWLRQSURFHGXUHLVSUHVHQWHGLQWKH$SSHQGL[(VVHQWLDOO\WKH&06HVWLPDWHVIRUWKH
       FRXQWULHV DUH WKH QXPEHU RI XQGRFXPHQWHG UHVLGHQWV WKDW DUULYHG LQ DSSUR[LPDWHO\
      DQGZHUHFRXQWHGLQDQG
      6WULFWO\VSHDNLQJQHLWKHUWKH'+6QRU&06HVWLPDWHVDFWXDOO\DUHHVWLPDWHVRIRYHUVWD\V
      7KH '+6 ¿JXUHV UHSUHVHQW DFWXDO RYHUVWD\V SOXV DUULYDOV ZKRVH GHSDUWXUH FRXOG QRW EH
      YHUL¿HG7KDWLVWKH\LQFOXGHERWKDFWXDORYHUVWD\VDQGXQUHFRUGHGGHSDUWXUHV7KH&06
      HVWLPDWHV DUH IRU net DUULYDOV LQ UHFHQW \HDUV 7KH\ LQFOXGH RYHUVWD\V minus WKRVH ZKR
      RYHUVWD\HGDQGWKHQOHIWWKHRYHUVWD\SRSXODWLRQ,QDGGLWLRQWKH&06HVWLPDWHVDUHVXEMHFW
      WRVDPSOLQJYDULDELOLW\DQGRWKHUSRVVLEOHHUURUV'HVSLWHWKHVHGL൵HUHQFHVWKHLQIRUPDWLRQ
      VKRZQLQWKHWKUHHWDEOHVEHORZPDNHLWDSSDUHQWWKDWHYHQZLWKWKHVHSRWHQWLDOGL൵HUHQFHV
      XVHIXOLQIRUPDWLRQFDQEHGHULYHGE\FRPSDULQJWKHWZRVHWVRIGDWD


      Comparison of DHS and CMS Estimates
      7KHVLPLODULW\RIWKHHVWLPDWHVIRUPDQ\FRXQWULHVDVZHOODVWKHFRUUHODWLRQRIEHWZHHQ
      WKH WZR VHWV RI HVWLPDWHV LQ 7DEOH  VKRZ WKDW HYHQ ZLWK WKH FDYHDWV DERYH WKH '+6
      DQG&06HVWLPDWHVPHDVXUHDSSUR[LPDWHO\WKHVDPHSRSXODWLRQ7KH³GL൵HUHQFH´
      VWDQGDUG XVHG WR GLVWLQJXLVK WKH QDWLRQV LQ WKH WKUHH WDEOHV LV DUELWUDU\ KRZHYHU JLYHQ
      WKH IXQGDPHQWDO GL൵HUHQFHV LQ WKH XQGHUO\LQJ GDWD LW LV UHPDUNDEOH WKDW WKH UHVXOWV DUH
      ZLWKLQSOXVRUPLQXVIRURIWKHFRXQWULHVHYDOXDWHGLQWKLVUHSRUW,QIDFW
      WKHUHDVRQDEO\FORVHFRUUHVSRQGHQFHEHWZHHQWKHWZRVHWVRIHVWLPDWHVLQ7DEOHJUHDWO\
      LQFUHDVHVFRQ¿GHQFHLQWKHVLJQL¿FDQW¿QGLQJVLQ7DEOH




      7KHJDSRIURXJKO\RQH\HDURUVREHWZHHQDUULYDO DSSUR[LPDWHO\ DQGEHLQJFRXQWHG DYHUDJHRI
      WKHDQGHVWLPDWHV PHDQVWKDWVRPHRYHUVWD\VZRXOGKDYHOHIWWKHSRSXODWLRQ2QWKHRWKHUKDQG
      LWLVOLNHO\WKDWVRPHRYHUVWD\VZRXOGKDYHEHHQDGGHGWRWKHSRSXODWLRQ IRUH[DPSOHLIWKH\ZHUHLQVWDWXV
      IRUD\HDURUPRUHDQGWKHQRYHUVWD\HG 7KHVLPLODULW\RIWKH'+6DQG&HQWHUIRU0LJUDWLRQ6WXGLHV &06 
      HVWLPDWHVIRUWKHFRXQWULHVLQ7DEOHVXJJHVWVWKDWWKHGHSDUWXUHVDQGDGGLWLRQVWHQGHGWRFDQFHOHDFKRWKHU
      2YHUVWD\VFDQOHDYHWKHSRSXODWLRQLQIRXUZD\VHPLJUDWHYROXQWDULO\DGMXVWWRODZIXOVWDWXVEHUHPRYHG
      E\ '+6 RU D UHODWLYHO\ VPDOO QXPEHU  GLH$OVR QRQLPPLJUDQWV FDQ HQWHU WKH RYHUVWD\ SRSXODWLRQ DIWHU
      EHLQJLQWKH8QLWHG6WDWHVIRUPRUHWKDQD\HDUIRUH[DPSOHE\ZRUNLQJZLWKRXWDXWKRUL]DWLRQRUUHPDLQLQJ
      LQWKH8QLWHG6WDWHVDIWHUDWWHQGLQJFROOHJH
770

                                                                                                               *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 60 of 203
                     DHS Overestimates Visa Overstays for 2016; O


Table 1. Countries with Less Than 2,000 Difference between
CMS and DHS Estimates of Nonimmigrant Overstays
Correlation, these 90 countries = .97
&RXQWU\                           &06       '+6         &RXQWU\                          &06             '+6

7KHVHFRXQWULHV                                                                
$IJKDQLVWDQ                                     +RQGXUDV                                  
$OEDQLD                                         +XQJDU\                                     
$OJHULD                                           ,FHODQG                              ]           
$QWLJXD%DUEXGD                                   ,QGRQHVLD                                   
$UPHQLD                                           ,UDQ                                        
$]HUEDLMDQ                                        ,UDT                                 ]         
%DUEDGRV                                        .D]DNKVWDQ                                    
%HODUXV                                           .HQ\D                                     
%HOJLXP                                         .XZDLW                                      
%HOL]H                                            /DRV                                          
%KXWDQ                                          /DWYLD                               ]           
%ROLYLD                                         /HEDQRQ                                     
%RVQLD                                            /LEHULD                                       
%XOJDULD                                          /LE\D                                         
&DPERGLD                                          /LWKXDQLD                                     
&DPHURRQ                                      0DFHGRQLD                                     
&DSH9HUGH                                        0DOD\VLD                                    
&KLQD                                       0LFURQHVLD                                      ]
&RQJR                                           0ROGDYLD                                    
&RVWD5LFD                                    0RQWHQHJUR                                    
&URDWLD                                           0RURFFR                                       
&\SUXV                                ]              1HZ=HDODQG                          ]         
&]HFK5HSXEOLF                                  1LFDUDJXD                                 
'HQPDUN                               ]            1RUZD\                                      
'RPLQLFD                                          3DNLVWDQ                                  
(J\SW                                         3DQDPD                                        
(ULWUHD                                           3DUDJXD\                                      
)LML                                              5RPDQLD                                     
)LQODQG                               ]              6DLQW/XFLD                                   
*DPELD                                            6DLQW9LQFHQW                        ]           
*HRUJLD                                         6HQHJDO                                       
*KDQD                                         6HUELD                                      
*UHHFH                                          6LHUUD/HRQH                                
*UHQDGD                                           6LQJDSRUH                                     
*XDWHPDOD                                     6ORYDNLD                                      
*XLQHD                                            6RPDOLD                              ]             ]
*X\DQD                                        6RXWK$IULFD                                
   GHQRWHV9LVD:DLYHUFRXQWU\                        ]LQGLFDWHV]HURRUURXQGVWR]HUR
                                                                                                                771

                                                                                                      *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 61 of 203
                              Journal on Migration and Human Security


      Table 1. Countries with Less Than 2,000 Difference
      between CMS and DHS Estimates of Nonimmigrant
      Overstays – continued
      Correlation, these 90 countries = .97
      &RXQWU\                   &06             '+6       &RXQWU\                         &06          '+6
      6UL/DQND                                    7ULQLGDGDQG7REDJR                        
      6XGDQ                                        8JDQGD                                       
      6\ULD                                      8QLWHG$UDE(PLUDWHV                         
      7DLZDQ                                     8UXJXD\                                    
      7DQ]DQLD                                     8]EHNLVWDQ                                 
      7KDLODQG                                 <HPHQ                                        
      7RJR                                         =DPELD                                       
      7RQJD                                        =LPEDEZH                            ]           
         GHQRWHV9LVD:DLYHUFRXQWU\               ]LQGLFDWHV]HURRUURXQGVWR]HUR
      Source&06HVWLPDWHVRIXQGRFXPHQWHGUHVLGHQWVLQDQGE\\HDURIDUULYDO'+6HVWLPDWHV
       VXPRIDOOFDWHJRULHV VKRZQLQ'+6  

      7DEOH  VKRZV FRPSDULVRQV IRU WKH  FRXQWULHV LQ ZKLFK WKH '+6 HVWLPDWHV H[FHHGHG
      WKH&06HVWLPDWHVE\RUPRUH)RUWKHQRQ9LVD:DLYHU3URJUDP 9:3 FRXQWULHV
      LQWKHOHIWSDQHORI7DEOHWKHFRXQWU\WKDWVWDQGVRXWWKHPRVWLV&DQDGD'+6
      RYHUVWD\V FRPSDUHG WR RQO\  QHZ DUULYDOV LQ WKH XQGRFXPHQWHG SRSXODWLRQ 2WKHU
      QRWDEOHGL൵HUHQFHVLQWKHOHIWSDQHODUH%UD]LO YV &RORPELD YV
       1LJHULD YV DQG9HQH]XHOD YV 
      (YHQWKRXJKWKH\GL൵HUE\PRUHWKDQWKH'+6DQG&06HVWLPDWHVIRUIRXUUHODWLYHO\
      ODUJH VHQGLQJ FRXQWULHV LQ 7DEOH  DUH IDLUO\ FORVH 0H[LFR  YV   ,QGLD
       YV 'RPLQLFDQ5HSXEOLF YV DQG.RUHD YV 
      7KH ODUJHVW GL൵HUHQFHV LQ 7DEOH  DQG SRVVLEO\ WKH PRVW VLJQL¿FDQW IURP D SROLF\
      SHUVSHFWLYHDUHIRUWKH9:3FRXQWULHVLQWKHULJKWSDQHO:LWKWKHH[FHSWLRQRI.RUHDDV
      QRWHGDOORIWKH'+6HVWLPDWHVIRU9:3FRXQWULHVVKRZQLQ7DEOHJUHDWO\H[DJJHUDWH
      WKHQXPEHURIRYHUVWD\V,QIDFWH[FOXGLQJ.RUHDWRWDO'+6RYHUVWD\VLQWKHULJKWSDQHO
      RI7DEOHRXWQXPEHUWKH&06HVWLPDWHVE\WR)RUQLQH9:3FRXQWULHV
      ²$XVWUDOLD$XVWULD)UDQFH*HUPDQ\,WDO\1HWKHUODQGV6ZHGHQ6ZLW]HUODQGDQGWKH
      8QLWHG.LQJGRP²WKH'+6HVWLPDWHVRIRYHUVWD\VLQMXVWRQH\HDUDUHKLJKHUWKDQ
      WKH&06HVWLPDWHVRIWKHtotal XQGRFXPHQWHGSRSXODWLRQIURPHDFKRIWKRVHFRXQWULHVLQ
      




      7KH&06HVWLPDWHRIRYHUVWD\VLQLVEDVHGSDUWO\RQ'+6HVWLPDWHVRIRYHUVWD\VIURP0H[LFRLQ
      7KXVLWLVQRWVXUSULVLQJWKDWWKH&06DQG'+6HVWLPDWHVIRU0H[LFRDUHUHDVRQDEO\FORVHLQ
772

                                                                                                    *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 62 of 203
                   DHS Overestimates Visa Overstays for 2016; O


Table 2. Countries in Which the DHS Estimate Exceeds
the CMS Estimate of Nonimmigrant Overstays by 2,000
or More
&RXQWU\                   &06           '+6           &RXQWU\                &06            '+6
$OOFRXQWULHV             
1RQ9:3                                 9:3FRXQWULHV                 
$UJHQWLQD                                     $XVWUDOLD                         
%DKDPDV                                       $XVWULD                    ]         
%UD]LO                                     &KLOH                             
&DQDGD                                      )UDQFH                           
&RORPELD                                   *HUPDQ\                          
'RP5HS                                  ,UHODQG                           
(FXDGRU                                     ,WDO\                            
(O6DOYDGRU                                 -DSDQ                             
,QGLD                                     .RUHD                           
,VUDHO                                        1HWKHUODQGV                ]         
-DPDLFD                                    3RUWXJDO                          
-RUGDQ                                        6SDLQ                            
0H[LFR                                    6ZHGHQ                            
1LJHULD                                    6ZLW]HUODQG                ]         
3HUX                                        8.                               
3RODQG                           
5XVVLD                           
6DXGL$UDELD                       
7XUNH\                             
8NUDLQH                          
9HQH]XHOD                       
   GHQRWHV9LVD:DLYHUFRXQWU\                      ]LQGLFDWHV]HURRUURXQGVWR]HUR
Source&06HVWLPDWHVRIXQGRFXPHQWHGUHVLGHQWVLQDQGE\\HDURIDUULYDO'+6HVWLPDWHV
 VXPRIDOOFDWHJRULHV VKRZQLQ'+6  

7KH&06HVWLPDWHH[FHHGVWKH'+6HVWLPDWHRIRYHUVWD\VE\RUPRUHLQRQO\VHYHQ
FRXQWULHV 7DEOH ,QJHQHUDOZHZRXOGH[SHFWWKH'+6HVWLPDWHVWREHKLJKHUEHFDXVH
WKH\LQFOXGHXQYHUL¿HGGHSDUWXUHVDVZHOODVDFWXDORYHUVWD\V6RPHRIWKHGL൵HUHQFHV²
HVSHFLDOO\WKRVHIRU%DQJODGHVK%XUPD(WKLRSLD+DLWLDQG1HSDO²PLJKWEHH[SODLQHG
E\VDPSOLQJYDULDELOLW\RURWKHUHUURUVLQWKH&06GDWD+RZHYHUWKH&06HVWLPDWHVIRU
WKH3KLOLSSLQHVDQG9LHWQDPDSSHDUWREHWRRKLJK7KHGDWDDQGDVVXPSWLRQVWKDW&06
XVHGWRGHULYHHVWLPDWHVIRUWKRVHWZRFRXQWULHVVKRXOGEHUHH[DPLQHG7KHRXWFRPHRI
WKDWUHYLHZZLOOQRWD൵HFWWKH¿QGLQJVSUHVHQWHGKHUHEHFDXVHWKHRYHUDOODVVHVVPHQWRIWKH
'+6HVWLPDWHVLVEDVHGRQWKH¿JXUHVVKRZQLQ7DEOHVDQG


                                                                                                      773

                                                                                         *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 63 of 203
                              Journal on Migration and Human Security


       Table 3. Countries in Which the CMS Estimate Exceeds
       the DHS Estimate of Nonimmigrant Overstays by 2,000
       or More
       &RXQWU\                    &06         '+6              &RXQWU\                    &06              '+6
       $OOFRXQWULHV                            +DLWL                                
       %DQJODGHVK                                   1HSDO                                
       %XUPD                                          3KLOLSSLQHV                        
       (WKLRSLD                                     9LHWQDP                             
       Source&06HVWLPDWHVRIXQGRFXPHQWHGUHVLGHQWVLQDQGE\\HDURIDUULYDO'+6HVWLPDWHV
        VXPRIDOOFDWHJRULHV VKRZQLQ'+6  



      Discussion
      7KH&06HVWLPDWHVVKRZQKHUHDUHWKHRQO\GDWDWKDWDUHVX൶FLHQWO\GHWDLOHGDQGSUHFLVH
      WR HYDOXDWH WKH FRXQWU\E\FRXQWU\ RYHUVWD\ QXPEHUV UHSRUWHG E\ '+6 (YHQ ZLWK WKH
      GL൵HUHQFHVLQWKHWZRGDWDVHWVWKHFRPSDUDELOLW\RIWKHHVWLPDWHVIRUFRXQWULHVVKRZQLQ
      7DEOHLQGLFDWHWKDWWKHWZRVHWVRIHVWLPDWHVPHDVXUHDSSUR[LPDWHO\WKHVDPHSRSXODWLRQ
      7KH¿JXUHVSUHVHQWHGDERYHVKRZWKDWRYHUVWD\VDUHVLJQL¿FDQWO\RYHUHVWLPDWHGIRUPRUH
      WKDQFRXQWULHVLQWKH'+6UHSRUWDQGKDOIRIWKRVHDUH9:3FRXQWULHV,QDGGLWLRQ
      WRDVVHVVLQJWKH'+6HVWLPDWHVIRULQGLYLGXDOFRXQWULHVWKHHVWLPDWHVLQ7DEOHVDQG
      SURYLGHDEDVLVIRUDVVHVVLQJWKHDFFXUDF\RI'+6¶VtotalRIRYHUVWD\VUHSRUWHG
      IRU  ,Q7DEOH  WRWDO '+6 RYHUVWD\V DUH KLJKHU WKDQ WKH &06 HVWLPDWHV E\ DERXW
      ,Q7DEOHWKH'+6WRWDOIRUWKHFRXQWULHVLVWKH&06WRWDOLV
      ,QFUHDVLQJWKH&06HVWLPDWHE\SHUFHQW DQH[WUHPHDVVXPSWLRQ ZRXOGUDLVHWKH&06
      WRWDOWR7KXVWKH'+6HVWLPDWHVVKRZQLQ7DEOHDUHOLNHO\WREHRYHUVWDWHGE\
      DWOHDVW PLQXV 6XEWUDFWLQJWKHWRWDO'+6RYHUHVWLPDWHVLQERWK
      WDEOHVZRXOGUHGXFHWKH'+6WRWDORIE\,QRWKHUZRUGVDERXW
      RUVOLJKWO\PRUHWKDQKDOIRIWKHUHSRUWHGWREHRYHUVWD\VE\'+6DFWXDOO\OHIW
      WKHFRXQWU\EXWWKHLUGHSDUWXUHVZHUHQRWUHFRUGHG7KHUHVXOWLVDUHYLVHGWRWDORIDERXW
      HVWLPDWHGRYHUVWD\VLQ
      ,WLVLPSRUWDQWWRNHHSWKHHVWLPDWHGRYHUVWD\VLQGHPRJUDSKLFSHUVSHFWLYH$UULYDOV
      RIRYHUVWD\VGXULQJWKH\HDUGRQRWUHSUHVHQWXQGRFXPHQWHGSRSXODWLRQJURZWKDQ\PRUH
      WKDQELUWKVGXULQJWKH\HDUUHSUHVHQWWRWDOSRSXODWLRQJURZWK7RHVWLPDWHSRSXODWLRQFKDQJH
      WKRVHZKRZHUHKHUHDWWKHEHJLQQLQJRIWKH\HDUDQGOHIWGXULQJWKH\HDUPXVWEHWDNHQ
      LQWRDFFRXQW6WDWLVWLFVUHSRUWHGE\&06LQGLFDWHWKDWDERXWSHUFHQWOHIWWKHRYHUVWD\
      SRSXODWLRQ DQQXDOO\ IURP  WR  $W WKDW UDWH DERXW  RI WKH 
      RYHUVWD\VWKDWUHVLGHGKHUHDWWKHHQGRIZRXOGKDYHOHIWGXULQJ7KHQHWJURZWK
      RIDERXW PLQXV LQLQGLFDWHGE\WKHVHHVWLPDWHVLVVXEMHFW
      WRDFRQVLGHUDEOHDPRXQWRIHUURU+RZHYHUWKHHVWLPDWHLVQRWIDUIURPWKHDYHUDJHQHW
      JURZWKRIIURPWRVKRZQLQ7DEOHLQWKH$SSHQGL[,QVXPPDU\WKH

      7KH³VWDWLVWLFVUHSRUWHGE\&06´LQWKLVSDUDJUDSKSULPDULO\UHIHUWRWKHHVWLPDWHVLQ7DEOHRI:DUUHQ
        )RUUHIHUHQFH7DEOHIURPWKDWUHSRUWLVUHSOLFDWHGDWWKHHQGRIWKH$SSHQGL[
774

                                                                                                        *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 64 of 203
                   DHS Overestimates Visa Overstays for 2016; O


'+6HVWLPDWHRIRYHUVWD\VLQUHGXFHGWRDFFRXQWIRUXQUHFRUGHGGHSDUWXUHVRIWKRVH
ZKRDUULYHGLQDVZHOODVGHSDUWXUHVGXULQJRIRYHUVWD\VWKDWOLYHGKHUHLQ
LQGLFDWHVWKDWRYHUVWD\SRSXODWLRQJURZWKZDVQHDU]HURLQ


Conclusion
,W LV FOHDU WKDW WKH '+6 HVWLPDWHV RI RYHUVWD\V IURP &DQDGD DQG IURP 9:3 FRXQWULHV
WKDWKDYHYHU\VPDOOXQGRFXPHQWHGSRSXODWLRQVDVZHOODVWKHtotalQXPEHUHUURQHRXVO\
LQFOXGHYHU\ODUJHQXPEHUVRIQRQLPPLJUDQWVWKDWGHSDUWHGEXWWKHLUGHSDUWXUHFRXOGQRWEH
YHUL¿HG7KHFRXQWU\VSHFL¿F¿JXUHVVKRZQLQ7DEOHVKRXOGKHOS'+6IRFXVLWVH൵RUWVRQ
LPSURYLQJWKHYHUL¿FDWLRQRIGHSDUWXUHVRIWHPSRUDU\YLVLWRUV
7KH¿QGLQJVUHSRUWHGKHUHDUHLPSRUWDQWIRUDWOHDVWWZRRWKHUUHDVRQV)LUVWWKHUHPDUNDEO\
KLJKDQGHUURQHRXVQXPEHURIRYHUVWD\VUHSRUWHGE\'+6IRUPDQ\9:3FRXQWULHVFRXOG
OHDGWRPLVWDNHQH൵RUWVWRUHPRYHVSHFL¿FFRXQWULHVRUWRHOLPLQDWHWKHSURJUDPHQWLUHO\
6HFRQGWKHXQVXEVWDQWLDWHGUHSRUWWKDWPRUHWKDQQRQLPPLJUDQWVRYHUVWD\HGLQ
FRXOGUHYLYHIHDUVWKDWXQGRFXPHQWHGSRSXODWLRQJURZWKKDVUHVXPHGRUFRXOGOHDG
WRHQIRUFHPHQWWDFWLFVRUIXQGLQJOHYHOVXQMXVWL¿HGE\WKHVL]HRIWKHRYHUVWD\FKDOOHQJH
7KH EHVW LQIRUPDWLRQ DYDLODEOH LQGLFDWHV WKDW RYHUVWD\V IURP 9:3 FRXQWULHV UHPDLQ DW
H[WUHPHO\ORZOHYHOVDQGWKDWWKHWRWDORYHUVWD\SRSXODWLRQLVJURZLQJYHU\VORZO\
7KH¿QGLQJVDOVRDGGWRDJURZLQJERG\RIOLWHUDWXUHWKDWDUJXHVIRUEURDGLPPLJUDWLRQ
UHIRUP6LQFHWKH&HQWHUIRU0LJUDWLRQ6WXGLHVKDVUHOHDVHGDGR]HQUHSRUWVRQWKH
86XQGRFXPHQWHGSRSXODWLRQWKDWGHPRQVWUDWHWKDW
 LOOHJDOHQWULHVWRWKH8QLWHG6WDWHVIHOOGUDPDWLFDOO\EHWZHHQDQG :DUUHQ
    
 JLYHQGLPLQLVKHGLOOHJDOHQWULHVWKHPDMRULW\RIQHZHQWULHVLQWRWKH86XQGRFXPHQWHG
   SRSXODWLRQLQUHFHQW\HDUVKDVFRPHIURPQRQLPPLJUDQWVZKRRYHUVWD\HGRURWKHUZLVH
   YLRODWHGWKHWHUPVRIWKHLUWHPSRUDU\YLVDV :DUUHQDQG.HUZLQ DQG
 PRVW86XQGRFXPHQWHGUHVLGHQWVKDYHOLYHGLQWKH8QLWHG6WDWHVIRUORQJSHULRGVKDYH
   EXLOWVWURQJHTXLWDEOHWLHVDQGKDYHFRQWULEXWHGVXEVWDQWLDOO\WRWKHFRXQWU\ :DUUHQ
   DQG.HUZLQ 
 %DVHGRQWKHVHWUHQGV&06KDVDUJXHGDJDLQVWWKHQHFHVVLW\RIEXLOGLQJDPLOH
   ERUGHU ZDOO :DUUHQ DQG .HUZLQ    ,W KDV DOVR SUHVHQWHG VHYHUDO RSWLRQV IRU
   OHJDOL]LQJGL൵HUHQWJURXSVRIXQGRFXPHQWHGUHVLGHQWVDQGKDVDUJXHGWKDWWKHVHRSWLRQV
   FRPELQHGZLWKUHIRUPRIWKHOHJDOLPPLJUDWLRQV\VWHPDQGLPPLJUDWLRQHQIRUFHPHQW
   ZRXOGOHDGWRDVXEVWDQWLDOSHUPDQHQWUHGXFWLRQLQWKH86XQGRFXPHQWHGSRSXODWLRQ
    .HUZLQDQG:DUUHQ 
7KLVSDSHU¿QGVWKDW'+6KDVJUHDWO\RYHUVWDWHGWKHQXPEHURIQRQFLWL]HQVIURPURXJKO\
 FRXQWLHV ZKR KDYH RYHUVWD\HG WKHLU QRQLPPLJUDQW WHPSRUDU\  YLVDV ,Q SDUWLFXODU
WKH '+6 HVWLPDWHV IRU  LQFOXGH VLJQL¿FDQW QXPEHUV RI QRQLPPLJUDQWV WKDW OHIW WKH
XQGRFXPHQWHG SRSXODWLRQ EXW ZKRVH GHSDUWXUH FRXOG QRW EH YHUL¿HG 7KXV WKH DFWXDO
QXPEHURIRYHUVWD\VLQZDVDERXWKDOIRIWKHQXPEHUHVWLPDWHGE\'+6$FFXUDWHO\

                                                                                                    775

                                                                                       *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 65 of 203
                                 Journal on Migration and Human Security


      UHFRUGLQJ WKH DUULYDO DQG GHSDUWXUH RI PRUH WKDQ  PLOOLRQ WHPSRUDU\ DGPLVVLRQV HDFK
      \HDULVDPRQXPHQWDOWDVN'+6GHVHUYHVVXEVWDQWLDOSUDLVHIRUDFFRXQWLQJIRUZHOORYHU
      SHUFHQWRIDOOGHSDUWXUHV
      7KHVH¿QGLQJVSURYLGHIXUWKHUHYLGHQFHWKDWWKHFRQGLWLRQVIRUEURDGLPPLJUDWLRQUHIRUP
      ²DUREXVWLPPLJUDWLRQHQIRUFHPHQWV\VWHPDOHJDOLPPLJUDWLRQV\VWHPWKDWKDVQRWEHHQ
      RYHUKDXOHGLQ\HDUVDQGDODUJHORQJWHUPXQGRFXPHQWHGSRSXODWLRQ²DUH¿UPO\LQ
      SODFH


      Appendix
      $'HULYDWLRQRIWKH&06(VWLPDWHVLQ7KLV5HSRUW
      6WHSV  WR  EHORZ VXPPDUL]H WKH &06 PHWKRGRORJ\ IRU GHULYLQJ DQQXDO HVWLPDWHV RI
      WKHXQGRFXPHQWHGSRSXODWLRQ6WHSVDQGGHVFULEHKRZWKRVHHVWLPDWHVZHUHXVHGWR
      FRPSLOHWKH&06HVWLPDWHVVKRZQLQ7DEOHVWRDERYH
      &06XVHGWKHSURFHGXUHVEHORZ 6WHSVWR WRGHULYHHVWLPDWHVRIWKHXQGRFXPHQWHG
      UHVLGHQWSRSXODWLRQLQ7KHVDPHVWHSVZHUHIROORZHGWRGHULYHDQQXDOHVWLPDWHVIRU
      WR7KHFODVVL¿FDWLRQRIQRQFLWL]HQVDVXQGRFXPHQWHGUHVLGHQWVZDVGRQHDWWKH
      PLFURGDWDOHYHO7KH&06HVWLPDWHVVKRZQKHUHZHUHFRPSLOHGE\FRXQWU\RIRULJLQDQG
      VLQJOH\HDURIHQWU\IURPWKRVHGDWDVHWV:DUUHQ  SURYLGHVDGHWDLOHGGHVFULSWLRQRI
      WKHPHWKRGRORJ\DQGFRPSDUHVWKH&06HVWLPDWHVEDVHGRQWKLVPHWKRGRORJ\WRHVWLPDWHV
      GHULYHGXVLQJWKHUHVLGXDOPHWKRG
      6WHS7KH¿UVWVWHSLQWKHHVWLPDWLRQSURFHGXUHZDVWRFRPSLOHGDWDIURPWKH$&6
      IRUDOOQRQFLWL]HQVZKRHQWHUHGWKH8QLWHG6WDWHVIURPWR,WZDVDVVXPHGWKDW
      QHDUO\DOOXQGRFXPHQWHGUHVLGHQWVDUHLQWKHFDWHJRU\³QRQFLWL]HQVZKRHQWHUHGWKH86DIWHU
      ´9HU\IHZZKRHQWHUHGEHIRUHZRXOGVWLOOEHUHVLGLQJKHUHDVXQGRFXPHQWHG
      UHVLGHQWVLQ
      6WHS$VHULHVRIHGLWVUHIHUUHGWRDV³ORJLFDOHGLWV´ZHUHXVHGWRLGHQWLI\DQGUHPRYH
      DVPDQ\OHJDOUHVLGHQWVDVSRVVLEOHEDVHGRQUHVSRQVHVLQWKHVXUYH\
      6WHS  6HSDUDWH SRSXODWLRQ FRQWUROV ZHUH HVWLPDWHG IRU  FRXQWULHV RU DUHDV IRU
      XQGRFXPHQWHGUHVLGHQWVFRXQWHGLQWKH$&6)RUHDFKFRXQWU\RUDUHDWKHUDWLRRI
      WKHSRSXODWLRQFRQWUROWRWKHORJLFDOO\HGLWHGSRSXODWLRQ IURP6WHS ZDVFRPSXWHG


      7KHFRXQWU\E\FRXQWU\VHOHFWLRQUDWLRVIRUFRPSXWHGLQ6WHSZHUHXVHGLQ6WHSIRUHYHU\\HDU
      ,QGHSHQGHQWSRSXODWLRQFRQWUROVZHUHFRPSXWHGonlyIRU
      $ODUJHSHUFHQWDJHRIWKRVHZKRHQWHUHGEHIRUHREWDLQHGOHJDOVWDWXVXQGHUWKH,PPLJUDWLRQ5HIRUP
      DQG&RQWURO$FWRI ,5&$ DQGWKRVHZKRGLGQRWDSSO\IRUOHJDOL]DWLRQKDYHKDGPRUHWKDQ\HDUVLQ
      ZKLFKWROHDYHWKHXQGRFXPHQWHGUHVLGHQWSRSXODWLRQ²WKDWLVWRDGMXVWWROHJDOVWDWXVEHUHPRYHGOHDYH
      YROXQWDULO\RUGLH
      7KHWHUPORJLFDOHGLWUHIHUVWRWKHSURFHVVRIGHWHUPLQLQJSUREDEOHOHJDOVWDWXVE\H[DPLQLQJVXUYH\GDWD
      IRUH[DPSOHUHVSRQGHQWVZHUHDVVLJQHGWRWKHOHJDOFDWHJRU\LIWKH\ZRUNHGLQRFFXSDWLRQVWKDWJHQHUDOO\
      UHTXLUH OHJDO VWDWXV KDG WKH FKDUDFWHULVWLFV RI OHJDO WHPSRUDU\ PLJUDQWV ZHUH LPPHGLDWH UHODWLYHV RI 86
      FLWL]HQVUHFHLYHGSXEOLFEHQH¿WVUHVWULFWHGWROHJDOUHVLGHQWVZHUHIURPFRXQWULHVZKHUHPRVWDUULYDOVZRXOG
      EHUHIXJHHVRUZHUHDJHRUROGHUDWHQWU\
776

                                                                                                                  *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 66 of 203
                     DHS Overestimates Visa Overstays for 2016; O


6WHS7KHFRXQWU\E\FRXQWU\UDWLRVGHULYHGLQ6WHSZHUHXVHGWRPDNH¿QDOVHOHFWLRQV
RILQGLYLGXDOUHVSRQGHQWVLQWKH$&6WREHFODVVL¿HGDVXQGRFXPHQWHGUHVLGHQWV
6WHS  7KH HVWLPDWHV RI WKRVH FRXQWHG LQ WKH $&6 IURP 6WHS   ZHUH DGMXVWHG IRU
XQGHUFRXQW
6WHS7KH&06HVWLPDWHVIURP6WHSZHUH¿UVWFRPSLOHGE\VLQJOH\HDURIHQWU\7KHQ
IRUHDFKRIWKHFRXQWULHVOLVWHGLQ7DEOHVDQGWKHDYHUDJHRIWKHIROORZLQJ¿YH
UHFHQWHQWU\FRKRUWVZDVFRPSXWHGWKUHHHQWU\FRKRUWV DQG IURPWKH
HVWLPDWHVDQGWZRHQWU\FRKRUWV DQG IURPWKHHVWLPDWHV
6WHS  6WHS  \LHOGV HVWLPDWHV RI total XQGRFXPHQWHG DUULYDOV KRZHYHU HVWLPDWHV RI
overstay DUULYDOVZHUHQHHGHGIRUWKH&06GDWDVKRZQLQ7DEOHVDQG7RWDODUULYDOV
ZHUHFRQYHUWHGWRRYHUVWD\DUULYDOVXVLQJWKHSHUFHQWDJHVDQGSURFHGXUHVVKRZQLQ7DEOH
$7KDWLVSHUFHQWRIWKHWRWDOXQGRFXPHQWHGDUULYDOVIURP0H[LFR FRPSXWHGLQ
6WHS ZHUHHVWLPDWHGWREHRYHUVWD\V

Table A-1. Percent of Total Arrivals Estimated to be
Overstays
&RXQWU\                                                                                   3HUFHQW
0H[LFR                                                                                     
(O6DOYDGRU                                                                                 
*XDWHPDOD                                                                                  
+RQGXUDV                                                                                   
1LFDUDJXD                                                                                  
'RPLQLFDQ5HSXEOLF                                                                         
$OORWKHUFRXQWULHV                                                                     6HHEHORZ
1RWH7KHVHSHUFHQWDJHVDORQJZLWKWKHPHWKRGRIHVWLPDWLRQDUHVKRZQLQ:DUUHQDQG.HUZLQ  
6HH7DEOH$LQWKDWUHSRUW

(VWLPDWLQJRYHUVWD\VIRUHDFKRIWKHFRXQWULHVQRWOLVWHGLQ7DEOH$7KHPHWKRGRI
HVWLPDWLQJLOOHJDOERUGHUFURVVHUV (:,V DQGRYHUVWD\VIRUHDFKRIWKHFRXQWULHVWKDW
DUHQRWVKRZQLQ7DEOH$KDVEHHQXSGDWHGDQGLPSURYHGIRUWKHVHHVWLPDWHV7KH¿UVW
VWHSZDVWRHVWLPDWH(:,VIURPHDFKRIWKHVHFRXQWULHV(:,VZHUHHVWLPDWHGWREH
WKHleastRI D SHUFHQWRI&06¶VHVWLPDWHRIWRWDODUULYDOVIURPHDFKRIWKHVHFRXQWULHV
RU E SHUFHQWRIDOLHQVDSSUHKHQGHGE\'+6IRUHDFKRIWKHVHFRXQWULHVLQ7KH
VHFRQGVWHSZDVWRVXEWUDFW(:,VIURP&06¶VHVWLPDWHVRIWRWDOHQWULHVIRUHDFKFRXQWU\
8QURXQGHGHVWLPDWHVZHUHXVHGWRGHULYHDOORIWKH¿JXUHVVKRZQLQWKLVUHSRUWDQGWKHQ
WKHHVWLPDWHVIRUHDFKFRXQWU\ZHUHURXQGHGWRKXQGUHGV
7KHODUJHVWHVWLPDWHVRI(:,VIRUWKHFRXQWULHVnotOLVWHGLQ7DEOH$ZHUH,QGLD  
&KLQD   %UD]LO +DLWL -DPDLFD DQG &RORPELD  HDFK  (FXDGRU DQG 3HUX 
HDFK DQGIRURWKHUFRXQWULHV7KHHVWLPDWHVRI(:,VIRUDOORWKHUFRXQWULHVZHUH
OHVVWKDQ


6HH7DEOHRIWKH'+6<HDUERRNRI,PPLJUDWLRQ6WDWLVWLFV
                                                                                                        777

                                                                                           *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 67 of 203
                             Journal on Migration and Human Security


      %7DEOH5HSOLFDWHGIURP:DUUHQ 

      Table 5. Change in the Undocumented Population, 2008
      to 2015, by Mode of Entry
      Numbers in thousands, rounded independently.
                                       WRSHULRG                      3HUFHQWWKDW
                            8QGRF                /HIWWKH         8QGRF       OHIWWKHSRS   $YHUDJH
      0RGHRIHQWU\         SRSLQ         1HW     XQGRF         SRSLQ        IURP       DQQXDO
                                    DUULYDOV     SRS                         WR    FKDQJH
                                (1)          (2)        (3)            (4)       (5)=(3)/(1) (6) (2)(3)
      7RWDO                                                                  
      (:,V                                                                        
      2YHUVWD\V                                                                    
      3HUFHQWRYHUVWD\V                                                                       
      Source&HQWHUIRU0LJUDWLRQ6WXGLHV&ROXPQVDQGHVWLPDWHVGHULYHGE\&06&ROXPQ >SRSXODWLRQ
      LQ@>SRSXODWLRQLQWKDWarrived before 2008@&RO &RO±&RO&RO
       8QGRFXPHQWHGUHVLGHQWVFDQOHDYHWKHSRSXODWLRQLQIRXUZD\VHPLJUDWHYROXQWDULO\DGMXVWWRODZIXO
      VWDWXVEHUHPRYHGE\'+6RU DUHODWLYHO\VPDOOQXPEHU GLH



      5()(5(1&(6
      '+6 86'HSDUWPHQWRI+RPHODQG6HFXULW\ Fiscal Year 2016 Entry/Exit Overstay
            Report:DVKLQJWRQ'&'+6
      .HUZLQ 'RQDOG  ³0RUH 7KDQ ,5&$ 86 /HJDOL]DWLRQ 3URJUDPV DQG WKH &XUUHQW
             3ROLF\ 'HEDWH´ :DVKLQJWRQ '& 0LJUDWLRQ 3ROLF\ ,QVWLWXWH KWWSVZZZ
             PLJUDWLRQSROLF\RUJUHVHDUFKXVOHJDOL]DWLRQSURJUDPVE\WKHQXPEHUV
      .HUZLQ'RQDOGDQG5REHUW:DUUHQ³1DWLRQDO,QWHUHVWVDQG&RPPRQ*URXQGLQ
             WKH 86 ,PPLJUDWLRQ 'HEDWH +RZ WR /HJDOL]H WKH 86 ,PPLJUDWLRQ 6\VWHP DQG
             3HUPDQHQWO\ 5HGXFH ,WV 8QGRFXPHQWHG 3RSXODWLRQ´Journal on Migration and
             Human Security  KWWSVGRLRUJMPKVYL
      :DUUHQ5REHUW³'HPRFUDWL]LQJ'DWDDERXW8QDXWKRUL]HG5HVLGHQWVLQWKH8QLWHG
             6WDWHV(VWLPDWHVDQG3XEOLF8VH'DWDWR´Journal on Migration and
             Human Security  KWWSG[GRLRUJMPKVYL
      ²²²³=HUR8QGRFXPHQWHG3RSXODWLRQ*URZWKLV+HUHWR6WD\DQG,PPLJUDWLRQ
          5HIRUP :RXOG 3UHVHUYH DQG ([WHQG 7KHVH *DLQV´ Journal on Migration and
          Human Securit\  KWWSVGRLRUJMPKVYL
      :DUUHQ 5REHUW DQG 'RQDOG .HUZLQ  ³%H\RQG '$3$ DQG '$&$ 5HYLVLWLQJ
              /HJLVODWLYH5HIRUPLQ/LJKWRI/RQJ7HUP7UHQGVLQ8QDXWKRUL]HG,PPLJUDWLRQ
              WR WKH 8QLWHG 6WDWHV´ Journal on Migration and Human Security    
              KWWSVGRLRUJMPKVYL
778

                                                                                                    *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 68 of 203
                DHS Overestimates Visa Overstays for 2016; O


²²²³7KH0LOH:DOOLQ6HDUFKRID3XUSRVH6LQFH9LVD2YHUVWD\V
    KDYH2XWQXPEHUHG8QGRFXPHQWHG%RUGHU&URVVHUVE\D+DOI0LOOLRQ´ Journal
    on Migration and Human Securit\     KWWSVGRLRUJ
    MPKVYYLL




                                                                                     779

                                                                         *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 69 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 70 of 203
                                                               GC CAR 0006
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 71 of 203
                                                               GC CAR 0006
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 72 of 203
                                                                GC CAR 0006
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 73 of 203
                                                               GC CAR 0006
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 74 of 203
                                                               GC CAR 00061
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 75 of 203
                                                                GC CAR 00062
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 76 of 203
                                                               GC CAR 0006
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 77 of 203
                                                                              6($77/(:$



                                                                              ',$1(0%87/(5

                                                                                        #



                                                -XQH

0U/)UDQFLV&LVVQD
'LUHFWRU
86&LWL]HQVKLS ,PPLJUDWLRQ6HUYLFHV
'HSDUWPHQWRI+RPHODQG6HFXULW\
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

6XEPLWWHGYLDHPDLOSXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY

Re:     Comment on USCIS Policy Memorandum: Accrual of Unlawful Presence and
        F, J, and M Nonimmigrants

'HDU'LUHFWRU&LVVQD

     ,DPZULWLQJWRFRPPHQWLQREMHFWLRQWRWKH86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
86&,6 SROLF\PHPRUDQGXPRI0D\³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG0
1RQLPPLJUDQWV´

         7KHPHPRLVDQDEUXSWGHSDUWXUHIURPVWDWXWRU\SURYLVLRQVDQGRYHU\HDUVRISROLF\
JXLGDQFH ,Q  &RQJUHVV SDVVHG ,,5,5$ ZKLFK LQFOXGHG XQODZIXO SUHVHQFH SURYLVLRQV
&RQJUHVVGLGQRWLQWHQGWRH[SDQGWKHGHILQLWLRQRIXQODZIXOSUHVHQFHWRLQFOXGHDOOYLRODWLRQVRI
VWDWXV 86&,6 FUDIWHG JXLGDQFH RQ WKLV FRPSOH[ DUHD RI ODZ LQ WKH 86&,6 0HPRUDQGXP
³&RQVROLGDWLRQ RI *XLGDQFH &RQFHUQLQJ 8QODZIXO 3UHVHQFH IRU 3XUSRVHV RI 6HFWLRQV
 D  % L DQG D  & L , RIWKH$FW´ 0D\ 1RUHJXODWLRQVHYHUKDYHEHHQ
SURPXOJDWHGWRLQWHUSUHWWKHPHDQLQJRIXQODZIXOSUHVHQFH

         3OHDVH ZLWKGUDZ WKH PHPR DQG GR QRW LQFRUSRUDWH WKH SURSRVHG VHFWLRQV LQWR WKH
$GMXGLFDWRU¶V)LHOG0DQXDO,PSOHPHQWLQJWKHFKDQJHVSODQQHGRQ$XJXVWFRXOGUHVXOW
LQ ) - DQG 0 QRQLPPLJUDQWV EHLQJ XQIDLUO\ H[FOXGHG IURP WKH 8QLWHG 6WDWHV WKURXJK YLVD
DSSOLFDWLRQ DGPLVVLRQV DQG FKDQJH RI VWDWXV SURFHGXUHV DQG LW ZRXOG KLQGHU HIIRUWV WR DWWUDFW
EULJKWLQQRYDWLYHPLQGVWRRXUFRXQWU\IURPDURXQGWKHZRUOG


,OOHJDO,PPLJUDWLRQ5HIRUPDQG,PPLJUDQW5HVSRQVLELOLW\$FWRI'LYLVLRQ&RI3XE/±6WDW

HQDFWHG6HSWHPEHU VRPHWLPHVDEEUHYLDWHGDV,,5$,5$RU,,5,5$ 
&RPSDUH,1$ D  % LL GHILQLQJXQODZIXOSUHVHQFHDVWKHSHULRG³DIWHUWKHH[SLUDWLRQRIWKHSHULRGRIVWD\

DXWKRUL]HGE\WKH$WWRUQH\*HQHUDODQG,,5,5$DQG,1$ J DSSO\LQJXQODZIXOSUHVHQFHRQO\WRDOLHQV
ZKR³UHPDLQHGLQWKH8QLWHG6WDWHVEH\RQGWKHSHULRGRIVWD\DXWKRUL]HG´WKDWLVEH\RQGDVSHFLILFGDWH




                                                                                                     GC CAR 000634
      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 78 of 203
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
-XQH
3DJH



Basis for Providing Comment

        , KDYH EHHQ SUDFWLFLQJ LPPLJUDWLRQ ODZ VLQFH  DQG KDYH UHSUHVHQWHG WKRXVDQGV RI
FOLHQWVILOLQJDZLGHUDQJHRISHWLWLRQVDQGDSSOLFDWLRQVZLWK86&,6 :RUNLQJLQSUR[LPLW\WR
WKH &DQDGLDQ ERUGHU , KDYH GHDOW H[WHQVLYHO\ ZLWK &XVWRPV DQG %RUGHU 3URWHFWLRQ &%3  DQG
ZLWKFRQVXODURIILFHVRQQRQLPPLJUDQWYLVD 1,9 LVVXHV,DOVRVHUYHDVDQDGYLVRUWRWKH7UDGH
'HYHORSPHQW$OOLDQFHRI*UHDWHU6HDWWOH¶V('85RXQGWDEOHSURPRWLQJKLJKHUHGXFDWLRQDVDQ
HOHPHQWRIWUDGHH[SDQVLRQ7KLVFRPPHQWIRFXVHVRQWKHSDUWRIWKHPHPRUDQGXPWKDWFRQFHUQV
VWDWXVYLRODWLRQUDWKHUWKDQRYHUVWD\LVVXHVDQGLQSDUWLFXODUIRFXVHVRQZKDWPLJKWEHFRQVWUXHG
DVXQDXWKRUL]HGHPSOR\PHQWDQGWKHUHVXOWLQJDFWLRQVE\&%3DQGFRQVXODURIILFHUV

Summary Examples of Harsh Consequences of Proposed Changes

    7KHSROLF\ZRXOGKDYHH[WUHPHO\KDUVKFRQVHTXHQFHVIRU)-DQG0QRQLPPLJUDQWV
 ³1,9 VWXGHQWV´  ZKR HQJDJH LQ DFWLYLWLHV GHHPHG WR FRQVWLWXWH HYHQ PLQRU LQDGYHUWHQW RU
XQZLWWLQJVWDWXVYLRODWLRQV)RUH[DPSOHLQWKHFRQWH[WRIZRUNWKHUHPD\EHDUDQJHRIDFWLRQV
WKDWFRXOGEHFRQVWUXHGWRFRQVWLWXWHVWDWXVYLRODWLRQV

    •   +DYLQJDQ($'DQGZRUNLQJIRUSD\IRUDGD\DVDEDUULVWD
    •   :HHNHQGEDE\VLWWLQJIRUDKRVWIDPLO\DQGUHFHLYLQJ$PD]RQJLIWFDUGV
    •   :RUNLQJWKURXJKRXWDVHPHVWHUIRUSD\LQDMREQRWDXWKRUL]HGXQGHU&XUULFXODU3UDFWLFDO
        7UDLQLQJRU2SWLRQDO3UDFWLFDO7UDLQLQJ
    •   :RUNLQJXQGHU237LQDMREWKDWODWHULVGHWHUPLQHGQRWWREHFORVHO\HQRXJKUHODWHGWR
        WKHGHJUHH
    •   :RUNLQJXQGHU&37IRUWZRKRXUVPRUHWKDQWKHKRXUVSHUZHHNDXWKRUL]HG
    •   9ROXQWHHULQJWRGRUHVHDUFKIRUDSURIHVVRU
    •   9ROXQWHHULQJLQDKRPHOHVVVKHOWHU
    •   ,QYHVWLQJLQDQGVWDUWLQJDEXVLQHVVDQGZRUNLQJWREXLOGLWZLWKRXWUHFHLYLQJDQ\SD\RU
    •   ,QYHVWLQJLQDQ(%HQWHUSULVH

6RPHH[DPSOHVZRXOGDSSHDUWRFRQVWLWXWHWHFKQLFDOVWDWXVYLRODWLRQVEXWDQXPEHUDUHVXEMHFW
WRLQWHUSUHWDWLRQ

        7KHVH W\SHV RI GHHPHG YLRODWLRQV GXH WR ZRUN PLJKW QRW FRPH WR WKH 1,9 VWXGHQW¶V
DWWHQWLRQXQWLOWKH\DUHRXWVLGHWKH8QLWHG6WDWHVDSSO\LQJIRUDYLVDRUDSSO\LQJIRUHQWU\ZLWK
&%3$FRQVXODURIILFHURU&%3RIILFHUPD\JRRJOHWKHVWXGHQWDQGVHHD)DFHERRNSRVWRIWKH
VWXGHQW EHKLQG D EDUULVWD FRXQWHU RU VHH D /LQNHG,Q UHIHUHQFH WR WKH VWXGHQW YROXQWHHULQJ LQ D




                                                                                                  GC CAR 000635
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 79 of 203
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
-XQH
3DJH



SURIHVVRU¶V ODE 7KH VWXGHQW PD\ KDYH KDG HYHU\ LQWHQW WR FRPSO\ ZLWK DOO LPPLJUDWLRQ
SURYLVLRQVDQGPD\KDYHWKRXJKWWKHH[SHULHQFHZDVSHUPLWWHG8QGHUWKHSURSRVHGSROLF\WKH
RIILFHUZRXOGEHREOLJHGWRILQGWKDWWKHXQODZIXOSUHVHQFHFORFNVWDUWHGWLFNLQJRQWKHILUVWGD\
RIWKHYROXQWHHUDFWLYLWLHV

         7KHSUREOHPZLWKWKHXQODZIXOSUHVHQFHFORFNXQGHUWKHSROLF\LVWKDWLWGRHVQRWWXUQRII
7KLVFUHDWHVD³JRWFKD´IRUWKH1,9VWXGHQWWKDWFRXOGVQHDNXSRQKLPRUKHURUIDPLO\PHPEHUV
IRU\HDUVWRFRPH 7KHSROLF\HIIHFWLYHO\ZRXOGLPSRVHDJXLOWXQWLOSURYHQLQQRFHQWVWDQGDUG
WKDWLVFRXQWHUWRRXUV\VWHPRIMXVWLFH

Due Process Concerns with the Inequity of Lack of Ability to Contest Unlawful Presence

        ,Q WKH FRQWH[W RI YLVD DSSOLFDWLRQV DQG VHHNLQJ HQWU\ WR WKH 8QLWHG 6WDWHV WKH 1,9
VWXGHQW¶V DELOLW\ WR FKDOOHQJH D GHFLVLRQ LV FXUWDLOHG :LWK WKH GRFWULQH RI FRQVXODU
QRQUHYLHZDELOLW\RQFHDFRQVXODURIILFHULVVXHVFHUWDLQGHFLVLRQVXFKDVDELPPLJUDQWLQWHQW
GHQLDO WKH VWXGHQW KDV QR FKDQFH WR GLVSXWH WKH GHQLDO 7KHUH LV QR DSSHDO DQG QR ZDLYHU
DSSOLFDWLRQ 6LPLODUO\ZKHQD&%3RIILFHUDWD3RUWRI(QWU\GHFLGHVQRWWROHWDQ1,9VWXGHQW
HQWHU EHFDXVH WKH &%3 RIILFHU GHFLGHG VRPH DFWLYLW\ FRQVWLWXWHG D VWDWXV YLRODWLRQ WKH VWXGHQW
KDVQRULJKWWRDSSHDO

        8QGHU WKH H[LVWLQJ SROLF\ WKH DELOLW\ WR FRQWHVW D VWDWXV YLRODWLRQ GHFLVLRQ DOUHDG\ LV
VRPHZKDWOLPLWHG %XWWKHXQODZIXOSUHVHQFHFORFNGRHVQRWVWDUWDQGFRQWLQXHWRWLFN 8QGHU
WKH SURSRVHG FKDQJH 1,9 VWXGHQWV PLJKW DFFUXH  GD\V RU  GD\V RI XQODZIXO SUHVHQFH
ZLWKRXW HYHQ NQRZLQJ LW ± UHWURDFWLYHO\ ± DQG WKHQ EH EDUUHG IURP WKH 8QLWHG 6WDWHV IRU WKUHH
\HDUVRU\HDUV 7KLVPD\RFFXURQWKHEULQNRIWKHVWXGHQWFRPSOHWLQJDFROOHJHGHJUHHDV
WKH\UHWXUQIURPVXPPHUEUHDNWRFRPSOHWHDODVWVHPHVWHU

Far-Reaching Ripple Effects

        7KHZLGHVFDOHRQZKLFKWKHSROLF\FKDQJHZRXOGDSSO\FRXOGKDYHIDUUHDFKLQJULSSOH
HIIHFWV ,I WKH 1,9 VWXGHQW ZLWK WKH GHHPHG YLRODWLRQ ZHUH D 7HDFKLQJ $VVLVWDQW WKH VFKRRO
UHO\LQJ RQ KDYLQJ WKH 7$ ZRXOG EH OHIW WR VFUDPEOH WR ILOO WKH QHHG 7KH VFKRROV ZLWK WKHVH
EDUUHG 1,9 VWXGHQWV ZRXOG IRUHJR WKH WXLWLRQ 7KH FRPPXQLWLHV ZKHUH WKHVH VWXGHQWV UHVLGHG
ZRXOGEHGHSULYHGRIWKHGLYHUVHH[FKDQJHRILGHDVDQGHFRQRPLFEHQHILWVRIWKHVWXGHQWVDQG
WKHLUIDPLOLHV 0RUHRYHULIWKH1,9VWXGHQWYLRODWHVVWDWXVWKHQWKHGHULYDWLYHVSRXVHDQG
DQGRYHU FKLOGUHQ DOVR ZRXOG VWDUW DFFUXLQJ XQODZIXO SUHVHQFH IURP WKH GDWH RI WKH VWXGHQW¶V
YLRODWLRQZLWKQRZD\RIGLVSXWLQJWKHDOOHJDWLRQV

       $V D PDWWHU RI VWDWXWRU\ FRQVWUXFWLRQ DQG DV D PDWWHU RI SROLF\ WKH WHUP ³XQODZIXO
SUHVHQFH´KDVEHHQGHILQHGDVPHDQLQJSUHVHQFHLQWKH8QLWHG6WDWHVEH\RQGDVSHFLILHGSHULRG
RIWLPHDQGVKRXOGQRWEHGHILQHGDVLQFOXGLQJDYLRODWLRQRIWHUPVRIQRQLPPLJUDQWVWDWXVZKHUH




                                                                                                  GC CAR 000636
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 80 of 203
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
-XQH
3DJH



WKH SHULRG RI DXWKRUL]HG QRQLPPLJUDQW VWDWXV KDV QRW H[SLUHG 8QODZIXO SUHVHQFH VKRXOG RQO\
WULJJHUZKHQWKHUHLVFOHDUQRWLFHRIUHPDLQLQJEH\RQGDQH[SLUDWLRQGDWHRIDXWKRUL]HGVWD\LQ
WKH8QLWHG6WDWHVDQGQRWZKHQWKHUHLVDFRQWHVWDEOHDOOHJDWLRQRIYLRODWLRQRIVWDWXV

        1,9 VWXGHQWV ZLWK VWDWXV YLRODWLRQV GHVFULEHG KHUHLQ JHQHUDOO\ GR QRW SUHVHQW D
VLJQLILFDQW WKUHDW WR QDWLRQDO VHFXULW\ DQG SXEOLF VDIHW\ 7KH SURSRVHG SROLF\ LV VR
XQIRUJLYLQJWKDWLWFUHDWHFKDRWLFFRQGLWLRQVZLWKKLJKOHYHOVRIXQSUHGLFWDELOLW\

         3OHDVHUHFRQVLGHUDQGGRQRWLPSOHPHQWWKLVSROLF\FKDQJH

9HU\WUXO\\RXUV

'DYLV:ULJKW7UHPDLQH//3




'LDQH0%XWOHU




Y
                                                                                             GC CAR 000637
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 81 of 203

-XQH

86'HSDUWPHQWRI+RPHODQG6HFXULW\
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
2IILFHRIWKH'LUHFWRU
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

6XEPLWWHGYLDHPDLOSXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY

         5H 86&,63ROLF\0HPRUDQGXP$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG0
                1RQLPPLJUDQWV

'HDU0DGDPRU6LU

,DPZULWLQJWRH[SUHVVP\RSSRVLWLRQDQGFRQFHUQVUHJDUGLQJWKHQHZSROLF\PHPRUDQGXP
³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´SRVWHGE\86&LWL]HQVKLSDQG
,PPLJUDWLRQ6HUYLFHV 86&,6 RQ0D\

%ULHIO\VWDWHGWKHQHZPHPRUDQGXPZLOOUHYHUVHPRUHWKDQ\HDUVRI86&,6SUDFWLFH
UHJDUGLQJWKHDFFUXDORI³XQODZIXOSUHVHQFH´DOHJDOWHUPGHILQHGXQGHUVHFWLRQ D  % LL 
RIWKH,PPLJUDWLRQDQG1DWLRQDOLW\$FW ,1$ E\UHIHUHQFHWRDQLQGLYLGXDOZKR³LVSUHVHQWLQ
WKH8QLWHG6WDWHVDIWHUH[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDORULV
SUHVHQWLQWKH8QLWHG6WDWHVZLWKRXWEHLQJDGPLWWHGRUSDUROHG´)RUQRQLPPLJUDQWVWXGHQWVDQG
H[FKDQJHYLVLWRUVLQWKH)-DQG0FDWHJRULHVOHJDF\,PPLJUDWLRQDQG1DWXUDOL]DWLRQ6HUYLFH
  ,16 DQG86&,6KDYHLQWHUSUHWHGWKHVWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQVWRUHTXLUHQRWLFHWR
WKHLQGLYLGXDORIDVWDWXVYLRODWLRQSULRUWRWKHFRPPHQFHPHQWRIWKHXQODZIXOSUHVHQFHFORFN
6XFKQRWLFHLVSURYLGHGLQWKHFRQWH[WRIWKHDGMXGLFDWLRQRIDUHTXHVWIRUDQLPPLJUDWLRQEHQHILW
E\86&,6RUDGHWHUPLQDWLRQRIDVWDWXVYLRODWLRQE\DQLPPLJUDWLRQMXGJH7KH86&,6JXLGDQFH
DUWLFXODWLQJWKLVSRVLWLRQVWDWHV³,WPXVWEHHPSKDVL]HGWKDWWKHDFFUXDORIXQODZIXOSUHVHQFH
QHLWKHUEHJLQVRQWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVQRURQWKHGD\RQZKLFKUHPRYDO
SURFHHGLQJVDUHLQLWLDWHG´ 7KLVORQJVWDQGLQJSROLF\SURYLGHVFHUWDLQW\LQGHWHUPLQLQJZKHQ
XQODZIXOSUHVHQFHEHJLQVWRDFFUXHZKLFKWKHQHZSROLF\GRHVQRW

$VGHVFULEHGLQWKH0D\PHPRUDQGXP86&,6ZLOOQRZGHHPXQODZIXOSUHVHQFHWR
KDYHVWDUWHGDFFUXLQJDVRIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJWKH
FULWLFDOSURFHGXUDOVDIHJXDUGRISURYLGLQJQRWLFHWRDIIHFWHGLQGLYLGXDOVWKDWPD\ILQGWKHPVHOYHV
VXEMHFWWRWKHWKUHHDQGWHQ\HDUEDUVWRDGPLVVLELOLW\7KLVUDLVHVVHULRXVTXHVWLRQVUHJDUGLQJ
IXQGDPHQWDOIDLUQHVVDQGGXHSURFHVVDQGZLOOKDYHDVLJQLILFDQWQHJDWLYHLPSDFWRQWKHVWXGHQW
YRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHV




 See86&,60HPRUDQGXP&RQVROLGDWLRQRI*XLGDQFH&RQFHUQLQJ8QODZIXO3UHVHQFHIRU3XUSRVHVRI6HFWLRQV
 D  % L DQG D  & L , RIWKH$FW´ 0D\ available atKWWSZZZDLODRUJLQIRQHWXVFLV
FRQVROLGDWLRQJXLGDQFHXQODZIXOSUHVHQFH



                                                                                                *&&$5


       Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 82 of 203
,QUHFRJQLWLRQRIWKHIOXLGLW\RIDFDGHPLFSURJUDPV)0DQG-QRQLPPLJUDQWVDUHQRWDGPLWWHG
WRWKH86XQWLODGDWHFHUWDLQ,QVWHDGWKH\DUHDGPLWWHGIRUWKH³GXUDWLRQRIWKHLUVWDWXV´RU
³'6´ZKLFKPHDQVWKHVWXGHQWRUH[FKDQJHYLVLWRUFDQUHPDLQLQWKH8QLWHG6WDWHVDVORQJDV
WKH\PDLQWDLQWKHLUQRQLPPLJUDQWVWDWXV7KLVJHQHUDOO\PHDQVWKHVWXGHQWPXVWPDLQWDLQDIXOO
FRXUVHRIVWXG\RUUHPDLQLQWKHH[FKDQJHSURJUDPQRWHQJDJHLQXQDXWKRUL]HGHPSOR\PHQWRU
RWKHUXQDXWKRUL]HGDFWLYLWLHVDQGFRPSOHWHWKHDFDGHPLFRUH[FKDQJHSURJUDPLQDWLPHO\
PDQQHURUREWDLQDQH[WHQVLRQ:KDWWKHQHZPHPRUDQGXPIDLOVWRUHFRJQL]HLVWKDWWKHTXHVWLRQ
DVWRZKHWKHUDQLQGLYLGXDOKDVYLRODWHGWKHLUQRQLPPLJUDQWVWDWXVLVFRPSOH[DQGQXDQFHG
6WXGHQWVDQGH[FKDQJHYLVLWRUVFDQDFFLGHQWDOO\DQGXQNQRZLQJO\YLRODWHWKHLUVWDWXVE\GURSSLQJ
VOLJKWO\EHORZDIXOOFRXUVHRIVWXG\RUE\HQJDJLQJLQLQQRFHQWEXWXQDXWKRUL]HGDFWLYLW\)RU
H[DPSOH)VWXGHQWVDUHSHUPLWWHGWRHQJDJHLQZRUNDWD³TXDOLI\LQJRQFDPSXVMRE´IRUXSWR
KRXUVSHUZHHNZKLOHVFKRROLVLQVHVVLRQ7KHUHIRUHDQ)VWXGHQWZKRLQDGYHUWHQWO\
H[FHHGVWKHKRXUOLPLWE\MXVWDFRXSOHRIKRXUVKDVWHFKQLFDOO\YLRODWHGKLVRUKHUVWXGHQW
VWDWXV,QDGGLWLRQD'HVLJQDWHG6FKRRO2IILFLDOPD\PDNHDJRRGIDLWKHUURULQDGYLVLQJD
VWXGHQWE\DXWKRUL]LQJDUHGXFHGFRXUVHORDGWKDWVKRXOGQRWKDYHEHHQDSSURYHGWKHUHE\
OHDGLQJWKHVWXGHQWWRXQNQRZLQJO\DQGXQLQWHQWLRQDOO\YLRODWHWKHLUVWDWXV7KLVXQIDLUQHVVLV
FRPSRXQGHGZKHQWKHVWDWXVYLRODWLRQDOVRVHUYHVDVWKH³WULJJHU´IRUWKHDFFUXDORIXQODZIXO
SUHVHQFHE\GHSHQGHQWVRIVWXGHQWVDQGH[FKDQJHYLVLWRUV

2WKHUH[DPSOHVLQFOXGH

     x $VWXGHQWLVLQWKHILQDO6SULQJVHPHVWHURID0DVWHUVSURJUDPDQGLVHQUROOHGLQKLVODVW
         UHTXLUHGFRXUVHRQKLVGHJUHHSODQ ZKLFKLVDFUHGLWFRXUVH 7KHVWXGHQWSODQVWR
         FRQWLQXHRQZLWKKLV3K'LQWKH)DOOVHPHVWHUZLWKDIXOOWLPHFRXUVHORDG+RZHYHU
         WKHVWXGHQWLQDGYHUWHQWO\PLVVHVWKHGHDGOLQHIRUILOLQJKLV0D\JUDGXDWLRQSDSHUZRUN
         7KHUHIRUHKLV0DVWHUVGHJUHHZLOOQRWEHRIILFLDOO\DZDUGHGXQWLO'HFHPEHU WKHHQGRI
         WKH)DOOVHPHVWHU ,QVXFKDFDVHLWZLOODSSHDUWKDWWKHVWXGHQWZDVXQGHUHQUROOHGLQ
         WKH6SULQJVHPHVWHUZKLFKLVDYLRODWLRQRIVWDWXV,QUHDOLW\KHFRUUHFWO\IROORZHGWKH
         UHJXODWLRQVUHJDUGLQJHQUROOPHQWEXWPLVVHGDSDSHUZRUNGHDGOLQH

86&,6VWDWHVWKDWWKHSXUSRVHRIWKHQHZJXLGDQFHLVWR³UHGXFHWKHQXPEHURIRYHUVWD\V´DQG
³WRLPSURYHKRZ86&,6LPSOHPHQWVWKHXQODZIXOSUHVHQFHJURXQGRILQDGPLVVLELOLW\´
8QIRUWXQDWHO\WKLVDSSURDFKDFFRPSOLVKHVQHLWKHURIWKHVHJRDOVDQGZLOOLQVWHDGXQIDLUO\SXQLVK
DSRWHQWLDOO\VLJQLILFDQWSRUWLRQRIWKHVWXGHQWDQGH[FKDQJHYLVLWRUSRSXODWLRQIXUWKHUHURGH
IRUHLJQVWXGHQWHQUROOPHQWVDW86FROOHJHVDQGXQLYHUVLWLHVDQGXQQHFHVVDULO\GDPDJHWKH86
HFRQRP\,XUJH86&,6WRDEDQGRQWKLVPLVJXLGHGGLUHFWLYHDQGWRPDLQWDLQWKHXQODZIXO
SUHVHQFHJXLGDQFHWKDWKDVEHHQLQSODFHIRUGHFDGHVDQGHQVXUHVWKDWIXQGDPHQWDOIDLUQHVVLVD
FULWLFDOFRPSRQHQWLQLQWHUSUHWLQJDQGLPSOHPHQWLQJWKHXQODZIXOSUHVHQFHVWDWXWH

6LQFHUHO\


-XOLD6LX0$
,QWHUQDWLRQDO6WXGHQW&RXQVHORU
,QWHUQDWLRQDO6WXGHQWDQG6FKRODU6HUYLFHV
2IILFHRI,QWHUQDWLRQDO$IIDLUV



                                                                                       *&&$5


    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 83 of 203
7H[DV7HFK8QLYHUVLW\




                                                                  *&&$5


   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 84 of 203
-XQH

86'HSDUWPHQWRI+RPHODQG6HFXULW\
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
2IILFHRIWKH'LUHFWRU
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

6XEPLWWHGYLDHPDLOSXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY

        5H      86&,63ROLF\0HPRUDQGXP$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG0
                 1RQLPPLJUDQWV

'HDU0DGDPRU6LU

,DPZULWLQJWRH[SUHVVP\RSSRVLWLRQDQGFRQFHUQVUHJDUGLQJWKHQHZSROLF\PHPRUDQGXP
³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´SRVWHGE\86&LWL]HQVKLSDQG
,PPLJUDWLRQ6HUYLFHV 86&,6 RQ0D\

%ULHIO\VWDWHGWKHQHZPHPRUDQGXPZLOOUHYHUVHPRUHWKDQ\HDUVRI86&,6SUDFWLFH
UHJDUGLQJWKHDFFUXDORI³XQODZIXOSUHVHQFH´DOHJDOWHUPGHILQHGXQGHUVHFWLRQ D  % LL 
RIWKH,PPLJUDWLRQDQG1DWLRQDOLW\$FW ,1$ E\UHIHUHQFHWRDQLQGLYLGXDOZKR³LVSUHVHQWLQ
WKH8QLWHG6WDWHVDIWHUH[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDORULV
SUHVHQWLQWKH8QLWHG6WDWHVZLWKRXWEHLQJDGPLWWHGRUSDUROHG´)RUQRQLPPLJUDQWVWXGHQWVDQG
H[FKDQJHYLVLWRUVLQWKH)-DQG0FDWHJRULHVOHJDF\,PPLJUDWLRQDQG1DWXUDOL]DWLRQ6HUYLFH
 ,16 DQG86&,6KDYHLQWHUSUHWHGWKHVWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQV WRUHTXLUHQRWLFHWR
WKHLQGLYLGXDORIDVWDWXVYLRODWLRQSULRUWRWKHFRPPHQFHPHQWRIWKHXQODZIXOSUHVHQFHFORFN
6XFKQRWLFHLVSURYLGHGLQWKHFRQWH[WRIWKHDGMXGLFDWLRQRIDUHTXHVWIRUDQLPPLJUDWLRQEHQHILW
E\86&,6RUDGHWHUPLQDWLRQRIDVWDWXVYLRODWLRQE\DQLPPLJUDWLRQMXGJH7KH86&,6JXLGDQFH
DUWLFXODWLQJWKLVSRVLWLRQVWDWHV³,W PXVWEHHPSKDVL]HGWKDWWKHDFFUXDO RIXQODZIXOSUHVHQFH
QHLWKHUEHJLQVRQWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVQRURQWKHGD\RQZKLFKUHPRYDO
SURFHHGLQJVDUHLQLWLDWHG´ 7KLVORQJVWDQGLQJSROLF\SURYLGHVFHUWDLQW\LQGHWHUPLQLQJZKHQ
XQODZIXOSUHVHQFHEHJLQVWRDFFUXHZKLFKWKHQHZSROLF\GRHVQRW

$VGHVFULEHGLQWKH0D\PHPRUDQGXP86&,6ZLOOQRZGHHPXQODZIXOSUHVHQFHWR
KDYHVWDUWHGDFFUXLQJDVRIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJWKH
FULWLFDOSURFHGXUDOVDIHJXDUGRISURYLGLQJQRWLFHWRDIIHFWHGLQGLYLGXDOVWKDWPD\ILQGWKHPVHOYHV
VXEMHFWWRWKHWKUHHDQGWHQ\HDUEDUVWRDGPLVVLELOLW\7KLVUDLVHVVHULRXVTXHVWLRQVUHJDUGLQJ
IXQGDPHQWDOIDLUQHVVDQGGXHSURFHVVDQGZLOOKDYHDVLJQLILFDQWQHJDWLYHLPSDFWRQWKHVWXGHQW
YRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHV




 See 86&,60HPRUDQGXP&RQVROLGDWLRQRI*XLGDQFH&RQFHUQLQJ8QODZIXO3UHVHQFHIRU3XUSRVHVRI6HFWLRQV
 D  % L DQG D  & L , RIWKH$FW´ 0D\ available at KWWSZZZDLODRUJLQIRQHWXVFLV
FRQVROLGDWLRQJXLGDQFHXQODZIXOSUHVHQFH



                                                                                                 *&&$5


    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 85 of 203
,QUHFRJQLWLRQRIWKHIOXLGLW\RIDFDGHPLFSURJUDPV)0DQG-QRQLPPLJUDQWVDUHQRWDGPLWWHG
WRWKH86XQWLODGDWHFHUWDLQ,QVWHDGWKH\DUHDGPLWWHGIRUWKH³GXUDWLRQRIWKHLUVWDWXV´RU
³'6´ ZKLFKPHDQVWKHVWXGHQWRUH[FKDQJHYLVLWRUFDQUHPDLQLQWKH8QLWHG6WDWHVDVORQJDV
WKH\PDLQWDLQWKHLUQRQLPPLJUDQWVWDWXV7KLVJHQHUDOO\PHDQVWKHVWXGHQWPXVWPDLQWDLQDIXOO
FRXUVHRIVWXG\RUUHPDLQLQWKHH[FKDQJHSURJUDPQRWHQJDJHLQXQDXWKRUL]HGHPSOR\PHQWRU
RWKHUXQDXWKRUL]HGDFWLYLWLHVDQGFRPSOHWHWKHDFDGHPLFRUH[FKDQJHSURJUDPLQDWLPHO\
PDQQHURUREWDLQDQH[WHQVLRQ:KDWWKHQHZPHPRUDQGXPIDLOVWRUHFRJQL]HLVWKDWWKHTXHVWLRQ
DVWRZKHWKHUDQLQGLYLGXDOKDV YLRODWHGWKHLUQRQLPPLJUDQWVWDWXVLVFRPSOH[DQGQXDQFHG
6WXGHQWVDQGH[FKDQJHYLVLWRUVFDQDFFLGHQWDOO\DQGXQNQRZLQJO\YLRODWHWKHLUVWDWXVE\GURSSLQJ
VOLJKWO\EHORZDIXOOFRXUVHRIVWXG\RUE\HQJDJLQJLQLQQRFHQWEXWXQDXWKRUL]HGDFWLYLW\)RU
H[DPSOH)VWXGHQWVDUHSHUPLWWHGWRHQJDJHLQZRUNDWD³TXDOLI\LQJRQFDPSXVMRE´IRUXSWR
KRXUVSHUZHHNZKLOHVFKRROLVLQVHVVLRQ7KHUHIRUHDQ)VWXGHQWZKRLQDGYHUWHQWO\
H[FHHGVWKHKRXUOLPLWE\MXVWDFRXSOHRIKRXUVKDVWHFKQLFDOO\YLRODWHGKLVRUKHUVWXGHQW
VWDWXV,QDGGLWLRQD'HVLJQDWHG6FKRRO2IILFLDOPD\PDNHDJRRGIDLWKHUURULQDGYLVLQJD
VWXGHQWE\DXWKRUL]LQJDUHGXFHGFRXUVHORDGWKDWVKRXOGQRWKDYHEHHQDSSURYHGWKHUHE\
OHDGLQJWKHVWXGHQWWRXQNQRZLQJO\DQGXQLQWHQWLRQDOO\YLRODWHWKHLUVWDWXV7KLVXQIDLUQHVVLV
FRPSRXQGHGZKHQWKHVWDWXVYLRODWLRQDOVRVHUYHVDVWKH³WULJJHU´IRUWKHDFFUXDORIXQODZIXO
SUHVHQFHE\GHSHQGHQWVRIVWXGHQWVDQGH[FKDQJHYLVLWRUV

2WKHUH[DPSOHVLQFOXGH

   x   6WXGHQWZDVWROGE\SUHYLRXVLQVWLWXWLRQRIGHDGOLQHWRWUDQVIHU6(9,6UHFRUGRXWWRQHZ
       LQVWLWXWLRQ+RZHYHUWKHGHDGOLQHSURYLGHGZDVLQFRUUHFWDQGWKHVWXGHQWZHQWRXWRI
       VWDWXVWKURXJKQRIDXOWRIWKHLURZQ$VVXFKWKHVWXGHQWZDVUHTXLUHGWRILOHIRU
       UHLQVWDWHPHQWWKDWLVVWLOOSHQGLQJDIWHUDOPRVWPRQWKV6KRXOGWKLVQHZSROLF\JRLQWR
       HIIHFWWKHVWXGHQWZRXOGKDYHEHHQRXWRIVWDWXVDQGXQODZIXOO\SUHVHQWIRUPRQWKVDW
       WKHWLPHRIZULWLQJ7KHQHZSROLF\ZRXOGEDQWKHVWXGHQWIURPUHWXUQLQJWRWKH86IRU
       RU\HDUV,QWKLVSDUWLFXODUFDVHWKHVWXGHQWGLGQRWKLQJZURQJEXWZDVDGYLVHG
       LQFRUUHFWO\E\KLVSUHYLRXVLQVWLWXWLRQ\HWKHZRXOGSD\WKHORQJWHUPFRQVHTXHQFHV
   x   6WXGHQWIHOORXWRIVWDWXVGXHWRSUHYLRXVLQVWLWXWLRQQRW IROORZLQJ6(93SROLFLHVDQG
       SURFHGXUHV$VVXFKWKHVWXGHQWZDVUHTXLUHGWRDSSO\IRUUHLQVWDWHPHQWEXWGXHWRWKH
       OHQJWK\DSSOLFDWLRQSURFHVVKDGWRFDQFHOKLVUHLQVWDWHPHQWDSSOLFDWLRQVRKHFRXOG
       WUDQVIHUWRDQHZLQVWLWXWLRQWREHJLQKLVFROOHJHFDUHHU LIKHKDGQRWWUDQVIHUUHGKH
       ZRXOGQRWKDYHEHHQDEOHWRHQUROOIXOOWLPHDVUHTXLUHGE\UHJXODWLRQ +HUHVXEPLWWHG
       KLVUHLQVWDWHPHQWDSSOLFDWLRQIRUDVHFRQGWLPHDQGDWWKLVSRLQWKDVEHHQRXWRIVWDWXVIRU
       DSSUR[LPDWHO\PRQWKV*LYHQWKHOHQJWK\UHLQVWDWHPHQWDSSOLFDWLRQDSSURYDOWLPHOLQH
       LWZLOOEHDOPRVWPRQWKVEHIRUHKHLVDSSURYHGIRU IXOOVWDWXV,PSOHPHQWDWLRQRIWKLV
       SROLF\ZRXOGLUUHYRFDEO\KDUPWKHVWXGHQWZKREHFDPHRXWRIVWDWXVWKURXJKWKHSUHYLRXV
       LQVWLWXWLRQ¶VODFNRIDGKHUHQFHWR6(93SROLF\,QWKLVFDVHWKHVWXGHQWGLGQRWKLQJ
       ZURQJDQGKDVEHHQDGKHULQJWRDOOUHJXODWLRQVDGRSWLQJWKHQHZJXLGDQFHZRXOG
       LUUHYRFDEO\KDUPWKLVVWXGHQWDVKHZRXOGOLNHO\EHXQGHUWKH\HDUEDQWKRXJKKH
       IDLWKIXOO\ IROORZHGDOOUHTXLUHPHQWV
   x   6WXGHQWIHOORXWRIVWDWXVZKLOHZDLWLQJIRUUHTXLUHGDGPLVVLRQVSDSHUZRUNWRWUDQVIHUWR
       QHZLQVWLWXWLRQ6WXGHQWKDVEHHQDSSURYHGIRUUHLQVWDWHPHQWEXWKDGWKLVSROLF\WDNHQ
       HIIHFWZRXOGKDYHEHHQEDUUHGIURP UHWXUQLQJIRUWR\HDUVGXHWRDSDSHUZRUNHUURU




                                                                                       *&&$5


   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 86 of 203
86&,6VWDWHVWKDWWKHSXUSRVHRIWKHQHZJXLGDQFHLVWR³UHGXFHWKHQXPEHURIRYHUVWD\V´DQG
³WRLPSURYHKRZ86&,6LPSOHPHQWVWKHXQODZIXOSUHVHQFHJURXQGRILQDGPLVVLELOLW\´
8QIRUWXQDWHO\WKLVDSSURDFKDFFRPSOLVKHVQHLWKHURIWKHVHJRDOVDQGZLOOLQVWHDGXQIDLUO\SXQLVK
DSRWHQWLDOO\VLJQLILFDQWSRUWLRQRIWKHVWXGHQWDQGH[FKDQJHYLVLWRUSRSXODWLRQIXUWKHUHURGH
IRUHLJQVWXGHQWHQUROOPHQWVDW86FROOHJHVDQGXQLYHUVLWLHVDQGXQQHFHVVDULO\GDPDJHWKH86
HFRQRP\,XUJH86&,6WRDEDQGRQWKLVPLVJXLGHGGLUHFWLYHDQGWRPDLQWDLQWKHXQODZIXO
SUHVHQFHJXLGDQFHWKDWKDVEHHQLQSODFHIRUGHFDGHVDQGHQVXUHVWKDWIXQGDPHQWDOIDLUQHVVLVD
FULWLFDOFRPSRQHQWLQLQWHUSUHWLQJDQGLPSOHPHQWLQJWKHXQODZIXOSUHVHQFHVWDWXWH

6LQFHUHO\

.DWLH$KOPDQ




                                                                                     *&&$5


   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 87 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 88 of 203
DHS and DOS were recipients of that information. International students and scholars
remain the most regulated and monitored group of non-immigrants within U.S. borders. As
Designated School Officials and Responsible Officers, international educators serve a vital
role in maintaining the integrity/information reporting of their portion of the non-
immigrant population, removing a burden that ICE could not possibly carry, while allowing
students and scholars to accomplish their goals. Applying a standard of unlawful presence
to minor, correctable infractions undermines the ability of the United States to successfully
attract and enroll international students and scholars.

Need Analysis

The data analysis provided to justify the need for this policy change is weak. The report only
uses one year of data for all of the F, M, and J overstays. The previous two years only
measured tourist visa entry/exit data. One set of data points makes it impossible to
interpret the data correctly. There is no ability to determine if this is an increasing,
decreasing, or maintained trend. To then make assumptions based on a small portion of
data is not advisable.

DHS notes the following: “The United States did not build its border, aviation, and
immigration infrastructure with exit processing in mind. Consequently, airports in the
United States do not have areas designated exclusively for travelers leaving the United
States. Instead, traveler departures are recorded biographically using outbound passenger
manifests provided by commercial carriers. Under the Advance Passenger Information
System legislation, carriers are required to validate the manifest against the travel document
presented by the traveler before he or she is permitted to board the aircraft or sea vessel.

DHS classifies individuals as overstays by using the ADIS system to match departure and
status change records to arrival records collected during the admission process. DHS
identifies individuals as having overstayed if their departure record shows they departed
the United States after their lawful admission period expired (i.e., Out-of-Country
Overstays). While these individuals are considered overstays, there is evidence indicating
they are no longer physically present in the United States. DHS also identifies individuals as
possible overstays if there are no records of a departure or change in status prior to the end
of their authorized admission period.

Even with the holes in this system, the F, M, and J Suspected In-Country Overstay rate is
2.81 percent of the total number of students and exchange visitors who were expected to
change status or depart the United States.

There is no information on length of overstay. One does not trigger the three-year bar until
one has accrued more than 180 days, but less than one year, of unlawful presence. Those
who accrue one year or more of unlawful presence are barred for ten years. The data do not
speak to this information either.

The Overstay Report on which this policy relies also states that DHS is also implementing a
biometric-based departure program to complement the biographic data collection that
already exists. Perhaps DHS should wait until their data are complete before implementing
such unreasonably harsh and unnecessary enforcement measures.

Adjudication Delays

A student who commits a minor technical immigration infraction, such as failing to report
an information update, has the option of applying to be reinstated to lawful status. Such



                                                                                        GC CAR 000645
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 89 of 203
applications are currently taking DHS in excess of 11 months nationwide to adjudicate.
According to the new policy memo, if a student’s reinstatement application is denied, he or
she must immediately depart the country, and the period of time from the date of the
original status violation to the date when the reinstatement is denied counts toward the
unlawful presence calculation. In other words, that student would then be barred for
returning to the United States, potentially for up to 10 years, but most likely for at least
three years, depending on the time it takes DHS to adjudicate the application. At a
minimum, given current processing times, all students who have reinstatement applications
denied will face a three-year bar. We want policies that encourage students to take
responsibility for their mistakes in this regard. This new policy will have the opposite effect.
This is highly disruptive to the student/scholar experience when there have not necessarily
been any unlawful actions taken and they are requesting a legitimate benefit related to their
lawful status.

Any reasonable person would ask why USCIS would take so long to adjudicate an
application for reinstatement, given their stated purpose of securing our borders and
enhancing security.

Impact on Future Applications

It is not clear how this memorandum will impact the processes of the other government
agencies (SEVIS records, CBP admission processes and I-94s, DOS and visa issuance). It is
not completely clear how a violation may affect future applications (H1-B, LPR), but the
potential for a “surprise” finding of a previous violation seems to be a real possibility. These
sorts of surprises impact much more than the international applicant, ranging from an
American citizen expecting the admission of a fiancé, to institutions anticipating a new
professor or researcher, to businesses counting on a new hire.

Dependents

The consequences for dependents is another area of concern. A dependent may have his or
her own status violation or be subject to a violation of the F-1 as a dependent. Because
dependents may apply for change of status to F-1, J-1, and other statuses, how might USCIS
change the review process for determining eligibility for the new status based on the
memorandum? This clearly creates the possibility of more RFEs and even longer
adjudication processing timelines.

Is this memo attempting to override the current statutory exception to Unlawful Presence
applied to minors under the age of 18? How is an F-2, M-2, or J-2 dependent’s “conduct or
circumstances” evaluated in terms of determining whether a period of authorized stay
would end? Why should an individual other than the one who committed the violation be
denied benefits?

Questions

Clarification is needed on page 4: An F, J, or M nonimmigrant begins accruing unlawful
presence, due to a failure to maintain his or her status on or after August 9, 2018, on the
earliest day of any of the following:
      x “The day after the Form I-94 expires, if the F, J, or M nonimmigrant was admitted
           for a date certain”




                                                                                          GC CAR 000646
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 90 of 203
This bullet point raised some concern for students who have entered the United States with
an I-515A. Previously, as long their documentation had been received for adjudication
before the end date on the I-94, they were allowed to stay inside the United States even
after that date until their request had been approved or denied. Will they now begin
accruing days of unlawful presence after the end date on their I-94 documents? What if the
request is approved? How will that be annotated so that unlawful presence is not triggered,
if that is the end result?

Footnote 17 on page 7 of this memo indicates that an alien who violates status is subject to
removal proceedings and rendered deportable. With this remedy already in place, what are
the merits of this change in guidance?

On page 10 the fourth bullet point in the section under “Foreign students (F nonimmigrant)
. . .” speaks of cap gap. Perhaps USCIS could also provide guidance on cap gap grace periods
for when the H-1B petition is denied or withdrawn, as that continues to be an unclear point
within DHS and thus within the community of stakeholders.

Regarding footnote 29 on page 10: “If the reinstatement application is approved, however,
no unlawful presence generally will have accrued during the time period in which the
student was out of status,” we ask that USCIS clarify what “generally” means in the context
of this sentence.

We are fortunate to have proactive systems in place to prevent these inadvertent status
violations at Indiana University, but our systems do not have the ability to change the
administration’s propensity to do harm to those who come to the United States to make a
better life for themselves and their families. What the administration fails to understand is
that in the end, it is the United States that will suffer as the world’s leading students,
researchers, and scientists go elsewhere to make contributions toward solving the world’s
greatest challenges, to be leaders in the arts, education, and industry—and to create jobs.

Thank you for taking the above recommendations under consideration prior to revising this
Policy Memorandum.

Sincerely,



David Zaret
Vice President


cc:    Christopher Viers, Associate Vice President for International Services
       Doug Wasitis, Assistant Vice President for Government Relations




                                                                                        GC CAR 000647
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 91 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 92 of 203
electronic records such as SEVIS (the Student and Exchange Visitor Information System) could be
inconsistent or inaccurate, leading to an erroneous determination that the student or exchange visitor
has not maintained lawful status. Also, new initiatives by the Student and Exchange Visitor Program
(SEVP) offer the opportunity for students engaged in OPT to update certain personal and employment
information through a portal, but due to technical issues and some confusion among students about
when and how to enter information, the data entered through this portal is not always accurate. This
OPT portal example represents an instance in which a student could be judged to have violated lawful
immigration status and would be subject to the severe consequences of accrual of unlawful presence.

Students who apply for reinstatement to F-1 status to address a status violation will not know for many
months whether or not their reinstatement application has been approved. The status violation could
be relatively minor, such as the failure to maintain full-time enrollment due to dropping one class
without obtaining appropriate advance permission. Under current policy, if USCIS ultimately denies the
reinstatement request, the student would not start accruing unlawful presence until the date of the
denial, which gives sufficient time to either make arrangements to leave the country, or possibly to ask
USCIS to reconsider its decision. In the proposed policy, virtually all students whose reinstatement
applications are denied would find themselves subject to at least the 3-year bar, merely because USCIS
takes so long to adjudicate applications for reinstatement.

Similarly, if students and scholars were under the impression that they were maintaining status but
were later determined not to be doing so, they could be subject to the various bars. They would not be
able to take action to avoid penalties resulting from unlawful presence since the alleged status violation
would be in the past and unlawful presence would have already accrued. This gap presents a significant
notice and due process concern for international students and scholars.

Finally, as an institution that values the contributions of our international community, including our F-1
students and our J-1 Exchange Visitors, we are concerned that imposing these significant sanctions for
technical or inadvertent errors may discourage international students and scholars planning study or
research at the University of Michigan. Our highly skilled international students and scholars may
perceive this change as a message that the United States is not welcoming to them, and may choose to
pursue studies or research in other countries. Instead, we would hope that USCIS would support policies
that do not damage the United States’ position as a leader in global education.

Our recommendation is to leave the current policy in place. Of course, we appreciate the need to
reduce potential overstays, but, for the reasons explained in this comment letter, we question whether
directly equating a violation of nonimmigrant status under INA 214, with the start of counting days of
unlawful presence under INA 212(a)(9)(B) is the appropriate way to accomplish that goal. Instead, it is
more likely to result in situations in which compliant international students and exchange visitors are
found to have accrued unlawful presence due to misunderstandings or inadvertent errors. Like
American students, international students should be allowed to complete their studies at their chosen
institution, without the stress or fear of being subject to severe penalties based on an oversight of which
they may not be aware.

Although this comment letter specifically addresses the proposed policy memo’s impact on the
University of Michigan, the University also supports and concurs with the comments and
recommendations regarding this proposed policy change made by NAFSA: Association of International
Educators.

                                                                                                Page 2 of 3




                                                                                                GC CAR 000649
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 93 of 203
The University of Michigan thanks USCIS for the opportunity to comment on this proposed policy
change.

Sincerely,


Judith Pennywell
Judith Pennywell, Ed.D.
Director, International Center
University of Michigan


Louise M. Baldwin
Louise M. Baldwin
Senior Associate Director
International Center, University of Michigan




                                                                                           Page 3 of 3




                                                                                           GC CAR 000650
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 94 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 95 of 203
                                                                 GC CAR 000652
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 96 of 203
                                                                 GC CAR 000653
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 97 of 203
-XQH

0U/)UDQFLV&LVVQD
'LUHFWRU
86&LWL]HQVKLS ,PPLJUDWLRQ6HUYLFHV
'HSDUWPHQWRI+RPHODQG6HFXULW\
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

'HDU'LUHFWRU&LVVQD

$VOHDGHUVRIDVVRFLDWLRQVUHSUHVHQWLQJWZRDQGIRXU\HDUSXEOLFDQGQRQSURILWLQVWLWXWLRQVRIKLJKHU
HGXFDWLRQZHZULWHWRH[SUHVVVHULRXVFRQFHUQZLWKWKH86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
  86&,6 SROLF\PHPRUDQGXPGDWHG0D\FRQFHUQLQJWKH³$FFUXDORI8QODZIXO3UHVHQFHIRU)
-DQG01RQLPPLJUDQWV´$VZULWWHQWKHPHPRREVFXUHVDQGFRQIODWHVWKHLPSRUWDQWGLVWLQFWLRQ
EHWZHHQ³XQODZIXOSUHVHQFH´±LOOHJDOSUHVHQFHLQWKH8QLWHG6WDWHV±DQG³PDLQWHQDQFHRIVWDWXV´±DV
GHILQHGXQGHUWKH,PPLJUDWLRQDQG1DWLRQDOLW\$FW ,1$ 7KLVSURSRVHGDFWLRQZRXOGFDXVHVLJQLILFDQW
GLVUXSWLRQDQGKDUPWRHGXFDWLRQDODQGUHVHDUFKSURJUDPVDW$PHULFDQFROOHJHVDQGXQLYHUVLWLHV:H
ZDQWWRZRUNZLWK86&,6WRDGGUHVVDQ\VHFXULW\FRQFHUQVUHODWHGWRYLVDRYHUVWD\VDQGWRHQVXUHWKDW
YLVDSROLFLHVDQGV\VWHPVDUHHIILFLHQWDQGHIIHFWLYHVRWKDWRXUQDWLRQFDQFRQWLQXHWREHQHILWIURPWKH
SUHVHQFHRIWDOHQWHGLQWHUQDWLRQDOVWXGHQWVVFKRODUVDQGUHVHDUFKHUV

$V\RXDUHDZDUHWKHUHDUHYHU\VHULRXVFRQVHTXHQFHVLIDQLQGLYLGXDOLVIRXQGXQODZIXOO\SUHVHQWLQWKH
8QLWHG6WDWHV±LQFOXGLQJDEDUWRUHHQWHUWKHFRXQWU\IRUDSHULRGRIWKUHHRU\HDUV8QGHUWKHSURSRVHG
SROLF\86&,6ZRXOGUHO\RQWKHLQIRUPDWLRQHQWHUHGLQWRWKH6WXGHQWDQG([FKDQJH9LVLWRU,QIRUPDWLRQ
6\VWHP 6(9,6 WRGHWHUPLQHLIDQ)0RU-YLVDKROGHUYLRODWHGWKHLULPPLJUDWLRQVWDWXVUDWKHUWKDQRQ
DQRIILFLDOGHWHUPLQDWLRQE\DQLPPLJUDWLRQMXGJHRUWKH'HSDUWPHQWRI+RPHODQG6HFXULW\%\HTXDWLQJ
³XQODZIXOSUHVHQFH´ZLWK³IDLOXUHWRPDLQWDLQVWDWXV´WKLVQHZSROLF\PD\SRVHYHU\VHULRXV
FRQVHTXHQFHVIRUIRUHLJQVWXGHQWVWKH86XQLYHUVLWLHVZKHUHWKH\SXUVXHKLJKHUHGXFDWLRQDQG
FRQWULEXWHWRDKLJKO\SUREOHPDWLFWUHQGRIVHQGLQJWKHZURQJPHVVDJHVDERXWWKH86DVDZHOFRPLQJ
FRXQWU\IRULQWHUQDWLRQDOVWXGHQWV

8QOLNHDOORWKHUYLVDKROGHUV)0DQG-QRQLPPLJUDQWV IRUHLJQVWXGHQWVDQGH[FKDQJHYLVLWRUV DUH
DOORZHGWRHQWHUWKH8QLWHG6WDWHVIRUWKHGXUDWLRQRIVWDWXV±NQRZQDV³'XUDWLRQRI6WDWXV´RU³ '6 ´±
UDWKHUWKDQIRUD³GDWHFHUWDLQ´8QGHUFXUUHQWDJHQF\SROLF\SURPXOJDWHGE\WKH³9LUWXHPHPR´D
VWXGHQWRUH[FKDQJHYLVLWRURQO\EHJLQVWRDFFUXH³XQODZIXOSUHVHQFH´DIWHUD86&,6DGMXGLFDWRURU
LPPLJUDWLRQMXGJHPDNHVDIRUPDOILQGLQJWKDWWKHLQGLYLGXDOYLRODWHGWKHLUVWDWXV,ILPSOHPHQWHGWKH
0D\86&,6SROLF\PHPRUDQGXPZRXOGIXQGDPHQWDOO\FKDQJHWKHZD\WKHIHGHUDOJRYHUQPHQW
FDOFXODWHVSHULRGVRIXQODZIXOSUHVHQFHIRUVWXGHQWVEH\RQGWKHLU'XUDWLRQRI6WDWXV

7KHUHDUHPDQ\EHQLJQUHDVRQVZK\DVWXGHQWRUH[FKDQJHYLVLWRUPLJKWLQDGYHUWHQWO\IDLOWRPDLQWDLQ
VWDWXVLQFOXGLQJDFKDQJHLQSUDFWLFDOWUDLQLQJRUHPSOR\PHQWVWDWXVPHGLFDOOHDYHRUDUHGXFWLRQLQ
FUHGLWEHDULQJFRXUVHZRUN7KH6(9,6V\VWHPDWWHPSWVWRFDSWXUHLQIRUPDWLRQFRQILUPLQJFRPSOLDQFH
ZLWKVRPHEXWQRWDOOVLWXDWLRQVWKDWPLJKWEHXVHIXOLQLGHQWLI\LQJDIDLOXUHWRPDLQWDLQVWDWXVLQFOXGLQJ
XQLQWHQWLRQDOIDLOXUHV$GGLWLRQDOO\6(9,6LVQRWDIODZOHVVV\VWHP,WKDVEHHQVXEMHFWWRDXWRPDWHGDQG
FOHULFDOHUURUVLQFOXGLQJKXPDQHUURURQWKHSDUWRIJRYHUQPHQWDJHQFLHV7KHVHDUHQRWLQIUHTXHQW
RFFXUUHQFHV7KHFRPSOLDQFHDQGHQIRUFHPHQWLPSOLFDWLRQVRI86&,6¶QHZSURSRVHGSROLF\DUH
LQFUHGLEO\QXDQFHGDQGFRPSOH[ZLWKYHU\VHULRXVFRQVHTXHQFHVIRUDYLRODWLRQ$VDPDWWHURIJRRG
IDLWKIDLUQHVVDQGSUDFWLFDOLW\XQODZIXOSUHVHQFHVKRXOGRQO\WULJJHULIDQGZKHQWKHVWXGHQWKDVEHHQ
FOHDUO\QRWLILHGRIDSRWHQWLDOYLRODWLRQ0RUHRYHUXQODZIXOSUHVHQFHSROLF\EHFDXVHRIWKHVHYHUH


    9LUWXH0HPRKWWSVZZZQDIVDRUJXSORDGHG)LOHVYLUWXHBPHPRBRQBLQWHUSUHWLQJSGI"Q 
                                                                                                     *&&$5


       Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 98 of 203
FRQVHTXHQFHVVKRXOGQRWE\GHILQLWLRQUHJXODUO\FDSWXUHXQNQRZLQJYLRODWLRQV,QWHUQDWLRQDOVWXGHQWV
VKRXOGQRWEHH[SHFWHGWRKDYHGHHSH[SHUWLVHLQLPPLJUDWLRQODZWREHDEOHWRLQWHUSUHWDSRWHQWLDO
YLRODWLRQZLWKRXWFOHDUQRWLILFDWLRQIURPWKH86JRYHUQPHQW

:HDUHYHU\FRQFHUQHGWKDWXQGHUWKHSURSRVHGSROLF\³XQODZIXOSUHVHQFH´FRXOGEHHUURQHRXVO\
WULJJHUHGE\WHFKQLFDOXQLQWHQWLRQDORUXQNQRZQYLRODWLRQVLQDQLQGLYLGXDO¶V6(9,6UHFRUGV:HDUHDOVR
FRQFHUQHGWKDWWKHSURSRVHGSROLF\FDQEHDSSOLHGUHWURDFWLYHO\DQGWKDWDQDPELJXRXVRULQFRQVLVWHQW
UHJXODWRU\LQWHUSUHWDWLRQPD\EDUDVWXGHQWIURPWKH86IRUXSWR\HDUVZLWKRXWWKHDELOLW\WRFXUHWKH
PLVWDNHRUFKDOOHQJHWKHILQGLQJ7KLVZRXOGKDYHYHU\IDUUHDFKLQJLPSDFWVRQWKHKLJKHUHGXFDWLRQ
FRPPXQLW\DVZHOODVWKH8QLWHG6WDWHV¶DELOLW\WRDWWUDFWVWXGHQWVVFKRODUVVFLHQWLVWVDQGUHVHDUFKHUVWR
RXUFDPSXVHV

$VDOHJDOPDWWHUWKLVQHZLQWHUSUHWDWLRQRI³XQODZIXOSUHVHQFH´VXJJHVWHGE\WKHDJHQF\LV
GLUHFWO\LQFRQVLVWHQWZLWKVWDWXWRU\ODQJXDJH7KH,PPLJUDWLRQDQG1DWLRQDOLW\$FW ,1$ FRQWDLQVQR
ODQJXDJHVXJJHVWLQJWKDW³IDLOXUHWRPDLQWDLQVWDWXV´DWHUPXVHGIUHTXHQWO\WKURXJKRXWWKHVWDWXWHLV
HTXLYDOHQWWR³XQODZIXOSUHVHQFH´DWHUPXVHGLQWKH$FWRQO\IRUWKHSXUSRVHRIFUHDWLQJEDUVWR
LQDGPLVVLELOLW\&RQJUHVVKDVEHHQYHU\FOHDUWKDW³PDLQWHQDQFHRIVWDWXV´UHODWHVWR)0DQG-YLVDV
ZKLOH³XQODZIXOSUHVHQFH´LVDZKROO\GLVWLQFWFRQFHSWLQDSSOLFDEOHWRWKHVHYLVDFDWHJRULHV,QHQDFWLQJ
WKH,OOHJDO,PPLJUDWLRQ5HIRUPDQG,PPLJUDQW5HVSRQVLELOLW\$FWRI ,,5,5$ &RQJUHVV
RYHUKDXOHGWKHHQIRUFHPHQWSURYLVLRQVRIWKH,1$ZKLOHUHWDLQLQJRUDGGLQJUHIHUHQFHVWR³PDLQWHQDQFH
RIVWDWXV´,QGRLQJVR&RQJUHVVFOHDUO\FKRVHnotWRXVHWKHSKUDVH³XQODZIXOSUHVHQFH´UHODWLYHWR)0
DQG-YLVDVUDWKHUUHWDLQLQJWKHXVHRI³PDLQWHQDQFHRIVWDWXV´ZLWKWKHLQWHQWRINHHSLQJGLVWLQFW
GHILQLWLRQVWKDWWKHSROLF\PHPRUDQGXPZRXOGHOLPLQDWH

,Q,,5,5$&RQJUHVVOHIWWKHKDUVKHVWVWDWXWRU\SHQDOWLHVIRUXQODZIXOSUHVHQFH±WKUHH\HDUDQGWHQ\HDU
EDUVIRUDGPLVVLRQWRWKH8QLWHG6WDWHV7KHUHLVQRPHFKDQLVPIRUH[FHSWLRQVRUZDLYHUVRQFHDQ
LQGLYLGXDOLVVXEMHFWWRRQHRIWKHVHEDUV(OVHZKHUH&RQJUHVVHVWDEOLVKHGRWKHUSHQDOWLHVLQFOXGLQJ
UHPRYDOIURPWKH8QLWHG6DWHVRULQHOLJLELOLW\IRUODZIXOSHUPDQHQWUHVLGHQWVWDWXVIRUIDLOXUHWRPDLQWDLQ
VWDWXVEXWDOORZHGVRPHH[FHSWLRQVDQGZDLYHUVLQWKRVHVLWXDWLRQVDOWKRXJKH[WUHPHO\OLPLWHG7KH
VWDWXWRU\VFKHPHTXLWHVLPSO\GRHVQRWSHUPLWDUHDVRQDEOHUHDGLQJWKDWFRQIODWHVXQODZIXOSUHVHQFHDQG
PDLQWHQDQFHRIVWDWXV

0RUHRYHUZHDUHGHHSO\WURXEOHGZLWKWKHPDQQHULQZKLFK86&,6DQQRXQFHGWKLVSURSRVHGFKDQJH
ZLWKRXWDQRIILFLDOUHJXODWRU\QRWLFHLQWKH)HGHUDO5HJLVWHUIRUSXEOLFFRPPHQW7KH86KLJKHU
HGXFDWLRQDQGUHVHDUFKFRPPXQLWLHVKDYHORQJHQMR\HGFRQVWUXFWLYHSDUWQHUVKLSVZLWKWKH6WDWH
'HSDUWPHQWDQG'HSDUWPHQWRI+RPHODQG6HFXULW\LQVXSSRUWRIQDWLRQDOVHFXULW\:HXUJH'+6WR
HQJDJHWKHKLJKHUHGXFDWLRQFRPPXQLW\DQGRWKHUVWDNHKROGHUVWKURXJKWKHVWDQGDUGUXOHPDNLQJSURFHVV
DVUHTXLUHGXQGHUWKH$GPLQLVWUDWLYH3URFHGXUHV$FWEHIRUHLPSOHPHQWLQJVXFKDGUDVWLFVKLIWLQSROLF\

:HDUHHDJHUWRZRUNZLWK86&,6DQGRWKHUIHGHUDODJHQFLHVWRDGGUHVVDQ\FRQFHUQVUHJDUGLQJVWXGHQW
YLVDRYHUVWD\VWRHQVXUHWKHSURWHFWLRQRIRXUQDWLRQDOVHFXULW\ZKLOHXSKROGLQJRXUQDWLRQ¶VYDOXHVDQG
LQWHUHVWV3OHDVHGRQRWKHVLWDWHWRUHDFKRXWWR+DQDQ6DDEDWKVDDE#DSOXRUJLIZHFDQEHKHOSIXODV\RX
FRQVLGHURXUFRQFHUQV

6LQFHUHO\



                                                          
3HWHU0F3KHUVRQ                                           0DU\6XH&ROHPDQ
3UHVLGHQW                                                 3UHVLGHQW
$VVRFLDWLRQRI3XEOLFDQG/DQGJUDQW                      $VVRFLDWLRQRI$PHULFDQ8QLYHUVLWLHV
8QLYHUVLWLHV

                                                                                               *&&$5


    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 99 of 203


                                                     

:DOWHU*%XPSKXV                                    0LOGUHG*DUFtD
3UHVLGHQW                                            3UHVLGHQW
$PHULFDQ$VVRFLDWLRQRI&RPPXQLW\&ROOHJHV          $PHULFDQ$VVRFLDWLRQRI6WDWH&ROOHJHVDQG
                                                     8QLYHUVLWLHV
                                                     
                                                     
                                                     
                                                     
7HG0LWFKHOO                                         0LFKDHO-6KHHUDQ
3UHVLGHQW                                            3UHVLGHQW
$PHULFDQ&RXQFLORQ(GXFDWLRQ                        $VVRFLDWLRQRI-HVXLW&ROOHJHVDQG8QLYHUVLWLHV





'DYLG/:DUUHQ
3UHVLGHQW
1DWLRQDO$VVRFLDWLRQRI,QGHSHQGHQW&ROOHJHVDQG8QLYHUVLWLHV







                                                                                          *&&$5


    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 100 of 203








                                                                    *&&$5


    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 101 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 102 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 103 of 203
                                                                                               


&RPPHQWILOHGWRSXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY

/)UDQFLV&LVVQD'LUHFWRU
86&LWL]HQVKLS ,PPLJUDWLRQ6HUYLFHV
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&
                                                                                                     -XQH

Re:    Comments on Proposed Policy Memorandum entitled “Accrual of Unlawful Presence and F, J,
         and M Nonimmigrants,” PM-602-1060

'HDU'LUHFWRU&LVVQD

2QEHKDOIRI&RPSHWH$PHULFDZHVXEPLWWKLVOHWWHULQUHVSRQVHWRWKH0D\WKSXEOLFDWLRQE\86&,6RID
SURSRVHG3ROLF\0HPRUDQGXPVXJJHVWLQJDQHZDJHQF\DSSURDFKFRQFHUQLQJWKH³$FFUXDORI8QODZIXO
3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´7KHDJHQF\SURSRVHVDEDQGRQLQJWKHSULRUSROLF\WKDWLQPRVW
VLWXDWLRQVUHTXLUHGDQRIILFLDOJRYHUQPHQWGHWHUPLQDWLRQDQGQRWLFHRUWKHH[SLUDWLRQRIDGDWHFHUWDLQSHULRGRI
VWD\EHIRUHXQODZIXOSUHVHQFHFRXOGDFFUXH

7KH&RPSHWH$PHULFDFRDOLWLRQLVWKHOHDGLQJDGYRFDWHIRUUHIRUPRI86LPPLJUDWLRQSROLF\IRUKLJKO\
HGXFDWHGIRUHLJQSURIHVVLRQDOV2XUFRDOLWLRQPHPEHUVLQFOXGHKLJKHUHGXFDWLRQDVVRFLDWLRQVLQGXVWU\
DVVRFLDWLRQVDQGHPSOR\HUV&RDOLWLRQPHPEHUVFROODERUDWHWRUHIOHFWZKHUHSRVVLEOHWKHFRPPRQLQWHUHVWVRI
XQLYHUVLWLHVDQGFROOHJHVUHVHDUFKLQVWLWXWLRQVDQGFRUSRUDWLRQVDQGDGPLQLVWUDWRUVDQGODZ\HUVWKDWUHSUHVHQW
WKHVHRUJDQL]DWLRQVZLWKUHJDUGWRKLJKVNLOOHGHPSOR\PHQWEDVHGLPPLJUDWLRQ)RUPRUHWKDQ\HDUV
&RPSHWH$PHULFDKDVZRUNHGZLWKVXFFHVVLYHDGPLQLVWUDWLRQVDQG&RQJUHVVRQLVVXHVFULWLFDOWRLPPLJUDWLRQ
FRPSOLDQFHLQWKHHPSOR\PHQWEDVHGLPPLJUDWLRQV\VWHPDVZHOODVWKHJOREDOPRELOLW\RIWDOHQW7KH
&RDOLWLRQLVFRPPLWWHGWRFRQWLQXLQJLWVHIIRUWVWRHQVXUHWKDWWKH8QLWHG6WDWHVKDVWKHFDSDFLW\WRHGXFDWH
REWDLQDQGUHWDLQWKHWDOHQWQHFHVVDU\IRUFRQWLQXHGLQQRYDWLRQDQGMREFUHDWLRQLQWKH8QLWHG6WDWHV

                               INCORPORATING STATEMENTS BY OTHERS

$VDQLQLWLDOPDWWHUZHZDQWWRVWDWHWKDWWKH&RPSHWH$PHULFDFRDOLWLRQVXSSRUWVWKHFRPPHQWVILOHGE\WKH
PHPEHUVRIRXUFRDOLWLRQIURPWKHKLJKHUHGXFDWLRQFRPPXQLW\6SHFLILFDOO\&RPSHWH$PHULFDZRXOGOLNHWR
LQFRUSRUDWHE\UHIHUHQFHWKHGHWDLOHGFRPPHQWILOHGE\1$)6$WKH$VVRFLDWLRQRI,QWHUQDWLRQDO(GXFDWRUVDV
ZHOODVWKHFRPPHQWILOHGE\$$8DQG$3/8UHVSHFWLYHO\WKH$PHULFDQ$VVRFLDWLRQRI8QLYHUVLWLHVDQGWKH
$VVRFLDWLRQRI3XEOLFDQG/DQGJUDQW8QLYHUVLWLHV7KHMRLQWOHWWHUIURP$$8DQG$3/8ZDVDOVRFRVLJQHGE\
WKH$PHULFDQ&RXQFLORQ(GXFDWLRQWKH$PHULFDQ$VVRFLDWLRQRI&RPPXQLW\&ROOHJHVWKH$PHULFDQ
$VVRFLDWLRQRI6WDWH&ROOHJHVDQG8QLYHUVLWLHVWKH1DWLRQDO$VVRFLDWLRQRI,QGHSHQGHQW&ROOHJHVDQG
8QLYHUVLWLHVDQGWKH$VVRFLDWLRQRI-HVXLW&ROOHJHVDQG8QLYHUVLWLHVWKXVUHSUHVHQWLQJDOPRVWDOOSRVW
VHFRQGDU\LQVWLWXWLRQVLQWKH8QLWHG6WDWHV

&RPSHWH$PHULFDDOVRLQFRUSRUDWHVE\UHIHUHQFHWKHVWDWHPHQWVRIOHJDF\,16([HFXWLYH$VVRFLDWH
&RPPLVVLRQHU3DXO9LUWXHZKRZDVUHFHQWO\LQWHUYLHZHGE\ForbesPDJD]LQHDERXWWKHRULJLQVRIWKHFXUUHQW
DJHQF\SROLF\JRYHUQLQJ$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV:HLQFOXGHLQWKH
&RPSHWH$PHULFDFRPPHQWWKHHQWLUHW\RIWKHForbesDUWLFOHRQXQODZIXOSUHVHQFHSROLF\VRWKDWLVFRQVLGHUHG
E\WKHDJHQF\LQ\RXUDVVHVVPHQWRISXEOLFFRPPHQWVRQWKHFXUUHQWSURSRVDO7KHDUWLFOHKLJKOLJKWVWKDW

        
                                  


                                                                                                   *&&$5


        Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 104 of 203
                                                          


        7KH86&,6SURSRVHGQHZSROLF\³VWUD\VIURPWKHEULJKWOLQHFUHDWHGLQ´

        ³7KHHDUOLHUSROLF\SXWWKHIRUHLJQQDWLRQDORQQRWLFHE\YLUWXHRIDQRIILFLDOGHWHUPLQDWLRQWKDWKHRUVKH
        KDGEHJXQWRDFFUXHXQODZIXOSUHVHQFHRQDVSHFLILFGDWH«>)@XQGDPHQWDOIDLUQHVVGLFWDWHVVXFKFOHDU
        QRWLFH´

:HEHOLHYHWKDW0U9LUWXH¶VVWDWHPHQWVFRPLQJIURPRQHRIWKHFKLHIDUFKLWHFWVRIWKHFXUUHQWSROLF\OD\RXW
WZRFULWLFDOGHIHFWVZLWKWKHDJHQF\¶VSURSRVHGQHZSROLF\RQHOHJDODQGRQHSUDFWLFDO:HEHOLHYHWKDWHDFKRI
WKHVHGHIHFWVVWDQGLQJDORQHZDUUDQWV86&,6GURSSLQJWKHSURSRVHGSROLF\FKDQJHXQWLOIXUWKHUDQDO\VLVFDQEH
FRPSOHWHGE\WKHDJHQF\

$VDPDWWHURIODZZHGRQRWEHOLHYHWKDWIHGHUDODJHQFLHVDUHIUHHWRDGRSWSROLFLHVWKDWGRQRWFRPSO\ZLWK
)XQGDPHQWDO)DLUQHVV$VH[SODLQHGE\WKH1$)6$FRPPHQWDVZHOODVWKH$$8DQG$3/8FRPPHQWWKH
QHZVXJJHVWHGSROLF\ZLOOinevitablyOHDGWRLQGLYLGXDOVILQGLQJRXWDIWHUWKHIDFWWKDWWKH\KDYHDOUHDG\DFFUXHG
PRQWKVRIXQODZIXOSUHVHQFHWKXVVXEMHFWLQJWKHPVHOYHVWRWKHWKUHHDQGWHQ\HDUEDUVWRDGPLVVLRQ)RU
H[DPSOHLWDSSHDUVWKDW86&,6FRQVLVWHQWO\WDNHVLQH[FHVVRIVL[PRQWKVWRDGMXGLFDWHUHTXHVWVIRU
UHLQVWDWHPHQWZKLFKPHDQVWKDWDQ\VWXGHQWWKDWVHHNVWRFRUUHFWHYHQDPLQRUYLRODWLRQZLOODXWRPDWLFDOO\EH
OHIWZLWKDWOHDVWDWKUHH\HDUEDUVKRXOGWKDWUHTXHVWEHUHMHFWHGIRUDQ\UHDVRQ)XUWKHUPRUHXQGHUWKHQHZ
SROLF\WKHVSRXVHVRILPSDFWHGVWXGHQWVDQGH[FKDQJHYLVLWRUVDVZHOODVFKLOGUHQRYHUDJHZLOOIDFHWKUHH
DQGWHQ\HDUEDUVWKURXJKQRIDXOWRIWKHLURZQDQGZLWKRXWNQRZOHGJHRIZKHQWKHSULQFLSDO)0RU-YLVD
KROGHUPD\KDYHLQDGYHUWHQWO\YLRODWHGDWHUPRUFRQGLWLRQRIVWXGHQWRUH[FKDQJHYLVLWRUVWDWXV7KHVHVHYHUH
DQGXQIRUJLYLQJUHVXOWVVHHPXQIDLUHVSHFLDOO\LQWKHYDVWDQGGLVSHUVHGHQWHUSULVHWKDWLVWKHDFWLYLWLHVRI
IRUHLJQERUQVWXGHQWVDQGH[FKDQJHYLVLWRUVLQWKH8QLWHG6WDWHVSULPDULO\FRQGXFWHGRQWKHFDPSXVHVRI86
XQLYHUVLWLHVDQGFROOHJHV

$VDPDWWHURISROLF\RSHUDWLRQDOL]LQJWKHDSSURDFKUHIOHFWHGLQWKHQHZSURSRVDOOHDYHVWKHXQODZIXOSUHVHQFH
GHWHUPLQDWLRQwithoutDEULJKWOLQHZKLFKLVLPSUDFWLFDOIRUWKHDJHQF\7KLVLVIUDXJKWZLWKDQH[SHFWDWLRQRI
LQFRQVLVWHQFLHVDQGXQFHUWDLQW\:KLOHWKHFXUUHQWSROLF\ZDVLQLWLDOO\DGRSWHG\HDUVDJRWREHLPSOHPHQWHG
SULPDULO\E\RQHDJHQF\±,16DVSDUWRIWKH'HSDUWPHQWRI-XVWLFHWKHUHDUHWKUHHVHSDUDWHFRPSRQHQW
DJHQFLHVRIWKH'HSDUWPHQWRI+RPHODQG6HFXULW\WKDWQRZKDYHVLJQLILFDQWDQGDFWLYHUHVSRQVLELOLWLHVUHODWHGWR
WKLVSROLF\±86&,6DVZHOODVLWVVLVWHUDJHQFLHV,PPLJUDWLRQDQG&XVWRPV(QIRUFHPHQWDQG&XVWRPVDQG
%RUGHU3URWHFWLRQ7KHGUDIWSROLF\PHPRUDQGXPGRHVQRWUHIOHFWZKHWKHU,&(¶V6WXGHQWDQG([FKDQJH9LVLWRU
3URJUDPZDVSURSHUO\FRQVXOWHGLIRWKHUDOWHUQDWLYHVPLJKWVROYHWKHSUREOHP86&,6LVWU\LQJWRDGGUHVVRULI
,&(DQG&%3VWDQGUHDG\WRLPSOHPHQWWKHQHZVXJJHVWHGDSSURDFK8QGHUERWKWKHROGDQGQHZSURSRVDOWKH
%XUHDXRI&RQVXODU$IIDLUVDWWKH'HSDUWPHQWRI6WDWHSOD\VDUROHDVZHOO,WZRXOGVHHPWKHUHDUHRUVKRXOGEH
RSHUDWLRQDOFRQFHUQVDERXWWKLVQHZDSSURDFKLQFOXGLQJEXWQRWOLPLWHGWRVLJQLILFDQWLQWHUDJHQF\ZRUNWKDWPXVW
EHFRPSOHWHGEHIRUHDQQRXQFLQJWKHLPSOHPHQWDWLRQRIDQHZSROLF\

                                                   LEGAL ISSUES

,QWKHVKRUWWLPHSHULRGSURYLGHGIRUSXEOLFUHYLHZDQGFRPPHQWVKRUWHQHGLQHIIHFWLQSDUWEHFDXVHWKH
DJHQF\¶VSROLF\FRQFHUQVUHJDUGLQJXQODZIXOSUHVHQFHZHUHQRWRWKHUZLVHSXEOLFO\NQRZQLQDGYDQFHRIWKH
0D\WKSXEOLFDWLRQRIWKHGUDIWSROLF\PHPRUDQGXPRXUFRDOLWLRQKDVQRWEHHQDEOHWRIXOO\IOHVKRXWQRU
DJUHHRQKRZWRDGGUHVVWKHFRPSOH[OHJDOLVVXHVSUHVHQWHGE\86&,6¶VQHZVXJJHVWHGDSSURDFK1HYHUWKHOHVV
ZHZDQWWRIODJWZRSULPDU\OHJDOLVVXHVIRUFRQVLGHUDWLRQ:HKRSHWKHFRPPHQWVRIRWKHUVWDNHKROGHUVZLOO
GHOYHLQWRPRUHVXEVWDQWLYHDQDO\VLVRIWKHVHVDPHSRLQWVDVZHOODVRWKHUOHJDOFRQFHUQVEXWZHZDQWWRDWOHDVW
LGHQWLI\ZKDWZHVHHDVWZRSULQFLSDOOHJDOFRQFHUQV

:HEHOLHYHWKHIROORZLQJWZROHJDOLVVXHVDUHFRQVLGHUDEOHDQGFRPSOLFDWHGDQGPHULW86&,6VWHSSLQJEDFN
IURPLWVSURSRVDO

                                   



                                                                                                 *&&$5

      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 105 of 203
                                                          


        1. Failure to Comply with Requirements for an Agency Change in Interpretation

:HDUHVXUSULVHGWKHDJHQF\LVPRYLQJIRUZDUGZLWKVXFKDGUDPDWLFGHSDUWXUHIURPWKHSROLF\WKDWKDVEHHQLQ
SODFHVLQFH6HSWHPEHUZLWKRXWHLWKHUVDWLVI\LQJWKHFRQWUROOLQJ³JRRGJXLGDQFH´UHTXLUHPHQWVSURYLGLQJD
VXIILFLHQWO\UREXVWUDWLRQDOHIRULWVQHZDSSURDFKRUFRPSO\LQJZLWKWKH$GPLQLVWUDWLYH3URFHGXUH$FW $3$ 

7KH2IILFHRI0DQDJHPHQWDQG%XGJHW([HFXWLYH2IILFHRIWKH3UHVLGHQWODLGRXWUHTXLUHPHQWVIRUDJHQFLHV
WKDWVHHNWRSXWIRUZDUGQHZSROLFLHVZLWKRXWHQJDJLQJLQQRWLFHDQGFRPPHQWUXOHPDNLQJIRXQGLQWKH)LQDO
%XOOHWLQIRU$JHQF\*RRG3UDFWLFHV)HG5HJ -DQ 7KH%XOOHWLQHVWDEOLVKHVUHTXLUHPHQWV
IRUVLJQLILFDQWJXLGDQFHGRFXPHQWVLQFOXGLQJSXEOLFDWLRQLQWKH)HGHUDO5HJLVWHUDQGDQDJHQF\REOLJDWLRQWR
SURYLGHDFRPPHQWDQGUHVSRQVHGRFXPHQW8QGHUWKH%XOOHWLQDµµVLJQLILFDQWJXLGDQFHGRFXPHQW¶¶PHDQVD
JXLGDQFHGRFXPHQWGLVVHPLQDWHGWRUHJXODWHGHQWLWLHVRUWKHJHQHUDOSXEOLFWKDWPD\UHDVRQDEO\EHDQWLFLSDWHG
WRDPRQJRWKHUWKLQJVHLWKHUPDWHULDOO\DOWHUWKHULJKWVDQGREOLJDWLRQVRIWKHUHJXODWHGFRPPXQLW\RUUDLVH
QRYHOOHJDORUSROLF\LVVXHV 6HHSRIWKH-DQ)HGHUDO5HJLVWHUQRWLFH ,WVHHPVFOHDUWKDWWKH
SURSRVHGSROLF\PHPRUDQGXPDQQRXQFLQJDQHZLQWHUSUHWDWLRQRIXQODZIXOSUHVHQFHXQGHUWKH,PPLJUDWLRQDQG
1DWLRQDOLW\$FWLVDVLJQLILFDQWJXLGDQFHGRFXPHQW

$WDPLQLPXPHYHQZKHUHDQDJHQF\LVPHUHO\HQJDJLQJLQDQHIIRUWWRFKDQJHLWVLQWHUSUHWDWLRQRIDFRQWUROOLQJ
VWDWXWHWKH6XSUHPH&RXUWKDVPDGHFOHDUWKHDJHQF\KDVDQREOLJDWLRQWRLGHQWLI\DUDWLRQDOHIRULWVFKDQJHG
SRVLWLRQWKDWLVQRWDUELWUDU\ 6HH(QFLQR0RWRUFDUVY1DYDUUR6&W   ,WGRHVQRWVHHP
86&,6KDVVDWLVILHGWKDWUHTXLUHPHQWJLYHQWKDWLWLVXQFOHDUIURPWKHSURSRVHGSROLF\PHPRUDQGXPHLWKHUZKDW
WKHSUHFLVHSUREOHPLVWKDWWKHDJHQF\LVWU\LQJWRVROYHRULWVUHDVRQLQJIRUWKHSURSRVHGFKDQJH)RUH[DPSOH
SDUWRIWKHUDWLRQDOHSURYLGHGVHHPVWREHEDVHGRQD'+62YHUVWD\5HSRUWWKDWLGHQWLILHVDQDSSUR[LPDWH
RYHUVWD\UDWHRIIRU)VWXGHQWVEXWWKHUHSRUW¶VPHWKRGRORJ\OHDYHVLWPXUN\DWEHVWZKDWWKLVRYHUVWD\
FDOFXODWLRQLVEDVHGLQ,WLVQRWHYLGHQWWKDW)RYHUVWD\UHSUHVHQWDWLRQVLQWKHUHSRUWDFFRXQWIRULQGLYLGXDOV
ZKRUHPDLQlawfullyLQWKH8QLWHG6WDWHVDIWHUWKHGDWHLGHQWLILHGRQWKHLU6(9,6,LQFOXGLQJLQGLYLGXDOVZKR
FKDQJHQRQLPPLJUDQWVWDWXVRUDGMXVWVWDWXVWRSHUPDQHQWUHVLGHQWDIWHUPDUU\LQJDQ$PHULFDQ,WDOVRLVQRW
FOHDUZKHWKHUWKH)RYHUVWD\UDWHVLQFOXGHRUH[FOXGHVWXGHQWVRQ67(0237H[WHQVLRQV0RUHRYHUDQRWKHU
SDUWRIWKHUDWLRQDOH86&,6SURYLGHGLVJURXQGHGLQDQXQIRXQGHGUHOLDQFHRQZKDW86&,6DSSDUHQWO\EHOLHYHV
LVWKHXQFRQWURYHUWHGSUHFLVLRQDQGFRPSOHWHQHVVLQWKH6WXGHQWDQG([FKDQJH9LVLWRU,QIRUPDWLRQ6\VWHP
  6(9,6 7KHDJHQF\¶VVXJJHVWHGUHOLDQFHRQ6(9,6DVDSDQDFHDWRDFFXUDWHO\LGHQWLI\IDLOXUHVWRPDLQWDLQ
VWDWXVLVPLVSODFHGHVSHFLDOO\EHFDXVH6(9,6GRHVQRWQHFHVVDULO\SURYLGHQRWLFHWRWKHLPSDFWHGLQGLYLGXDOV
7KHFODLPHGEDVLVIRUWKLVSROLF\VKLIWPXVWEHFRJHQWDQGPD\QRWEHFDSULFLRXVLQRUGHUWRSDVVPXVWHULQWKH
ILUVWLQVWDQFHDVWDQGDUGLWLVGLIILFXOWWRVHHWKDWWKHDJHQF\KDVVDWLVILHG3HUKDSVPRVWYLWDOO\WKHDJHQF\KDV
QRWGHVFULEHGWKHSUREOHPLWLVDWWHPSWLQJWRUHVROYHZLWKWKHQHZLQWHUSUHWDWLRQ7KH,PPLJUDWLRQDQG
1DWLRQDOLW\$FWSURYLGHVIXOODXWKRULW\LQFOHDUDQGXQHTXLYRFDOWHUPVWRLQLWLDWHUHPRYDOSURFHHGLQJV
FRQFHUQLQJDQ\DOLHQWKDWLWFDQVKRZKDVYLRODWHGWKHWHUPVDQGFRQGLWLRQVRIKHUQRQLPPLJUDQWVWDWXV:K\
WKLVDXWKRULW\QHHGVWREHVXSSOHPHQWHGE\DEURDGH[SDQVLRQRIWKHGHILQLWLRQRIXQODZIXOSUHVHQFHLVQHYHU
H[SODLQHG

,QDGGLWLRQLWPD\EHWKDWWKHVXJJHVWHGSROLF\LVLQIDFWDVXEVWDQWLYHUXOHDQGQRWDQLQWHUSUHWLYHRQH
QHFHVVLWDWLQJ$3$FRPSOLDQFH:HDUHDZDUHWKDWLQUHFHQW\HDUVWKH6XSUHPH&RXUWKDVDFWHGWRODUJHO\
UHPRYHWKHREOLJDWLRQRIIHGHUDODJHQFLHVWRXQGHUJRSXEOLFQRWLFHDQGFRPPHQWUXOHPDNLQJWRUHYLVHD³PHUH´
LQWHUSUHWDWLRQ 6HH3HUH]Y0RUWJDJH%DQNHUV$VVRFLDWLRQ6&W   +RZHYHUWKHVXJJHVWHG
SROLF\VKLIWRQXQODZIXOSUHVHQFHPD\UHTXLUHSXEOLFQRWLFHDQGFRPPHQWUXOHPDNLQJQHYHUWKHOHVV,WVHHPV
WKDWZKHUHDVWDWXWHKDVQRWFKDQJHGEXWDQDJHQF\¶VDEUXSWFKDQJHRIFRXUVHZLOOFUHDWHbindingQHZDQG
ZKROO\XQH[SHFWHGFKDQJHVWRWKHULJKWVDQGREOLJDWLRQVRIWKHUHJXODWHGFRPPXQLW\SXEOLFQRWLFHDQGFRPPHQW
UXOHPDNLQJLVLQGHHGUHTXLUHG±EHFDXVHWKHQHZLQWHUSUHWDWLRQLVLQHIIHFWDVXEVWDQWLYHUXOH(VSHFLDOO\ZKHQ
DVKHUHWKHDJHQF\¶VQHZLQWHUSUHWDWLRQZLOOLWVHOIcreateVHYHUHDQGXQIRUJLYLQJUHVXOWV EDUVWRDGPLVVLRQIRU
ZKLFKWKHUHDUHODUJHO\QRZDLYHUVRUH[FHSWLRQV LWPD\WKHLQWHUSUHWDWLRQLVEHVWFRQVLGHUHGDVXEVWDQWLYHUXOH
ZKHUHWKHSXEOLFLVHQWLWOHGWRWKHSURWHFWLRQVDIIRUGHGE\WKH$3$




                                                                                                  *&&$5

       Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 106 of 203
                                                        


        2. As a Matter of Statutory Interpretation, Unlawful Presence Should Not Be Interpreted as
        Equivalent to a Failure to Maintain Status

7KHQHZVXJJHVWHGLQWHUSUHWDWLRQVHHPVWRLJQRUHIXQGDPHQWDOSULQFLSOHVRIVWDWXWRU\FRQVWUXFWLRQE\HTXDWLQJ
³XQODZIXOSUHVHQFH´DQG³IDLOXUHWRPDLQWDLQVWDWXV´XQGHUWKH,PPLJUDWLRQDQG1DWLRQDOLW\$FW KHUHDIWHU,1$ 

,QHQDFWLQJWKH,OOHJDO,PPLJUDWLRQ5HIRUPDQG,PPLJUDQW5HVSRQVLELOLW\$FWRI 'LYLVLRQ&RI3XE/
±HQDFWHG6HSWHPEHU  KHUHDIWHUUHIHUUHGWRDV,,5,5$ &RQJUHVVRYHUKDXOHGWKHHQIRUFHPHQW
SURYLVLRQVRIWKH,1$$PRQJRWKHUWKLQJV&RQJUHVVUHZRUGHGDQGUHYLVHGWKHJURXQGVRILQDGPLVVLELOLW\
JHQHUDOO\UHPRYHGWKHSUHYLRXVGLVWLQFWLRQEHWZHHQH[FOXVLRQDQGGHSRUWDWLRQUHPRYHGGLVFUHWLRQWKDWKDG
ORQJEHHQOHIWWR,PPLJUDWLRQ-XGJHVDQGLQJHQHUDOWRRNPDQ\VWHSVWRSURYLGHDVWULFWHUV\VWHPFRQFHUQLQJ
LPPLJUDWLRQHQIRUFHPHQW

,Q,,5,5$&RQJUHVVHVWDEOLVKHGWKUHH\HDUDQGWHQ\HDUEDUVWRLQDGPLVVLELOLW\XQGHUVHFWLRQ D  % RI
WKH,1$IRUDOLHQVZKRDUH³XQODZIXOO\SUHVHQW´LQWKH8QLWHG6WDWHVIRUDSHULRGRIGD\VRURQH\HDU
UHVSHFWLYHO\&RQJUHVVGHILQHG³XQODZIXOSUHVHQFH´DVEHLQJ³SUHVHQWLQWKH8QLWHG6WDWHVDIWHUWKHH[SLUDWLRQ
RIWKHSHULRGRIVWD\E\WKH$WWRUQH\*HQHUDO´6LPLODUO\IRUSXUSRVHVRIQRQLPPLJUDQWYLVDYDOLGLW\,,,5,5$
HVWDEOLVKHGDWVHFWLRQ J  RIWKH,1$WKDWIRUDOLHQVDGPLWWHGWRWKHFRXQWU\RQQRQLPPLJUDQWYLVDVZKR
³UHPDLQHGLQWKH8QLWHG6WDWHVEH\RQGWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDO´VXFKYLVDVZHUH
GHHPHGYRLGHG³EHJLQQLQJDIWHUWKHFRQFOXVLRQRIVXFKSHULRGRIVWD\´6HFWLRQ J KDVEHHQFRQVLVWHQWO\
LQWHUSUHWHGE\WKH'HSDUWPHQWVRI-XVWLFH+RPHODQG6HFXULW\DQG6WDWHDVDSSO\LQJRQO\WRDOLHQVZKRUHPDLQ
EH\RQGDVSHFLILFGDWHRQWKHLU,5HFRUGRI$GPLVVLRQRUDQ\H[WHQVLRQRUFKDQJHRIVWDWXVDQGFRQVLVWHQWO\
LQWHUSUHWHGDVQRWLQFOXGLQJDOLHQVZKRYLRODWHGWKHWHUPVRIWKHLUQRQLPPLJUDQWVWDWXV,QGHHGWKHSODLQ
PHDQLQJRI³WKHH[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HG´LVUHPDLQLQJEH\RQGDVSHFLILHGGDWH±QRWYLRODWLQJ
WKHWHUPVRIVWDWXV$QGWKHPHDQLQJRIWKLVSKUDVHLQERWK J DQG D  mustEHWKHVDPH,WLVWKH
PRVWEDVLFWHQHWRIVWDWXWRU\FRQVWUXFWLRQWKDW&RQJUHVVFRXOGQRWKDYHLQWHQGHGWZRGLIIHUHQWPHDQLQJVZKHQLW
XVHGWKHH[DFWVDPHODQJXDJHLQWZRGLIIHUHQWVHFWLRQV

0RUHRYHUHTXDWLQJXQODZIXOSUHVHQFHZLWKDIDLOXUHWRPDLQWDLQVWDWXVDVSURSRVHGLQ86&,6¶VGUDIWSROLF\
PHPRUDQGXPIDLOVWRDFFRXQWIRUWKHQXPHURXVSODFHVLQ,,,5,5$ZKHUH&RQJUHVVUHWDLQHGRUDGGHGUHIHUHQFHV
WR³PDLQWHQDQFHRIVWDWXV´ZKLOH&RQJUHVVFKRVHnotWRXVHWKDWSKUDVHLQdefiningXQODZIXOSUHVHQFH,QWKH
FRQWH[WRI,,5,5$¶VHQDFWPHQWLWLVSDUWLFXODUO\VLJQLILFDQWWKDW&RQJUHVVretainedDQGH[SDQGHGWKHXVHRIWKH
PDLQWHQDQFHRIVWDWXVFRQFHSWZKLOHalsoFUHDWLQJDQHZFRQFHSWRIXQODZIXOSUHVHQFHWKDWZDVnotGHILQHGLQ
WKH,1$LQWHUPVRIPDLQWHQDQFHRIVWDWXV

7RH[SDQGWKHGHILQLWLRQRIXQODZIXOSUHVHQFHWRLQFOXGHDOOYLRODWLRQVRIVWDWXVFDQQRWEHUHFRQFLOHGZLWKRWKHU
ODQJXDJHXWLOL]HGE\&RQJUHVVLQ,,5,5$DQGLQWKH,1$:KHQGHILQLQJXQODZIXOSUHVHQFH&RQJUHVVGLGQRW
PDNHVSHFLILFUHIHUHQFHWRYLRODWLRQRIWKHWHUPVRIVWDWXVRUXQDXWKRUL]HGHPSOR\PHQWRUDIDLOXUHWRPDLQWDLQ
VWDWXV5DWKHU&RQJUHVVPDGHVSHFLILFUHIHUHQFHWRSUHVHQFHLQWKH8QLWHG6WDWHVDIWHUWKHH[SLUDWLRQRID
VSHFLILHGSHULRGRIWLPH

,QGHHGZKHQ&RQJUHVVLQWHQGHGWRSXQLVKDQ\IDLOXUHWRPDLQWDLQQRQLPPLJUDQWVWDWXVRUIDLOXUHWRFRPSO\ZLWK
WKHFRQGLWLRQVRIVXFKVWDWXV&RQJUHVVVWDWHGVXFKLQWHQWLRQLQSODLQODQJXDJH)RUH[DPSOHWKHIROORZLQJ
VHFWLRQVRIWKH,1$HVWDEOLVKSHQDOWLHVWLHGWRPDLQWHQDQFHRIVWDWXV

     x 6HFWLRQ D  & UHQGHUVDQDOLHQUHPRYDEOHLIVKHKDV³IDLOHGWRPDLQWDLQQRQLPPLJUDQWVWDWXV«
         RUWRFRPSO\ZLWKWKHFRQGLWLRQVRIDQ\VXFKVWDWXV´
     x 6HFWLRQ F  UHQGHUVDQDOLHQLQHOLJLEOHIRUDGMXVWPHQWRIVWDWXVWRSHUPDQHQWUHVLGHQWLIWKHDOLHQ
         HQJDJHVLQXQDXWKRUL]HGHPSOR\PHQWRU³LVLQXQODZIXOLPPLJUDWLRQVWDWXV´RU³KDVIDLOHGWRPDLQWDLQ
         FRQWLQXRXVO\DODZIXOVWDWXV´
     x 6HFWLRQ F  DGGHGE\VHFWLRQRI,,5,5$FUHDWHVDEDUWRDGMXVWPHQWRIVWDWXVWRSHUPDQHQW
         UHVLGHQWIRUDQDOLHQZKR³LVQRWLQDODZIXOQRQLPPLJUDQWVWDWXV´
     x 6HFWLRQ F  DGGHGE\VHFWLRQRI,,5,5$UHQGHUVDQDOLHQLQHOLJLEOHIRUDGMXVWPHQWRIVWDWXV
         WRSHUPDQHQWUHVLGHQWVWDWXVLIWKHDOLHQ³KDVRWKHUZLVHYLRODWHGWKHWHUPVRIDQRQLPPLJUDQWYLVD
                                                                                               *&&$5

      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 107 of 203
                                                         



,QRWKHUZRUGVWKH,1$ODQJXDJHVKRZVWKDWIDLOXUHWRPDLQWDLQVWDWXVDQGXQODZIXOSUHVHQFHDUHQRWWKHVDPH
&RQJUHVVHVWDEOLVKHGH[FHHGLQJO\KDUVKSHQDOWLHVIRUXQODZIXOSUHVHQFH±WKUHH\HDUDQGWHQ\HDUEDUVIRU
DGPLVVLRQWRWKH8QLWHG6WDWHVLQDQ\VWDWXVIRUDQ\SXUSRVH±WKDWLQPRVWFDVHVDUHQRWVXEMHFWWRH[FHSWLRQVRU
ZDLYHUV,WHVWDEOLVKHGRWKHUSHQDOWLHVLQFOXGLQJUHPRYDORULQHOLJLELOLW\IRUODZIXOSHUPDQHQWUHVLGHQWVWDWXV
GHVFULEHGDERYHIRUIDLOXUHWRPDLQWDLQVWDWXVIRUZKLFKZDLYHUVPD\EHDYDLODEOHDQGIRUZKLFKWKHUHDUH
H[FHSWLRQVIRUDWHFKQLFDOYLRODWLRQ7KHWZR±XQODZIXOSUHVHQFHDQGIDLOXUHWRPDLQWDLQVWDWXV±FDQQRWEH
FRQIODWHGXQGHUWKHVWDWXWRU\VFKHPH

                                                    CONCLUSION

7KH&RPSHWH$PHULFDFRDOLWLRQLVFRQFHUQHGDERXW86&,6¶VSURSRVDO,QVKRUWWKHGUDIWSROLF\PHPRUDQGXP
VXJJHVWVUHYLVLQJDEULJKWOLQHUXOHWKDWKDVEHHQLQSODFHIRUWKHODVW\HDUVWKDWKDVEHHQERWKIDLUDQG
SUDFWLFDO7KHQHJDWLYHLPSDFWWRWKHKLJKHUHGXFDWLRQFRPPXQLW\DQGIRUHLJQERUQVWXGHQWVDQGH[FKDQJH
YLVLWRUVLVFOHDUDQGGLUHFW,QDGGLWLRQWKHQHZDSSURDFKZLOOXOWLPDWHO\KDYHDQHJDWLYHLPSDFWLQWKHHPSOR\HU
FRPPXQLW\,WZLOOFUHDWHWKHG\QDPLFRIHPSOR\HUVHQJDJHGLQRQFDPSXVUHFUXLWPHQWILQGLQJRXW\HDUVDIWHU
DQLQDGYHUWHQWYLRODWLRQRULQQRFXRXVWHFKQLFDOYLRODWLRQWKDWDIRUHLJQERUQHPSOR\HHHDUQLQJKHU
XQGHUJUDGXDWHRUJUDGXDWHGHJUHHLQWKH8QLWHG6WDWHVZDVXQODZIXOO\SUHVHQWDQGLQDGPLVVLEOHIRUDQHZVWDWXV
0RUHRYHUFRQIODWLQJXQODZIXOSUHVHQFHDQGPDLQWHQDQFHRIVWDWXVGRHVQRWDVDPDWWHURIORJLFRQO\DSSO\WR
VWXGHQWVDQGH[FKDQJHYLVLWRUVDGPLWWHGIRUD³'6´SHULRG GXUDWLRQRIVWDWXV RU&DQDGLDQYLVLWRUVZKRDUH
WUHDWHGDVGXUDWLRQRIVWDWXVQRQLPPLJUDQWV7KXVDGRSWLQJWKHSURSRVHGQHZDSSURDFKVHHPVWRQHFHVVDULO\
SRUWHQGDIXWXUH±DOWKRXJKDVRI\HWXQDQQRXQFHG±ZKHUHallQRQLPPLJUDQWVDUHSUHVXPHGE\86&,6WRDFFUXH
XQODZIXOSUHVHQFHZLWKRXWQRWLFHLIODWHUGHWHUPLQHGWRKDYHYLRODWHGDWHUPRUFRQGLWLRQVWDWXVWRLQFOXGH
HPSOR\HUVSRQVRUHGQRQLPPLJUDQWFODVVLILFDWLRQVVXFKDVWKH+%DQG/FDWHJRULHV7KLVRYHUEUHDGWKZRXOG
LQMHFWVLJQLILFDQWXQFHUWDLQW\LQWRWKHOHJDOLPPLJUDWLRQV\VWHP

&RPSHWH$PHULFDXUJHV86&,6WRDEDQGRQLPSOHPHQWDWLRQRIDQHZSROLF\LQWHUSUHWLQJ$FFUXDO8QODZIXO
3UHVHQFHIRU)-DQG0YLVDKROGHUVXQWLOWKHDJHQF\KDVKDGPRUHWLPHWRFDUHIXOO\FRQVLGHUWKHOHJDO
LPSOLFDWLRQVRIDQGOHJDOUHTXLUHPHQWVIRUDQHZDSSURDFKZKLOHDOVRDOORZLQJWLPHWRFRPSOHWHZKDWVKRXOGEH
QHFHVVDU\LQWHUDJHQF\ZRUNDVZHOODVZRUNZLWKVWDNHKROGHUVWRDGGUHVVVRPHRIWKHXQQHFHVVDU\DQGQHJDWLYH
LPSOLFDWLRQVRIDFKDQJHLQSROLF\

&RPSHWH$PHULFDDOZD\VZHOFRPHVWKHRSSRUWXQLW\WRZRUNZLWKWKHDJHQF\WRLPSURYHWKHQDWLRQ¶V
LPPLJUDWLRQV\VWHP:HZRXOGEHZLOOLQJWRVLWZLWKSROLF\PDNHUVWRGLVFXVVWKLVLVVXHVKRXOGWKDWEHKHOSIXO
:HWKDQN\RXLQDGYDQFHIRUDQ\FRQVLGHUDWLRQ\RXFDQJLYHWRWKHFRQFHUQVZHKDYHUDLVHG

5HVSHFWIXOO\





                                   

6FRWW&RUOH\
([HFXWLYH'LUHFWRU&RPSHWH$PHULFD




                                                                                                *&&$5

      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 108 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 109 of 203

$VGHVFULEHGLQWKH0D\PHPRUDQGXP86&,6ZLOOQRZGHHPXQODZIXOSUHVHQFHWR
KDYHVWDUWHGDFFUXLQJDVRIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJWKH
FULWLFDOSURFHGXUDOVDIHJXDUGRISURYLGLQJQRWLFHWRDIIHFWHGLQGLYLGXDOVZKRPD\ILQG
WKHPVHOYHVVXEMHFWWRWKHWKUHHDQGWHQ\HDUEDUVWRDGPLVVLELOLW\7KLVFKDQJHUDLVHVVHULRXV
TXHVWLRQVUHJDUGLQJIXQGDPHQWDOIDLUQHVVDQGGXHSURFHVVDQGZLOOKDYHDVLJQLILFDQWQHJDWLYH
LPSDFWRQWKHVWXGHQWYRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHV

,QUHFRJQLWLRQRIWKHIOXLGLW\RIDFDGHPLFSURJUDPV)0DQG-QRQLPPLJUDQWVDUHQRWDGPLWWHG
WRWKH86XQWLODGDWHFHUWDLQ,QVWHDGWKH\DUHDGPLWWHGIRUWKH³GXUDWLRQRIWKHLUVWDWXV´RU
³'6´ZKLFKPHDQVWKHVWXGHQWRUH[FKDQJHYLVLWRUFDQUHPDLQLQWKH8QLWHG6WDWHVDVORQJDV
VKHPDLQWDLQVKHUQRQLPPLJUDQWVWDWXV:KDWWKHQHZPHPRUDQGXPIDLOVWRUHFRJQL]HLVWKDWWKH
TXHVWLRQDVWRZKHWKHUDQLQGLYLGXDOKDVYLRODWHGKHUQRQLPPLJUDQWVWDWXVLVFRPSOH[DQG
QXDQFHG6WXGHQWVDQGH[FKDQJHYLVLWRUVFDQDFFLGHQWDOO\DQGXQNQRZLQJO\YLRODWHWKHLUVWDWXVE\
GURSSLQJVOLJKWO\EHORZDIXOOFRXUVHRIVWXG\RUE\HQJDJLQJLQLQQRFHQWEXWXQDXWKRUL]HG
DFWLYLW\7KLVXQIDLUQHVVLVFRPSRXQGHGZKHQWKHVWDWXVYLRODWLRQDOVRVHUYHVDVWKH³WULJJHU´IRU
WKHDFFUXDORIXQODZIXOSUHVHQFHE\GHSHQGHQWVRIVWXGHQWVDQGH[FKDQJHYLVLWRUV

)RUH[DPSOH

      x $Q)VHPLQDU\VWXGHQWLVSHUPLWWHGWRHQJDJHLQZRUNDWD³TXDOLI\LQJRQFDPSXVMRE´
          IRUXSWRKRXUVSHUZHHNZKLOHVFKRROLVLQVHVVLRQ7KHUHIRUHDQ)VWXGHQWZKR
          LQDGYHUWHQWO\H[FHHGVWKHKRXUOLPLWE\MXVWDFRXSOHRIKRXUVKDVWHFKQLFDOO\YLRODWHG
          KLVVWXGHQWVWDWXV
      x $'HVLJQDWHG6FKRRO2IILFLDOPD\PDNHDJRRGIDLWKHUURULQDGYLVLQJDVWXGHQWE\
          DXWKRUL]LQJDUHGXFHGFRXUVHORDGWKDWVKRXOGQRWKDYHEHHQDSSURYHGWKHUHE\OHDGLQJ
          WKHVWXGHQWWRXQNQRZLQJO\DQGXQLQWHQWLRQDOO\YLRODWHKHUVWDWXV
     x $VHPLQDULDQPD\EHDSSURYHGIRU&XUULFXODU3UDFWLFDO7UDLQLQJ &37 LQDILHOG
         HGXFDWLRQSRVLWLRQQRWVXIILFLHQWO\UHODWHGWRWKHFRXUVHRIVWXG\RUDFOLQLFDOSDVWRUDO
         HGXFDWLRQ &3( SURJUDPWKDWGRHVQRWPHHWWKHUHTXLUHPHQWVWKHUHE\OHDGLQJWKH
         VWXGHQWWRXQNQRZLQJO\DQGXQLQWHQWLRQDOO\YLRODWHKHUVWDWXV
     x $VHPLQDULDQPD\YROXQWHHULQDQXQSDLGFKXUFKRUPLQLVWU\SRVLWLRQWKDWXQGHU
         WHFKQLFDOHPSOR\PHQWODZVFODVVLILHVKLPDVDQ³HPSOR\HH´WKHUHE\OHDGLQJWKHVWXGHQW
         WRXQNQRZLQJO\DQGXQLQWHQWLRQDOO\YLRODWHKLVVWDWXV

86&,6VWDWHVWKDWWKHSXUSRVHRIWKHQHZJXLGDQFHLVWR³UHGXFHWKHQXPEHURIRYHUVWD\V´DQG
³WRLPSURYHKRZ86&,6LPSOHPHQWVWKHXQODZIXOSUHVHQFHJURXQGRILQDGPLVVLELOLW\´
8QIRUWXQDWHO\WKLVDSSURDFKDFFRPSOLVKHVQHLWKHURIWKHVHJRDOVDQGZLOOLQVWHDGXQIDLUO\SXQLVK
VWXGHQWVZLWKVHYHUHWKUHHDQGWHQ\HDUEDUVZKLOHGHSULYLQJXVRIWKHLUJLIWVDQGJUDFHV,XUJH
86&,6WRDEDQGRQWKLVPLVJXLGHGGLUHFWLYHDQGWRPDLQWDLQWKHXQODZIXOSUHVHQFHJXLGDQFHWKDW
KDVEHHQLQSODFHIRUGHFDGHVDQGHQVXUHVWKDWIXQGDPHQWDOIDLUQHVVLVDFULWLFDOFRPSRQHQWLQ
LQWHUSUHWLQJDQGLPSOHPHQWLQJWKHXQODZIXOSUHVHQFHVWDWXWH

6LQFHUHO\
                                           
                                           
                                           
7DQD/LX%HHUV(VT
,PPLJUDWLRQ/HJDO&RXQVHO
'LVFLSOHV+RPH0LVVLRQV



                                                                                          GC CAR 000666
   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 110 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 111 of 203
                                                                 GC CAR 000668
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 112 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 113 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 114 of 203

-XQH
86'HSDUWPHQWRI+RPHODQG6HFXULW\
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
2IILFHRIWKH'LUHFWRU
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

6XEPLWWHGYLDHPDLOSXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY

         5H 86&,63ROLF\0HPRUDQGXP$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG0
                1RQLPPLJUDQWV

'HDU0DGDPRU6LU

,DPZULWLQJWRH[SUHVVP\RSSRVLWLRQDQGFRQFHUQVUHJDUGLQJWKHQHZSROLF\PHPRUDQGXP
³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´SRVWHGE\86&LWL]HQVKLSDQG
,PPLJUDWLRQ6HUYLFHV 86&,6 RQ0D\

%ULHIO\VWDWHGWKHQHZPHPRUDQGXPZLOOUHYHUVHPRUHWKDQ\HDUVRI86&,6SUDFWLFH
UHJDUGLQJWKHDFFUXDORI³XQODZIXOSUHVHQFH´DOHJDOWHUPGHILQHGXQGHUVHFWLRQ D  % LL 
RIWKH,PPLJUDWLRQDQG1DWLRQDOLW\$FW ,1$ E\UHIHUHQFHWRDQLQGLYLGXDOZKR³LVSUHVHQWLQ
WKH8QLWHG6WDWHVDIWHUH[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDORULV
SUHVHQWLQWKH8QLWHG6WDWHVZLWKRXWEHLQJDGPLWWHGRUSDUROHG´)RUQRQLPPLJUDQWVWXGHQWVDQG
H[FKDQJHYLVLWRUVLQWKH)-DQG0FDWHJRULHVOHJDF\,PPLJUDWLRQDQG1DWXUDOL]DWLRQ6HUYLFH
  ,16 DQG86&,6KDYHLQWHUSUHWHGWKHVWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQVWRUHTXLUHQRWLFHWR
WKHLQGLYLGXDORIDVWDWXVYLRODWLRQSULRUWRWKHFRPPHQFHPHQWRIWKHXQODZIXOSUHVHQFHFORFN
6XFKQRWLFHLVSURYLGHGLQWKHFRQWH[WRIWKHDGMXGLFDWLRQRIDUHTXHVWIRUDQLPPLJUDWLRQEHQHILW
E\86&,6RUDGHWHUPLQDWLRQRIDVWDWXVYLRODWLRQE\DQLPPLJUDWLRQMXGJH7KH86&,6JXLGDQFH
DUWLFXODWLQJWKLVSRVLWLRQVWDWHV³,WPXVWEHHPSKDVL]HGWKDWWKHDFFUXDORIXQODZIXOSUHVHQFH
QHLWKHUEHJLQVRQWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVQRURQWKHGD\RQZKLFKUHPRYDO
SURFHHGLQJVDUHLQLWLDWHG´ 7KLVORQJVWDQGLQJSROLF\SURYLGHVFHUWDLQW\LQGHWHUPLQLQJZKHQ
XQODZIXOSUHVHQFHEHJLQVWRDFFUXHZKLFKWKHQHZSROLF\GRHVQRW

$VGHVFULEHGLQWKH0D\PHPRUDQGXP86&,6ZLOOQRZGHHPXQODZIXOSUHVHQFHWR
KDYHVWDUWHGDFFUXLQJDVRIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJWKH
FULWLFDOSURFHGXUDOVDIHJXDUGRISURYLGLQJQRWLFHWRDIIHFWHGLQGLYLGXDOVWKDWPD\ILQGWKHPVHOYHV
VXEMHFWWRWKHWKUHHDQGWHQ\HDUEDUVWRDGPLVVLELOLW\7KLVUDLVHVVHULRXVTXHVWLRQVUHJDUGLQJ
IXQGDPHQWDOIDLUQHVVDQGGXHSURFHVVDQGZLOOKDYHDVLJQLILFDQWQHJDWLYHLPSDFWRQWKHVWXGHQW
YRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHV

,QUHFRJQLWLRQRIWKHIOXLGLW\RIDFDGHPLFSURJUDPV)0DQG-QRQLPPLJUDQWVDUHQRWDGPLWWHG
WRWKH86XQWLODGDWHFHUWDLQ,QVWHDGWKH\DUHDGPLWWHGIRUWKH³GXUDWLRQRIWKHLUVWDWXV´RU


 See86&,60HPRUDQGXP&RQVROLGDWLRQRI*XLGDQFH&RQFHUQLQJ8QODZIXO3UHVHQFHIRU3XUSRVHVRI6HFWLRQV
 D  % L DQG D  & L , RIWKH$FW´ 0D\ available atKWWSZZZDLODRUJLQIRQHWXVFLV
FRQVROLGDWLRQJXLGDQFHXQODZIXOSUHVHQFH



                                                                                                *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 115 of 203
³'6´ZKLFKPHDQVWKHVWXGHQWRUH[FKDQJHYLVLWRUFDQUHPDLQLQWKH8QLWHG6WDWHVDVORQJDV
WKH\PDLQWDLQWKHLUQRQLPPLJUDQWVWDWXV7KLVJHQHUDOO\PHDQVWKHVWXGHQWPXVWPDLQWDLQDIXOO
FRXUVHRIVWXG\RUUHPDLQLQWKHH[FKDQJHSURJUDPQRWHQJDJHLQXQDXWKRUL]HGHPSOR\PHQWRU
RWKHUXQDXWKRUL]HGDFWLYLWLHVDQGFRPSOHWHWKHDFDGHPLFRUH[FKDQJHSURJUDPLQDWLPHO\
PDQQHURUREWDLQDQH[WHQVLRQ:KDWWKHQHZPHPRUDQGXPIDLOVWRUHFRJQL]HLVWKDWWKHTXHVWLRQ
DVWRZKHWKHUDQLQGLYLGXDOKDVYLRODWHGWKHLUQRQLPPLJUDQWVWDWXVLVFRPSOH[DQGQXDQFHG
6WXGHQWVDQGH[FKDQJHYLVLWRUVFDQDFFLGHQWDOO\DQGXQNQRZLQJO\YLRODWHWKHLUVWDWXVE\GURSSLQJ
VOLJKWO\EHORZDIXOOFRXUVHRIVWXG\RUE\HQJDJLQJLQLQQRFHQWEXWXQDXWKRUL]HGDFWLYLW\)RU
H[DPSOH)VWXGHQWVDUHSHUPLWWHGWRHQJDJHLQZRUNDWD³TXDOLI\LQJRQFDPSXVMRE´IRUXSWR
KRXUVSHUZHHNZKLOHVFKRROLVLQVHVVLRQ7KHUHIRUHDQ)VWXGHQWZKRLQDGYHUWHQWO\
H[FHHGVWKHKRXUOLPLWE\MXVWDFRXSOHRIKRXUVKDVWHFKQLFDOO\YLRODWHGKLVRUKHUVWXGHQW
VWDWXV,QDGGLWLRQD'HVLJQDWHG6FKRRO2IILFLDOPD\PDNHDJRRGIDLWKHUURULQDGYLVLQJD
VWXGHQWE\DXWKRUL]LQJDUHGXFHGFRXUVHORDGWKDWVKRXOGQRWKDYHEHHQDSSURYHGWKHUHE\
OHDGLQJWKHVWXGHQWWRXQNQRZLQJO\DQGXQLQWHQWLRQDOO\YLRODWHWKHLUVWDWXV7KLVXQIDLUQHVVLV
FRPSRXQGHGZKHQWKHVWDWXVYLRODWLRQDOVRVHUYHVDVWKH³WULJJHU´IRUWKHDFFUXDORIXQODZIXO
SUHVHQFHE\GHSHQGHQWVRIVWXGHQWVDQGH[FKDQJHYLVLWRUV

86&,6VWDWHVWKDWWKHSXUSRVHRIWKHQHZJXLGDQFHLVWR³UHGXFHWKHQXPEHURIRYHUVWD\V´DQG
³WRLPSURYHKRZ86&,6LPSOHPHQWVWKHXQODZIXOSUHVHQFHJURXQGRILQDGPLVVLELOLW\´
8QIRUWXQDWHO\WKLVDSSURDFKDFFRPSOLVKHVQHLWKHURIWKHVHJRDOVDQGZLOOLQVWHDGXQIDLUO\SXQLVK
DSRWHQWLDOO\VLJQLILFDQWSRUWLRQRIWKHVWXGHQWDQGH[FKDQJHYLVLWRUSRSXODWLRQIXUWKHUHURGH
IRUHLJQVWXGHQWHQUROOPHQWVDW86FROOHJHVDQGXQLYHUVLWLHVDQGXQQHFHVVDULO\GDPDJHWKH86
HFRQRP\,XUJH86&,6WRDEDQGRQWKLVPLVJXLGHGGLUHFWLYHDQGWRPDLQWDLQWKHXQODZIXO
SUHVHQFHJXLGDQFHWKDWKDVEHHQLQSODFHIRUGHFDGHVDQGHQVXUHVWKDWIXQGDPHQWDOIDLUQHVVLVD
FULWLFDOFRPSRQHQWLQLQWHUSUHWLQJDQGLPSOHPHQWLQJWKHXQODZIXOSUHVHQFHVWDWXWH

6LQFHUHO\

3LODU(OOLV
3'62)XOOHUWRQ&ROOHJH




                                                                                     *&&$5


   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 116 of 203
                                                                *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 117 of 203
                                                                *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 118 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 119 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 120 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 121 of 203
8QLWHG6WDWHV,QWHUQDWLRQDOVWXGHQWVOLNHWKHLUGRPHVWLFFRXQWHUSDUWVVKRXOGEHDOORZHG
WRFRPSOHWHWKHLUVWXGLHVDWWKHLUFKRVHQLQVWLWXWLRQZLWKRXWWKHVWUHVVRUIHDURIEHLQJ
GHSRUWHGEDVHGRQDQRYHUVLJKWRIZKLFKWKH\PD\QRWEHDZDUH

)XUWKHU86&,6PD\DFKLHYHWKHJRDORIUHGXFLQJWKHQXPEHURIQRQLPPLJUDQWVZKR
YLRODWHWKHLUVWDWXVRUVWD\EH\RQGWKHOHJDOO\DOORZDEOHSHULRGWKURXJKWKH
LPSOHPHQWDWLRQRIYDULRXVSROLFLHVZLWKLQWKHVXEDJHQFLHVRI'+6DQGLQFROODERUDWLRQ
ZLWKRWKHUIHGHUDODJHQFLHV7KHVHSROLF\FKDQJHVVKRXOGEHH[SORUHGDQGLPSOHPHQWHG
EHIRUHDQQRXQFLQJDSROLF\FKDQJHWKDWZLOODSSO\DGLVSURSRUWLRQDWHSXQLVKPHQWRIWKH
\HDU\HDUDQGSHUPDQHQWEDUVRIDGPLVVLELOLW\WRLQWHUQDWLRQDOVWXGHQWVDQG
H[FKDQJHYLVLWRUVDQGWKHLUVSRXVHVDQGFKLOGUHQ


Background

7KHFXUUHQWSROLF\KDVKHOGXSIRUPRUHWKDQ\HDUVEHFDXVHLWSURYLGHVEULJKWOLQH
GDWHVHVWDEOLVKHGLQJRYHUQPHQWV\VWHPVZKLFKJLYHDGHTXDWHQRWLFHRIXQODZIXO
SUHVHQFHWRVWXGHQWVDQGH[FKDQJHYLVLWRUVDQGWKHLUVFKRROVDQGH[FKDQJHSURJUDPV
8QGHUFXUUHQWSROLF\QRQLPPLJUDQWVEHJLQWRDFFUXHXQODZIXOSUHVHQFHWKHGD\DIWHU
'+6GHQLHGWKHLUUHTXHVWIRUDQLPPLJUDWLRQEHQHILWLI'+6PDGHDIRUPDOILQGLQJWKDW
WKH\YLRODWHGWKHLUQRQLPPLJUDQWVWDWXVZKLOHDGMXGLFDWLQJDUHTXHVWIRUDQRWKHU
LPPLJUDWLRQEHQHILWWKHGD\DIWHUWKHLU)RUP, WUDYHOGRFXPHQW H[SLUHGRUWKHGD\
DIWHUDQLPPLJUDWLRQMXGJHRULQFHUWDLQFDVHVWKH%RDUGRI,PPLJUDWLRQ$SSHDOV %,$ 
RUGHUHGWKHPH[FOXGHGGHSRUWHGRUUHPRYHG ZKHWKHURUQRWWKHGHFLVLRQLVDSSHDOHG 
7KHEULJKWOLQHVRIWKHH[SLUDWLRQGDWHRQD)RUP,RUWKHGDWHDQLPPLJUDWLRQMXGJH
RUGHUHGWKHQRQLPPLJUDQWGHSRUWHGDUHHDV\WRVHH)DLOXUHWRPDLQWDLQVWDWXVXQGHUWKH
)0DQG-YLVDSURJUDPVGRQRWSUHVHQWVXFKDEULJKWOLQHKRZHYHUSDUWLFXODUO\EHFDXVH
WKHUHLVRYHUODSEHWZHHQGLIIHUHQWW\SHVRI³VWDWXV´)RUH[DPSOH

x9LVDVWDWXV WKHYDOLGLW\SHULRGRIWKHQRQLPPLJUDQWYLVDLQRQH¶VSDVVSRUW 
x6(9,6VWDWXV WKHGUDIWLQLWLDODFWLYHFRPSOHWHGGHDFWLYDWHGRUWHUPLQDWHGVWDWXVRID
QRQLPPLJUDQW¶VHOHFWURQLFUHFRUGLQWKH6WXGHQWDQG([FKDQJH9LVLWRU,QIRUPDWLRQ
6\VWHPGDWDEDVH 
x1RQLPPLJUDQWVWDWXV DELGLQJE\WKHGXUDWLRQDQGRWKHUFRQGLWLRQVRIWKH
QRQLPPLJUDQWFDWHJRU\LQZKLFKDQDOLHQLVDGPLWWHGWRWKH8QLWHG6WDWHVE\'+6 

,WLVQRWHDV\IRUDQRQLPPLJUDQWWRGLVFHUQZKHQDYLRODWLRQRIVWDWXVKDVRFFXUUHG
7KHUHPD\EHLQFRQVLVWHQF\DPRQJLPPLJUDWLRQGRFXPHQWVHOHFWURQLFUHFRUGVDQG
DFWLRQVWKDWOHDGWRDGHWHUPLQDWLRQLQYLRODWLRQRIVWDWXV7KHUHFRXOGDOVREHVLWXDWLRQV
ZKHUHGRFXPHQWVDQGDFWLRQVDUHQRWEHLQJLQWHUSUHWHGFRUUHFWO\E\YDULRXVVWDNHKROGHUV
LQYROYHGZLWKWKHQRQLPPLJUDQW¶VGXUDWLRQRIVWD\3ODLQO\VWDWHGLPPLJUDWLRQODZLV
FRPSOLFDWHGDQGERWKFRPSOLDQFHDQGHQIRUFHPHQWLVDYHU\WHFKQLFDOPDWWHUWKDW
UHTXLUHVWUDLQLQJDQGH[SHUWLVH%HFDXVHRIWKLVFRPSOH[LW\DQDOLHQPLJKWQRWHYHQNQRZ
KHLV³RXWRIVWDWXV´XQWLOLQIRUPHGE\WKHJRYHUQPHQW




                                                                                       GC CAR 000678
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 122 of 203

7KHUHDUHVRPHYLRODWLRQVRIVWDWXVWKDWFDQHDVLO\EHIL[HGZLWKSURSHUDGYLVHPHQWRU
FRUUHFWLRQRIGRFXPHQWVZKLOHILQGLQJVRIXQODZIXOSUHVHQFHDUHIDUPRUHGHWULPHQWDOWR
WKHQRQLPPLJUDQWDQGQRWHDVLO\FXUHG'+6LVQRZSURSRVLQJWRGLUHFWO\HTXDWHD
IDLOXUHWRPDLQWDLQQRQLPPLJUDQWVWDWXVDFFRUGHGXQGHU,1$ VHWWLQJIRUWK
FRQGLWLRQVRIDGPLVVLRQDQGGXUDWLRQRIVWD\LQWKH86LQDQRQLPPLJUDQWVWDWXV ZLWK
WKHVWDUWRIFRXQWLQJGD\VRIXQODZIXOSUHVHQFHXQGHU,1$ D  %  H[SOLFLWO\
FRQVLGHULQJDQDOLHQWREHXQODZIXOO\SUHVHQWLQWKH8QLWHG6WDWHVLISUHVHQWLQWKH8QLWHG
6WDWHVafter the expiration of the period of stayDXWKRUL]HGE\WKH$WWRUQH\*HQHUDO 
6LQFHDIDLOXUHWRPDLQWDLQVWDWXVKDVWKHSRWHQWLDORIEHLQJIL[HGWKHUHVKRXOGEHQR
H[SLUDWLRQRIWKHSHULRGRIVWD\XQWLOWKHUHLVDILQGLQJWKDWWKHIDLOXUHWRPDLQWDLQVWDWXV
FDQQRWEHIL[HGZKLFKILQGLQJLVFOHDUO\FRPPXQLFDWHGWRWKHQRQLPPLJUDQW7KXVWKH
SROLF\LQSODFHIRUWKHODVW\HDUVWKDWGLVWLQJXLVKHVEHWZHHQVWDWXVYLRODWLRQVDQG
XQODZIXOSUHVHQFHPDNHVVHQVHIRUSXUSRVHVRIDSSO\LQJ,1$ D  % IURPERWK
OHJDODQGSXEOLFSROLF\YLHZSRLQWV$FOHDUJRYHUQPHQWGHWHUPLQDWLRQZKHWKHULWLVWKH
H[SLUDWLRQGDWHRQDQRQLPPLJUDQW¶V)RUP,RUDIRUPDOILQGLQJE\DQLPPLJUDWLRQ
MXGJHVHUYHVDVDIDLUDQGFOHDUZDUQLQJWRDQDOLHQWKDWWKHFORFNLVWLFNLQJDQGVKHPXVW
WDNHDFWLRQWROHDYHWKH8QLWHG6WDWHVRURWKHUZLVHFXUHWKHGHILFLHQF\LISRVVLEOH$Q
DOLHQZKRSHUVLVWVDIWHUVXFKIDLUQRWLFHPXVWIDFHWKHSRVVLELOLW\RIQRWEHLQJDEOHWR
UHWXUQWRWKH8QLWHG6WDWHVIRUHLWKHURU\HDUV

)LQDOO\WKHUHLVQRWKLQJLQWKHVWDWXWRU\IUDPHZRUNWRVXSSRUWWKHHTXDWLRQRIWKHWZR
FRQFHSWVRIIDLOXUHWRPDLQWDLQQRQLPPLJUDQWVWDWXVZLWKXQODZIXOSUHVHQFH,QGHHG
ZKHQ&RQJUHVVSDVVHGWKH,OOHJDO,PPLJUDWLRQ5HIRUPDQG,PPLJUDQW5HVSRQVLELOLW\$FW
RI ³,,5,5$´ DQGRYHUKDXOHG,1$HQIRUFHPHQWSURYLVLRQVLWFKRVHQRWWRXVHWKH
SKUDVH³XQODZIXO´SUHVHQFHUHODWLYHWR)0DQG-YLVDVOHDYLQJLQUHIHUHQFHVWR
³PDLQWHQDQFHRIVWDWXV´WRWKRVHFDWHJRULHV,WZDVFOHDUO\WKHLQWHQWRI&RQJUHVVWROHDYH
WKHWZRFRQFHSWVVHSDUDWH

Fairness

%HFDXVHWKH,1$ D  % SHQDOWLHVDUHVRVHYHUHZHPXVWDOVRZHLJKWKHIDLUQHVVRI
WKHSROLFLHVHQIRUFLQJWKDWODZ/RQJ86&,6DGMXGLFDWLRQWLPHVIRUH[DPSOHPD\OHDGWR
VRPHRQHEHFRPLQJVXEMHFWWRWKHXQODZIXOSUHVHQFHSHQDOWLHVLQDQ\FDVHWKDWLV
XOWLPDWHO\GHQLHG)RUH[DPSOHFRQVLGHUDVWXGHQWZKRUHJLVWHUVIRUIHZHUFODVVHVWKDQ
VKHVKRXOGKDYHRQHVHPHVWHUZKLFKOHDGVKHUVFKRROWRWHUPLQDWHKHU6(9,6UHFRUG,Q
JRRGIDLWKWKHVWXGHQWUHJLVWHUVIRUDIXOOFRXUVHRIVWXG\WKHQH[WVHPHVWHUDQGDSSOLHVLQ
JRRGIDLWKWR86&,6WRUHLQVWDWHKHUVWXGHQWVWDWXV,WLVQRWXQFRPPRQIRUD86&,6
6HUYLFH&HQWHUWRWDNHVL[PRQWKVRUORQJHUWRDGMXGLFDWHDQDSSOLFDWLRQIRUUHLQVWDWHPHQW
WRVWXGHQWVWDWXV

8QGHUFXUUHQW86&,6SROLF\LI86&,6XOWLPDWHO\GHQLHVWKHVWXGHQW¶VUHLQVWDWHPHQWVKH
ZRXOGVWDUWFRXQWLQJXQODZIXOSUHVHQFHDVRIWKHGDWHRIWKHGHQLDOZKLFKJLYHVVXIILFLHQW
WLPHWRHLWKHUPDNHDUUDQJHPHQWVWROHDYHWKHFRXQWU\RUSRVVLEO\WRDVN86&,6WR




                                                                                        GC CAR 000679
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 123 of 203
UHFRQVLGHULWVGHFLVLRQ,QWKHSURSRVHGSROLF\YLUWXDOO\DOOVWXGHQWVZKRVHUHLQVWDWHPHQW
DSSOLFDWLRQVDUHGHQLHGZRXOGILQGWKHPVHOYHVVXEMHFWWRDWOHDVWWKH\HDUEDUPHUHO\
EHFDXVH86&,6WRRNVRORQJWRDGMXGLFDWHDSSOLFDWLRQVIRUUHLQVWDWHPHQW

,QDGGLWLRQDVWXGHQWRUH[FKDQJHYLVLWRUPLJKWQRWHYHQNQRZWKDWKHZDVLQYLRODWLRQRI
VWDWXVXQWLO'+6PDNHVDIRUPDOGHWHUPLQDWLRQRIWKDW,IWKHXQODZIXOSUHVHQFH³FORFN´
LVVHHQWRVWDUWDWVRPHGLVWDQWWLPHLQWKHSDVWLQVXFKFDVHVDQ\ZLQGRZIRUGHSDUWLQJ
WKHFRXQWU\ZLOOKDYHSDVVHG

Recommendation

,QOLHXRILPSOHPHQWLQJWKHSROLF\GHVFULEHGLQWKHPHPR681<UHVSHFWIXOO\UHTXHVWV
WKDWWKHFXUUHQWSROLF\ZKLFKKDVVHUYHGXVZHOOIRURYHU\HDUVUHPDLQLQSODFH
1HLWKHU'+6QRUOHJDF\,16HYHUSXEOLVKHGUHJXODWLRQVWRLPSOHPHQWWKLVLPSRUWDQWDUHD
RIODZ,IWKHDJHQF\ZLVKHVWRLPSOHPHQWVXFKDGUDVWLFFKDQJHWRORQJVWDQGLQJFRPPRQ
LQWHUSUHWDWLRQRIWKHODZLWLVEHVWGRQHWKURXJKWKHIRUPDOUXOHPDNLQJXQGHUWKH
$GPLQLVWUDWLYH3URFHGXUHV$FW7KLVZLOODOORZIRUDWKRXJKWIXOQRWLFHDQGFRPPHQW
SHULRG$V,VWDWHGDWWKHRXWVHWWKHKLJKHUHGXFDWLRQFRPPXQLW\LVDEOHWRSURYLGH
WKRXJKWIXOFRPPHQWDU\WKDWZLOOLQIRUP\RXDQGWKHRWKHUVXEUHJXODWRU\DJHQFLHVRI
'+6LQRUGHUWRSURWHFWQDWLRQDOVHFXULW\DQGSURPRWHDUREXVWHFRQRP\DQGULFK
DFDGHPLFSURJUDPVWKDWDUHVXSSRUWHGE\LQWHUQDWLRQDOVWXGHQWVDQGH[FKDQJHYLVLWRUV


7KDQN\RXIRUWKHRSSRUWXQLW\WRFRPPHQW

6LQFHUHO\\RXUV



                                   
.ULVWLQD0-RKQVRQ3K'
&KDQFHOORU




                                                                                     GC CAR 000680
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 124 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 125 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 126 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 127 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 128 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 129 of 203
                                                                                           


IXQGDPHQWDOIDLUQHVVDQGGXHSURFHVVDQGZLOOKDYHDVLJQLILFDQWQHJDWLYHLPSDFWRQWKHVWXGHQW
YRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHV

,QUHFRJQLWLRQRIWKHIOXLGLW\RIDFDGHPLFSURJUDPV)0DQG-QRQLPPLJUDQWVDUHQRWDGPLWWHG
WRWKH86XQWLODGDWHFHUWDLQ,QVWHDGWKH\DUHDGPLWWHGIRUWKH³GXUDWLRQRIWKHLUVWDWXV´RU
³'6´ZKLFKPHDQVWKHVWXGHQWRUH[FKDQJHYLVLWRUFDQUHPDLQLQWKH8QLWHG6WDWHVDVORQJDV
WKH\PDLQWDLQWKHLUQRQLPPLJUDQWVWDWXV7KLVJHQHUDOO\PHDQVWKHVWXGHQWPXVWPDLQWDLQDIXOO
FRXUVHRIVWXG\RUUHPDLQLQWKHH[FKDQJHSURJUDPQRWHQJDJHLQXQDXWKRUL]HGHPSOR\PHQWRU
RWKHUXQDXWKRUL]HGDFWLYLWLHVDQGFRPSOHWHWKHDFDGHPLFRUH[FKDQJHSURJUDPLQDWLPHO\
PDQQHURUREWDLQDQH[WHQVLRQ:KDWWKHQHZPHPRUDQGXPIDLOVWRUHFRJQL]HLVWKDWWKHTXHVWLRQ
DVWRZKHWKHUDQLQGLYLGXDOKDVYLRODWHGWKHLUQRQLPPLJUDQWVWDWXVLVFRPSOH[DQGQXDQFHG
6WXGHQWVDQGH[FKDQJHYLVLWRUVFDQDFFLGHQWDOO\DQGXQNQRZLQJO\YLRODWHWKHLUVWDWXVE\GURSSLQJ
VOLJKWO\EHORZDIXOOFRXUVHRIVWXG\RUE\HQJDJLQJLQLQQRFHQWEXWXQDXWKRUL]HGDFWLYLW\)RU
H[DPSOH)VWXGHQWVDUHSHUPLWWHGWRHQJDJHLQZRUNDWD³TXDOLI\LQJRQFDPSXVMRE´IRUXSWR
KRXUVSHUZHHNZKLOHVFKRROLVLQVHVVLRQ7KHUHIRUHDQ)VWXGHQWZKRLQDGYHUWHQWO\
H[FHHGVWKHKRXUOLPLWE\MXVWDFRXSOHRIKRXUVKDVWHFKQLFDOO\YLRODWHGKLVRUKHUVWXGHQW
VWDWXV,QDGGLWLRQD'HVLJQDWHG6FKRRO2IILFLDOPD\PDNHDJRRGIDLWKHUURULQDGYLVLQJD
VWXGHQWE\DXWKRUL]LQJDUHGXFHGFRXUVHORDGWKDWVKRXOGQRWKDYHEHHQDSSURYHGWKHUHE\
OHDGLQJWKHVWXGHQWWRXQNQRZLQJO\DQGXQLQWHQWLRQDOO\YLRODWHWKHLUVWDWXV7KLVXQIDLUQHVVLV
FRPSRXQGHGZKHQWKHVWDWXVYLRODWLRQDOVRVHUYHVDVWKH³WULJJHU´IRUWKHDFFUXDORIXQODZIXO
SUHVHQFHE\GHSHQGHQWVRIVWXGHQWVDQGH[FKDQJHYLVLWRUV

$GGLWLRQDOFRPSOLFDWLRQVDUH

,WLVXQFOHDUIURPWKHPHPRZKHWKHUWKHWULJJHUIRUWKHDFFUXDORIXQODZIXOVWDWXVLVWKHGDWHRI
WKHYLRODWLRQRUWKHGDWHWKDWWKHYLRODWLRQLVUHSRUWHGLQ6(9,6'62VDUHUHTXLUHGWRUHSRUW
VWDWXVYLRODWLRQVLQ6(9,6ZLWKLQGD\VRIWKHYLRODWLRQ:LWKRXWFODULILFDWLRQWKLVFODULILFDWLRQ
LWVHHPVLWZLOOEHLPSRVVLEOHIRUDVWXGHQWRUH[FKDQJHYLVLWRUWRDFFXUDWHO\FDOFXODWHWKHH[DFW
QXPEHURIGD\V

7KHPHPRDSSHDUVWRVWDWHWKDWDVWXGHQWZLOOQRWDFFUXHWLPHLQXQODZIXOSUHVHQFHGXULQJWKH
WLPHWKDWDQDSSOLFDWLRQIRUUHLQVWDWHPHQWLVSHQGLQJSURYLGHGWKDWWKHDSSOLFDWLRQLVXOWLPDWHO\
DSSURYHG&XUUHQWO\WKHVHDSSOLFDWLRQVDUHWDNLQJRYHUD\HDUWRDGMXGLFDWH,WLVXQFOHDUZKHWKHU
WKHVWXGHQWZKRVHDSSOLFDWLRQLVGHQLHGZRXOGILQGKLPRUKHUVHOIZLWKRYHUD\HDURIDFFUXHG
XQODZIXOSUHVHQFH,IWKLVLVWKHFDVHWKHQLWVHHPVXQIDLUWRWKHVWXGHQWZKRLVWROGWKDWKHVKH
PD\OHJDOO\VWD\LQWKH86ZKLOHWKHDSSOLFDWLRQLVSHQGLQJDGHFLVLRQ8QGHUVXFK
FLUFXPVWDQFHVLWVHHPVWKDW86&,6VKRXOGIDVWWUDFN,DSSOLFDWLRQVIRUUHTXHVWVIRU
UHLQVWDWHPHQWRIVWXGHQWVWDWXVVRWKDWVWXGHQWVDUHQRWXQGXO\SXQLVKHG$VPHQWLRQHG
SUHYLRXVO\DVWXGHQWPD\IDOORXWRIVWDWXVIRUDUHODWLYHO\PLQRUYLRODWLRQRUWKURXJK'62HUURU
7KLVFRQVHTXHQFHWKDWZLOOHQVXHXQGHUWKLVSURSRVHGFKDQJHLQSROLF\GRQRWVHHPWRILWWKH
FLUFXPVWDQFHVRIWKHDYHUDJHLQWHUQDWLRQDOVWXGHQWVHHNLQJDGHJUHHDWD86LQVWLWXWLRQ

86&,6VWDWHVWKDWWKHSXUSRVHRIWKHQHZJXLGDQFHLVWR³UHGXFHWKHQXPEHURIRYHUVWD\V´DQG
³WRLPSURYHKRZ86&,6LPSOHPHQWVWKHXQODZIXOSUHVHQFHJURXQGRILQDGPLVVLELOLW\´
8QIRUWXQDWHO\WKLVDSSURDFKDFFRPSOLVKHVQHLWKHURIWKHVHJRDOVDQGZLOOLQVWHDGXQIDLUO\SXQLVK
DSRWHQWLDOO\VLJQLILFDQWSRUWLRQRIWKHVWXGHQWDQGH[FKDQJHYLVLWRUSRSXODWLRQIXUWKHUHURGH




                                                                                          GC CAR 000686
   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 130 of 203
                                                                                           


IRUHLJQVWXGHQWHQUROOPHQWVDW86FROOHJHVDQGXQLYHUVLWLHVDQGXQQHFHVVDULO\GDPDJHWKH86
HFRQRP\,XUJH86&,6WRDEDQGRQWKLVPLVJXLGHGGLUHFWLYHDQGWRPDLQWDLQWKHXQODZIXO
SUHVHQFHJXLGDQFHWKDWKDVEHHQLQSODFHIRUGHFDGHVDQGHQVXUHVWKDWIXQGDPHQWDOIDLUQHVVLVD
FULWLFDOFRPSRQHQWLQLQWHUSUHWLQJDQGLPSOHPHQWLQJWKHXQODZIXOSUHVHQFHVWDWXWH

6LQFHUHO\





                          

6DUDK-RXJKLQ
$VVRFLDWH'LUHFWRU
3'62








                                                                                       GC CAR 000687
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 131 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 132 of 203
                                                                 GC CAR 000689
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 133 of 203
                                                                 GC CAR 000690
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 134 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 135 of 203
LQLWLDWHG´7KLVORQJVWDQGLQJSROLF\SURYLGHVFHUWDLQW\LQGHWHUPLQLQJZKHQXQODZIXOSUHVHQFH
EHJLQVWRDFFUXHZKLFKWKHQHZSROLF\GRHVQRW

$VGHVFULEHGLQWKH0D\PHPRUDQGXP86&,6ZLOOQRZGHHPXQODZIXOSUHVHQFHWR
KDYHVWDUWHGDFFUXLQJDVRIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJWKH
FULWLFDOSURFHGXUDOVDIHJXDUGRISURYLGLQJQRWLFHWRDIIHFWHGLQGLYLGXDOVWKDWPD\ILQGWKHPVHOYHV
VXEMHFWWRWKHWKUHHDQGWHQ\HDUEDUVWRDGPLVVLELOLW\7KLVUDLVHVVHULRXVTXHVWLRQVUHJDUGLQJ
IXQGDPHQWDOIDLUQHVVDQGGXHSURFHVVDQGZLOOKDYHDVLJQLILFDQWQHJDWLYHLPSDFWRQWKHVWXGHQW
YRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHV

,QWHUQDWLRQDOVWXGHQWVDOUHDG\VWXG\LQWKH86XQGHUDUHJXODWRU\IUDPHZRUNWKDWPDNHVWKHLU
H[SHULHQFHTXLWHGLIIHUHQWIURPWKDWRIGRPHVWLFVWXGHQWV(PSOR\PHQWOLPLWDWLRQVGLIILFXOWYLVD
DSSOLFDWLRQSURFHGXUHVDQGRWKHUFRQVWUDLQWVDUHDFFHSWHGE\VWXGHQWVDVDSULFHWRDFFHVVLQJ
LQFUHGLEOHHGXFDWLRQVRSSRUWXQLWLHVLQWKH86+RZHYHUFUHDWLQJDVLWXDWLRQLQZKLFK
LQGLYLGXDOVPXVWZRUU\WKDWHYHQXQLQWHQWLRQDOHUURUVWKDWLPSDFWRQH¶VVWDWXVFDQKDYH
GHYDVWDWLQJHIIHFWVRQWKHLUHGXFDWLRQDOSURJUHVVVHHPVWREHLQDSSURSULDWHDQGXQIDLU,QRXU
UROHDV'HVLJQDWHG6FKRRO2IILFLDOV '62V P\VWDIIKHOSVWXGHQWVZKRKDYHIDOOHQRXWRIVWDWXV
ZLWKUHLQVWDWHPHQWDSSOLFDWLRQV:KLOHPRVWDUHHYHQWXDOO\DSSURYHGWKHUHKDYHEHHQLQVWDQFHV
ZKHUHDQLQGLYLGXDOUHFHLYHGDGHQLDORIWKHLUUHLQVWDWHPHQWUHTXHVW8QGHUFXUUHQWSROLF\DQG
SUDFWLFHWKHVHLQGLYLGXDOVDUHWKHQDEOHWRWDNHDSSURSULDWHDFWLRQVLQFOXGLQJSRWHQWLDOO\OHDYLQJ
WKH86LQRUGHUWRFRPSO\ZLWK'+686&,6GHFLVLRQVRQWKHLUFDVH,QPDQ\FDVHVWKH
DSSURSULDWHDFWLRQVWDNHQE\WKHLQGLYLGXDOKHOSWRSUHVHUYHIXWXUHRSSRUWXQLWLHVWRSXUVXH
HGXFDWLRQDQGRUHPSOR\PHQWLQWKH867KHQHZSROLF\ZLOOLQPDQ\FDVHVPDNHLW
LPSRVVLEOHIRUDQLPSDFWHGSHUVRQWRWDNHDSSURSULDWHDFWLRQVLQDWLPHO\PDQQHU7KLVVLWXDWLRQ
LVGDPDJLQJWRQRWRQO\WKHLQGLYLGXDO¶VSHUVRQDOVLWXDWLRQEXWDOVR86KLJKHUHGXFDWLRQPRUH
EURDGO\DVZHVHHNWRDWWUDFWDQGUHWDLQWKHPRVWWDOHQWHGVWXGHQWVIURPDURXQGWKHZRUOG

7KDQN\RXIRUWKHRSSRUWXQLW\WRFRPPHQW

6LQFHUHO\



7RQ\7DPEDVFLD
([HFXWLYH'LUHFWRU2IILFHRI,QWHUQDWLRQDO6HUYLFHV
8QLYHUVLW\RI6RXWKHUQ&DOLIRUQLD




                                                                                          GC CAR 000692
   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 136 of 203
-XQH

'HSDUWPHQWRI+RPHODQG6HFXULW\
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
2IILFHRIWKH'LUHFWRU
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

6XEPLWWHGYLDHPDLO SXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY

        5H     86&,63ROLF\0HPRUDQGXP$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG0
                 1RQLPPLJUDQWV

'HDU0DGDPRU6LU

7KH$PHULFDQ,PPLJUDWLRQ/DZ\HUV$VVRFLDWLRQ $,/$ DQGWKH$PHULFDQ,PPLJUDWLRQ&RXQFLO
 ,PPLJUDWLRQ&RXQFLO UHVSHFWIXOO\VXEPLWWKHIROORZLQJFRPPHQWVLQUHVSRQVHWRWKH86&,6
0HPRUDQGXP³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´SRVWHGRQWKH
86&,6ZHEVLWHRQ0D\

(VWDEOLVKHGLQ$,/$LVDYROXQWDU\EDUDVVRFLDWLRQRIPRUHWKDQDWWRUQH\VDQGODZ
SURIHVVRUVSUDFWLFLQJUHVHDUFKLQJDQGWHDFKLQJLQWKHILHOGRILPPLJUDWLRQDQGQDWLRQDOLW\ODZ2XU
PLVVLRQLQFOXGHVWKHDGYDQFHPHQWRIWKHODZSHUWDLQLQJWRLPPLJUDWLRQDQGQDWLRQDOLW\DQGWKH
IDFLOLWDWLRQRIMXVWLFHLQWKHILHOG$,/$PHPEHUVUHJXODUO\DGYLVHDQGUHSUHVHQWEXVLQHVVHV86
FLWL]HQV86ODZIXOSHUPDQHQWUHVLGHQWVDQGIRUHLJQQDWLRQDOVUHJDUGLQJWKHDSSOLFDWLRQDQG
LQWHUSUHWDWLRQRI86LPPLJUDWLRQODZV

7KH$PHULFDQ,PPLJUDWLRQ&RXQFLOLVDQRQSURILWRUJDQL]DWLRQHVWDEOLVKHGWRLQFUHDVHSXEOLF
XQGHUVWDQGLQJRILPPLJUDWLRQODZDQGSROLF\DGYRFDWHIRUWKHIDLUDQGMXVWDGPLQLVWUDWLRQRIRXU
LPPLJUDWLRQODZVSURWHFWWKHOHJDOULJKWVRIQRQFLWL]HQVDQGHGXFDWHWKHSXEOLFDERXWWKHHQGXULQJ
FRQWULEXWLRQVRI$PHULFD¶VLPPLJUDQWV,QDGGLWLRQWKURXJKLWVZRUNRQWKHHFRQRPLFEHQHILWVRI
LPPLJUDWLRQUHIRUPWKH,PPLJUDWLRQ&RXQFLOKDVKHOSHGWRHVWDEOLVKEDVHOLQHVWDQGDUGVIRU
XQGHUVWDQGLQJWKHLPSRUWDQWUROHLPPLJUDWLRQSOD\VLQVKDSLQJDQGGULYLQJDWZHQW\ILUVWFHQWXU\
$PHULFDQHFRQRP\

$ %DFNJURXQGDQG2YHUYLHZRI+LVWRULFDO,QWHUSUHWDWLRQRI8QODZIXO3UHVHQFH

³8QODZIXOSUHVHQFH´LVDOHJDOWHUPGHILQHGXQGHUVHFWLRQ D  % LL RIWKH,PPLJUDWLRQDQG
1DWLRQDOLW\$FW ,1$ 7KHWHUPUHIHUVWRDQLQGLYLGXDOZKR³LVSUHVHQWLQWKH8QLWHG6WDWHVDIWHU
H[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDORULVSUHVHQWLQWKH8QLWHG6WDWHV
ZLWKRXWEHLQJDGPLWWHGRUSDUROHG´8QGHU,1$ D  % DSHUVRQZKRKDVEHHQXQODZIXOO\


  30³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´ 0D\ available at
KWWSVZZZXVFLVJRYVLWHVGHIDXOWILOHV86&,62XWUHDFK'UDIW0HPRUDQGXPIRU&RPPHQW$FFUXDORI8
QODZIXO3UHVHQFH)-01RQLPPLJUDQWV0(02BYSGI
                                                                                                        1

                                                                                            *&&$5


    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 137 of 203
SUHVHQWIRUPRUHWKDQGD\VEXWOHVVWKDQRQH\HDUDQGZKRGHSDUWVWKH8QLWHG6WDWHVLVEDUUHG
IURPUHWXUQLQJIRUWKUHH\HDUV$SHUVRQZKRGHSDUWVDIWHUKDYLQJEHHQXQODZIXOO\SUHVHQWIRUPRUH
WKDQRQH\HDULVEDUUHGIRUWHQ\HDUV&UHDWHGE\&RQJUHVVZLWKWKHHQDFWPHQWRIWKH,OOHJDO
,PPLJUDWLRQ5HIRUPDQG,PPLJUDQW5HVSRQVLELOLW\$FW ,,5,5$ WKHXQODZIXOSUHVHQFHSURYLVLRQV
WRRNHIIHFWRQ$SULO

,QUHFRJQLWLRQRIWKHIOXLGLW\RIDFDGHPLFSURJUDPV)0DQG-QRQLPPLJUDQWVDUHQRWDGPLWWHGWR
WKH86XQWLODGDWHFHUWDLQ,QVWHDGWKH\DUHDGPLWWHGIRU³GXUDWLRQRIVWDWXV´RU³'6´ZKLFK
PHDQVWKHVWXGHQWRUH[FKDQJHYLVLWRUFDQUHPDLQLQWKH8QLWHG6WDWHVDVORQJDVKHRUVKHPDLQWDLQV
QRQLPPLJUDQWVWDWXV7KLVJHQHUDOO\PHDQVWKHLQGLYLGXDOPXVWPDLQWDLQDIXOOFRXUVHRIVWXG\RU
UHPDLQLQWKHH[FKDQJHSURJUDPQRWHQJDJHLQXQDXWKRUL]HGHPSOR\PHQWRURWKHUXQDXWKRUL]HG
DFWLYLWLHVDQGFRPSOHWHWKHDFDGHPLFRUH[FKDQJHSURJUDPLQDWLPHO\PDQQHURUREWDLQDQ
H[WHQVLRQ

%HFDXVHLQWHUQDWLRQDOVWXGHQWVDUHQRWDGPLWWHGXQWLODGDWHFHUWDLQOHJDF\,PPLJUDWLRQDQG
1DWXUDOL]DWLRQ6HUYLFH ,16 DQG86&,6KDYHLQWHUSUHWHGWKHVWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQV
WRUHTXLUHQRWLFHRIDVWDWXVYLRODWLRQWRLQGLYLGXDOVDGPLWWHGIRU³'6´EHIRUHWKHXQODZIXOSUHVHQFH
FORFNZLOOVWDUW6XFKQRWLFHLVSURYLGHGLQWKHFRQWH[WRIWKHDGMXGLFDWLRQRIDUHTXHVWIRUDQ
LPPLJUDWLRQEHQHILWE\86&,6RUDGHWHUPLQDWLRQRIDVWDWXVYLRODWLRQE\DQLPPLJUDWLRQMXGJH
%HJLQQLQJLQWKLVLQWHUSUHWDWLRQZDVFRPPHPRUDWHGLQDVHULHVRI86&,6JXLGDQFHGRFXPHQWV
DQGZDVPRVWUHFHQWO\UHLWHUDWHGLQWKH0D\³&RQVROLGDWLRQRI*XLGDQFH&RQFHUQLQJ
8QODZIXO3UHVHQFHIRU3XUSRVHVRI6HFWLRQV D  % L DQG D  & L , RIWKH$FW´7KH
JXLGDQFHHPSKDVL]HVWKDW³WKHDFFUXDORIXQODZIXOSUHVHQFHQHLWKHUEHJLQVRQWKHGDWHWKDWD
VWDWXVYLRODWLRQRFFXUVQRURQWKHGD\RQZKLFKUHPRYDOSURFHHGLQJVDUHLQLWLDWHG´)XUWKHU&KDSWHU
 D  RIWKH$GMXGLFDWRU¶V)LHOG0DQXDO $)0 PDNHVLWFOHDUWKDW³WRXQGHUVWDQGWKH
RSHUDWLRQRIVHFWLRQV D  % DQG D  & L O RIWKH$FWLWLVLPSRUWDQWWRFRPSUHKHQGWKH
GLIIHUHQFHEHWZHHQEHLQJLQDQXQODZIXOLPPLJUDWLRQVWDWXVDQGWKHDFFUXDORIXQODZIXOSUHVHQFH«
$OWKRXJKWKHVHFRQFHSWVDUHUHODWHG«WKH\DUHQRWWKHVDPH´

% 6XPPDU\RI86&,6¶V1HZ,QWHUSUHWDWLRQRI8QODZIXO3UHVHQFH

$VGHVFULEHGLQWKH0D\PHPRUDQGXP KHUHLQDIWHU³PHPRUDQGXP´RU³PHPR´ 
86&,6ZLOOQRZGHHPXQODZIXOSUHVHQFHWRKDYHVWDUWHGDFFUXLQJIRU)0DQG-QRQLPPLJUDQWVDV
RIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJWKHFULWLFDOSURFHGXUDOVDIHJXDUG
RISURYLGLQJQRWLFHWRDIIHFWHGLQGLYLGXDOVWKDWPD\ILQGWKHPVHOYHVVXEMHFWWRWKHWKUHHDQGWHQ\HDU
EDUVWRDGPLVVLELOLW\)RUVWDWXVYLRODWLRQVIRXQGWRKDYHRFFXUUHGRQRUEHIRUH$XJXVWWKH
HIIHFWLYHGDWHRIWKHPHPRXQODZIXOSUHVHQFHZLOOEHFDOFXODWHGEHJLQQLQJ$XJXVWLIQRW
DFFUXHGHDUOLHU

:KHQDVVHVVLQJZKHWKHUDVWDWXVYLRODWLRQKDVRFFXUUHGWKHPHPRVWDWHVWKDWDGMXGLFDWRUVDUHWR
FRQVLGHU  LQIRUPDWLRQFRQWDLQHGLQV\VWHPVDYDLODEOHWR86&,6  LQIRUPDWLRQFRQWDLQHGLQWKH
LQGLYLGXDO¶V³$ILOH´DQG  LQIRUPDWLRQREWDLQHGWKURXJKD5HTXHVWIRU(YLGHQFH 5)( RU1RWLFH
RI,QWHQWWR'HQ\ 12,' 0RUHRYHUWKHPHPRVWDWHVWKDWZKLOHWKHVWDWXVRIWKHVSRXVHDQGFKLOGUHQ
RIDQ)-RU0QRQLPPLJUDQWLVFRQWLQJHQWRQWKHVWDWXVRIWKHSULQFLSDOQRQLPPLJUDQWWKHSHULRGRI
VWD\DXWKRUL]HGIRUDGHSHQGHQWVSRXVHRUFKLOGPD\DOVRHQGGXHWRWKHLURZQFRQGXFWRU
FLUFXPVWDQFHV



  'LY&RI3XE/DZ1R 6HSW 

   See KWWSZZZDLODRUJLQIRQHWXVFLVFRQVROLGDWLRQJXLGDQFHXQODZIXOSUHVHQFH

   IdDW
                                                                                                        2

                                                                                            *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 138 of 203
$IWHUPRUHWKDQ\HDUVRIFRQVLVWHQWLQWHUSUHWDWLRQWKDWUHFRJQL]HVWKHSULQFLSOHRIIXQGDPHQWDO
IDLUQHVVDQGSURYLGHVFHUWDLQW\LQGHWHUPLQLQJZKHQXQODZIXOSUHVHQFHEHJLQVWRDFFUXH86&,6LV
DEUXSWO\FKDQJLQJFRXUVHDQGFRQIODWLQJWKHWZRGLVWLQFWOHJDOFRQFHSWVRI³VWDWXVYLRODWLRQ´DQG
³XQODZIXOSUHVHQFH´7KHUHLVQRGRXEWWKDWWKLVQHZDSSURDFKWRLQWHUSUHWLQJXQODZIXOSUHVHQFHZLOO
KDYHDVLJQLILFDQWQHJDWLYHLPSDFWRQWKHVWXGHQWYRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHVDQG
ZLOOIXUWKHUHURGHIRUHLJQVWXGHQWHQUROOPHQWVLQ86FROOHJHVDQGXQLYHUVLWLHV0RUHRYHUIRUWKH
UHDVRQVGHVFULEHGEHORZZHVXEPLWWKDWWKHPHPRUDQGXPLVDQXQODZIXOLQWHUSUHWDWLRQRIWKH
VWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQVDQGFDQQRWVWDQG

& 7KH0HPRUDQGXP&RQIOLFWVZLWKWKH8QODZIXO3UHVHQFH6WDWXWHZKLFKLV&OHDURQLWV
    )DFH

7KHPHPRUDQGXPFRQIOLFWVZLWKWKHXQDPELJXRXVODQJXDJHRIWKH,1$,Q&RQJUHVV
FUHDWHGWKHQHZFRQFHSWRIXQODZIXOSUHVHQFHFOHDUO\VWDWLQJWKDWDSHUVRQLV³XQODZIXOO\SUHVHQW´LI
KHRUVKH³LVSUHVHQWLQWKH8QLWHG6WDWHVDIWHUWKHH[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH
$WWRUQH\*HQHUDORULVSUHVHQWLQWKH8QLWHG6WDWHVZLWKRXWEHLQJDGPLWWHGRUSDUROHG´7KXV
HTXDWLQJXQODZIXOSUHVHQFHZLWKDVWDWXVYLRODWLRQLVFRQWUDU\WR&RQJUHVV¶FOHDUO\H[SUHVVHGLQWHQW
0RUHRYHUSULQFLSOHVRIVWDWXWRU\FRQVWUXFWLRQFRQILUPWKDW&RQJUHVVQHYHULQWHQGHGVXFKDQ
LQWHUSUHWDWLRQDVWKHQHZXQODZIXOSUHVHQFHSURYLVLRQVZHUHLQFRUSRUDWHGLQWRWKH,1$ZLWKRXWDQ\
PRGLILFDWLRQWRWKHQXPHURXVSURYLVLRQVWKDWSHQDOL]HDSHUVRQIRUD³VWDWXVYLRODWLRQ´RU³IDLOXUHWR
PDLQWDLQVWDWXV´)RUH[DPSOH

       x      ,1$ D  * 5HQGHUVDQRQFLWL]HQZKR³YLRODWHVDWHUPRUFRQGLWLRQ´RIDQ)
              VWXGHQWYLVDLQDGPLVVLEOHXQWLOWKHQRQFLWL]HQKDVEHHQRXWVLGHRIWKH8QLWHG6WDWHVIRUD
              FRQWLQXRXVSHULRGRIILYH\HDUVDIWHUWKHYLRODWLRQ

       x      ,1$ D  & L 5HQGHUVDQRQFLWL]HQGHSRUWDEOHLIKHRUVKHKDV³IDLOHGWRPDLQWDLQ
              WKHQRQLPPLJUDQWVWDWXVLQZKLFK>KHRUVKH@ZDVDGPLWWHGRUWRFRPSO\ZLWKWKH
              FRQGLWLRQVRIDQ\VXFKVWDWXV´

       x      ,1$ F  5HQGHUVDQRQFLWL]HQLQHOLJLEOHIRUDGMXVWPHQWRIVWDWXVLIWKH
              QRQFLWL]HQHQJDJHVLQXQDXWKRUL]HGHPSOR\PHQW³LVLQXQODZIXOLPPLJUDWLRQVWDWXV´RU³KDV
              IDLOHGWRPDLQWDLQFRQWLQXRXVO\DODZIXOVWDWXVVLQFHHQWU\LQWRWKH8QLWHG6WDWHV´

       x      ,1$ F  5HQGHUVDQRQFLWL]HQLQHOLJLEOHIRU E DGMXVWPHQWRIVWDWXVZKRLV³QRW
              LQDODZIXOQRQLPPLJUDQWVWDWXV´

       x      ,1$ F  5HQGHUVDQRQFLWL]HQLQHOLJLEOHIRUDGMXVWPHQWRIVWDWXVZKR³KDV
              RWKHUZLVHYLRODWHGWKHWHUPVRIDQRQLPPLJUDQWYLVD´

       x      ,1$ N ,QFOXGHVDVSDUWRILWVHOLJLELOLW\UHTXLUHPHQWVWKDWDQLQGLYLGXDOQRW³IDLO>@WR
              PDLQWDLQFRQWLQXRXVO\DODZIXOVWDWXV´

2WKHUVWDWXWRU\SURYLVLRQVFRQILUPWKDW&RQJUHVVLQWHQGHGWKHWZRFRQFHSWVWRUHPDLQGLVWLQFW)RU
H[DPSOHDGMXVWPHQWRIVWDWXVXQGHU,1$$ D  UHTXLUHV  HQWU\EHIRUH-DQXDU\  
FRQWLQXRXVUHVLGHQFHLQXQODZIXOVWDWXVVLQFHVXFKGDWHDQG  WKDWWKHSHULRGRIDXWKRUL]HGVWD\
H[SLUHGEHIRUH-DQXDU\RUWKDWWKHJRYHUQPHQWNQHZRIWKHXQODZIXOVWDWXV7KHWKLUGSURQJ
PDNHVLWFOHDUWKDWH[SLUDWLRQRIDSHULRGRIDXWKRUL]HGVWD\DQG³XQODZIXOVWDWXV´RIZKLFKWKH


    ,1$ D  % LL 
                                                                                                               3

                                                                                                   *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 139 of 203
JRYHUQPHQWLVDZDUHDUHGLIIHUHQWFRQFHSWV2WKHUZLVHDGRSWLQJDQLQWHUSUHWDWLRQLQOLQHZLWKWKH
PHPRUDQGXPLQGLYLGXDOVZKRYLRODWHGWKHWHUPVRIWKHLUVWDWXVZRXOGDXWRPDWLFDOO\EH
GHHPHGRXWVLGHWKH³SHULRGRIDXWKRUL]HGVWD\´DQGWKHSXUSRVHIXOGLVWLQFWLRQQRWHGLQSURQJ  
ZRXOGEHLUUHOHYDQW

,QDGGLWLRQWKHXQODZIXOSUHVHQFHVWDWXWHLWVHOIGLVWLQJXLVKHVEHWZHHQ³XQODZIXOSUHVHQFH´DQG
³VWDWXV´LQ,1$ D  % LY ,, 7KDWVHFWLRQVWDWHVWKDWWKHDFFUXDORIXQODZIXOSUHVHQFHLV
WROOHGIRUDQLQGLYLGXDOZKR³KDVILOHGDQRQIULYRORXVDSSOLFDWLRQIRUDFKDQJHRUH[WHQVLRQRIstatus
EHIRUHWKHGDWHRIH[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDO«´ (PSKDVLV
DGGHG %\XVLQJWKHWHUPV³VWDWXV´DQG³XQODZIXOSUHVHQFH´LQWKLVZD\&RQJUHVVHYLQFHGWKDWWKHVH
DUHVHSDUDWHOHJDOFRQFHSWVZLWKGLVWLQFWOHJDOFRQVHTXHQFHV

$VH[SODLQHGE\WKH6XSUHPH&RXUW³LWLVDQRUPDOUXOHRIVWDWXWRU\FRQVWUXFWLRQWKDWLGHQWLFDOZRUGV
XVHGLQGLIIHUHQWSDUWVRIWKHVDPHDFWDUHLQWHQGHGWRKDYHWKHVDPHPHDQLQJ´³$VWDWXWHVKRXOGEH
FRQVWUXHGVRWKDWHIIHFWLVJLYHQWRDOOLWVSURYLVLRQVVRWKDWQRSDUWZLOOEHLQRSHUDWLYHRU
VXSHUIOXRXVYRLGRULQVLJQLILFDQW´$Q\LQWHUSUHWDWLRQRI³XQODZIXOSUHVHQFH´RU³H[SLUDWLRQRIWKH
SHULRGRIDXWKRUL]HGVWD\´WKDWLVFRQIODWHGZLWKD³VWDWXVYLRODWLRQ´RU³IDLOXUHWRPDLQWDLQVWDWXV´
ZRXOGUHQGHUVHFWLRQVRIWKH,1$VXSHUIOXRXV

:KHQLWLQWHQGVWRSHQDOL]HDIDLOXUHWRPDLQWDLQVWDWXVRUVWDWXVYLRODWLRQ&RQJUHVVKDVPDGHWKDW
LQWHQWLRQFOHDUE\WKHSODLQODQJXDJHRIWKHVWDWXWH6HFWLRQ D  % RIWKH,1$PDNHVQR
UHIHUHQFHWRWKHVHWHUPVRUFRQFHSWV:KHUH³RQHLQWHUSUHWDWLRQRIDVWDWXWHRUUHJXODWLRQREYLRXVO\
FRXOGKDYHEHHQFRQYH\HGPRUHFOHDUO\ZLWKGLIIHUHQWSKUDVLQJWKHIDFWWKDWWKHDXWKRUVHVFKHZHG
WKDWSKUDVLQJVXJJHVWVWKDWWKH\LQIDFWLQWHQGHGDGLIIHUHQWLQWHUSUHWDWLRQ´7KHUHIRUHWKH
PHPRUDQGXPZKLFKIROGVWKHFRQFHSWRIDVWDWXVYLRODWLRQLQWRWKHGHILQLWLRQRIXQODZIXOSUHVHQFH
LVFRQWUDU\WRWKHSODLQODQJXDJHRIWKHVWDWXWHDQGWKHXQDPELJXRXVLQWHQWLRQRI&RQJUHVVLQLWV
DGRSWLRQRI,1$ D  % 

' $VVXPLQJZLWKRXW&RQFHGLQJWKDWWKH6WDWXWHLV$PELJXRXVWKH0HPRUDQGXP,V1RW
    (QWLWOHGWR'HIHUHQFH

%HFDXVHWKHUHLVQRDPELJXLW\LQWKHVWDWXWHWKHODZLVDSSOLHGDVZULWWHQDQGWKHPHPRUDQGXP
UHFHLYHVQRGHIHUHQFHXQGHUChevron, U.S.A. Inc. v. Nat. Res. Def. Council, Inc.$VVXPLQJRQO\IRU
DUJXPHQW¶VVDNHWKDWDQDPELJXLW\H[LVWVWKHJXLGDQFH±ZKLFKZDVQRWLVVXHGWKURXJKWKHIRUPDO
UXOHPDNLQJSURFHVV±ZRXOGDWPRVWEHDIIRUGHGGHIHUHQFHXQGHUSkidmore v. Swift & CoEXWKHUH
WRRWKDWIDLOV'HIHUHQFHXQGHUSkidmore GHSHQGVRQ³WKHWKRURXJKQHVVHYLGHQWLQ>WKHDJHQF\¶V@
FRQVLGHUDWLRQWKHYDOLGLW\RILWVUHDVRQLQJLWVFRQVLVWHQF\ZLWKHDUOLHUDQGODWHUSURQRXQFHPHQWVDQG
DOOWKRVHIDFWRUVZKLFKJLYHLWSRZHUWRSHUVXDGHLIODFNLQJSRZHUWRFRQWURO´%DVHGRQIODZHGDQG
LQFRQVLVWHQWUHDVRQLQJWKHPHPRUDQGXPUHYHUVHVWKHDJHQF\¶VORQJVWDQGLQJLQWHUSUHWDWLRQRI
XQODZIXOSUHVHQFHZLWKRXWDGHTXDWHMXVWLILFDWLRQLVQRWGHVLJQHGWRDFKLHYHLWVVWDWHGJRDOVDQG
FDQQRWVWDQG



  See also86& E  ZKLFKVLPLODUO\GLVWLQJXLVKHVEHWZHHQWKHH[SLUDWLRQRIDSHULRGRIDXWKRUL]HGVWD\
DQGXQODZIXOVWDWXVNQRZQWRWKHJRYHUQPHQW

  Taniguchi v. Kan Pacific Saipan, Ltd.86   LQWHUQDOFLWDWLRQVRPLWWHG 

  Corley v. United States86   LQWHUQDOFLWDWLRQVRPLWWHG 

  Gerbier v. Holmes)G G&LU  TXRWLQJUnited States v. Ibarra-Galindo)G
 WK&LU  RYHUUXOHGRQRWKHUJURXQGV 

   86  
11
   86  

    IdDW
                                                                                                                    4

                                                                                                     *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 140 of 203
SkidmoreLQVWUXFWVXVWRFRQVLGHUWKHDJHQF\¶V³FRQVLVWHQF\ZLWKHDUOLHUDQGODWHUSURQRXQFHPHQWV´
$VQRWHGDERYHWKHPHPRUDQGXPUHSUHVHQWVDVLJQLILFDQWGHSDUWXUHIURPPRUHWKDQ\HDUVRI
DVLQJOHXQLILHGDSSURDFKWRXQODZIXOSUHVHQFHIRU)-DQG0QRQLPPLJUDQWV,QHYDOXDWLQJ³WKH
WKRURXJKQHVVHYLGHQWLQ>WKHDJHQF\¶V@FRQVLGHUDWLRQ>DQG@WKHYDOLGLW\RILWVUHDVRQLQJ´ZHDGGUHVV
HDFKRIWKHSRLQWV86&,6PDNHVWRMXVWLI\WKHFKDQJHLQXQODZIXOSUHVHQFHLQWHUSUHWDWLRQ

)LUVW86&,6VWDWHVWKDW³WKHIRUPHU,16SROLF\DVFRQVROLGDWHGLQWKH$)0ZHQWLQWRHIIHFWLQ
SULRUWRWKHFUHDWLRQRIVRPHRIWKHWHFKQRORJLHVDQGV\VWHPVFXUUHQWO\XVHGE\'+6WR
PRQLWRUQRQLPPLJUDQWV«LQ)-RU0VWDWXV´0RUHVSHFLILFDOO\LWQRWHVWKDW³VLQFHWKHFUHDWLRQ
RIWKHSROLF\WKH6WXGHQWDQG([FKDQJH9LVLWRU,QIRUPDWLRQ6\VWHP 6(9,6 «KDVSURYLGHG86&,6
RIILFHUVDGGLWLRQDOLQIRUPDWLRQRQDQDOLHQ¶VLPPLJUDWLRQKLVWRU\´ +RZHYHU6(9,6ZHQWLQWR
HIIHFWLQ$OWKRXJKWKLVZDVVL[\HDUVDIWHU,1$ D  % WRRNHIIHFWLQLWZDVDOVR
VL[\HDUVbeforeWKHFRQVROLGDWHGJXLGDQFHUHDIILUPHG86&,6¶VORQJVWDQGLQJLQWHUSUHWDWLRQRI
XQODZIXOSUHVHQFH0RUHRYHUDVDFNQRZOHGJHGE\6(9,6LWVHOIWKHDFFXUDF\DQGLQWHJULW\RI6(9,6
GDWDLVIODZHGDQG³>L>,QDFFXUDWHGDWDFDQDIIHFWWKHVWDWXVRIWKHVWXGHQW¶V6(9,6UHFRUGDQGSXW
WKHVWXGHQW¶VHOLJLELOLW\IRUEHQHILWVDWULVN´

6HFRQG86&,6FODLPVWKDWWKHSXUSRVHRIWKHQHZSROLF\LVWR³UHGXFHWKHQXPEHURIRYHUVWD\V´
+RZHYHUWKLVLVQRWERUQHRXWE\WKHSROLF\LWVHOIZKLFKSURYLGHVQRLQVWUXFWLRQVRUJXLGDQFHRQ
SUHYHQWLQJRYHUVWD\VVXFKDVQRWLI\LQJVWXGHQWVDQGH[FKDQJHYLVLWRUVLQDGYDQFHRIWKHHQGRIWKHLU
SURJUDP,QVWHDGWKHPHPRUDQGXPLQWURGXFHVD³JRWFKD´DSSURDFKLQVWUXFWLQJDGMXGLFDWRUVWR
VHDUFKUHFRUGVIRUSHUFHLYHGVWDWXVYLRODWLRQVDQGUHWURDFWLYHO\FDOFXODWHSHULRGVRIXQODZIXOSUHVHQFH
ZLWKRXWQRWLFH)DUIURPUHGXFLQJWKHQXPEHURIRYHUVWD\VWKHPHPRUDQGXPH[SDQGVWKHYHU\
GHILQLWLRQRIZKDWFRQVWLWXWHVDQRYHUVWD\±VRPHWKLQJWKHDJHQF\KDVQROHJDODXWKRULW\WRGR7KH
DSSURDFKWRXQODZIXOSUHVHQFHGHVFULEHGLQWKHPHPRGRHVQRWKLQJWRDGYDQFHWKLVVWDWHGSXUSRVH

,QVXSSRUWRIWKLVVWDWHGJRDO86&,6FLWHVWKH'+6)LVFDO<HDU(QWU\([LW2YHUVWD\5HSRUW
ZKLFKQRWHVWKDWIRU)<³WKHHVWLPDWHGRYHUVWD\UDWHZDVSHUFHQWIRU)QRQLPPLJUDQWV
SHUFHQWIRU-QRQLPPLJUDQWVDQGSHUFHQWIRU0QRQLPPLJUDQWV´+RZHYHUWKHILJXUHV
FLWHGE\86&,6LQFOXGH³RXWRIFRXQWU\´RYHUVWD\VRULQGLYLGXDOVZKRVHGHSDUWXUHZDVUHFRUGHG
DIWHUWKHLUODZIXOSHULRGRIDGPLVVLRQH[SLUHG7KLVFRXOGHDVLO\HQFRPSDVVLQGLYLGXDOVZKRVWD\HG
MXVWDIHZGD\VORQJHUWKDQWKHFRQFOXVLRQRIWKHLUSURJUDPWRWLHXSWKHLUSHUVRQDODIIDLUVDQGLVQRWD
WUXHUHSUHVHQWDWLRQRIWKH³RYHUVWD\´SRSXODWLRQZLWKZKLFKWKHDGPLQLVWUDWLRQLVFRQFHUQHG7KH
³VXVSHFWHGLQFRXQWU\´RYHUVWD\UDWH LQGLYLGXDOVIRUZKRPQRGHSDUWXUHKDVEHHQUHFRUGHG LVLQIDFW
PXFKORZHUWKDQWKHILJXUHVFLWHGE\86&,6SHUFHQWIRU)QRQLPPLJUDQWVSHUFHQWIRU0
QRQLPPLJUDQWVDQGSHUFHQWIRU-QRQLPPLJUDQWV,QDGGLWLRQDVQRWHGLQWKH([HFXWLYH
6XPPDU\GHWHUPLQLQJODZIXOVWDWXVLVQRWDVWUDLJKWIRUZDUGDQDO\VLV





   30DW

    Id

    See KWWSVZZZLFHJRYVHYLVGDWDLQWHJULW\

    KWWSVVWXG\LQWKHVWDWHVGKVJRYPDLQWDLQLQJDFFXUDWHVHYLVUHFRUGVZKHQWRUHTXHVWDFRUUHFWLRQRU
GDWDIL[

   30DW

    See
KWWSVZZZGKVJRYVLWHVGHIDXOWILOHVSXEOLFDWLRQV(QWU\DQG([LW2YHUVWD\5HSRUW&)LVFDO
<HDUSGI

   30DW
                                                                                                                   5

                                                                                                   *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 141 of 203
       «>'@HWHUPLQLQJODZIXOVWDWXVLVPRUHFRPSOLFDWHGWKDQVROHO\PDWFKLQJHQWU\DQGH[LWGDWD
       )RUH[DPSOHDSHUVRQPD\UHFHLYHIURP&%3DVL[PRQWKDGPLVVLRQXSRQHQWU\DQGWKHQKH
       RUVKHPD\VXEVHTXHQWO\UHFHLYHIURP86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV 86&,6 D
       VL[PRQWKH[WHQVLRQ,GHQWLI\LQJH[WHQVLRQVFKDQJHVRUDGMXVWPHQWVRIVWDWXVLV
       QHFHVVDU\WRGHWHUPLQHZKHWKHUDSHUVRQLVWUXO\DQRYHUVWD\

,QDGGLWLRQ

       9DOLGSHULRGVRIDGPLVVLRQWRWKH8QLWHG6WDWHVYDU\WKHUHIRUHLWZDVQHFHVVDU\WRHVWDEOLVK
       ³FXWRIIGDWHV´IRUWKHSXUSRVHVRIDZULWWHQUHSRUW8QOHVVRWKHUZLVHQRWHGWKHWDEOHV
       DFFRPSDQ\LQJWKLVUHSRUWUHIHUWRGHSDUWXUHVWKDWZHUHH[SHFWHGWRRFFXUEHWZHHQ2FWREHU
       DQG6HSWHPEHU«

,QRWKHUZRUGVGXHWROLPLWDWLRQVDVVRFLDWHGZLWKSURGXFLQJDZULWWHQUHSRUW'+6DFNQRZOHGJHVWKDW
WKH³RYHUVWD\´GDWDLQWKHUHSRUWLQFOXGHVVRPHLQGLYLGXDOVZKRZHUHODWHUJUDQWHGSHUPLVVLRQWR
UHPDLQEH\RQGWKHLULQLWLDOSHULRGRIDXWKRUL]HGVWD\7KHIDFWWKDWWKLVGDWDZDVLQIODWHGLVFRQILUPHG
E\WKHIDFWWKDWIRXUPRQWKVDIWHUWKH³FXWRIIGDWHV´WKHQXPEHURIRYHUVWD\VVXEVWDQWLDOO\GHFUHDVHG

       'XHWRFRQWLQXLQJGHSDUWXUHVDQGDGMXVWPHQWVLQVWDWXVE\LQGLYLGXDOVLQWKLVSRSXODWLRQE\
       -DQXDU\WKHQXPEHURI6XVSHFWHG,Q&RXQWU\2YHUVWD\VIRU)<GHFUHDVHGWR
       UHQGHULQJWKH6XVSHFWHG,Q&RXQWU\2YHUVWD\UDWHDVSHUFHQW,QRWKHUZRUGV
       DVRI-DQXDU\'+6KDVEHHQDEOHWRFRQILUPWKHGHSDUWXUHVRUDGMXVWPHQWLQ
       VWDWXVRIPRUHWKDQSHUFHQWRIQRQLPPLJUDQWYLVLWRUVVFKHGXOHGWRGHSDUWLQ)<
       YLDDLUDQGVHD32(VDQGWKDWQXPEHUFRQWLQXHVWRJURZ

7KHUHSRUWDOVRFRQFHGHVWRRWKHUIDFWRUVOLPLWLQJLWVDFFXUDF\VXFKDVLWVUHOLDQFHRQLQIRUPDWLRQ
IURPWKH$UULYDODQG'HSDUWXUH,QIRUPDWLRQ6\VWHP $',6 $',6KDVOLPLWHGFDSDFLW\WRUHFRUG
H[LWVDQGHQWULHVPDGHYLDODQGDQGPDNHVQRGLVWLQFWLRQRIWKRVHZKRRYHUVWD\RQHGD\YHUVXVRQH
\HDURUORQJHU<HWWKLVLVDVLJQLILFDQWGLIIHUHQFHDVDRQHGD\RYHUVWD\PD\EHWKHUHVXOWRID
SHUVRQPLVVLQJWKHLUIOLJKWRUVXVWDLQLQJDQLQMXU\WKDWUHQGHUVWKHPXQDEOHWRWUDYHO

/DVWO\86&,6VWDWHVWKDWWKHQHZPHPRZLOO³LPSURYH´KRZ86&,6LPSOHPHQWVWKHXQODZIXO
SUHVHQFHJURXQGRILQDGPLVVLELOLW\EXWIDLOVWRRIIHUDQ\UHDVRQRUH[SODQDWLRQDVWRKRZWKHQHZ
PHPRZLOODFFRPSOLVKWKDW,QVXP86&,6KDVFOHDUO\IDLOHGWRWKRURXJKO\FRQVLGHUWKHLPSOLFDWLRQV
RILWVQHZXQODZIXOSUHVHQFHLQWHUSUHWDWLRQIDLOHGWRDGHTXDWHO\MXVWLI\DQHHGIRUWKHFKDQJHDQGKDV
FLWHGQRFRQFUHWHDXWKRULWLHVWRVXSSRUWLWVVWDWHGJRDOV7KHPHPRUDQGXPFDQQRWVWDQGXQGHU
SkidmoreGHIHUHQFH

( 7KH0HPRUDQGXP,VD/HJLVODWLYH5XOHWKDW5HTXLUHV1RWLFHDQG&RPPHQW5XOHPDNLQJ
    XQGHUWKH$GPLQLVWUDWLYH3URFHGXUH$FW $3$ 

7KH$GPLQLVWUDWLYH3URFHGXUH$FW $3$ UHFRJQL]HVWZRW\SHVRIDGPLQLVWUDWLYHUXOHVOHJLVODWLYH
UXOHVLVVXHGWKURXJKIRUPDOQRWLFHDQGFRPPHQWUXOHPDNLQJZKLFKDUHJLYHQWKHIXOOIRUFHDQGHIIHFW
RIODZDQGLQWHUSUHWLYHUXOHVGHVLJQHGWRDGYLVHWKHSXEOLFRIDJHQF\LQWHUSUHWDWLRQRIDOHJDOUXOH
,QWHUSUHWLYHUXOHVGRQRWUHTXLUHQRWLFHDQGFRPPHQWDQGODFNWKHIRUFHRIODZ:KLOHWKH



   Id HPSKDVLVDGGHG 

   Id HPSKDVLVDGGHG 

   Id

   See Perez v. Mortg. Bankers Ass’n 6&W  
                                                                                                         6

                                                                                            *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 142 of 203
PHPRUDQGXPSXUSRUWVWRPHUHO\DGYLVHWKHSXEOLFRIKRZWKHWHUP³XQODZIXOSUHVHQFH´LVWREH
LQWHUSUHWHGWKDWFRQFOXVLRQLVQHLWKHUIDFWXDOO\FRUUHFWQRUOHJDOO\VXSSRUWHG

$VQRWHGDERYHRYHUWKHFRXUVHRIWZRGHFDGHV86&,6KDVVWRRGE\LWVLQWHUSUHWDWLRQRI
XQODZIXOSUHVHQFHUHLWHUDWLQJLWPRVWUHFHQWO\LQZKHQLWXQGHUWRRNDFRPSUHKHQVLYHUHYLHZRI
LWVYDULRXVPHPRUDQGDDQGFDVHODZRQXQODZIXOSUHVHQFHDQGLVVXHGFRQVROLGDWHGJXLGDQFHWKDW
XOWLPDWHO\EHFDPHFKDSWHURIWKH$)0:KLOHZHPDLQWDLQWKDWWKHPHPRUDQGXPZKLFK
HUDVHVWKHGLVWLQFWLRQEHWZHHQWKHFRQFHSWVRI³XQODZIXOSUHVHQFH´DQG³YLRODWLRQRIVWDWXV´LV
XQODZIXOWKH$3$UHTXLUHV86&,6WRJLYHWKHSXEOLFDGYDQFHQRWLFHDQGDQRSSRUWXQLW\WRFRPPHQW
WKURXJKIRUPDOUXOHPDNLQJEHIRUHDWWHPSWLQJWRLPSRVHZKDWFRQVWLWXWHVDFKDQJHLQKRZWKHODZ
ZLOOEHDSSOLHGLQWKHIXWXUH

:KLOHWKHFRXUWVKDYHQRWGHYHORSHGDXQLILHGDSSURDFKWRHYDOXDWLQJZKHWKHUDUXOHLVOHJLVODWLYHRU
LQWHUSUHWLYHWKHUHDVRQLQJRIYDULRXVGHFLVLRQVLVLQVWUXFWLYH(PSOR\LQJWH[WXDODQDO\VLVWKH1LQWK
&LUFXLWKDVKHOGWKDWOHJLVODWLYHUXOHV³DUHWKRVHZKLFKHIIHFWDFKDQJHLQH[LVWLQJODZRUSROLF\´
$QRWKHUFULWLFDOFKDUDFWHULVWLFRIOHJLVODWLYHUXOHVLVWKDWWKH\KDYHJHQHUDODSSOLFDWLRQ&RQYHUVHO\
³LQWHUSUHWLYHUXOHVDUHWKRVHZKLFKPHUHO\FODULI\RUH[SODLQH[LVWLQJODZRUUHJXODWLRQV´:KLOHD
OHJLVODWLYHUXOHLVDEURDGZKROHVDOHFKDQJHLQLQWHUSUHWDWLRQDQGDSSOLFDWLRQRIODZLQWHUSUHWLYHUXOHV
DUHXVHGPRUHIRU³GLVFUHWLRQDU\ILQHWXQLQJWKDQIRUJHQHUDOODZPDNLQJ´)RUH[DPSOHLQJean v.
Nelson, WKH(OHYHQWK&LUFXLWFRQVLGHUHGZKHWKHUDEODQNHWFKDQJHLQKRZ,16WUHDWHGDUULYLQJDOLHQV
>GHWHQWLRQ QHZ YVSDUROH ROG @ZDVDOHJLVODWLYHRULQWHUSUHWLYHUXOH7KHFRXUWIRXQGWKDWHYHQ
WKRXJKSDUROHZDVVWLOODGLVFUHWLRQDU\RSWLRQWKHUXOHZDVOHJLVODWLYHEHFDXVHLWKDGJHQHUDO
DSSOLFDELOLW\DQGGLGPRUHWKDQMXVWFODULI\RUH[SODLQDQH[LVWLQJUXOH%HFDXVHWKHUXOHFUHDWHGDQ
HQWLUHO\QHZSURFHGXUHIRUDOOFDVHVQRWLFHDQGFRPPHQWUXOHPDNLQJZDVUHTXLUHG6LPLODU
DQDO\WLFDODSSURDFKHVDUHIRXQGLQN.H. Hosp. Ass’n v. Azar, DQG Dia Navigation Corp. Ltd. v.
Pomeroy.

$SSO\LQJWKLVDQDO\VLVWKHPHPRUDQGXPLVDOHJLVODWLYHUXOHEHFDXVHLWFKDQJHVWKHPDQQHULQ
ZKLFKXQODZIXOSUHVHQFHLVGHWHUPLQHGIRUDOO)-DQG0QRQLPPLJUDQWVZKRKDYHEHHQDGPLWWHG
³'6´DQGLVWKHUHIRUHRIJHQHUDODSSOLFDELOLW\,WZLOOUHVXOWLQIXWXUHHQIRUFHPHQWDFWLRQVDJDLQVW
SHUVRQVXQGHUIDFWVDQGFLUFXPVWDQFHVWKDWGLGQRWSUHYLRXVO\UHVXOWLQHQIRUFHPHQWDFWLRQVWKXV
GRLQJIDUPRUHWKDQPHUHO\³H[SODLQLQJ´DQH[LVWLQJSROLF\)LQDOO\LWLVDGHJUHHFKDQJHLQWKH
PDQQHULQZKLFK86&,6WUHDWVSHUVRQVDGPLWWHGIRUWKHGXUDWLRQRIWKHLUVWDWXVE\FRQIODWLQJWKHIDFW
 RUHYHQSRWHQWLDOIDFW RIDVWDWXVYLRODWLRQZLWKWKHEHJLQQLQJRIDSHULRGRIXQODZIXOSUHVHQFH

) 86&,6+DV)DLOHGWR$UWLFXODWHD6DWLVIDFWRU\([SODQDWLRQIRULWV1HZ$SSURDFKWR
     8QODZIXO3UHVHQFHDV5HTXLUHGE\Encino Motorcars

,Q Encino Motorcars, LLC v. NavarroWKH866XSUHPH&RXUWUHDIILUPHGVHYHUDOORQJVWDQGLQJUXOHV
RIDGPLQLVWUDWLYHUXOHPDNLQJLQFOXGLQJWKHEDVLFSURFHGXUDOWHQHWWKDWDJHQFLHVPXVWJLYHDGHTXDWH




    Alcaraz v. Block, )G WK&LU 

    Flagstaff Med. Ctr. v. Sullivan, )G WK&LU 

    Alcaraz)GDWHoctor v. USDA)G WK&LU 

    Alcaraz, ,GDW

   )G WK&LU vacated in part as moot)G WK&LU  QHZUHJXODWLRQVLVVXHG 

   )GDW

    IdDW

   )G VW&LU 

   )G G&LU 
                                                                                                                    7

                                                                                                       *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 143 of 203
UHDVRQVIRUWKHLUGHFLVLRQV&LWLQJMotor Vehicle Mfrs. Assn. of United States v. State Farm Mut.
Automobile Ins. Co MVMA WKH&RXUWVWDWHGWKDWDQDJHQF\³PXVWH[DPLQHWKHUHOHYDQWGDWDDQG
DUWLFXODWHDVDWLVIDFWRU\H[SODQDWLRQIRULWVDFWLRQVLQFOXGLQJDUDWLRQDOFRQQHFWLRQEHWZHHQWKHIDFWV
IRXQGDQGWKHFKRLFHPDGH´7KDWUHTXLUHPHQWLVVDWLVILHGZKHQWKHDJHQF\¶VH[SODQDWLRQLVFOHDU
HQRXJKWKDWLWV³SDWKPD\UHDVRQDEO\EHGLVFHUQHG´,QH[SODLQLQJLWVFKDQJHGSRVLWLRQDQDJHQF\
PXVWDOVREHFRJQL]DQWWKDWORQJVWDQGLQJSROLFLHVPD\KDYHHQJHQGHUHGVHULRXVUHOLDQFHLQWHUHVWVWKDW
PXVWEHWDNHQLQWRDFFRXQW:KHQDQDJHQF\IDLOVWRSURYLGHHYHQWKDWOHYHORIPLQLPDODQDO\VLVLWV
DFWLRQVDUHDUELWUDU\DQGFDSULFLRXVDQGFDQQRWFDUU\WKHIRUFHRIODZ

$VGHVFULEHGLQ3DUW'supraDQG3DUW*infraWKHFKDQJHLQXQODZIXOSUHVHQFHLQWHUSUHWDWLRQ
DUWLFXODWHGLQWKHPHPRUDQGXPLVQRWVXSSRUWHGE\DUHDVRQHGH[SODQDWLRQHOLPLQDWHVDFULWLFDO
QRWLFHHOHPHQWDQGIDLOVWRWDNHLQWRFRQVLGHUDWLRQIXQGDPHQWDOIDLUQHVVDQGGXHSURFHVV
UHTXLUHPHQWVDVZHOODVWKHUHOLDQFHLQWHUHVWVRIWKHUHJXODWHGSXEOLFWKDWKDYHEXLOWXSRYHUWKHSDVW
WZRGHFDGHV)RUDOORIWKHVHUHDVRQVWKHPHPRUDQGXPLVDQDUELWUDU\DQGFDSULFLRXVFKDQJHLQ
LQWHUSUHWDWLRQWKDWFDQQRWVWDQG

* 7KH0HPRUDQGXP5DLVHV6LJQLILFDQW'XH3URFHVVDQG)XQGDPHQWDO)DLUQHVV
    &RQFHUQVDQGLV&RQVWLWXWLRQDOO\6XVSHFW

8QOLNHIRUHLJQQDWLRQDOVZKRDUHDGPLWWHGXQWLOD³GDWHFHUWDLQ´DQGZLOOWULJJHUXQODZIXOSUHVHQFHLI
WKH\UHPDLQLQWKH86EH\RQGWKHGDWHUHFRUGHGRQ)RUP, RUUHFRUGHGLQ&%3HOHFWURQLF
V\VWHPV SOXVDQ\H[WHQVLRQWKHUHDIWHUJUDQWHGVWXGHQWVDQGH[FKDQJHYLVLWRUVWKDWDUHDGPLWWHGIRU
³'6´ODFNWKHEHQHILWRIVXFKDEULJKWOLQHWHVW$VDUHVXOWOHJDF\,16DQG86&,6FUHDWHGD
GLIIHUHQWEULJKWOLQHVWDQGDUGRQHWKDWLQFRUSRUDWHVWKHSULQFLSOHRIIXQGDPHQWDOIDLUQHVVIRUPDO
QRWLILFDWLRQE\86&,6RUDQLPPLJUDWLRQMXGJHWKDWDVWDWXVYLRODWLRQRFFXUUHGEHIRUHWKHXQODZIXO
SUHVHQFHFORFNFDQVWDUW7KHH[FHHGLQJO\KDUVKSHQDOWLHVDVVRFLDWHGZLWKXQODZIXOSUHVHQFHDQGWKH
FOHDUGLVWLQFWLRQV&RQJUHVVFUHDWHGEHWZHHQWKHFRQFHSWVRIXQODZIXOSUHVHQFHDQGVWDWXVYLRODWLRQ
KDYHLQIRUPHGPRUHWKDQ\HDUVRISROLF\ZKLFKDVFULEHVFDXWLRQWRFDOFXODWLQJXQODZIXOSUHVHQFH

7KHQHZPHPRUDQGXPWKURZVFDXWLRQWRWKHZLQG7KHJRYHUQPHQW¶VQHZLQWHUSUHWDWLRQRIXQODZIXO
SUHVHQFHUDLVHVVHULRXVGXHSURFHVVFRQFHUQVDQGLVXQIDLUDQGXQZRUNDEOHLQLWVDSSOLFDWLRQ6LQFH
WKH6HUYLFHKDVLQWHUSUHWHG,1$ D  % DVUHTXLULQJVRPHIRUPRIQRWLFHWRLQGLYLGXDOV
IRUXQODZIXOSUHVHQFHWRDFFUXH8QGHUWKHPHPRUDQGXPZKLOHWKHJRYHUQPHQW¶VILQGLQJWKDW
DQ)0RU-QRQLPPLJUDQWKDVYLRODWHGVWDWXVZRXOGVWLOOW\SLFDOO\RFFXULQWKHFRXUVHRID86&,6
EHQHILWVDGMXGLFDWLRQWKHGDWHRQZKLFKXQODZIXOSUHVHQFHZLOODFFUXHLVLPSRVHGUHWURDFWLYHO\7KH
PHPRUDQGXPLQVWUXFWVDGMXGLFDWRUVWRFRQVLGHULQIRUPDWLRQLQWKHV\VWHPVDYDLODEOHWR86&,6
LQWKHDOLHQ¶VUHFRUGDQGDOLHQ¶VDGPLVVLRQVUHJDUGLQJKLVRUKHULPPLJUDWLRQKLVWRU\RURWKHU
LQIRUPDWLRQGLVFRYHUHGGXULQJWKHDGMXGLFDWLRQ´EXWSURYLGHVQROLPLWDWLRQDVWRKRZIDUEDFN
DGMXGLFDWRUVPD\UHDFKVXFKWKDWDVWXGHQWRUH[FKDQJHYLVLWRUPD\DEUXSWO\OHDUQWKDWKHRUVKHKDV
EHHQXQODZIXOO\SUHVHQWIRUVHYHUDO\HDUV0RUHRYHUWKHPHPRVWDWHVWKDW³DQ)-RU0
QRQLPPLJUDQW¶VSHULRGRIVWD\DXWKRUL]HGHQGVZKHQWKH)-RU0QRQLPPLJUDQW¶VSHULRGRI
VWD\DXWKRUL]HGHQGV´7KLVPHDQVWKDWDVSRXVHPD\ILQGRXWRQO\PDQ\\HDUVDIWHUWKHIDFWWKDWWKH\
WRRDFFUXHGXQODZIXOSUHVHQFH


   6&W  

   86  

    Bowman Transp., Inc. v. Arkansas-Best Freight System, Inc86  

    Encino Motorcars6&WDWPerez6&WDW

    See86&  $ MVMA86DW

   30DWQ

    IdDW
                                                                                                       8

                                                                                             *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 144 of 203
7KHUHJXODWLRQDW&)5 I    DUWLFXODWHVWKHFLUFXPVWDQFHVLQZKLFKDQ)VWXGHQWLV
GHHPHGWREH³RXWRIVWDWXV´)VWXGHQWVZKRZRUNZLWKRXWDXWKRUL]DWLRQZKRDUHGHHPHGWRQRWEH
SXUVXLQJDIXOOFRXUVHRIVWXG\ZKRWUDQVIHUWRDQRWKHUVFKRROZLWKRXWSHUPLVVLRQDQGZKRIDLOWR
FRPSOHWHDIXOOFRXUVHRIVWXG\DUHGHHPHGWREH³RXWRIVWDWXV´+RZHYHU)VWXGHQWVDUHVXEMHFW
WRDGGLWLRQDOUHSRUWLQJUHTXLUHPHQWVWKDWPD\FRQVWLWXWHDVWDWXVYLRODWLRQLIQRWFRPSOHWHGWLPHO\
7KHVHUHSRUWLQJUHTXLUHPHQWVLQFOXGHUHSRUWLQJELRJUDSKLFDOLQIRUPDWLRQWRD'HVLJQDWHG6FKRRO
2IILFLDO '62 HYHU\VL[PRQWKVGXULQJD67(0237H[WHQVLRQDQGFRPSOHWLQJDQDQQXDOVHOI
HYDOXDWLRQUHSRUWWKDWLVVLJQHGE\WKHHPSOR\HUDQGVXEPLWWHGWRWKH'62ZLWKLQ\HDUDQGGD\V
RIWKHYDOLGLW\SHULRGRQWKH(PSOR\PHQW$XWKRUL]DWLRQ'RFXPHQWDVZHOODVDILQDOHYDOXDWLRQ
ZLWKLQGD\VRIWKHFRQFOXVLRQRIWKHPRQWKSHULRGRI67(0237$GGLWLRQDOO\HPSOR\HUVRI
67(0237VWXGHQWVDUHUHTXLUHGWRUHSRUWDEVHQFHVWRWKH'62DQGDQ\PDWHULDOFKDQJHLQD67(0
237WUDLQLQJSODQPXVWEHUHSRUWHGWRWKH'62E\WKHVWXGHQWDIWHUKDYLQJWKHHPSOR\HUVLJQDQHZ
WUDLQLQJSODQ86&,6KDVQRWDUWLFXODWHGZKHWKHUWKHIDLOXUHWRXQGHUWDNHDQ\RIWKHVHDFWLRQVZRXOG
WULJJHUWKHDFFUXDORIXQODZIXOSUHVHQFH7KHPHPRUDQGXPPDNHVQRGLVWLQFWLRQEHWZHHQ
PLQRUWHFKQLFDOYLRODWLRQV HJUHSRUWLQJDFKDQJHLQHPSOR\PHQWDIHZGD\VODWH YHUVXVDPDMRU
YLRODWLRQ GURSSLQJDOOFODVVHVZLWKRXWDXWKRUL]DWLRQ 

,QSUDFWLFHWKLVSROLF\ZLOOFUHDWHDODUJHFODVVRILQDGPLVVLEOHDOLHQVZKRKDYHUHFHLYHGQRQRWLFHRI
WKHLUXQODZIXOSUHVHQFHEHFDXVHLQPDQ\FDVHV)0DQG-QRQLPPLJUDQWVKDYHQRNQRZOHGJHWKDWD
VWDWXVYLRODWLRQKDVHYHQRFFXUUHG,QDGGLWLRQDVLJQLILFDQWQXPEHURILQGLYLGXDOVZLOORQO\EHFRPH
DZDUHRIDVWDWXVYLRODWLRQZKHQLWLVWRRODWHWRFRUUHFWFRXUVHDQGWKH\ILQGWKHPVHOYHVVXEMHFWWRD
WKUHHRUWHQ\HDUEDUWRDGPLVVLELOLW\8QGHUWKHQHZPHPRDFFLGHQWDODQGLQDGYHUWHQWVWDWXV
YLRODWLRQVZLOOVXEMHFWXQVXVSHFWLQJLQGLYLGXDOVZKRKDYHQRWDFWHGLQEDGIDLWKWRH[WUHPHSHQDOWLHV
([DPSOHVRIVLWXDWLRQVZKHUHVWXGHQWVRUH[FKDQJHYLVLWRUVPD\EHIRXQGWRKDYHLQDGYHUWHQWO\
YLRODWHGWKHLUVWDWXVLQFOXGH

      ,QDGYHUWHQWO\(QJDJLQJLQ8QDXWKRUL]HG(PSOR\PHQW:KLOH&)5 I  FOHDUO\
        VWDWHVWKDWDVWXGHQWPD\ZRUNRQFDPSXVIRUXSWRKRXUVSHUZHHNDQGUHTXLUHV
        DXWKRUL]DWLRQLQWKHIRUPRIFXUULFXODURURSWLRQDOSUDFWLFDOWUDLQLQJWRZRUNRIIFDPSXVLQ
        FHUWDLQFLUFXPVWDQFHVWKHUHLVQRFOHDUJXLGDQFHRQZKDWFRQVWLWXWHV³HPSOR\PHQW´$
        VWXGHQWPD\EHOLHYHWKDWRIIFDPSXVYROXQWHHUZRUNLVQRWXQDXWKRUL]HG³HPSOR\PHQW´HYHQ
        WKRXJKLWLVSRVVLEOHWKDWWKH6HUYLFHFRXOGYLHZLWDVVXFKSDUWLFXODUO\LILWLQYROYHVDFWLYLWLHV
        WKDWQRUPDOO\ZRXOGEHFRPSHQVDWHG2WKHUDFWLYLWLHVWKDWDUHQRWFOHDUO\GHILQHGLQFOXGH
        ZRUNLQJIRUDQGEHLQJSDLGE\DQRYHUVHDVHQWLW\ZKLOHSK\VLFDOO\SUHVHQWLQWKH86VHOOLQJ
        VRPHWKLQJRQH%D\VHOOLQJSHUVRQDOO\FUHDWHGDUWZRUNRUSKRWRJUDSK\JHWWLQJSDLGIRU
        SXEOLFDWLRQRIRQH¶VGLVVHUWDWLRQJHWWLQJSDLGWRKRVWDVHPLQDURUVSHDNDWDQDFDGHPLF
        FRQIHUHQFHRUHYHQWJHWWLQJSDLGDUR\DOW\IRUDFWLYLWLHVDVVRFLDWHGZLWKUHVHDUFKHWF

      3UDFWLFDO7UDLQLQJ,VVXHV,VVXHVPD\DOVRDULVHZKHQDVWXGHQWRQ237GURSVEHORZ
        KRXUVRIZRUNRQHZHHNVWDUWVDGHJUHHSURJUDPZKLOHRQ237RUZRUNVMXVWDIHZGD\VRU
        RQHZHHNEH\RQG&37

        ,QDGYHUWHQWO\9LRODWLQJ6WDWXVE\)ROORZLQJWKH$GYLFHRID6FKRRORU'HVLJQDWHG
               6FKRRO2IILFLDO '62 $VFKRROPD\HUULQDGYLVLQJDVWXGHQWOHDGLQJWRDQDFFLGHQWDO
               VWDWXVYLRODWLRQWKURXJKQRIDXOWRIWKHVWXGHQW)RUH[DPSOHDVFKRROPD\LQFRUUHFWO\DGYLVH
               DVWXGHQWDVWRWKHQXPEHURIKRXUVWKDWKHRUVKHPD\ZRUNRQFDPSXVRULQFRUUHFWO\DGYLVH


   &)5 I  

   &)5 I  LL &  L 

   &)5 I  LL &  DQG&)5 I  LL &  LL 
                                                                                                             9

                                                                                                *&&$5


     Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 145 of 203
              DVWXGHQWWRGURSDFODVVWKDWFDXVHVWKHVWXGHQWWRIDOOEHORZDIXOOFRXUVHRIVWXG\$'62
              PD\JUDQWDUHGXFHGFRXUVHORDGDXWKRUL]DWLRQLQJRRGIDLWKEXW6(93RU86&,6PD\ODWHU
              GHWHUPLQHWKLVDXWKRUL]DWLRQVKRXOGQRWKDYHEHHQJUDQWHG)XUWKHUDSURJUDPDGPLQLVWUDWRU
              PD\VHQGD-VWXGHQWSK\VLFLDQWRDWUDLQLQJORFDWLRQWKDWKDVQRWEHHQDSSURYHGRUPD\
              LPSURSHUO\DGYLVHDVWXGHQWSK\VLFLDQWKDWKHRUVKHPD\PRRQOLJKWGRLQJQRQ*0(ZRUN
              ZLWKLQWKHVDPHWUDLQLQJKRVSLWDO

        ([WUDRUGLQDU\&LUFXPVWDQFHV%H\RQG2QH¶V&RQWURO([WUDRUGLQDU\FLUFXPVWDQFHVFDQ
          DOVRFDXVHDVWXGHQWRUH[FKDQJHYLVLWRUWRXQLQWHQWLRQDOO\YLRODWHVWDWXV)RUH[DPSOHLQ0D\
          DQ)VWXGHQWRQ237ZDVZDONLQJGRZQWKHVLGHZDONLQ'HQYHUZKHQDFDUKLWKLP
          DQGSLQQHGKLPWRDWUHH+LVOHJKDGWREHDPSXWDWHG8QGHU&)5 I  LL ( KH
          ZLOOEHRXWRIVWDWXVDVVRRQDVKHLVXQHPSOR\HGIRUGD\V,IKHLVKRVSLWDOL]HGIRUPRUH
          WKDQGD\VDIWHUWKHHIIHFWLYHGDWHRIWKHQHZSROLF\DQGDIWHUKHIDOOVRXWRIVWDWXVWKURXJK
          QRIDXOWRIKLVRZQKHZLOOEHVXEMHFWWRWKHWKUHH\HDUEDUZKHQKHGHSDUWV$GGLWLRQDOO\
          86&,6KDVQHYHULVVXHGFOHDUJXLGHOLQHVRQPDLQWDLQLQJVWDWXVZKHQRQPDWHUQLW\OHDYH

        'HSHQGHQWV0D\%H8QODZIXOO\3UHVHQW:LWKRXW.QRZLQJ,W6LQFHWKHVWDWXVRI
          GHSHQGHQWVRI)-DQG0QRQLPPLJUDQWVGHSHQGVXSRQWKHSULQFLSDOQRQLPPLJUDQW
          PDLQWDLQLQJKLVRUKHUVWDWXVWKRVHIDPLO\PHPEHUV ZLWKWKHH[FHSWLRQRIFKLOGUHQXQGHUWKH
          DJHRIZKRDUHVWDWXWRULO\H[HPSWIURPDFFUXLQJXQODZIXOSUHVHQFH ZRXOGEHRXWRI
          VWDWXVDQGXQODZIXOO\SUHVHQWXSRQDYLRODWLRQRIWKHSULQFLSDO¶VVWDWXV7KXVDVSRXVHZKRLV
          XQDZDUHRIDSULQFLSDO¶VVWDWXVYLRODWLRQZRXOGEHFRPHVXEMHFWWRVHULRXVLPPLJUDWLRQ
          SHQDOWLHVZLWKRXWHYHQNQRZLQJLW7KLVFRXOGRFFXUIRUH[DPSOHZKHQWKHSULQFLSDOWULHVWR
          KLGHKLVRUKHUIDLOXUHDWVFKRROIURPDQXQNQRZLQJVSRXVHRULQDQDEXVLYHVLWXDWLRQ

%\FROODSVLQJWKHGLVWLQFWLRQEHWZHHQ³XQODZIXOSUHVHQFH´DQG³VWDWXVYLRODWLRQ´DQGGHHPLQJ
XQODZIXOSUHVHQFHWRDFFUXHUHWURDFWLYHO\WKHPHPRUDQGXPUHPRYHVWKHLPSRUWDQWSURFHGXUDO
VDIHJXDUGRIQRWLFHWRLQGLYLGXDOVWKDWWKH\PD\EHGHSULYHGRIDOLEHUW\LQWHUHVW7KLVODFNRIQRWLFH
UDLVHVGXHSURFHVVFRQFHUQV7KH)LIWK$PHQGPHQW¶VGXHSURFHVVFODXVHLVDFRUHFRQFHSWLQWKH%LOO
RI5LJKWVDQGUHTXLUHVDOOOHYHOVRI$PHULFDQJRYHUQPHQWWRRSHUDWHZLWKLQWKHODZXVLQJSURFHGXUHV
WKDWDUHIXQGDPHQWDOO\IDLU7KHFRUHHOHPHQWVRIGXHSURFHVVDUHQRWLFHDQGDKHDULQJEHIRUHDQ
LPSDUWLDOWULEXQDOZKLFK³PLQLPL]HVXEVWDQWLYHO\XQIDLURUPLVWDNHQGHSULYDWLRQV´E\SURYLGLQJ
LQGLYLGXDOVDQRSSRUWXQLW\WRFRQWHVWWKHEDVLVRQZKLFKWKHJRYHUQPHQWVHHNVWRGHSULYHWKHPRI
SURWHFWHGLQWHUHVWV³$QHOHPHQWDU\DQGIXQGDPHQWDOUHTXLUHPHQWRIGXHSURFHVVLQDQ\SURFHHGLQJ
ZKLFKLVWREHDFFRUGHGILQDOLW\LVQRWLFHUHDVRQDEO\FDOFXODWHGXQGHUDOOWKHFLUFXPVWDQFHVWR
DSSULVHLQWHUHVWHGSDUWLHVRIWKHSHQGHQF\RIWKHDFWLRQDQGDIIRUGWKHPDQRSSRUWXQLW\WRSUHVHQW
WKHLUREMHFWLRQV´

7KHWKUHHDQGWHQ\HDUEDUVWRDGPLVVLELOLW\UHSUHVHQWDGHSULYDWLRQRIOLEHUW\DVVXEMHFWLQGLYLGXDOV
DUHEDUUHGIURPUHWXUQLQJWRWKH8QLWHG6WDWHVIRUDOHQJWK\SHULRGRIWLPH,QKent v. DullesWKH
6XSUHPH&RXUWKHOGWKDWWKHULJKWWRWUDYHOLVD³OLEHUW\´LQWHUHVWSURWHFWHGE\WKH)LIWK$PHQGPHQW
DQGWKDWZKHUHJRYHUQPHQWDOUHVWULFWLRQVRQWUDYHODUHLQYROYHGWKH&RXUWZLOOFRQVWUXHQDUURZO\DOO
GHOHJDWHGSRZHUVWKDWFXUWDLORUGLOXWHWKHP0RUHRYHUWKHFRQVWLWXWLRQDOJXDUDQWHHRIGXHSURFHVV
LVQRWOLPLWHGWR86FLWL]HQVEXWDSSOLHVHTXDOO\WRDOO³SHUVRQV´SUHVHQWLQWKH8QLWHG6WDWHV
UHJDUGOHVVRIDOLHQDJHRULPPLJUDWLRQVWDWXV


    KWWSNGYUFRP\HDUROGPDQVHGDWHGDQGRQYHQWLODWRUIROORZLQJFUDVKLQORQHWUHH

    Fuentes v. Shevin86  

    Mullane v. Central Hanover Bank & Trust Co86  

   86  

    Plyler v. Doe86  
                                                                                                             10

                                                                                                    *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 146 of 203
7KH6XSUHPH&RXUWKDVKHOGWKDWLQDSSO\LQJWKH)LIWK$PHQGPHQW¶VGXHSURFHVVJXDUDQWHHRQH
PXVWEDODQFHWKHSULYDWHLQWHUHVWVRIDIIHFWHGLQGLYLGXDOVZLWKWKHJRYHUQPHQW¶VLQWHUHVW,QMathews
v. EldridgeWKH&RXUWLQGLFDWHGWKDWWKHLGHQWLILFDWLRQRIWKHVSHFLILFGLFWDWHVRIGXHSURFHVVJHQHUDOO\
UHTXLUHVFRQVLGHUDWLRQRIWKUHHGLVWLQFWIDFWRUV

       >)@LUVWWKHSULYDWHLQWHUHVWWKDWZLOOEHDIIHFWHGE\WKHRIILFLDODFWLRQVHFRQGWKHULVNRIDQ
       HUURQHRXVGHSULYDWLRQRIVXFKLQWHUHVWWKURXJKWKHSURFHGXUHVXVHGDQGWKHSUREDEOHYDOXHLI
       DQ\RIDGGLWLRQDORUVXEVWLWXWHSURFHGXUDOVDIHJXDUGVDQGILQDOO\WKH*RYHUQPHQW¶VLQWHUHVW
       LQFOXGLQJWKHIXQFWLRQLQYROYHGDQGWKHILVFDODQGDGPLQLVWUDWLYHEXUGHQVWKDWWKHDGGLWLRQDO
       RUVXEVWLWXWHSURFHGXUDOUHTXLUHPHQWZRXOGHQWDLO

$SSO\LQJWKHEldridgeWHVWWRWKHDIRUHPHQWLRQHGH[DPSOHVRIFDVHVZKHUHVWXGHQWVPD\
LQDGYHUWHQWO\YLRODWHWKHLUVWDWXVLOOXVWUDWHVWKHSUREOHPVLQKHUHQWLQWKHQHZLQWHUSUHWDWLRQRI
XQODZIXOSUHVHQFH7DNHIRUH[DPSOHDVWXGHQWZKRLQDGYHUWHQWO\YLRODWHV)VWDWXVE\HQJDJLQJLQ
DFWLYLWLHVODWHUGHHPHGWRKDYHFRQVWLWXWHGXQDXWKRUL]HG³HPSOR\PHQW´)LUVWWKHVWXGHQWKDVD
SULYDWHLQWHUHVWWKDWZLOOEHDIIHFWHGE\WKHDSSOLFDWLRQRIWKHQHZSROLF\WRKLVFDVHJLYHQWKDWKH
ZLOOOLNHO\KDYHDFFUXHGVXIILFLHQWXQODZIXOSUHVHQFHDWWKHWLPHWKHGHWHUPLQDWLRQLVPDGHWRWULJJHU
DWKUHHRUWHQ\HDUEDUXSRQGHSDUWXUHIURPWKH8QLWHG6WDWHV6HFRQGWKHODFNRIOHJDOJXLGDQFHRQ
ZKDWFRQVWLWXWHV³HPSOR\PHQW´FUHDWHVDVLJQLILFDQWOLNHOLKRRGRIDQHUURQHRXVGHSULYDWLRQDQGWKH
DGGLWLRQDOSURFHGXUDOVDIHJXDUGVZKLFKSUHYLRXVO\H[LVWHGLQWKHIRUPRIQRWLFHEHIRUHGHHPLQJWKH
DFFUXDORIXQODZIXOSUHVHQFHWRKDYHFRPPHQFHGQRORQJHUH[LVW7KLUGDOWKRXJKWKHJRYHUQPHQW
PD\KDYHDFRPSHOOLQJLQWHUHVWLQHQIRUFLQJWKHLPPLJUDWLRQODZVDQGLQLPSOHPHQWLQJSROLFLHVWR
PLQLPL]HRYHUVWD\VWKHSROLF\DWLVVXHLQWKLVFDVHGRHVQRWKLQJWRIXUWKHUWKDWLQWHUHVW$VRXWOLQHG
DERYHWKHPHPRUDQGXPZLOOVHYHUHO\SHQDOL]HLQGLYLGXDOVIRUVWDWXVYLRODWLRQVWKDWZHUH
XQLQWHQWLRQDODQGRIZKLFKWKH\ZHUHOLNHO\XQDZDUHXQWLOLWLVWRRODWH,WLVSUHFLVHO\WKLVULVNRIWKH
HUURQHRXVGHSULYDWLRQRIDOLEHUW\LQWHUHVWWKDWLVDWVWDNHLQDSSOLFDWLRQRIWKHPHPRUDQGXP
7KLVQHZDSSURDFKWRXQODZIXOSUHVHQFHLVGHYRLGRIIXQGDPHQWDOIDLUQHVVDQGLVFRQVWLWXWLRQDOO\
VXVSHFW

+ &RQFOXVLRQ

)RUWKHVHUHDVRQVZHXUJH86&,6WRDEDQGRQWKLVPLVJXLGHGGLUHFWLYHDQGWRPDLQWDLQWKHXQODZIXO
SUHVHQFHJXLGDQFHWKDWKDVEHHQLQSODFHIRUGHFDGHV,WLVFULWLFDOWKDW86&,6HQVXUHWKDW
IXQGDPHQWDOIDLUQHVVLVDFULWLFDOFRPSRQHQWLQLQWHUSUHWLQJDQGLPSOHPHQWLQJWKHXQODZIXOSUHVHQFH
VWDWXWH

6LQFHUHO\



7+($0(5,&$1,00,*5$7,21/$:<(56$662&,$7,21
7+($0(5,&$1,00,*5$7,21&281&,/






     86  
                                                                                                             11

                                                                                                *&&$5


       Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 147 of 203
                                                                GC CAR000704


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 148 of 203
                                                                GC CAR000705


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 149 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 150 of 203
                                                                 GC CAR 000707
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 151 of 203
                                                                 GC CAR 000708
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 152 of 203
                                                                 GC CAR 000709
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 153 of 203
                                                                 GC CAR 000710
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 154 of 203
:ƵŶĞϭϭ͕ϮϬϭϴ



Dƌ͘>͘&ƌĂŶĐŝƐŝƐƐŶĂ
ŝƌĞĐƚŽƌ
h͘^ŝƚŝǌĞŶƐŚŝƉΘ/ŵŵŝŐƌĂƚŝŽŶ^ĞƌǀŝĐĞƐ
ĞƉĂƌƚŵĞŶƚŽĨ,ŽŵĞůĂŶĚ^ĞĐƵƌŝƚǇ
ϮϬDĂƐƐĂĐŚƵƐĞƚƚƐǀĞŶƵĞ͕Et
tĂƐŚŝŶŐƚŽŶ͕͘ϮϬϱϮϵ


ĞĂƌŝƌĞĐƚŽƌŝƐƐŶĂ͕

/ŶƌĞŐĂƌĚƐƚŽƚŚĞDĂǇϭϬDĞŵŽƌĂŶĚƵŵ͞ĐĐƌƵĂůŽĨhŶůĂǁĨƵůWƌĞƐĞŶĐĞŽĨ&͕:ĂŶĚDEŽŶŝŵŵŝŐƌĂŶƚƐ͟/
ďĞůŝĞǀĞƚŚĞƌĞĂƌĞƚǁŽĂƌĞĂƐƚŚĂƚŶĞĞĚƚŽďĞĐŽŶƐŝĚĞƌĞĚŝŶƚŚŝƐƉŽůŝĐǇĐŚĂŶŐĞ͘

dĞƌŵŝŶĂƚŝŽŶƐĂƚƚŚĞ&͕:ĂŶĚDůĞǀĞůĂƌĞůĂƌŐĞůǇĚŽŶĞďǇW^Kͬ^KĂŶĚͬZK͛Ɛʹ

/ŶƚĞƌƉƌĞƚĂƚŝŽŶƐŽĨǁŚĂƚĐŽŶƐƚŝƚƵƚĞƐĂǀŝŽůĂƚŝŽŶŽĨƐƚĂƚƵƐƚŚĂƚƐŚŽƵůĚƌĞƐƵůƚŝŶƚĞƌŵŝŶĂƚŝŽŶĂƌĞŵĂĚĞďǇ
W^Kͬ^KĂŶĚͬZK͛ƐĂŶĚƚŚĞǇƌĂŶŐĞǁŝĚĞůǇĚĞƉĞŶĚŝŶŐŽŶƚŚĞŝŶĚŝǀŝĚƵĂů^K͛ƐƌĞŐƵůĂƚŽƌǇ
ŝŶƚĞƌƉƌĞƚĂƚŝŽŶƐƚǇůĞ͕ŝŶƐƚŝƚƵƚŝŽŶĂůƉŽůŝĐǇ͕ĞƚĐ͘dŚŝƐůĞĂĚƐƚŽǀĂƐƚŝŶĐŽŶƐŝƐƚĞŶĐŝĞƐŝŶǁŚĂƚŝƐĐŽŶƐŝĚĞƌĞĚĂ
͞ǀŝŽůĂƚŝŽŶ͟ŽĨ&͕:ĂŶĚDƐƚĂƚƵƐ͘ŶĞǆĂŵƉůĞŝƐĐĂƐĞƐǁŚĞƌĞWdĂƵƚŚŽƌŝǌĂƚŝŽŶŝƐĚĞƚĞƌŵŝŶĞĚĚŝĨĨĞƌĞŶƚůǇ
ďĂƐĞĚŽŶŝŶƐƚŝƚƵƚŝŽŶŽƌǁŚĂƚŝƐĐŽŶƐŝĚĞƌĞĚ͞ĨƵůůͲƚŝŵĞ͟ĨŽƌWŚƐƚƵĚĞŶƚƐ͕ĂůƐŽǀĂƌŝĞƐďǇŝŶƐƚŝƚƵƚŝŽŶĂůƉŽůŝĐǇ͘

dŚĞƐĞĂŶĚŽƚŚĞƌŝŶƚĞƌƉƌĞƚĂƚŝŽŶƐͬƉŽůŝĐŝĞƐǀĂƌǇƐŽŵƵĐŚďǇŝŶƐƚŝƚƵƚŝŽŶĂŶĚŝŶĚŝǀŝĚƵĂůŽĨĨŝĐĞͬĂĚǀŝƐŽƌ͕ĞǀĞŶ
ƚŚŽƵŐŚƚŚĞƌĞĂƌĞ/EϮϭϰƌĞŐƵůĂƚŝŽŶƐĂŶĚ^sWƉŽůŝĐǇŐƵŝĚĂŶĐĞ͕ƚŚĞĨĂĐƚƌĞŵĂŝŶƐƚŚĂƚĂ^K͛ƐĚĞĐŝƐŝŽŶ
ƚŽƚĞƌŵŝŶĂƚĞƐƚĂƚƵƐƐŚŽƵůĚĂůǁĂǇƐƌĞŵĂŝŶƵƉƚŽŝŶƚĞƌƉƌĞƚĂƚŝŽŶͬĨŝŶĂůƌƵůŝŶŐ͘

^KƐĂƌĞŶŽƚƚƌĂŝŶĞĚŝŵŵŝŐƌĂƚŝŽŶůĂǁǇĞƌƐŽƌũƵĚŐĞƐ͘DŽƐƚŽĨƵƐĂƌĞƐƚƵĚĞŶƚĂĨĨĂŝƌƐĂĚŵŝŶŝƐƚƌĂƚŽƌƐ͕
ƐƚƵĚĞŶƚĂĚǀŽĐĂƚĞƐĂŶĚƐƵƉƉŽƌƚƐĞƌǀŝĐĞƐƉƌŝŵĂƌŝůǇ͕^KƐƐĞĐŽŶĚĂƌŝůǇ͘dŽďĞďůƵŶƚ͕ǁĞĚŽŶ͛ƚŐĞƚƉĂŝĚďǇ
,^͕ǁĞĚŽŶ͛ƚƌĞĂůůǇǁŽƌŬĨŽƌ,^͘tĞǁŽƌŬĨŽƌŽƵƌƐĐŚŽŽůƐĂŶĚĨŽƌŽƵƌƐƚƵĚĞŶƚƐ͘dŚŝƐŝƐĂǀĞƌǇ
ŝŵƉŽƌƚĂŶƚĚǇŶĂŵŝĐĂŶĚĚŝƐƚŝŶĐƚŝŽŶ͘ŚĂŶŐŝŶŐƚŚĞƐŝŐŶŝĨŝĐĂŶĐĞŽĨƚŚĞ͞ƚĞƌŵŝŶĂƚŝŽŶĚĂƚĞ͟ĂƐƚŚĞŵŽŵĞŶƚĂ
ƐƚƵĚĞŶƚďĞŐŝŶƐĂĐĐƌƵŝŶŐƵŶůĂǁĨƵůƉƌĞƐĞŶĐĞǁŝůůƐŚŝĨƚƚŚĞĚǇŶĂŵŝĐďĞƚǁĞĞŶĐŽůůĞŐĞƉĞƌƐŽŶŶĞůĂŶĚ
ƐƚƵĚĞŶƚƐ͕ĂĐŚĂŶŐĞǁŝƚŚƚŚĞĂďŝůŝƚǇƚŽƐŝŐŶŝĨŝĐĂŶƚůǇŝŵƉĂĐƚƚŚĞůĞǀĞůŽĨƚƌƵƐƚƐƚƵĚĞŶƚƐ͛ǁŝůůƉůĂĐĞŝŶƚŚĞŝƌ
/ŶƚĞƌŶĂƚŝŽŶĂůĂĚǀŝƐŝŶŐƐƚĂĨĨĂŶĚŽĨĨŝĐĞƐ͘

dŚŝƐĐŽŶƚƌŝďƵƚĞƐƚŽƚŚĞƐĞĐŽŶĚƉŽŝŶƚ/ǁŝƐŚƚŽŵĂŬĞ͕ǁŚŝĐŚŝƐʹ

h^/^WƌŽĐĞƐƐŝŶŐƚŝŵĞƐʹ

ƵƌƌĞŶƚůǇ͕ĞƐƚŝŵĂƚĞĚƉƌŽĐĞƐƐŝŶŐƚŝŵĞŽĨĂƌĞŝŶƐƚĂƚĞŵĞŶƚŽĨƐƚĂƚƵƐŝƐůŝƐƚĞĚĂƐϭϬ͘ϱͲϭϯ͘ϱŵŽŶƚŚƐŽŶƚŚĞ
h^/^ĂƐĞ^ƚĂƚƵƐŚƚƚƉƐ͗ͬͬĞŐŽǀ͘ƵƐĐŝƐ͘ŐŽǀͬƉƌŽĐĞƐƐŝŶŐͲƚŝŵĞƐͬdŚŝƐŝƐǁĞůůďĞǇŽŶĚƚŚĞϭϴϬĚĂǇƐǁŚĞƌĞŝŶ͕ŝĨ
ĂƐƚƵĚĞŶƚŝƐƵůƚŝŵĂƚĞůǇĚĞŶŝĞĚ͕ƚŚĞǇĂƌĞŝŵŵĞĚŝĂƚĞůǇƐƵďũĞĐƚƚŽĂϯǇĞĂƌŽƌĞǀĞŶϭϬǇĞĂƌďĂƌŽĨ
ĂĚŵŝƐƐŝŽŶ͘dŚŝƐŝƐƵŶĂĐĐĞƉƚĂďůĞ͘

>ŝĨĞŚĂƉƉĞŶƐĨŽƌƚŚĞƐĞƐƚƵĚĞŶƚƐ͘/ƚŽĐĐĂƐŝŽŶĂůůǇŵĞĂŶƐƚŚĂƚĂƐƚƵĚĞŶƚĨŝŶĚƐƚŚĞŵƐĞůǀĞƐƵŶǁŝƚƚŝŶŐůǇŽƵƚŽĨ
ůĞŐĂů&ϭƐƚĂƚƵƐ͘dŚĞƌĞĂƌĞ;ƉƌĞƐƵŵĂďůǇͿŚƵŶĚƌĞĚƐŽĨƌĞŝŶƐƚĂƚĞŵĞŶƚĐĂƐĞƐĂƉƉƌŽǀĞĚĞĂĐŚǇĞĂƌ͘^Ž͕ŝŶ
ĞƐƐĞŶĐĞ͕h^/^ƌĞĐŽŐŶŝǌĞƐƚŚĂƚƚŚĞƌĞĂƌĞĐĂƐĞƐǁŚĞƌĞĂƐƚƵĚĞŶƚĨĂůůŝŶŐŽƵƚŽĨƐƚĂƚƵƐǁĂƐƚŚƌŽƵŐŚ
ƵŶĨŽƌĞƐĞĞŶĂŶĚĐŽŵƉůĞƚĞůǇĂĐĐĞƉƚĂďůĞĐŝƌĐƵŵƐƚĂŶĐĞƐ͕ĂŶĚƚŚĞǇĂƌĞŝŶĨĂĐƚ͕ĞŶƚŝƚůĞĚƚŽďĞƌĞŝŶƐƚĂƚĞĚ͘



                                                                                                *&&$5


    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 155 of 203
/ĨƚŚŝƐŵĞŵŽƌĂŶĚƵŵŐŽĞƐƚŚƌŽƵŐŚĂƐŝƐ͕ŝƚǁŝůůďĞĐŽŵƉůĞƚĞůǇƵŶǁŝƐĞĨŽƌĂŶǇƐƚƵĚĞŶƚƚŽĂƉƉůǇĨŽƌ
ƌĞŝŶƐƚĂƚĞŵĞŶƚĂƐŝƚǁŝůůďĞĂƐƐƵŵŝŶŐĂǀĞƌǇĞǆƉĞŶƐŝǀĞ͕ǀĞƌǇďŝŐƌŝƐŬ͘/ŶƚŚĞƉĂƐƚ͕/ŚĂǀĞĂůǁĂǇƐĂĚǀŝƐĞĚ
ƐƚƵĚĞŶƚƐƚŚĂƚƚŚĞƌĞŝƐ͕ŽĨĐŽƵƌƐĞ͕ŝŶŚĞƌĞŶƚƌŝƐŬƚŚĂƚƚŚĞǇǁŝůůŶŽƚďĞŐƌĂŶƚĞĚƌĞŝŶƐƚĂƚĞŵĞŶƚ͕ďƵƚƚŚĞƌŝƐŬŝƐ
ŵŝƚŝŐĂƚĞĚďǇƚŚĞĨĂĐƚƚŚĂƚƚŚĞƌĞǁĂƌĚŽƵƚǁĞŝŐŚƐƚŚĞĐŽƐƚŽĨƚŚĞĂƉƉůŝĐĂƚŝŽŶ͕ƚŚĞŽŶůǇŵĂũŽƌƌŝƐŬƵŶĚĞƌ
ƚŚĞŽůĚƉŽůŝĐǇ͘EŽǁ͕ƐŝŶĐĞƵŶůĂǁĨƵůƉƌĞƐĞŶĐĞǁŝůůŚĂǀĞĂůƌĞĂĚǇďĞŐƵŶƚŽĂĐĐƌƵĞǁŚŝůĞh^/^ƚĂŬĞƐĂŶ
ĞŶŽƌŵŽƵƐĂŵŽƵŶƚŽĨƚŝŵĞŵĂŬŝŶŐĂĚĞĐŝƐŝŽŶ͕ƚŚĂƚƌŝƐŬŝƐƚŽŽŐƌĞĂƚ͘

/ĨĞĂƌǁĞǁŝůůůŽƐĞŚƵŶĚƌĞĚƐŽĨƐƚƵĚĞŶƚƐǁŚŽŽƚŚĞƌǁŝƐĞŵĂǇŚĂǀĞďĞĞŶĂďůĞƚŽĐŽŶƚŝŶƵĞƚŚĞŝƌƐƚƵĚŝĞƐ
ǁŝƚŚŽƵƚĂŶǇŝƐƐƵĞ͘EŽǁ͕ƚŚĞǇǁŝůůƐŝŵƉůǇĐŚŽŽƐĞŶŽƚƚŽƚƌǇĂŶĚŝŶƐƚĞĂĚƌĞƚƵƌŶŚŽŵĞ͕ƚĂŬŝŶŐĂůůŽĨƚŚĞŝƌ
ƚĂůĞŶƚĂŶĚƉŽƚĞŶƚŝĂůǁŝƚŚƚŚĞŵ͘

dŚŝƐŵĞŵŽƌĂŶĚƵŵƌĞĂĚƐĂƐĂĐůĞĂƌŐŽĂůƚŽƐŝŵƉůǇƌĞĚƵĐĞƚŚĞŶƵŵďĞƌŽĨĨŽƌĞŝŐŶƐƚƵĚĞŶƚƐĂŶĚƐĐŚŽůĂƌƐŝŶ
ƚŚĞh͘^͘dŚŝƐŚƵƌƚƐƐƚĂŬĞŚŽůĚĞƌƐĨƌŽŵďŽƚŚƚŚĞƉƌŝǀĂƚĞĂŶĚƉƵďůŝĐƐĞĐƚŽƌ͕ĂůůŽĨǁŚŽŵƐŚŽƵůĚŚĂǀĞƚŚĞ
ŽƉƉŽƌƚƵŶŝƚǇƚŽďĞĐŽŶƐƵůƚĞĚŽŶƐƵĐŚĂƐŝŐŶŝĨŝĐĂŶƚĐŚĂŶŐĞŝŶƉŽůŝĐǇ͘



WƌŽƉŽƐĂůŽĨĐŚĂŶŐĞƐʹ

/ŶĐŽŶĐůƵƐŝŽŶ͕/ǁŽƵůĚůŝŬĞƚŽĞĐŚŽƚŚĞĨŽůůŽǁŝŶŐƌĞĐŽŵŵĞŶĚĂƚŝŽŶƐĨƌŽŵE&^͛ƐŽĨĨŝĐŝĂůĐŽŵŵĞŶƚ
ůĞƚƚĞƌ͕ĚĂƚĞĚDĂǇϮϰ͕ϮϬϭϴʹ



    x >ĞĂǀĞŝŶƉůĂĐĞƚŚĞĐƵƌƌĞŶƚƉŽůŝĐǇ͕ǁŚŝĐŚŚĂƐƐĞƌǀĞĚĨŽƌŽǀĞƌϮϬǇĞĂƌƐ͘EĞŝƚŚĞƌ,^ŶŽƌůĞŐĂĐǇ/E^
       ĞǀĞƌƉƵďůŝƐŚĞĚƌĞŐƵůĂƚŝŽŶƐƚŽŝŵƉůĞŵĞŶƚƚŚŝƐŝŵƉŽƌƚĂŶƚĂƌĞŽĨůĂǁ͘/ĨƚŚĞĂŐĞŶĐǇǁŝƐŚĞƐƚŽ
       ŝŵƉůĞŵĞŶƚƐƵĐŚĂĚƌĂƐƚŝĐĐŚĂŶŐĞƚŽůŽŶŐƐƚĂŶĚŝŶŐĐŽŵŵŽŶŝŶƚĞƌƉƌĞƚĂƚŝŽŶŽĨůĂǁ͕ŝƚŵƵƐƚďĞĚŽŶĞ
       ƚŚƌŽƵŐŚƚŚĞŶŽƚŝĐĞĂŶĚĐŽŵŵĞŶƚƉƌŽĐĞƐƐ͘
    x ǆĐůƵĚĞĨƌŽŵƚŚĞƵŶůĂǁĨƵůƉƌĞƐĞŶĐĞĐŽƵŶƚĂŶǇƐƚĂƚƵƐǀŝŽůĂƚŝŽŶƐƚŚĂƚŽĐĐƵƌƌĞĚƵŶĚĞƌĐŽůŽƌŽĨ
       ůĂǁ͕ƚŽĂǀŽŝĚ͞ŐŽƚĐŚĂ͟ƐĐĞŶĂƌŝŽƐ͕ǁŚĞƌĞƚŚĞƐƚƵĚĞŶƚƌĞĂƐŽŶĂďůǇƌĞůŝĞĚŽŶƚŚĞĂƵƚŚŽƌŝǌĂƚŝŽŶƐ
       ŐƌĂŶƚĞĚ͘&ŽƌĞǆĂŵƉůĞ͕ĐƵƌƌŝĐƵůĂƌƉƌĂĐƚŝĐĂůƚƌĂŝŶŝŶŐĂƵƚŚŽƌŝǌĞĚŝŶ^s/^ƚŚĂƚ,^ůĂƚĞƌĚĞƚĞƌŵŝŶĞƐ
       ŵĂǇŚĂǀĞďĞĞŶŝŵƉƌŽƉĞƌůǇŐŝǀĞ͕ƐŚŽƵůĚŶŽƚƐƚĂƌƚƚŚĞƵŶůĂǁĨƵůƉƌĞƐĞŶĐĞ͞ĐůŽĐŬ͟ƵŶƚŝů,^ŽƌĂŶ
       ŝŵŵŝŐƌĂƚŝŽŶũƵĚŐĞŵĂŬĞƐĂĨŽƌŵĂůƐƚĂƚƵƐĚĞƚĞƌŵŝŶĂƚŝŽŶ͘
    x ƉƉůǇƚŚĞĐŚĂŶŐĞŽĨƐƚĂƚƵƐͬĞǆƚĞŶƐŝŽŶŽĨƐƚĂǇƚŽůůŝŶŐƌƵůĞƐƚŽƌĞŝŶƐƚĂƚĞŵĞŶƚĂƉƉůŝĐĂƚŝŽŶƐ͘
    x ǆƉĂŶĚƚŚĞƐĞĐƚŝŽŶƐĚĞƐĐƌŝďŝŶŐĞǆĂŵƉůĞƐǁŚĞƌĞ&͕DĂŶĚ:ŶŽŶŝŵŵŝŐƌĂŶƚƐ͞ĚŽŶŽƚĂĐĐƌƵĞ
       ƵŶůĂǁĨƵůƉƌĞƐĞŶĐĞŝŶĐĞƌƚĂŝŶƐŝƚƵĂƚŝŽŶƐ͟

dŚĂŶŬǇŽƵĨŽƌƚŚĞŽƉƉŽƌƚƵŶŝƚǇƚŽĐŽŵŵĞŶƚ͕



<ĂƌĂ<ĂƵĨĨŵĂŶ






                                                                                                *&&$5


    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 156 of 203

-XQH

86'HSDUWPHQWRI+RPHODQG6HFXULW\
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
2IILFHRIWKH'LUHFWRU
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

6XEPLWWHGYLDHPDLOSXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY

         Re:    USCIS Policy Memorandum: Accrual of Unlawful Presence and F, J, and M
                Nonimmigrants (PM-602-1060)

'HDU6LURU0DGDP

,DPZULWLQJLQUHJDUGVWRWKHQHZSROLF\PHPRUDQGXP³$FFUXDORI8QODZIXO3UHVHQFHDQG)-
DQG01RQLPPLJUDQWV 30 ´SRVWHGE\86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
  86&,6 RQ0D\

)RXQGHGLQ1RUWKHDVWHUQ8QLYHUVLW\LVDJOREDOH[SHULHQWLDOUHVHDUFKXQLYHUVLW\2XU
WUDGLWLRQRISDUWQHUVKLSDQGHQJDJHPHQWFUHDWHVDGLVWLQFWLYHDSSURDFKWRHGXFDWLRQDQGUHVHDUFK
EXLOWRQWKHYDOXHVRIH[SHULHQWLDOOHDUQLQJLQQRYDWLRQDQGHQWUHSUHQHXUVKLS1RUWKHDVWHUQ
8QLYHUVLW\LVWKHUHFRJQL]HGOHDGHULQH[SHULHQWLDOOHDUQLQJSRZHUHGE\WKHZRUOG¶VPRVW
LQQRYDWLYHFRRSHUDWLYHHGXFDWLRQSURJUDP:HRIIHUVWXGHQWVRSSRUWXQLWLHVIRUSURIHVVLRQDO
ZRUNUHVHDUFKVHUYLFHDQGJOREDOOHDUQLQJLQFRXQWULHVRQVHYHQFRQWLQHQWV7KHVDPH
VSLULWRIHQJDJHPHQWJXLGHVDXVHLQVSLUHGUHVHDUFKHQWHUSULVHWKDWLVVWUDWHJLFDOO\DOLJQHGZLWK
WKUHHJOREDOLPSHUDWLYHVKHDOWKVHFXULW\DQGVXVWDLQDELOLW\1RUWKHDVWHUQ8QLYHUVLW\RIIHUVD
FRPSUHKHQVLYHUDQJHRIXQGHUJUDGXDWHDQGJUDGXDWHSURJUDPVOHDGLQJWRGHJUHHVWKURXJKWKH
GRFWRUDWHLQQLQHFROOHJHVDQGVFKRROVDQGVHOHFWDGYDQFHGGHJUHHVDWJUDGXDWHFDPSXVHVLQ
6LOLFRQ9DOOH\&KDUORWWH6HDWWOHDQG7RURQWR7KHJHRJUDSKLFDOO\DQGHWKQLFDOO\GLYHUVH
VWXGHQWERG\LVPDGHXSRIPRUHWKDQVWXGHQWVZLWKRYHUXQGHUJUDGXDWHVWXGHQWV
DQGJUDGXDWHVWXGHQWV,QDGGLWLRQ1RUWKHDVWHUQ8QLYHUVLW\KDVRYHUIDFXOW\
PHPEHUVDQGVWDIIZKLFKWRJHWKHUWRWDORYHU)LQDOO\1RUWKHDVWHUQ8QLYHUVLW\KRVWV
RYHULQWHUQDWLRQDOXQGHUJUDGXDWHDQGJUDGXDWHVWXGHQWVDQGSRVWGRFWRUDOVFKRODUVIURP
GLIIHUHQWQDWLRQVDFURVVWKHZRUOGVXSSRUWHGE\WKHXQLYHUVLW\¶V2IILFHRI*OREDO6HUYLFHV
2XUVWDII¶VFRPPLWPHQWHQVXUHVWKDWRXUFRPPXQLW\PDLQWDLQVFRPSOLDQFHWKURXJKWKHLU
LPPLJUDWLRQDFDGHPLFDQGHPSOR\PHQWH[SHULHQFHV

)ROORZLQJWKHUHOHDVHRIWKLVQHZSROLF\PHPRUDQGXPWKHUHKDYHEHHQVLJQLILFDQWGLVFXVVLRQV
DPRQJVW'HVLJQDWHG6FKRRO2IILFLDOV '62V DQG$OWHUQDWH5HVSRQVLEOH2IILFHUV $52V ERWKDW
1RUWKHDVWHUQ8QLYHUVLW\DQGDWKLJKHUHGXFDWLRQLQVWLWXWLRQVDFURVVWKH86,QWHUQDWLRQDOVWXGHQW
DQGVFKRODUDGYLVRUVVSHQGDVLJQLILFDQWDPRXQWRIWLPHDGYLVLQJDQGVXSSRUWLQJLQWHUQDWLRQDO
VWXGHQWVDQGVFKRODUVRQPDLQWDLQLQJWKHLULPPLJUDWLRQVWDWXVLQWKH867KLVLVVRPHWKLQJWKDW
WKHYDVWPDMRULW\RILQWHUQDWLRQDOVWXGHQWVDQGVFKRODUVGHHSO\DQGVLQFHUHO\ZDQWWRGRDQGWKLV
PHDQVWKH\QHHGWRUHPDLQDZDUHRIDOOLPPLJUDWLRQUHJXODWLRQVZKLOHDOVREDODQFLQJWKH




                                                                                         GC CAR 000713
   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 157 of 203
GHPDQGVDOOVWXGHQWVDQGVFKRODUVH[SHULHQFHDORQJZLWKWKHLULQVWLWXWLRQ¶VUHTXLUHPHQWV,WLVIRU
WKLVUHDVRQWKDWZKLOHFKDQJHVLQUHJXODWLRQVFDQEHH[SHFWHGWKHVHSURSRVHGFKDQJHVDUH
HVSHFLDOO\SUREOHPDWLFDQGKHDYLO\EXUGHQVRPHWRDGPLQLVWHUE\KLJKHUHGXFDWLRQLQVWLWXWLRQV
LQFOXGLQJ1RUWKHDVWHUQ8QLYHUVLW\

7KHQHZPHPRUDQGXPZLOOUHYHUVHPRUHWKDQ\HDUVRI86&,6SUDFWLFHUHJDUGLQJWKHDFFUXDO
RI³XQODZIXOSUHVHQFH´DOHJDOWHUPGHILQHGXQGHUVHFWLRQ D  % LL RIWKH,PPLJUDWLRQ
DQG1DWLRQDOLW\$FW ,1$ E\UHIHUHQFHWRDQLQGLYLGXDOZKR³LVSUHVHQWLQWKH8QLWHG6WDWHVDIWHU
H[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDORULVSUHVHQWLQWKH8QLWHG
6WDWHVZLWKRXWEHLQJDGPLWWHGRUSDUROHG´)RUQRQLPPLJUDQWVWXGHQWVDQGH[FKDQJHYLVLWRUVLQ
WKH)-DQG0FDWHJRULHVOHJDF\,PPLJUDWLRQDQG1DWXUDOL]DWLRQ6HUYLFH ,16 DQG86&,6
KDYHLQWHUSUHWHGWKHVWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQVWRUHTXLUHQRWLFHWRWKHLQGLYLGXDORI
DVWDWXVYLRODWLRQSULRUWRWKHFRPPHQFHPHQWRIWKHXQODZIXOSUHVHQFHFORFN6XFKQRWLFHLV
SURYLGHGLQWKHFRQWH[WRIWKHDGMXGLFDWLRQRIDUHTXHVWIRUDQLPPLJUDWLRQEHQHILWE\86&,6RUD
GHWHUPLQDWLRQRIDVWDWXVYLRODWLRQE\DQLPPLJUDWLRQMXGJH7KH86&,6JXLGDQFHDUWLFXODWLQJ
WKLVSRVLWLRQVWDWHV³,WPXVWEHHPSKDVL]HGWKDWWKHDFFUXDORIXQODZIXOSUHVHQFHQHLWKHUEHJLQV
RQWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVQRURQWKHGD\RQZKLFKUHPRYDOSURFHHGLQJVDUH
LQLWLDWHG´ 7KLVORQJVWDQGLQJSROLF\SURYLGHVFHUWDLQW\LQGHWHUPLQLQJZKHQXQODZIXOSUHVHQFH
EHJLQVWRDFFUXHZKLFKWKHQHZSROLF\GRHVQRW7KHQHZSROLF\ZLOOFDXVHDJUHDWGHDORI
XQFHUWDLQW\IRULQWHUQDWLRQDOVWXGHQWVDQGVFKRODUVKROGLQJ)DQG-LPPLJUDWLRQVWDWXVLQWKH86

$VGHVFULEHGLQWKH0D\PHPRUDQGXP86&,6ZLOOQRZGHHPXQODZIXOSUHVHQFHWR
KDYHVWDUWHGDFFUXLQJDVRIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJWKH
FULWLFDOSURFHGXUDOVDIHJXDUGRISURYLGLQJQRWLFHWRDIIHFWHGLQGLYLGXDOVWKDWPD\ILQGWKHPVHOYHV
VXEMHFWWRWKHWKUHH\HDUWHQ\HDURUSHUPDQHQWEDUVWRDGPLVVLELOLW\7KLVUDLVHVVHULRXV
TXHVWLRQVUHJDUGLQJIXQGDPHQWDOIDLUQHVVDQGGXHSURFHVVDQGZLOOKDYHDVLJQLILFDQWQHJDWLYH
LPSDFWRQWKHVWXGHQWDQGH[FKDQJHYLVLWRUFRPPXQLWLHV

,QUHFRJQLWLRQRIWKHIOXLGLW\RIDFDGHPLFSURJUDPV)0DQG-QRQLPPLJUDQWVDUHQRWDGPLWWHG
WRWKH86IRUDILQLWHSHULRG,QVWHDGWKH\DUHDGPLWWHGIRUWKH³GXUDWLRQRIWKHLUVWDWXV´RU
³'6´ZKLFKPHDQVWKHVWXGHQWRUH[FKDQJHYLVLWRUFDQUHPDLQLQWKH8QLWHG6WDWHVDVORQJDV
WKH\PDLQWDLQWKHLUQRQLPPLJUDQWVWDWXV7KLVJHQHUDOO\PHDQVWKHVWXGHQWPXVWPDLQWDLQDIXOO
FRXUVHRIVWXG\RUUHPDLQLQWKHH[FKDQJHSURJUDPQRWHQJDJHLQXQDXWKRUL]HGHPSOR\PHQWRU
RWKHUXQDXWKRUL]HGDFWLYLWLHVDQGFRPSOHWHWKHDFDGHPLFRUH[FKDQJHSURJUDPLQDWLPHO\
PDQQHURUREWDLQDQH[WHQVLRQ:KDWWKHQHZPHPRUDQGXPIDLOVWRUHFRJQL]HLVWKDWWKH
TXHVWLRQDVWRZKHWKHUDQLQGLYLGXDOKDVYLRODWHGWKHLUQRQLPPLJUDQWVWDWXVLVFRPSOH[DQG
QXDQFHG6WXGHQWVDQGH[FKDQJHYLVLWRUVFDQDFFLGHQWDOO\DQGXQNQRZLQJO\YLRODWHWKHLUVWDWXV
E\GURSSLQJVOLJKWO\EHORZDIXOOFRXUVHRIVWXG\RUE\HQJDJLQJLQLQQRFHQWEXWXQDXWKRUL]HG
DFWLYLW\)RUH[DPSOH)VWXGHQWVDUHSHUPLWWHGWRHQJDJHLQZRUNDWD³TXDOLI\LQJRQFDPSXV
MRE´IRUXSWRKRXUVSHUZHHNZKLOHVFKRROLVLQVHVVLRQ7KHUHIRUHDQ)VWXGHQWZKR
LQDGYHUWHQWO\H[FHHGVWKHKRXUOLPLWE\MXVWDFRXSOHRIKRXUVKDVWHFKQLFDOO\YLRODWHGKLVRU
KHUVWXGHQWVWDWXV,QDGGLWLRQD'HVLJQDWHG6FKRRO2IILFLDOPD\PDNHDJRRGIDLWKHUURULQ
DGYLVLQJDVWXGHQWWKHUHE\OHDGLQJWKHVWXGHQWWRXQNQRZLQJO\DQGXQLQWHQWLRQDOO\YLRODWHWKHLU


 See86&,60HPRUDQGXP&RQVROLGDWLRQRI*XLGDQFH&RQFHUQLQJ8QODZIXO3UHVHQFHIRU3XUSRVHVRI6HFWLRQV
 D  % L DQG D  & L , RIWKH$FW´ 0D\ available atKWWSZZZDLODRUJLQIRQHWXVFLV
FRQVROLGDWLRQJXLGDQFHXQODZIXOSUHVHQFH




                                                                                                   GC CAR 000714
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 158 of 203
VWDWXV7KLVXQIDLUQHVVLVFRPSRXQGHGZKHQWKHVWDWXVYLRODWLRQDOVRVHUYHVDVWKH³WULJJHU´IRU
WKHDFFUXDORIXQODZIXOSUHVHQFHE\GHSHQGHQWVRIVWXGHQWVDQGH[FKDQJHYLVLWRUV

86&,6VWDWHVWKDWWKHSXUSRVHRIWKHQHZJXLGDQFHLVWR³UHGXFHWKHQXPEHURIRYHUVWD\V´DQG
³WRLPSURYHKRZ86&,6LPSOHPHQWVWKHXQODZIXOSUHVHQFHJURXQGRILQDGPLVVLELOLW\´
8QIRUWXQDWHO\ZHEHOLHYHWKLVDSSURDFKDFFRPSOLVKHVQHLWKHURIWKHVHJRDOVDQGZLOOLQVWHDG
XQIDLUO\SXQLVKDSRWHQWLDOO\VLJQLILFDQWSRUWLRQRIWKHVWXGHQWDQGH[FKDQJHYLVLWRUSRSXODWLRQ
SRWHQWLDOO\OHDGWRGHFUHDVLQJIRUHLJQVWXGHQWHQUROOPHQWVDW86FROOHJHVDQGXQLYHUVLWLHVDQG
XQQHFHVVDULO\GDPDJHWKH86HFRQRP\

1RUWKHDVWHUQ8QLYHUVLW\UHVSHFWIXOO\XUJHV86&,6WRPDLQWDLQWKHFXUUHQWXQODZIXOSUHVHQFH
JXLGDQFHWKDWKDVEHHQLQSODFHIRURYHU\HDUVDQGHQVXUHVWKDWIXQGDPHQWDOIDLUQHVVLVD
FULWLFDOFRPSRQHQWLQLQWHUSUHWLQJDQGLPSOHPHQWLQJWKHXQODZIXOSUHVHQFHVWDWXWH

6LQFHUHO\



7LPRWK\(/HVKDQ
9LFH3UHVLGHQWIRU*RYHUQPHQW5HODWLRQV
1RUWKHDVWHUQ8QLYHUVLW\
                             









                                                                                         GC CAR 000715
   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 159 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 160 of 203
                                                                 GC CAR 000717
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 161 of 203
                                                                 GC CAR 000718
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 162 of 203
                                                                 GC CAR 000719
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 163 of 203
June 11, 2018

Mr. L. Francis Cissna
Director
U.S. Citizenship & Immigration Services
Department of Homeland Security
20 Massachusetts Avenue, NW
Washington, D.C. 20529

Dear Director Cissna,

FWD.us is writing in response to the May 11th publication by U.S. Citizenship and Immigration
Services (USCIS) entitled “Accrual of Unlawful Presence and F, J, and M Nonimmigrants.”

FWD.us is a bipartisan organization started by key leaders in the tech and business community
to promote policies to keep the United States competitive in a global economy, starting with
commonsense immigration reform and criminal justice reform.

We would like to begin by referencing and expressing our support of the joint comment filed by
a host of higher education associations including the Association of Public and Land-grant
Universities, the American Council on Education, and the American Association of Universities.
We would also like to acknowledge our support of comments filed by NAFSA: Association of
International Educators, and the Presidents’ Alliance on Higher Education and Immigration.
FWD.us urges USCIS to seriously consider the concerns of the higher education community
before adopting this new policy.

It is critical to note that because USCIS only provided one month for public review and comment
of its sudden change of its long standing interpretation of the accrual of unlawful presence for F,
J, and M visa holders, our organization has not been able to fully assess its impact. In this
comment however, we put forward our strong concerns about the adverse impact this policy will
have on employers, negative long-term ramifications to innovation and business in the United
States, and about the unlikelihood that this proposed policy would meaningfully increase
compliance with immigration law.

By changing the way in which unlawful presence is counted for F, J, and M nonimmigrants,
USCIS is running the risk that years after an F, J, or M nonimmigrant student graduates from a
U.S. college or university and becomes employed at an American company under a different
visa category, they could be cited as having violated their terms of status back when they were
a student, leading them to be prosecuted and removed from the country. When this occurs, it is
sure to create uncertainty amongst American businesses seeking to hire the most qualified



                                                                                       *&&$5


   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 164 of 203
candidates--who may happen to be international students--and could lead to a rapid decline in
the employment of F, J, and M students at American companies, likely also resulting in a
reduction of international students attempting to enroll at U.S. colleges and universities. Fewer
international students coming through our higher education system would hurt our universities
and longer term economic growth. Consequently, in the wake of such a decline in international
student post-graduate employment, we would be sending U.S. college and university-educated
F, J, and M students back abroad to compete against employers based in the United States. A
scenario in which companies in the United States backed away from hiring the best and
brightest international students, would quickly reduce one of our most robust talent pipelines
and stifle economic growth in our country.

International students currently make up 41 percent of masters and 45 percent of PhDs at U.S.
universities, and studies have shown that every foreign-born student who graduates from a U.S.
university with an advanced degree and stays to work in STEM creates 2.62 jobs for American
workers.

Aside from the fact that this new policy would be administratively challenging to enforce, it would
fail to provide necessary notice to F, J, M nonimmigrants and their prospective employers and
create unimaginable confusion for all. For decades, USCIS and its predecessor, legacy
Immigration and Naturalization Services, have not considered unlawful presence to begin
accruing until after notice is provided to an individual in violation of immigration status by way of
USCIS adjudicating a filing for an immigration benefit or an immigration judge finding such a
violation. F, J, and M nonimmigrants have been given notice that they would be accruing
unlawful presence, and thus could be barred from re-entering the U.S. or adjusting their status if
they remained in the United States for 180 or more days. If they discovered their violation, they
could try to remedy it before it was too late. Under USCIS’ proposed new policy outlined in its
May 11, 2018 memo however, F, J, and M nonimmigrants would instead begin to accrue
unlawful presence the moment their violation occurs, regardless of their knowledge of such
violation, thus stripping away certainty in determining when unlawful presence begins to accrue.
Similarly, prospective employers seeking to employ F-1 students have less certainty of whether,
after paying the required fees to file a petition sponsoring a temporary worker and undergoing
the lengthy process, they will ultimately be able to onboard the employee.

High skilled immigrants, like those who arrive to the United States on F, J, or M visas, grow our
economy, create American jobs, and boost wages for native-born workers. In particular, they
help to fill a critical skills gap in the current U.S. workforce. The shortage of talented science,
technology, engineering and mathematics (STEM) workers presents a serious challenge to
companies looking to grow and fill jobs and to continue driving America’s global leadership in
innovation. International students have filled many of those roles. Without STEM-educated and
skilled immigrant workers participating in the United States job market, it’s liable to harm our
economic growth and reduce our gross domestic product. Rather than making it even more
difficult for F, J, and M visa-holding students to comply with an already overwhelmingly
byzantine set of immigration laws, we should be reforming the system to make it easier for



                                                                                        *&&$5


   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 165 of 203
                                                                *&&$5


Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 166 of 203
                            USCIS UN A FU PR S NC M M 



86'HSDUWPHQWRI+RPHODQG6HFXULW\
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
2IILFHRIWKH'LUHFWRU
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

6XEPLWWHGYLDHPDLOSXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY

         Re:    USCIS Policy Memorandum: Accrual of Unlawful Presence and F, J, and M
                Nonimmigrants

'HDU0DGDPRU6LU

,DPZULWLQJWRH[SUHVVP\RSSRVLWLRQDQGFRQFHUQVUHJDUGLQJWKHQHZSROLF\PHPRUDQGXP
³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´SRVWHGE\86&LWL]HQVKLSDQG
,PPLJUDWLRQ6HUYLFHV 86&,6 RQ0D\

%ULHIO\VWDWHGWKHQHZPHPRUDQGXPZLOOUHYHUVHPRUHWKDQ\HDUVRI86&,6SUDFWLFH
UHJDUGLQJWKHDFFUXDORI³XQODZIXOSUHVHQFH´DOHJDOWHUPGHILQHGXQGHUVHFWLRQ D  % LL 
RIWKH,PPLJUDWLRQDQG1DWLRQDOLW\$FW ,1$ E\UHIHUHQFHWRDQLQGLYLGXDOZKR³LVSUHVHQWLQ
WKH8QLWHG6WDWHVDIWHUH[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDORULV
SUHVHQWLQWKH8QLWHG6WDWHVZLWKRXWEHLQJDGPLWWHGRUSDUROHG´)RUQRQLPPLJUDQWVWXGHQWVDQG
H[FKDQJHYLVLWRUVLQWKH)-DQG0FDWHJRULHVOHJDF\,PPLJUDWLRQDQG1DWXUDOL]DWLRQ6HUYLFH
  ,16 DQG86&,6KDYHLQWHUSUHWHGWKHVWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQVWRUHTXLUHQRWLFHWR
WKHLQGLYLGXDORIDVWDWXVYLRODWLRQSULRUWRWKHFRPPHQFHPHQWRIWKHXQODZIXOSUHVHQFHFORFN
6XFKQRWLFHLVSURYLGHGLQWKHFRQWH[WRIWKHDGMXGLFDWLRQRIDUHTXHVWIRUDQLPPLJUDWLRQEHQHILW
E\86&,6RUDGHWHUPLQDWLRQRIDVWDWXVYLRODWLRQE\DQLPPLJUDWLRQMXGJH7KH86&,6JXLGDQFH
DUWLFXODWLQJWKLVSRVLWLRQVWDWHV³,WPXVWEHHPSKDVL]HGWKDWWKHDFFUXDORIXQODZIXOSUHVHQFH
QHLWKHUEHJLQVRQWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVQRURQWKHGD\RQZKLFKUHPRYDO
SURFHHGLQJVDUHLQLWLDWHG´ 7KLVORQJVWDQGLQJSROLF\SURYLGHVFHUWDLQW\LQGHWHUPLQLQJZKHQ
XQODZIXOSUHVHQFHEHJLQVWRDFFUXHZKLFKWKHQHZSROLF\GRHVQRW

$VGHVFULEHGLQWKH0D\PHPRUDQGXP86&,6ZLOOQRZGHHPXQODZIXOSUHVHQFHWR
KDYHVWDUWHGDFFUXLQJDVRIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJWKH
FULWLFDOSURFHGXUDOVDIHJXDUGRISURYLGLQJQRWLFHWRDIIHFWHGLQGLYLGXDOVWKDWPD\ILQGWKHPVHOYHV
VXEMHFWWRWKHWKUHHDQGWHQ\HDUEDUVWRDGPLVVLELOLW\7KLVUDLVHVVHULRXVTXHVWLRQVUHJDUGLQJ
IXQGDPHQWDOIDLUQHVVDQGGXHSURFHVVDQGZLOOKDYHDVLJQLILFDQWQHJDWLYHLPSDFWRQWKHVWXGHQW
YRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHV


 See86&,60HPRUDQGXP&RQVROLGDWLRQRI*XLGDQFH&RQFHUQLQJ8QODZIXO3UHVHQFHIRU3XUSRVHVRI6HFWLRQV
 D  % L DQG D  & L , RIWKH$FW´ 0D\ available atKWWSZZZDLODRUJLQIRQHWXVFLV
FRQVROLGDWLRQJXLGDQFHXQODZIXOSUHVHQFH




                                                                                                   GC CAR 000723
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 167 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 168 of 203
                                                                                      Baltimore Immigration Legal Clinic



                                                                                      T              |F
                                                                                      worldrelief.net/BaltimoreClinic
June 10, 2018


U.S. Department of Homeland Security
U.S. Citizenship and Immigration Services
Office of the Director
20 Massachusetts Avenue, NW
Washington, DC 20529-2140

Submitted via email: publicengagementfeedback@uscis.dhs.gov

Dear Director Cissna:

World Relief Immigration Programs would like to comment on the U.S. Citizenship and Immigration
Services (USCIS) policy memorandum posted on May 11, 2018, entitled “Accrual of Unlawful Presence
and F, J, and M Nonimmigrants.”

Our objection to this memorandum is two-fold: first, the new policy is fundamentally unfair to
international students and exchange visitors already in the United States and second, it would not “reduce
the number of overstays” or “improve the implementation of the ‘unlawful presence’ grounds” as it
purports to do. Thus, our organization requests either that the memo be withdrawn or its implementation
be delayed for twelve months, such that: (i) the implementation of the new policy may be coordinated
with the Department of State and other DHS sub-units such as CBP and SEVP and (ii) those members of
the international student education field and the visa holders themselves may have sufficient time to
inform themselves about this complicated area of immigration law.

The new memorandum is a sudden change to the immigration policy establishing that F, J and M status
holders admitted for duration of status begin accruing ‘unlawful presence’1 only if a formal finding is
made that they have violated their immigration status. This long held interpretation ensured that visa
holders were aware that they were accruing unlawful presence and could take action to prevent the
devastating consequences for departure after unlawful presence2. The proposed policy states that
‘unlawful presence’ begins to accrue on the date a visa violation occurs, thereby eliminating an important
procedural protection which provides notice to the visa holder that he or she may suffer INA 212(a)(9)(B)
penalties after departing the country.

Implementation of this memo will levy disproportionate punishment against the F, J and M visa holders
and their dependents already in the country who have relied on the current ‘unlawful presence’ policy. It


1
  INA § 212(a)(9)(B)(ii) defines ‘unlawful presence’ as those individuals “present in the United States after the
expiration of the period of stay authorized by the Attorney General or is present in the United States without being
admitted or paroled.”
2
  INA § 212(a)(9)(B)(i) establishes a three and ten year bar to reentry for a departure from the United States after
more than 180 and 365 days of unlawful presence, respectively




                                                                                                          GC CAR 000725
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 169 of 203
will lead to unjust outcomes immediately and in the future. After August 9, 2018, innocent mistakes that
have already been made by such visa holders or administrative errors committed by University personnel
could trigger accrual of unlawful presence and thus result in disastrous consequences for the visa holder
and their families. Below are several examples of unreasonable consequences of this potential policy:

    x   An F-1 student who was involved in creating a dorm room business startup with her roommates,
        without authorization from her Designated School Official (DSO), could be considered as having
        violated her status. Under the new policy, that innovative student may have unwittingly
        foreclosed the opportunity of returning to the U.S. by obtaining an H-1B visa abroad after
        graduating.

    x   An academic exchange visitor who registered for less than the 12 required credits, due to a
        serious illness or an accident, would have a status violation because of circumstances outside of
        his control, through no fault of the visa holder.

    x   Also, a J-1 student who was erroneously advised by the DSO that she could take an additional
        course outside of the curriculum of her approved exchange program would have a visa violation
        because of the mistake of the DSO, not the visa holder.

    x   Additionally, the student who submits a reinstatement application, to cure a violation of status
        due to enrollment in insufficient credits in the prior semester, will not have a decision on the
        reinstatement application for at least six months, and if denied, will already be subject to the
        unlawful presence bars after any subsequent departure.

These situations of unintentional violation of status could have disastrous consequences without having
provided adequate notice in advance about the proposed change in policy and its resulting consequences.

Furthermore, the proposed policy changes are not rationally related to the objectives laid out in the
memorandum. First, the changes will not reduce the number of visa overstays. This was one of the
motivations behind the passage of IIRIRA in 1996, wherein the unlawful presence bars became effective
on April 1, 1997. However, the creation of these bars had the opposite effect, in that it encouraged those
without valid status to stay in the U.S. rather than returning to their home countries in order to avoid
triggering the unlawful presence bars. Similarly, the visa holders and their families who have been in the
U.S. lawfully for years, but who inadvertently violate their status after the August 9 effective date, will
most likely choose to stay in the U.S. rather than trigger the unlawful presence bars by a departure, unless
they qualify for an inadmissibility waiver. Lastly, the memo specifically subjects F, J and M visa holders
to the unlawful presence grounds, but other visa classes that are also admitted for duration of status such
as Investor (I) and Diplomatic (A1-2 or G1-4) visas are unaffected by the policy change. There is no
discernible explanation in the memorandum as to why investors and diplomatic visitors will not also be
subject to the unlawful presence grounds of inadmissibility upon violation of their status.

The policy change will not “improve the implementation of the unlawful presence grounds of INA
212(a)(9)(B) & (C),” and indeed, that does not appear to be the intent of the policy drafters. The
memorandum’s reference to President Trump’s Executive Order 13768 solidifies the notion that the intent
of this policy is to simply increase the inadmissibility grounds to which F, J and M status holders are
subject and thus punitively prevent more of them from being able to obtain status in the future. They are
simply changing established policies in order to facilitate the removal of more F, J and M visa holders and
discourage potential international students, scholars and researchers from applying for these kinds of
visas.




                                                                                                 GC CAR 000726
   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 170 of 203
The unlawful presence bars are some of the most draconian provisions of the U.S. immigration system
and it is clear in the statutory language that the authors of those provisions intended for the bars to apply
to only those individuals who have notice that they are in the United States in violation of the law, i.e.
those who enter the country illegally, those whose I-94s have expired or those who’ve been officially
notified of a violation by USCIS or an Immigration Judge.

Therefore, this policy change should either be withdrawn from consideration or the implementation
should be delayed for one year. This should be the case because it will take at least that amount of time
for the international student community, and the institutional personnel who advise them, to fully digest
and understand the convoluted and nuanced subject of unlawful presence. This academic community must
know the subject thoroughly, not only to prevent the nightmare scenario in which incorrect advice leads
to an unintentional status violation, but also to inform potential F, J and M students wanting to study here
in the future. Knowledge of this subject must be deep and widespread in order for the policy change to
actually deter visa overstays as the policy drafters intended. In addition, this delay would allow the
aforementioned State Department and DHS sub-agencies to formulate their own implementation policies
and/or make improvements to their information systems that align with the present memorandum.
Allowing these other agencies to coordinate with USCIS in implementing the memo, as well as fix errors
in their information systems would prevent some of the most glaring mistakes where the unlawful
presence bars are unfairly applied to innocent visa holders whose present (and future) status is
jeopardized solely due to irregularities in their student records, or other administrative mistakes outside of
their control.

Thank you for the opportunity to comment.


Sincerely,




Courtney Tudi, Esq.
Director of National Immigration Programs
720-549-4844
    @




                                                                                                   GC CAR 000727
   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 171 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 172 of 203
June 11, 2018
Page 2

The proposed revision erodes due process and places an undue burden on visa holders.

To reduce the number of nonimmigrants who violate immigration status or stay beyond the
legally allowable period, USCIS must articulate the appropriate role of the sub-agencies of the
Department of Homeland Security (DHS) and other federal agencies in ensuring that visa holders
have adequate information and notice. There is no indication that USCIS has coordinated
implementation of this extreme policy shift with other government stakeholders, including the
Department of State (including the Visa Office and the Bureau of Education and Cultural
Affairs’ Exchange Visitor Program), and other divisions of DHS, such as Immigration and
Customs Enforcement (ICE), the Student and Exchange Visitor Program (SEVP), and Customs
and Border Protection.

Visa holders who may not be aware of a violation of status will now be considered guilty not
only of the original infraction, but also of overstaying their visa in the period since that
infraction. While it is clearly the responsibility of nonimmigrant visa holders to remain in
compliance with the law, it is crucial that they receive complete and detailed information
concerning the rules that govern their stay in the United States and have the right to fair notice, a
hearing and the right to appeal.

In the proposed policy, however, due process will be extremely limited. For example, virtually
all students whose Student and Exchange Visitor Information System (SEVIS) reinstatement
applications are denied would find themselves subject to at least the 3-year bar, merely because
USCIS takes so long to adjudicate applications for reinstatement. In addition, a student or
exchange visitor might not even know that he or she was in violation of status until DHS issues a
formal determination. If the unlawful presence “clock” is seen to start at some distant time in the
past in such cases, any window for departing the country will have passed.


The proposed change threatens to chill the exercise of civil and workplace rights.

It is well-documented that workers who are in the United States working pursuant to
nonimmigrant work visas, including J-1 visa holders, are frequently exploited during the
recruitment process and in their U.S. jobs. These abuses abound in part because the very
structure of the program places workers at the mercy of a single employer for both their job and
continued presence in the U.S. When a job is abusive, guest workers often cannot leave without
facing severe immigration consequences, including loss of status and deportation. As a result,
many visa holders choose to endure the abuse, creating a dynamic that lowers standards and
working conditions for all workers. The proposed guidance significantly increases the severity
of the immigration consequences that workers looking to escape an abusive employer will face.
As a result, workers will be even less likely to escape abusive employers and those employers
will be able to break the law with impunity.




                                                                                           GC CAR 000729
   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 173 of 203
June 11, 2018
Page 3

A number of prominent recent cases from around the country make clear that universities, like
other employers, often threaten immigration enforcement consequences when workers engage in
concerted activity protected under federal labor law. For example, at Washington University in
St. Louis, the employer told graduate students attempting to exercise their federal labor rights
that F-1 visa students would immediately lose their status in case of a lawful strike. See The
Washington University in St. Louis, Case 14-CA-202172, National Labor Relations Board Office
of the General Counsel Advice Memorandum, dated Oct. 31, 2017, available at
https://apps.nlrb.gov/link/document.aspx/09031d45826e5ffd. Likewise, at Pennsylvania State
University, graduate students alleged that the university had threatened that students on
international visas could be affected in case of a strike. Juliana Feliciano Reyes, “Union
organizers say Penn State is trying to scare foreign grad students with ICE - and it's working,”
Philadelphia Inquirer, April 13, 2018, available at http://www.philly.com/philly/education/penn-
state-graduate-union-international-student-visa-ice-20180413.html?mobi=true.

Such threats by employers of nonimmigrant visa holders will be significantly more forceful
should this memorandum be implemented because employers will be incentivized to hold out the
possibility that employees who participate in strikes or other protected collective activity will
risk not only a loss of status but also the accrual of unlawful presence and its attendant
consequences. It will be very difficult for nonimmigrant visa holders to evaluate the accuracy of
such threats.

If nonimmigrant visa holders have reasonable basis to fear that their status and ability to remain
in and return to the country may be retroactively denied, this will cause a chilling effect on
collective activity that undermines the rights of nonimmigrant visa holders and all workers,
regardless of their immigration status. See, e.g., Labriola Baking Co., 361 NLRB No. 41, at *2
(Sept. 8, 2014) (noting that “threats touching on employees’ immigration status warrant careful
scrutiny” because “they are among the most likely to instill fear among employees.”).

As such, this proposal will allow employers to drive down standards and encourage retaliation
against people who blow the whistle on workplace crimes, making our workplaces less safe and
our country a less desirable place to study and work. It is yet another policy that will encourage
international students, scholars, and workers to take their talents elsewhere.


The proposed change will put well-intentioned students and workers at a risk of severe
penalties for accidental or unwitting violations of status.

The memo is an abrupt departure from more than 20 years of policy guidance. The current
policy has held up for decades because it provides bright-line dates established in government
systems, which give adequate notice to nonimmigrant students, exchange visitors and workers,
as well as their schools and exchange programs.




                                                                                         GC CAR 000730
   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 174 of 203
June 11, 2018
Page 4

For example, if an individual stays beyond the expiration date on a Form I-94, he or she begins
to accumulate days of unlawful presence. However, many status violations, such as those related
to SEVIS and nonimmigrant visa renewals, do not present such a bright line, which is why a
clear government determination is needed. A formal finding of a status violation made in the
course of a DHS benefits determination or by an immigration judge serves as a fair and clear
warning to an individual that the clock is ticking, and he or she must take action to leave the
United States or otherwise cure the status deficiency. Without definitive notice, the complexity
of our system makes unwitting violations likely.

Various documents and the data contained in databases serve as indicators of nonimmigrant
status. If all documents and electronic records are consistent, their reliability as indicators is
high. However, these documents and records reflect only a snapshot in time and are subject to
both machine and human error.

A failure to account for inconsistency among immigration documents, electronic records, and
real world developments could easily lead to an adverse determination on status or benefit
eligibility. Whether the data in documents and electronic records is being interpreted correctly,
taking into account all applicable law and policy, is also a primary concern.

Immigration law is complicated, and both compliance and enforcement are technical matters that
require training and expertise. Because of this complexity, an individual on an F, J, or M visa
often does not even know he or she is “out of status” until informed by the government.


We oppose the changes proposed in this guidance, and urge USCIS to maintain a fair
process of notification and review before unlawful status can begin to accrue.

Thank you for the opportunity to comment.

Sincerely,

AFL-CIO
American Association of University Professors
American Federation of Teachers
Centro de los derechos del Migrante, Inc.
Communication Workers of America
Freedom Network USA
National Education Association
Service Employees International
Southern Poverty Law Center
United Automobile, Aerospace and Agricultural Implement Workers
United Food and Commercial Workers
United Steelworkers




                                                                                           GC CAR 000731
   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 175 of 203
-XQH

'HSDUWPHQWRI+RPHODQG6HFXULW\
86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV
2IILFHRIWKH'LUHFWRU
0DVVDFKXVHWWV$YHQXH1:
:DVKLQJWRQ'&

6XEPLWWHGYLDHPDLO SXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY

        5H     86&,63ROLF\0HPRUDQGXP$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG0
                 1RQLPPLJUDQWV

'HDU0DGDPRU6LU

7KH$PHULFDQ,PPLJUDWLRQ/DZ\HUV$VVRFLDWLRQ $,/$ DQGWKH$PHULFDQ,PPLJUDWLRQ&RXQFLO
 ,PPLJUDWLRQ&RXQFLO UHVSHFWIXOO\VXEPLWWKHIROORZLQJFRPPHQWVLQUHVSRQVHWRWKH86&,6
0HPRUDQGXP³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´SRVWHGRQWKH
86&,6ZHEVLWHRQ0D\

(VWDEOLVKHGLQ$,/$LVDYROXQWDU\EDUDVVRFLDWLRQRIPRUHWKDQDWWRUQH\VDQGODZ
SURIHVVRUVSUDFWLFLQJUHVHDUFKLQJDQGWHDFKLQJLQWKHILHOGRILPPLJUDWLRQDQGQDWLRQDOLW\ODZ2XU
PLVVLRQLQFOXGHVWKHDGYDQFHPHQWRIWKHODZSHUWDLQLQJWRLPPLJUDWLRQDQGQDWLRQDOLW\DQGWKH
IDFLOLWDWLRQRIMXVWLFHLQWKHILHOG$,/$PHPEHUVUHJXODUO\DGYLVHDQGUHSUHVHQWEXVLQHVVHV86
FLWL]HQV86ODZIXOSHUPDQHQWUHVLGHQWVDQGIRUHLJQQDWLRQDOVUHJDUGLQJWKHDSSOLFDWLRQDQG
LQWHUSUHWDWLRQRI86LPPLJUDWLRQODZV

7KH$PHULFDQ,PPLJUDWLRQ&RXQFLOLVDQRQSURILWRUJDQL]DWLRQHVWDEOLVKHGWRLQFUHDVHSXEOLF
XQGHUVWDQGLQJRILPPLJUDWLRQODZDQGSROLF\DGYRFDWHIRUWKHIDLUDQGMXVWDGPLQLVWUDWLRQRIRXU
LPPLJUDWLRQODZVSURWHFWWKHOHJDOULJKWVRIQRQFLWL]HQVDQGHGXFDWHWKHSXEOLFDERXWWKHHQGXULQJ
FRQWULEXWLRQVRI$PHULFD¶VLPPLJUDQWV,QDGGLWLRQWKURXJKLWVZRUNRQWKHHFRQRPLFEHQHILWVRI
LPPLJUDWLRQUHIRUPWKH,PPLJUDWLRQ&RXQFLOKDVKHOSHGWRHVWDEOLVKEDVHOLQHVWDQGDUGVIRU
XQGHUVWDQGLQJWKHLPSRUWDQWUROHLPPLJUDWLRQSOD\VLQVKDSLQJDQGGULYLQJDWZHQW\ILUVWFHQWXU\
$PHULFDQHFRQRP\

$ %DFNJURXQGDQG2YHUYLHZRI+LVWRULFDO,QWHUSUHWDWLRQRI8QODZIXO3UHVHQFH

³8QODZIXOSUHVHQFH´LVDOHJDOWHUPGHILQHGXQGHUVHFWLRQ D  % LL RIWKH,PPLJUDWLRQDQG
1DWLRQDOLW\$FW ,1$ 7KHWHUPUHIHUVWRDQLQGLYLGXDOZKR³LVSUHVHQWLQWKH8QLWHG6WDWHVDIWHU
H[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDORULVSUHVHQWLQWKH8QLWHG6WDWHV
ZLWKRXWEHLQJDGPLWWHGRUSDUROHG´8QGHU,1$ D  % DSHUVRQZKRKDVEHHQXQODZIXOO\


 30³$FFUXDORI8QODZIXO3UHVHQFHDQG)-DQG01RQLPPLJUDQWV´ 0D\ available at
KWWSVZZZXVFLVJRYVLWHVGHIDXOWILOHV86&,62XWUHDFK'UDIW0HPRUDQGXPIRU&RPPHQW$FFUXDORI8
QODZIXO3UHVHQFH)-01RQLPPLJUDQWV0(02BYSGI
                                                                                                        1

                         AILA Doc. No. 18061135. (Posted 6/11/18)                          *&&$5


    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 176 of 203
SUHVHQWIRUPRUHWKDQGD\VEXWOHVVWKDQRQH\HDUDQGZKRGHSDUWVWKH8QLWHG6WDWHVLVEDUUHG
IURPUHWXUQLQJIRUWKUHH\HDUV$SHUVRQZKRGHSDUWVDIWHUKDYLQJEHHQXQODZIXOO\SUHVHQWIRUPRUH
WKDQRQH\HDULVEDUUHGIRUWHQ\HDUV&UHDWHGE\&RQJUHVVZLWKWKHHQDFWPHQWRIWKH,OOHJDO
,PPLJUDWLRQ5HIRUPDQG,PPLJUDQW5HVSRQVLELOLW\$FW ,,5,5$ WKHXQODZIXOSUHVHQFHSURYLVLRQV
WRRNHIIHFWRQ$SULO

,QUHFRJQLWLRQRIWKHIOXLGLW\RIDFDGHPLFSURJUDPV)0DQG-QRQLPPLJUDQWVDUHQRWDGPLWWHGWR
WKH86XQWLODGDWHFHUWDLQ,QVWHDGWKH\DUHDGPLWWHGIRU³GXUDWLRQRIVWDWXV´RU³'6´ZKLFK
PHDQVWKHVWXGHQWRUH[FKDQJHYLVLWRUFDQUHPDLQLQWKH8QLWHG6WDWHVDVORQJDVKHRUVKHPDLQWDLQV
QRQLPPLJUDQWVWDWXV7KLVJHQHUDOO\PHDQVWKHLQGLYLGXDOPXVWPDLQWDLQDIXOOFRXUVHRIVWXG\RU
UHPDLQLQWKHH[FKDQJHSURJUDPQRWHQJDJHLQXQDXWKRUL]HGHPSOR\PHQWRURWKHUXQDXWKRUL]HG
DFWLYLWLHVDQGFRPSOHWHWKHDFDGHPLFRUH[FKDQJHSURJUDPLQDWLPHO\PDQQHURUREWDLQDQ
H[WHQVLRQ

%HFDXVHLQWHUQDWLRQDOVWXGHQWVDUHQRWDGPLWWHGXQWLODGDWHFHUWDLQOHJDF\,PPLJUDWLRQDQG
1DWXUDOL]DWLRQ6HUYLFH ,16 DQG86&,6KDYHLQWHUSUHWHGWKHVWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQV
WRUHTXLUHQRWLFHRIDVWDWXVYLRODWLRQWRLQGLYLGXDOVDGPLWWHGIRU³'6´EHIRUHWKHXQODZIXOSUHVHQFH
FORFNZLOOVWDUW6XFKQRWLFHLVSURYLGHGLQWKHFRQWH[WRIWKHDGMXGLFDWLRQRIDUHTXHVWIRUDQ
LPPLJUDWLRQEHQHILWE\86&,6RUDGHWHUPLQDWLRQRIDVWDWXVYLRODWLRQE\DQLPPLJUDWLRQMXGJH
%HJLQQLQJLQWKLVLQWHUSUHWDWLRQZDVFRPPHPRUDWHGLQDVHULHVRI86&,6JXLGDQFHGRFXPHQWV
DQGZDVPRVWUHFHQWO\UHLWHUDWHGLQWKH0D\³&RQVROLGDWLRQRI*XLGDQFH&RQFHUQLQJ
8QODZIXO3UHVHQFHIRU3XUSRVHVRI6HFWLRQV D  % L DQG D  & L , RIWKH$FW´7KH
JXLGDQFHHPSKDVL]HVWKDW³WKHDFFUXDORIXQODZIXOSUHVHQFHQHLWKHUEHJLQVRQWKHGDWHWKDWD
VWDWXVYLRODWLRQRFFXUVQRURQWKHGD\RQZKLFKUHPRYDOSURFHHGLQJVDUHLQLWLDWHG´)XUWKHU&KDSWHU
 D  RIWKH$GMXGLFDWRU¶V)LHOG0DQXDO $)0 PDNHVLWFOHDUWKDW³WRXQGHUVWDQGWKH
RSHUDWLRQRIVHFWLRQV D  % DQG D  & L O RIWKH$FWLWLVLPSRUWDQWWRFRPSUHKHQGWKH
GLIIHUHQFHEHWZHHQEHLQJLQDQXQODZIXOLPPLJUDWLRQVWDWXVDQGWKHDFFUXDORIXQODZIXOSUHVHQFH«
$OWKRXJKWKHVHFRQFHSWVDUHUHODWHG«WKH\DUHQRWWKHVDPH´

% 6XPPDU\RI86&,6¶V1HZ,QWHUSUHWDWLRQRI8QODZIXO3UHVHQFH

$VGHVFULEHGLQWKH0D\PHPRUDQGXP KHUHLQDIWHU³PHPRUDQGXP´RU³PHPR´ 
86&,6ZLOOQRZGHHPXQODZIXOSUHVHQFHWRKDYHVWDUWHGDFFUXLQJIRU)0DQG-QRQLPPLJUDQWVDV
RIWKHGD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJWKHFULWLFDOSURFHGXUDOVDIHJXDUG
RISURYLGLQJQRWLFHWRDIIHFWHGLQGLYLGXDOVWKDWPD\ILQGWKHPVHOYHVVXEMHFWWRWKHWKUHHDQGWHQ\HDU
EDUVWRDGPLVVLELOLW\)RUVWDWXVYLRODWLRQVIRXQGWRKDYHRFFXUUHGRQRUEHIRUH$XJXVWWKH
HIIHFWLYHGDWHRIWKHPHPRXQODZIXOSUHVHQFHZLOOEHFDOFXODWHGEHJLQQLQJ$XJXVWLIQRW
DFFUXHGHDUOLHU

:KHQDVVHVVLQJZKHWKHUDVWDWXVYLRODWLRQKDVRFFXUUHGWKHPHPRVWDWHVWKDWDGMXGLFDWRUVDUHWR
FRQVLGHU  LQIRUPDWLRQFRQWDLQHGLQV\VWHPVDYDLODEOHWR86&,6  LQIRUPDWLRQFRQWDLQHGLQWKH
LQGLYLGXDO¶V³$ILOH´DQG  LQIRUPDWLRQREWDLQHGWKURXJKD5HTXHVWIRU(YLGHQFH 5)( RU1RWLFH
RI,QWHQWWR'HQ\ 12,' 0RUHRYHUWKHPHPRVWDWHVWKDWZKLOHWKHVWDWXVRIWKHVSRXVHDQGFKLOGUHQ
RIDQ)-RU0QRQLPPLJUDQWLVFRQWLQJHQWRQWKHVWDWXVRIWKHSULQFLSDOQRQLPPLJUDQWWKHSHULRGRI
VWD\DXWKRUL]HGIRUDGHSHQGHQWVSRXVHRUFKLOGPD\DOVRHQGGXHWRWKHLURZQFRQGXFWRU
FLUFXPVWDQFHV



  'LY&RI3XE/DZ1R 6HSW 

   See KWWSZZZDLODRUJLQIRQHWXVFLVFRQVROLGDWLRQJXLGDQFHXQODZIXOSUHVHQFH

   IdDW
                                                                                                        2

                                              AILA Doc. No. 18061135. (Posted 6/11/18)      *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 177 of 203
$IWHUPRUHWKDQ\HDUVRIFRQVLVWHQWLQWHUSUHWDWLRQWKDWUHFRJQL]HVWKHSULQFLSOHRIIXQGDPHQWDO
IDLUQHVVDQGSURYLGHVFHUWDLQW\LQGHWHUPLQLQJZKHQXQODZIXOSUHVHQFHEHJLQVWRDFFUXH86&,6LV
DEUXSWO\FKDQJLQJFRXUVHDQGFRQIODWLQJWKHWZRGLVWLQFWOHJDOFRQFHSWVRI³VWDWXVYLRODWLRQ´DQG
³XQODZIXOSUHVHQFH´7KHUHLVQRGRXEWWKDWWKLVQHZDSSURDFKWRLQWHUSUHWLQJXQODZIXOSUHVHQFHZLOO
KDYHDVLJQLILFDQWQHJDWLYHLPSDFWRQWKHVWXGHQWYRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHVDQG
ZLOOIXUWKHUHURGHIRUHLJQVWXGHQWHQUROOPHQWVLQ86FROOHJHVDQGXQLYHUVLWLHV0RUHRYHUIRUWKH
UHDVRQVGHVFULEHGEHORZZHVXEPLWWKDWWKHPHPRUDQGXPLVDQXQODZIXOLQWHUSUHWDWLRQRIWKH
VWDWXWRU\XQODZIXOSUHVHQFHSURYLVLRQVDQGFDQQRWVWDQG

& 7KH0HPRUDQGXP&RQIOLFWVZLWKWKH8QODZIXO3UHVHQFH6WDWXWHZKLFKLV&OHDURQLWV
    )DFH

7KHPHPRUDQGXPFRQIOLFWVZLWKWKHXQDPELJXRXVODQJXDJHRIWKH,1$,Q&RQJUHVV
FUHDWHGWKHQHZFRQFHSWRIXQODZIXOSUHVHQFHFOHDUO\VWDWLQJWKDWDSHUVRQLV³XQODZIXOO\SUHVHQW´LI
KHRUVKH³LVSUHVHQWLQWKH8QLWHG6WDWHVDIWHUWKHH[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH
$WWRUQH\*HQHUDORULVSUHVHQWLQWKH8QLWHG6WDWHVZLWKRXWEHLQJDGPLWWHGRUSDUROHG´7KXV
HTXDWLQJXQODZIXOSUHVHQFHZLWKDVWDWXVYLRODWLRQLVFRQWUDU\WR&RQJUHVV¶FOHDUO\H[SUHVVHGLQWHQW
0RUHRYHUSULQFLSOHVRIVWDWXWRU\FRQVWUXFWLRQFRQILUPWKDW&RQJUHVVQHYHULQWHQGHGVXFKDQ
LQWHUSUHWDWLRQDVWKHQHZXQODZIXOSUHVHQFHSURYLVLRQVZHUHLQFRUSRUDWHGLQWRWKH,1$ZLWKRXWDQ\
PRGLILFDWLRQWRWKHQXPHURXVSURYLVLRQVWKDWSHQDOL]HDSHUVRQIRUD³VWDWXVYLRODWLRQ´RU³IDLOXUHWR
PDLQWDLQVWDWXV´)RUH[DPSOH

       x      ,1$ D  * 5HQGHUVDQRQFLWL]HQZKR³YLRODWHVDWHUPRUFRQGLWLRQ´RIDQ)
              VWXGHQWYLVDLQDGPLVVLEOHXQWLOWKHQRQFLWL]HQKDVEHHQRXWVLGHRIWKH8QLWHG6WDWHVIRUD
              FRQWLQXRXVSHULRGRIILYH\HDUVDIWHUWKHYLRODWLRQ

       x      ,1$ D  & L 5HQGHUVDQRQFLWL]HQGHSRUWDEOHLIKHRUVKHKDV³IDLOHGWRPDLQWDLQ
              WKHQRQLPPLJUDQWVWDWXVLQZKLFK>KHRUVKH@ZDVDGPLWWHGRUWRFRPSO\ZLWKWKH
              FRQGLWLRQVRIDQ\VXFKVWDWXV´

       x      ,1$ F  5HQGHUVDQRQFLWL]HQLQHOLJLEOHIRUDGMXVWPHQWRIVWDWXVLIWKH
              QRQFLWL]HQHQJDJHVLQXQDXWKRUL]HGHPSOR\PHQW³LVLQXQODZIXOLPPLJUDWLRQVWDWXV´RU³KDV
              IDLOHGWRPDLQWDLQFRQWLQXRXVO\DODZIXOVWDWXVVLQFHHQWU\LQWRWKH8QLWHG6WDWHV´

       x      ,1$ F  5HQGHUVDQRQFLWL]HQLQHOLJLEOHIRU E DGMXVWPHQWRIVWDWXVZKRLV³QRW
              LQDODZIXOQRQLPPLJUDQWVWDWXV´

       x      ,1$ F  5HQGHUVDQRQFLWL]HQLQHOLJLEOHIRUDGMXVWPHQWRIVWDWXVZKR³KDV
              RWKHUZLVHYLRODWHGWKHWHUPVRIDQRQLPPLJUDQWYLVD´

       x      ,1$ N ,QFOXGHVDVSDUWRILWVHOLJLELOLW\UHTXLUHPHQWVWKDWDQLQGLYLGXDOQRW³IDLO>@WR
              PDLQWDLQFRQWLQXRXVO\DODZIXOVWDWXV´

2WKHUVWDWXWRU\SURYLVLRQVFRQILUPWKDW&RQJUHVVLQWHQGHGWKHWZRFRQFHSWVWRUHPDLQGLVWLQFW)RU
H[DPSOHDGMXVWPHQWRIVWDWXVXQGHU,1$$ D  UHTXLUHV  HQWU\EHIRUH-DQXDU\  
FRQWLQXRXVUHVLGHQFHLQXQODZIXOVWDWXVVLQFHVXFKGDWHDQG  WKDWWKHSHULRGRIDXWKRUL]HGVWD\
H[SLUHGEHIRUH-DQXDU\RUWKDWWKHJRYHUQPHQWNQHZRIWKHXQODZIXOVWDWXV7KHWKLUGSURQJ
PDNHVLWFOHDUWKDWH[SLUDWLRQRIDSHULRGRIDXWKRUL]HGVWD\DQG³XQODZIXOVWDWXV´RIZKLFKWKH


    ,1$ D  % LL 
                                                                                                               3

                                              AILA Doc. No. 18061135. (Posted 6/11/18)             *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 178 of 203
JRYHUQPHQWLVDZDUHDUHGLIIHUHQWFRQFHSWV2WKHUZLVHDGRSWLQJDQLQWHUSUHWDWLRQLQOLQHZLWKWKH
PHPRUDQGXPLQGLYLGXDOVZKRYLRODWHGWKHWHUPVRIWKHLUVWDWXVZRXOGDXWRPDWLFDOO\EH
GHHPHGRXWVLGHWKH³SHULRGRIDXWKRUL]HGVWD\´DQGWKHSXUSRVHIXOGLVWLQFWLRQQRWHGLQSURQJ  
ZRXOGEHLUUHOHYDQW

,QDGGLWLRQWKHXQODZIXOSUHVHQFHVWDWXWHLWVHOIGLVWLQJXLVKHVEHWZHHQ³XQODZIXOSUHVHQFH´DQG
³VWDWXV´LQ,1$ D  % LY ,, 7KDWVHFWLRQVWDWHVWKDWWKHDFFUXDORIXQODZIXOSUHVHQFHLV
WROOHGIRUDQLQGLYLGXDOZKR³KDVILOHGDQRQIULYRORXVDSSOLFDWLRQIRUDFKDQJHRUH[WHQVLRQRIstatus
EHIRUHWKHGDWHRIH[SLUDWLRQRIWKHSHULRGRIVWD\DXWKRUL]HGE\WKH$WWRUQH\*HQHUDO«´ (PSKDVLV
DGGHG %\XVLQJWKHWHUPV³VWDWXV´DQG³XQODZIXOSUHVHQFH´LQWKLVZD\&RQJUHVVHYLQFHGWKDWWKHVH
DUHVHSDUDWHOHJDOFRQFHSWVZLWKGLVWLQFWOHJDOFRQVHTXHQFHV

$VH[SODLQHGE\WKH6XSUHPH&RXUW³LWLVDQRUPDOUXOHRIVWDWXWRU\FRQVWUXFWLRQWKDWLGHQWLFDOZRUGV
XVHGLQGLIIHUHQWSDUWVRIWKHVDPHDFWDUHLQWHQGHGWRKDYHWKHVDPHPHDQLQJ´³$VWDWXWHVKRXOGEH
FRQVWUXHGVRWKDWHIIHFWLVJLYHQWRDOOLWVSURYLVLRQVVRWKDWQRSDUWZLOOEHLQRSHUDWLYHRU
VXSHUIOXRXVYRLGRULQVLJQLILFDQW´$Q\LQWHUSUHWDWLRQRI³XQODZIXOSUHVHQFH´RU³H[SLUDWLRQRIWKH
SHULRGRIDXWKRUL]HGVWD\´WKDWLVFRQIODWHGZLWKD³VWDWXVYLRODWLRQ´RU³IDLOXUHWRPDLQWDLQVWDWXV´
ZRXOGUHQGHUVHFWLRQVRIWKH,1$VXSHUIOXRXV

:KHQLWLQWHQGVWRSHQDOL]HDIDLOXUHWRPDLQWDLQVWDWXVRUVWDWXVYLRODWLRQ&RQJUHVVKDVPDGHWKDW
LQWHQWLRQFOHDUE\WKHSODLQODQJXDJHRIWKHVWDWXWH6HFWLRQ D  % RIWKH,1$PDNHVQR
UHIHUHQFHWRWKHVHWHUPVRUFRQFHSWV:KHUH³RQHLQWHUSUHWDWLRQRIDVWDWXWHRUUHJXODWLRQREYLRXVO\
FRXOGKDYHEHHQFRQYH\HGPRUHFOHDUO\ZLWKGLIIHUHQWSKUDVLQJWKHIDFWWKDWWKHDXWKRUVHVFKHZHG
WKDWSKUDVLQJVXJJHVWVWKDWWKH\LQIDFWLQWHQGHGDGLIIHUHQWLQWHUSUHWDWLRQ´7KHUHIRUHWKH
PHPRUDQGXPZKLFKIROGVWKHFRQFHSWRIDVWDWXVYLRODWLRQLQWRWKHGHILQLWLRQRIXQODZIXOSUHVHQFH
LVFRQWUDU\WRWKHSODLQODQJXDJHRIWKHVWDWXWHDQGWKHXQDPELJXRXVLQWHQWLRQRI&RQJUHVVLQLWV
DGRSWLRQRI,1$ D  % 

' $VVXPLQJZLWKRXW&RQFHGLQJWKDWWKH6WDWXWHLV$PELJXRXVWKH0HPRUDQGXP,V1RW
    (QWLWOHGWR'HIHUHQFH

%HFDXVHWKHUHLVQRDPELJXLW\LQWKHVWDWXWHWKHODZLVDSSOLHGDVZULWWHQDQGWKHPHPRUDQGXP
UHFHLYHVQRGHIHUHQFHXQGHUChevron, U.S.A. Inc. v. Nat. Res. Def. Council, Inc.$VVXPLQJRQO\IRU
DUJXPHQW¶VVDNHWKDWDQDPELJXLW\H[LVWVWKHJXLGDQFH±ZKLFKZDVQRWLVVXHGWKURXJKWKHIRUPDO
UXOHPDNLQJSURFHVV±ZRXOGDWPRVWEHDIIRUGHGGHIHUHQFHXQGHUSkidmore v. Swift & CoEXWKHUH
WRRWKDWIDLOV'HIHUHQFHXQGHUSkidmore GHSHQGVRQ³WKHWKRURXJKQHVVHYLGHQWLQ>WKHDJHQF\¶V@
FRQVLGHUDWLRQWKHYDOLGLW\RILWVUHDVRQLQJLWVFRQVLVWHQF\ZLWKHDUOLHUDQGODWHUSURQRXQFHPHQWVDQG
DOOWKRVHIDFWRUVZKLFKJLYHLWSRZHUWRSHUVXDGHLIODFNLQJSRZHUWRFRQWURO´%DVHGRQIODZHGDQG
LQFRQVLVWHQWUHDVRQLQJWKHPHPRUDQGXPUHYHUVHVWKHDJHQF\¶VORQJVWDQGLQJLQWHUSUHWDWLRQRI
XQODZIXOSUHVHQFHZLWKRXWDGHTXDWHMXVWLILFDWLRQLVQRWGHVLJQHGWRDFKLHYHLWVVWDWHGJRDOVDQG
FDQQRWVWDQG



  See also86& E  ZKLFKVLPLODUO\GLVWLQJXLVKHVEHWZHHQWKHH[SLUDWLRQRIDSHULRGRIDXWKRUL]HGVWD\
DQGXQODZIXOVWDWXVNQRZQWRWKHJRYHUQPHQW

  Taniguchi v. Kan Pacific Saipan, Ltd.86   LQWHUQDOFLWDWLRQVRPLWWHG 

  Corley v. United States86   LQWHUQDOFLWDWLRQVRPLWWHG 

  Gerbier v. Holmes)G G&LU  TXRWLQJUnited States v. Ibarra-Galindo)G
 WK&LU  RYHUUXOHGRQRWKHUJURXQGV 

   86  
11
   86  

    IdDW
                                                                                                                    4

                                              AILA Doc. No. 18061135. (Posted 6/11/18)               *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 179 of 203
SkidmoreLQVWUXFWVXVWRFRQVLGHUWKHDJHQF\¶V³FRQVLVWHQF\ZLWKHDUOLHUDQGODWHUSURQRXQFHPHQWV´
$VQRWHGDERYHWKHPHPRUDQGXPUHSUHVHQWVDVLJQLILFDQWGHSDUWXUHIURPPRUHWKDQ\HDUVRI
DVLQJOHXQLILHGDSSURDFKWRXQODZIXOSUHVHQFHIRU)-DQG0QRQLPPLJUDQWV,QHYDOXDWLQJ³WKH
WKRURXJKQHVVHYLGHQWLQ>WKHDJHQF\¶V@FRQVLGHUDWLRQ>DQG@WKHYDOLGLW\RILWVUHDVRQLQJ´ZHDGGUHVV
HDFKRIWKHSRLQWV86&,6PDNHVWRMXVWLI\WKHFKDQJHLQXQODZIXOSUHVHQFHLQWHUSUHWDWLRQ

)LUVW86&,6VWDWHVWKDW³WKHIRUPHU,16SROLF\DVFRQVROLGDWHGLQWKH$)0ZHQWLQWRHIIHFWLQ
SULRUWRWKHFUHDWLRQRIVRPHRIWKHWHFKQRORJLHVDQGV\VWHPVFXUUHQWO\XVHGE\'+6WR
PRQLWRUQRQLPPLJUDQWV«LQ)-RU0VWDWXV´0RUHVSHFLILFDOO\LWQRWHVWKDW³VLQFHWKHFUHDWLRQ
RIWKHSROLF\WKH6WXGHQWDQG([FKDQJH9LVLWRU,QIRUPDWLRQ6\VWHP 6(9,6 «KDVSURYLGHG86&,6
RIILFHUVDGGLWLRQDOLQIRUPDWLRQRQDQDOLHQ¶VLPPLJUDWLRQKLVWRU\´ +RZHYHU6(9,6ZHQWLQWR
HIIHFWLQ$OWKRXJKWKLVZDVVL[\HDUVDIWHU,1$ D  % WRRNHIIHFWLQLWZDVDOVR
VL[\HDUVbeforeWKHFRQVROLGDWHGJXLGDQFHUHDIILUPHG86&,6¶VORQJVWDQGLQJLQWHUSUHWDWLRQRI
XQODZIXOSUHVHQFH0RUHRYHUDVDFNQRZOHGJHGE\6(9,6LWVHOIWKHDFFXUDF\DQGLQWHJULW\RI6(9,6
GDWDLVIODZHGDQG³>L>,QDFFXUDWHGDWDFDQDIIHFWWKHVWDWXVRIWKHVWXGHQW¶V6(9,6UHFRUGDQGSXW
WKHVWXGHQW¶VHOLJLELOLW\IRUEHQHILWVDWULVN´

6HFRQG86&,6FODLPVWKDWWKHSXUSRVHRIWKHQHZSROLF\LVWR³UHGXFHWKHQXPEHURIRYHUVWD\V´
+RZHYHUWKLVLVQRWERUQHRXWE\WKHSROLF\LWVHOIZKLFKSURYLGHVQRLQVWUXFWLRQVRUJXLGDQFHRQ
SUHYHQWLQJRYHUVWD\VVXFKDVQRWLI\LQJVWXGHQWVDQGH[FKDQJHYLVLWRUVLQDGYDQFHRIWKHHQGRIWKHLU
SURJUDP,QVWHDGWKHPHPRUDQGXPLQWURGXFHVD³JRWFKD´DSSURDFKLQVWUXFWLQJDGMXGLFDWRUVWR
VHDUFKUHFRUGVIRUSHUFHLYHGVWDWXVYLRODWLRQVDQGUHWURDFWLYHO\FDOFXODWHSHULRGVRIXQODZIXOSUHVHQFH
ZLWKRXWQRWLFH)DUIURPUHGXFLQJWKHQXPEHURIRYHUVWD\VWKHPHPRUDQGXPH[SDQGVWKHYHU\
GHILQLWLRQRIZKDWFRQVWLWXWHVDQRYHUVWD\±VRPHWKLQJWKHDJHQF\KDVQROHJDODXWKRULW\WRGR7KH
DSSURDFKWRXQODZIXOSUHVHQFHGHVFULEHGLQWKHPHPRGRHVQRWKLQJWRDGYDQFHWKLVVWDWHGSXUSRVH

,QVXSSRUWRIWKLVVWDWHGJRDO86&,6FLWHVWKH'+6)LVFDO<HDU(QWU\([LW2YHUVWD\5HSRUW
ZKLFKQRWHVWKDWIRU)<³WKHHVWLPDWHGRYHUVWD\UDWHZDVSHUFHQWIRU)QRQLPPLJUDQWV
SHUFHQWIRU-QRQLPPLJUDQWVDQGSHUFHQWIRU0QRQLPPLJUDQWV´+RZHYHUWKHILJXUHV
FLWHGE\86&,6LQFOXGH³RXWRIFRXQWU\´RYHUVWD\VRULQGLYLGXDOVZKRVHGHSDUWXUHZDVUHFRUGHG
DIWHUWKHLUODZIXOSHULRGRIDGPLVVLRQH[SLUHG7KLVFRXOGHDVLO\HQFRPSDVVLQGLYLGXDOVZKRVWD\HG
MXVWDIHZGD\VORQJHUWKDQWKHFRQFOXVLRQRIWKHLUSURJUDPWRWLHXSWKHLUSHUVRQDODIIDLUVDQGLVQRWD
WUXHUHSUHVHQWDWLRQRIWKH³RYHUVWD\´SRSXODWLRQZLWKZKLFKWKHDGPLQLVWUDWLRQLVFRQFHUQHG7KH
³VXVSHFWHGLQFRXQWU\´RYHUVWD\UDWH LQGLYLGXDOVIRUZKRPQRGHSDUWXUHKDVEHHQUHFRUGHG LVLQIDFW
PXFKORZHUWKDQWKHILJXUHVFLWHGE\86&,6SHUFHQWIRU)QRQLPPLJUDQWVSHUFHQWIRU0
QRQLPPLJUDQWVDQGSHUFHQWIRU-QRQLPPLJUDQWV,QDGGLWLRQDVQRWHGLQWKH([HFXWLYH
6XPPDU\GHWHUPLQLQJODZIXOVWDWXVLVQRWDVWUDLJKWIRUZDUGDQDO\VLV





   30DW

    Id

    See KWWSVZZZLFHJRYVHYLVGDWDLQWHJULW\

    KWWSVVWXG\LQWKHVWDWHVGKVJRYPDLQWDLQLQJDFFXUDWHVHYLVUHFRUGVZKHQWRUHTXHVWDFRUUHFWLRQRU
GDWDIL[

   30DW

    See
KWWSVZZZGKVJRYVLWHVGHIDXOWILOHVSXEOLFDWLRQV(QWU\DQG([LW2YHUVWD\5HSRUW&)LVFDO
<HDUSGI

   30DW
                                                                                                                   5

                                              AILA Doc. No. 18061135. (Posted 6/11/18)             *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 180 of 203
       «>'@HWHUPLQLQJODZIXOVWDWXVLVPRUHFRPSOLFDWHGWKDQVROHO\PDWFKLQJHQWU\DQGH[LWGDWD
       )RUH[DPSOHDSHUVRQPD\UHFHLYHIURP&%3DVL[PRQWKDGPLVVLRQXSRQHQWU\DQGWKHQKH
       RUVKHPD\VXEVHTXHQWO\UHFHLYHIURP86&LWL]HQVKLSDQG,PPLJUDWLRQ6HUYLFHV 86&,6 D
       VL[PRQWKH[WHQVLRQ,GHQWLI\LQJH[WHQVLRQVFKDQJHVRUDGMXVWPHQWVRIVWDWXVLV
       QHFHVVDU\WRGHWHUPLQHZKHWKHUDSHUVRQLVWUXO\DQRYHUVWD\

,QDGGLWLRQ

       9DOLGSHULRGVRIDGPLVVLRQWRWKH8QLWHG6WDWHVYDU\WKHUHIRUHLWZDVQHFHVVDU\WRHVWDEOLVK
       ³FXWRIIGDWHV´IRUWKHSXUSRVHVRIDZULWWHQUHSRUW8QOHVVRWKHUZLVHQRWHGWKHWDEOHV
       DFFRPSDQ\LQJWKLVUHSRUWUHIHUWRGHSDUWXUHVWKDWZHUHH[SHFWHGWRRFFXUEHWZHHQ2FWREHU
       DQG6HSWHPEHU«

,QRWKHUZRUGVGXHWROLPLWDWLRQVDVVRFLDWHGZLWKSURGXFLQJDZULWWHQUHSRUW'+6DFNQRZOHGJHVWKDW
WKH³RYHUVWD\´GDWDLQWKHUHSRUWLQFOXGHVVRPHLQGLYLGXDOVZKRZHUHODWHUJUDQWHGSHUPLVVLRQWR
UHPDLQEH\RQGWKHLULQLWLDOSHULRGRIDXWKRUL]HGVWD\7KHIDFWWKDWWKLVGDWDZDVLQIODWHGLVFRQILUPHG
E\WKHIDFWWKDWIRXUPRQWKVDIWHUWKH³FXWRIIGDWHV´WKHQXPEHURIRYHUVWD\VVXEVWDQWLDOO\GHFUHDVHG

       'XHWRFRQWLQXLQJGHSDUWXUHVDQGDGMXVWPHQWVLQVWDWXVE\LQGLYLGXDOVLQWKLVSRSXODWLRQE\
       -DQXDU\WKHQXPEHURI6XVSHFWHG,Q&RXQWU\2YHUVWD\VIRU)<GHFUHDVHGWR
       UHQGHULQJWKH6XVSHFWHG,Q&RXQWU\2YHUVWD\UDWHDVSHUFHQW,QRWKHUZRUGV
       DVRI-DQXDU\'+6KDVEHHQDEOHWRFRQILUPWKHGHSDUWXUHVRUDGMXVWPHQWLQ
       VWDWXVRIPRUHWKDQSHUFHQWRIQRQLPPLJUDQWYLVLWRUVVFKHGXOHGWRGHSDUWLQ)<
       YLDDLUDQGVHD32(VDQGWKDWQXPEHUFRQWLQXHVWRJURZ

7KHUHSRUWDOVRFRQFHGHVWRRWKHUIDFWRUVOLPLWLQJLWVDFFXUDF\VXFKDVLWVUHOLDQFHRQLQIRUPDWLRQ
IURPWKH$UULYDODQG'HSDUWXUH,QIRUPDWLRQ6\VWHP $',6 $',6KDVOLPLWHGFDSDFLW\WRUHFRUG
H[LWVDQGHQWULHVPDGHYLDODQGDQGPDNHVQRGLVWLQFWLRQRIWKRVHZKRRYHUVWD\RQHGD\YHUVXVRQH
\HDURUORQJHU<HWWKLVLVDVLJQLILFDQWGLIIHUHQFHDVDRQHGD\RYHUVWD\PD\EHWKHUHVXOWRID
SHUVRQPLVVLQJWKHLUIOLJKWRUVXVWDLQLQJDQLQMXU\WKDWUHQGHUVWKHPXQDEOHWRWUDYHO

/DVWO\86&,6VWDWHVWKDWWKHQHZPHPRZLOO³LPSURYH´KRZ86&,6LPSOHPHQWVWKHXQODZIXO
SUHVHQFHJURXQGRILQDGPLVVLELOLW\EXWIDLOVWRRIIHUDQ\UHDVRQRUH[SODQDWLRQDVWRKRZWKHQHZ
PHPRZLOODFFRPSOLVKWKDW,QVXP86&,6KDVFOHDUO\IDLOHGWRWKRURXJKO\FRQVLGHUWKHLPSOLFDWLRQV
RILWVQHZXQODZIXOSUHVHQFHLQWHUSUHWDWLRQIDLOHGWRDGHTXDWHO\MXVWLI\DQHHGIRUWKHFKDQJHDQGKDV
FLWHGQRFRQFUHWHDXWKRULWLHVWRVXSSRUWLWVVWDWHGJRDOV7KHPHPRUDQGXPFDQQRWVWDQGXQGHU
SkidmoreGHIHUHQFH

( 7KH0HPRUDQGXP,VD/HJLVODWLYH5XOHWKDW5HTXLUHV1RWLFHDQG&RPPHQW5XOHPDNLQJ
    XQGHUWKH$GPLQLVWUDWLYH3URFHGXUH$FW $3$ 

7KH$GPLQLVWUDWLYH3URFHGXUH$FW $3$ UHFRJQL]HVWZRW\SHVRIDGPLQLVWUDWLYHUXOHVOHJLVODWLYH
UXOHVLVVXHGWKURXJKIRUPDOQRWLFHDQGFRPPHQWUXOHPDNLQJZKLFKDUHJLYHQWKHIXOOIRUFHDQGHIIHFW
RIODZDQGLQWHUSUHWLYHUXOHVGHVLJQHGWRDGYLVHWKHSXEOLFRIDJHQF\LQWHUSUHWDWLRQRIDOHJDOUXOH
,QWHUSUHWLYHUXOHVGRQRWUHTXLUHQRWLFHDQGFRPPHQWDQGODFNWKHIRUFHRIODZ:KLOHWKH



   Id HPSKDVLVDGGHG 

   Id HPSKDVLVDGGHG 

   Id

   See Perez v. Mortg. Bankers Ass’n 6&W  
                                                                                                         6

                                              AILA Doc. No. 18061135. (Posted 6/11/18)      *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 181 of 203
PHPRUDQGXPSXUSRUWVWRPHUHO\DGYLVHWKHSXEOLFRIKRZWKHWHUP³XQODZIXOSUHVHQFH´LVWREH
LQWHUSUHWHGWKDWFRQFOXVLRQLVQHLWKHUIDFWXDOO\FRUUHFWQRUOHJDOO\VXSSRUWHG

$VQRWHGDERYHRYHUWKHFRXUVHRIWZRGHFDGHV86&,6KDVVWRRGE\LWVLQWHUSUHWDWLRQRI
XQODZIXOSUHVHQFHUHLWHUDWLQJLWPRVWUHFHQWO\LQZKHQLWXQGHUWRRNDFRPSUHKHQVLYHUHYLHZRI
LWVYDULRXVPHPRUDQGDDQGFDVHODZRQXQODZIXOSUHVHQFHDQGLVVXHGFRQVROLGDWHGJXLGDQFHWKDW
XOWLPDWHO\EHFDPHFKDSWHURIWKH$)0:KLOHZHPDLQWDLQWKDWWKHPHPRUDQGXPZKLFK
HUDVHVWKHGLVWLQFWLRQEHWZHHQWKHFRQFHSWVRI³XQODZIXOSUHVHQFH´DQG³YLRODWLRQRIVWDWXV´LV
XQODZIXOWKH$3$UHTXLUHV86&,6WRJLYHWKHSXEOLFDGYDQFHQRWLFHDQGDQRSSRUWXQLW\WRFRPPHQW
WKURXJKIRUPDOUXOHPDNLQJEHIRUHDWWHPSWLQJWRLPSRVHZKDWFRQVWLWXWHVDFKDQJHLQKRZWKHODZ
ZLOOEHDSSOLHGLQWKHIXWXUH

:KLOHWKHFRXUWVKDYHQRWGHYHORSHGDXQLILHGDSSURDFKWRHYDOXDWLQJZKHWKHUDUXOHLVOHJLVODWLYHRU
LQWHUSUHWLYHWKHUHDVRQLQJRIYDULRXVGHFLVLRQVLVLQVWUXFWLYH(PSOR\LQJWH[WXDODQDO\VLVWKH1LQWK
&LUFXLWKDVKHOGWKDWOHJLVODWLYHUXOHV³DUHWKRVHZKLFKHIIHFWDFKDQJHLQH[LVWLQJODZRUSROLF\´
$QRWKHUFULWLFDOFKDUDFWHULVWLFRIOHJLVODWLYHUXOHVLVWKDWWKH\KDYHJHQHUDODSSOLFDWLRQ&RQYHUVHO\
³LQWHUSUHWLYHUXOHVDUHWKRVHZKLFKPHUHO\FODULI\RUH[SODLQH[LVWLQJODZRUUHJXODWLRQV´:KLOHD
OHJLVODWLYHUXOHLVDEURDGZKROHVDOHFKDQJHLQLQWHUSUHWDWLRQDQGDSSOLFDWLRQRIODZLQWHUSUHWLYHUXOHV
DUHXVHGPRUHIRU³GLVFUHWLRQDU\ILQHWXQLQJWKDQIRUJHQHUDOODZPDNLQJ´)RUH[DPSOHLQJean v.
Nelson, WKH(OHYHQWK&LUFXLWFRQVLGHUHGZKHWKHUDEODQNHWFKDQJHLQKRZ,16WUHDWHGDUULYLQJDOLHQV
>GHWHQWLRQ QHZ YVSDUROH ROG @ZDVDOHJLVODWLYHRULQWHUSUHWLYHUXOH7KHFRXUWIRXQGWKDWHYHQ
WKRXJKSDUROHZDVVWLOODGLVFUHWLRQDU\RSWLRQWKHUXOHZDVOHJLVODWLYHEHFDXVHLWKDGJHQHUDO
DSSOLFDELOLW\DQGGLGPRUHWKDQMXVWFODULI\RUH[SODLQDQH[LVWLQJUXOH%HFDXVHWKHUXOHFUHDWHGDQ
HQWLUHO\QHZSURFHGXUHIRUDOOFDVHVQRWLFHDQGFRPPHQWUXOHPDNLQJZDVUHTXLUHG6LPLODU
DQDO\WLFDODSSURDFKHVDUHIRXQGLQN.H. Hosp. Ass’n v. Azar, DQG Dia Navigation Corp. Ltd. v.
Pomeroy.

$SSO\LQJWKLVDQDO\VLVWKHPHPRUDQGXPLVDOHJLVODWLYHUXOHEHFDXVHLWFKDQJHVWKHPDQQHULQ
ZKLFKXQODZIXOSUHVHQFHLVGHWHUPLQHGIRUDOO)-DQG0QRQLPPLJUDQWVZKRKDYHEHHQDGPLWWHG
³'6´DQGLVWKHUHIRUHRIJHQHUDODSSOLFDELOLW\,WZLOOUHVXOWLQIXWXUHHQIRUFHPHQWDFWLRQVDJDLQVW
SHUVRQVXQGHUIDFWVDQGFLUFXPVWDQFHVWKDWGLGQRWSUHYLRXVO\UHVXOWLQHQIRUFHPHQWDFWLRQVWKXV
GRLQJIDUPRUHWKDQPHUHO\³H[SODLQLQJ´DQH[LVWLQJSROLF\)LQDOO\LWLVDGHJUHHFKDQJHLQWKH
PDQQHULQZKLFK86&,6WUHDWVSHUVRQVDGPLWWHGIRUWKHGXUDWLRQRIWKHLUVWDWXVE\FRQIODWLQJWKHIDFW
 RUHYHQSRWHQWLDOIDFW RIDVWDWXVYLRODWLRQZLWKWKHEHJLQQLQJRIDSHULRGRIXQODZIXOSUHVHQFH

) 86&,6+DV)DLOHGWR$UWLFXODWHD6DWLVIDFWRU\([SODQDWLRQIRULWV1HZ$SSURDFKWR
     8QODZIXO3UHVHQFHDV5HTXLUHGE\Encino Motorcars

,Q Encino Motorcars, LLC v. NavarroWKH866XSUHPH&RXUWUHDIILUPHGVHYHUDOORQJVWDQGLQJUXOHV
RIDGPLQLVWUDWLYHUXOHPDNLQJLQFOXGLQJWKHEDVLFSURFHGXUDOWHQHWWKDWDJHQFLHVPXVWJLYHDGHTXDWH




    Alcaraz v. Block, )G WK&LU 

    Flagstaff Med. Ctr. v. Sullivan, )G WK&LU 

    Alcaraz)GDWHoctor v. USDA)G WK&LU 

    Alcaraz, ,GDW

   )G WK&LU vacated in part as moot)G WK&LU  QHZUHJXODWLRQVLVVXHG 

   )GDW

    IdDW

   )G VW&LU 

   )G G&LU 
                                                                                                                    7

                                              AILA Doc. No. 18061135. (Posted 6/11/18)                 *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 182 of 203
UHDVRQVIRUWKHLUGHFLVLRQV&LWLQJMotor Vehicle Mfrs. Assn. of United States v. State Farm Mut.
Automobile Ins. Co MVMA WKH&RXUWVWDWHGWKDWDQDJHQF\³PXVWH[DPLQHWKHUHOHYDQWGDWDDQG
DUWLFXODWHDVDWLVIDFWRU\H[SODQDWLRQIRULWVDFWLRQVLQFOXGLQJDUDWLRQDOFRQQHFWLRQEHWZHHQWKHIDFWV
IRXQGDQGWKHFKRLFHPDGH´7KDWUHTXLUHPHQWLVVDWLVILHGZKHQWKHDJHQF\¶VH[SODQDWLRQLVFOHDU
HQRXJKWKDWLWV³SDWKPD\UHDVRQDEO\EHGLVFHUQHG´,QH[SODLQLQJLWVFKDQJHGSRVLWLRQDQDJHQF\
PXVWDOVREHFRJQL]DQWWKDWORQJVWDQGLQJSROLFLHVPD\KDYHHQJHQGHUHGVHULRXVUHOLDQFHLQWHUHVWVWKDW
PXVWEHWDNHQLQWRDFFRXQW:KHQDQDJHQF\IDLOVWRSURYLGHHYHQWKDWOHYHORIPLQLPDODQDO\VLVLWV
DFWLRQVDUHDUELWUDU\DQGFDSULFLRXVDQGFDQQRWFDUU\WKHIRUFHRIODZ

$VGHVFULEHGLQ3DUW'supraDQG3DUW*infraWKHFKDQJHLQXQODZIXOSUHVHQFHLQWHUSUHWDWLRQ
DUWLFXODWHGLQWKHPHPRUDQGXPLVQRWVXSSRUWHGE\DUHDVRQHGH[SODQDWLRQHOLPLQDWHVDFULWLFDO
QRWLFHHOHPHQWDQGIDLOVWRWDNHLQWRFRQVLGHUDWLRQIXQGDPHQWDOIDLUQHVVDQGGXHSURFHVV
UHTXLUHPHQWVDVZHOODVWKHUHOLDQFHLQWHUHVWVRIWKHUHJXODWHGSXEOLFWKDWKDYHEXLOWXSRYHUWKHSDVW
WZRGHFDGHV)RUDOORIWKHVHUHDVRQVWKHPHPRUDQGXPLVDQDUELWUDU\DQGFDSULFLRXVFKDQJHLQ
LQWHUSUHWDWLRQWKDWFDQQRWVWDQG

* 7KH0HPRUDQGXP5DLVHV6LJQLILFDQW'XH3URFHVVDQG)XQGDPHQWDO)DLUQHVV
    &RQFHUQVDQGLV&RQVWLWXWLRQDOO\6XVSHFW

8QOLNHIRUHLJQQDWLRQDOVZKRDUHDGPLWWHGXQWLOD³GDWHFHUWDLQ´DQGZLOOWULJJHUXQODZIXOSUHVHQFHLI
WKH\UHPDLQLQWKH86EH\RQGWKHGDWHUHFRUGHGRQ)RUP, RUUHFRUGHGLQ&%3HOHFWURQLF
V\VWHPV SOXVDQ\H[WHQVLRQWKHUHDIWHUJUDQWHGVWXGHQWVDQGH[FKDQJHYLVLWRUVWKDWDUHDGPLWWHGIRU
³'6´ODFNWKHEHQHILWRIVXFKDEULJKWOLQHWHVW$VDUHVXOWOHJDF\,16DQG86&,6FUHDWHGD
GLIIHUHQWEULJKWOLQHVWDQGDUGRQHWKDWLQFRUSRUDWHVWKHSULQFLSOHRIIXQGDPHQWDOIDLUQHVVIRUPDO
QRWLILFDWLRQE\86&,6RUDQLPPLJUDWLRQMXGJHWKDWDVWDWXVYLRODWLRQRFFXUUHGEHIRUHWKHXQODZIXO
SUHVHQFHFORFNFDQVWDUW7KHH[FHHGLQJO\KDUVKSHQDOWLHVDVVRFLDWHGZLWKXQODZIXOSUHVHQFHDQGWKH
FOHDUGLVWLQFWLRQV&RQJUHVVFUHDWHGEHWZHHQWKHFRQFHSWVRIXQODZIXOSUHVHQFHDQGVWDWXVYLRODWLRQ
KDYHLQIRUPHGPRUHWKDQ\HDUVRISROLF\ZKLFKDVFULEHVFDXWLRQWRFDOFXODWLQJXQODZIXOSUHVHQFH

7KHQHZPHPRUDQGXPWKURZVFDXWLRQWRWKHZLQG7KHJRYHUQPHQW¶VQHZLQWHUSUHWDWLRQRIXQODZIXO
SUHVHQFHUDLVHVVHULRXVGXHSURFHVVFRQFHUQVDQGLVXQIDLUDQGXQZRUNDEOHLQLWVDSSOLFDWLRQ6LQFH
WKH6HUYLFHKDVLQWHUSUHWHG,1$ D  % DVUHTXLULQJVRPHIRUPRIQRWLFHWRLQGLYLGXDOV
IRUXQODZIXOSUHVHQFHWRDFFUXH8QGHUWKHPHPRUDQGXPZKLOHWKHJRYHUQPHQW¶VILQGLQJWKDW
DQ)0RU-QRQLPPLJUDQWKDVYLRODWHGVWDWXVZRXOGVWLOOW\SLFDOO\RFFXULQWKHFRXUVHRID86&,6
EHQHILWVDGMXGLFDWLRQWKHGDWHRQZKLFKXQODZIXOSUHVHQFHZLOODFFUXHLVLPSRVHGUHWURDFWLYHO\7KH
PHPRUDQGXPLQVWUXFWVDGMXGLFDWRUVWRFRQVLGHULQIRUPDWLRQLQWKHV\VWHPVDYDLODEOHWR86&,6
LQWKHDOLHQ¶VUHFRUGDQGDOLHQ¶VDGPLVVLRQVUHJDUGLQJKLVRUKHULPPLJUDWLRQKLVWRU\RURWKHU
LQIRUPDWLRQGLVFRYHUHGGXULQJWKHDGMXGLFDWLRQ´EXWSURYLGHVQROLPLWDWLRQDVWRKRZIDUEDFN
DGMXGLFDWRUVPD\UHDFKVXFKWKDWDVWXGHQWRUH[FKDQJHYLVLWRUPD\DEUXSWO\OHDUQWKDWKHRUVKHKDV
EHHQXQODZIXOO\SUHVHQWIRUVHYHUDO\HDUV0RUHRYHUWKHPHPRVWDWHVWKDW³DQ)-RU0
QRQLPPLJUDQW¶VSHULRGRIVWD\DXWKRUL]HGHQGVZKHQWKH)-RU0QRQLPPLJUDQW¶VSHULRGRI
VWD\DXWKRUL]HGHQGV´7KLVPHDQVWKDWDVSRXVHPD\ILQGRXWRQO\PDQ\\HDUVDIWHUWKHIDFWWKDWWKH\
WRRDFFUXHGXQODZIXOSUHVHQFH


   6&W  

   86  

    Bowman Transp., Inc. v. Arkansas-Best Freight System, Inc86  

    Encino Motorcars6&WDWPerez6&WDW

    See86&  $ MVMA86DW

   30DWQ

    IdDW
                                                                                                       8

                                              AILA Doc. No. 18061135. (Posted 6/11/18)       *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 183 of 203
7KHUHJXODWLRQDW&)5 I    DUWLFXODWHVWKHFLUFXPVWDQFHVLQZKLFKDQ)VWXGHQWLV
GHHPHGWREH³RXWRIVWDWXV´)VWXGHQWVZKRZRUNZLWKRXWDXWKRUL]DWLRQZKRDUHGHHPHGWRQRWEH
SXUVXLQJDIXOOFRXUVHRIVWXG\ZKRWUDQVIHUWRDQRWKHUVFKRROZLWKRXWSHUPLVVLRQDQGZKRIDLOWR
FRPSOHWHDIXOOFRXUVHRIVWXG\DUHGHHPHGWREH³RXWRIVWDWXV´+RZHYHU)VWXGHQWVDUHVXEMHFW
WRDGGLWLRQDOUHSRUWLQJUHTXLUHPHQWVWKDWPD\FRQVWLWXWHDVWDWXVYLRODWLRQLIQRWFRPSOHWHGWLPHO\
7KHVHUHSRUWLQJUHTXLUHPHQWVLQFOXGHUHSRUWLQJELRJUDSKLFDOLQIRUPDWLRQWRD'HVLJQDWHG6FKRRO
2IILFLDO '62 HYHU\VL[PRQWKVGXULQJD67(0237H[WHQVLRQDQGFRPSOHWLQJDQDQQXDOVHOI
HYDOXDWLRQUHSRUWWKDWLVVLJQHGE\WKHHPSOR\HUDQGVXEPLWWHGWRWKH'62ZLWKLQ\HDUDQGGD\V
RIWKHYDOLGLW\SHULRGRQWKH(PSOR\PHQW$XWKRUL]DWLRQ'RFXPHQWDVZHOODVDILQDOHYDOXDWLRQ
ZLWKLQGD\VRIWKHFRQFOXVLRQRIWKHPRQWKSHULRGRI67(0237$GGLWLRQDOO\HPSOR\HUVRI
67(0237VWXGHQWVDUHUHTXLUHGWRUHSRUWDEVHQFHVWRWKH'62DQGDQ\PDWHULDOFKDQJHLQD67(0
237WUDLQLQJSODQPXVWEHUHSRUWHGWRWKH'62E\WKHVWXGHQWDIWHUKDYLQJWKHHPSOR\HUVLJQDQHZ
WUDLQLQJSODQ86&,6KDVQRWDUWLFXODWHGZKHWKHUWKHIDLOXUHWRXQGHUWDNHDQ\RIWKHVHDFWLRQVZRXOG
WULJJHUWKHDFFUXDORIXQODZIXOSUHVHQFH7KHPHPRUDQGXPPDNHVQRGLVWLQFWLRQEHWZHHQ
PLQRUWHFKQLFDOYLRODWLRQV HJUHSRUWLQJDFKDQJHLQHPSOR\PHQWDIHZGD\VODWH YHUVXVDPDMRU
YLRODWLRQ GURSSLQJDOOFODVVHVZLWKRXWDXWKRUL]DWLRQ 

,QSUDFWLFHWKLVSROLF\ZLOOFUHDWHDODUJHFODVVRILQDGPLVVLEOHDOLHQVZKRKDYHUHFHLYHGQRQRWLFHRI
WKHLUXQODZIXOSUHVHQFHEHFDXVHLQPDQ\FDVHV)0DQG-QRQLPPLJUDQWVKDYHQRNQRZOHGJHWKDWD
VWDWXVYLRODWLRQKDVHYHQRFFXUUHG,QDGGLWLRQDVLJQLILFDQWQXPEHURILQGLYLGXDOVZLOORQO\EHFRPH
DZDUHRIDVWDWXVYLRODWLRQZKHQLWLVWRRODWHWRFRUUHFWFRXUVHDQGWKH\ILQGWKHPVHOYHVVXEMHFWWRD
WKUHHRUWHQ\HDUEDUWRDGPLVVLELOLW\8QGHUWKHQHZPHPRDFFLGHQWDODQGLQDGYHUWHQWVWDWXV
YLRODWLRQVZLOOVXEMHFWXQVXVSHFWLQJLQGLYLGXDOVZKRKDYHQRWDFWHGLQEDGIDLWKWRH[WUHPHSHQDOWLHV
([DPSOHVRIVLWXDWLRQVZKHUHVWXGHQWVRUH[FKDQJHYLVLWRUVPD\EHIRXQGWRKDYHLQDGYHUWHQWO\
YLRODWHGWKHLUVWDWXVLQFOXGH

      ,QDGYHUWHQWO\(QJDJLQJLQ8QDXWKRUL]HG(PSOR\PHQW:KLOH&)5 I  FOHDUO\
        VWDWHVWKDWDVWXGHQWPD\ZRUNRQFDPSXVIRUXSWRKRXUVSHUZHHNDQGUHTXLUHV
        DXWKRUL]DWLRQLQWKHIRUPRIFXUULFXODURURSWLRQDOSUDFWLFDOWUDLQLQJWRZRUNRIIFDPSXVLQ
        FHUWDLQFLUFXPVWDQFHVWKHUHLVQRFOHDUJXLGDQFHRQZKDWFRQVWLWXWHV³HPSOR\PHQW´$
        VWXGHQWPD\EHOLHYHWKDWRIIFDPSXVYROXQWHHUZRUNLVQRWXQDXWKRUL]HG³HPSOR\PHQW´HYHQ
        WKRXJKLWLVSRVVLEOHWKDWWKH6HUYLFHFRXOGYLHZLWDVVXFKSDUWLFXODUO\LILWLQYROYHVDFWLYLWLHV
        WKDWQRUPDOO\ZRXOGEHFRPSHQVDWHG2WKHUDFWLYLWLHVWKDWDUHQRWFOHDUO\GHILQHGLQFOXGH
        ZRUNLQJIRUDQGEHLQJSDLGE\DQRYHUVHDVHQWLW\ZKLOHSK\VLFDOO\SUHVHQWLQWKH86VHOOLQJ
        VRPHWKLQJRQH%D\VHOOLQJSHUVRQDOO\FUHDWHGDUWZRUNRUSKRWRJUDSK\JHWWLQJSDLGIRU
        SXEOLFDWLRQRIRQH¶VGLVVHUWDWLRQJHWWLQJSDLGWRKRVWDVHPLQDURUVSHDNDWDQDFDGHPLF
        FRQIHUHQFHRUHYHQWJHWWLQJSDLGDUR\DOW\IRUDFWLYLWLHVDVVRFLDWHGZLWKUHVHDUFKHWF

      3UDFWLFDO7UDLQLQJ,VVXHV,VVXHVPD\DOVRDULVHZKHQDVWXGHQWRQ237GURSVEHORZ
        KRXUVRIZRUNRQHZHHNVWDUWVDGHJUHHSURJUDPZKLOHRQ237RUZRUNVMXVWDIHZGD\VRU
        RQHZHHNEH\RQG&37

        ,QDGYHUWHQWO\9LRODWLQJ6WDWXVE\)ROORZLQJWKH$GYLFHRID6FKRRORU'HVLJQDWHG
               6FKRRO2IILFLDO '62 $VFKRROPD\HUULQDGYLVLQJDVWXGHQWOHDGLQJWRDQDFFLGHQWDO
               VWDWXVYLRODWLRQWKURXJKQRIDXOWRIWKHVWXGHQW)RUH[DPSOHDVFKRROPD\LQFRUUHFWO\DGYLVH
               DVWXGHQWDVWRWKHQXPEHURIKRXUVWKDWKHRUVKHPD\ZRUNRQFDPSXVRULQFRUUHFWO\DGYLVH


   &)5 I  

   &)5 I  LL &  L 

   &)5 I  LL &  DQG&)5 I  LL &  LL 
                                                                                                             9

                           AILA Doc. No. 18061135. (Posted 6/11/18)                             *&&$5


     Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 184 of 203
              DVWXGHQWWRGURSDFODVVWKDWFDXVHVWKHVWXGHQWWRIDOOEHORZDIXOOFRXUVHRIVWXG\$'62
              PD\JUDQWDUHGXFHGFRXUVHORDGDXWKRUL]DWLRQLQJRRGIDLWKEXW6(93RU86&,6PD\ODWHU
              GHWHUPLQHWKLVDXWKRUL]DWLRQVKRXOGQRWKDYHEHHQJUDQWHG)XUWKHUDSURJUDPDGPLQLVWUDWRU
              PD\VHQGD-VWXGHQWSK\VLFLDQWRDWUDLQLQJORFDWLRQWKDWKDVQRWEHHQDSSURYHGRUPD\
              LPSURSHUO\DGYLVHDVWXGHQWSK\VLFLDQWKDWKHRUVKHPD\PRRQOLJKWGRLQJQRQ*0(ZRUN
              ZLWKLQWKHVDPHWUDLQLQJKRVSLWDO

        ([WUDRUGLQDU\&LUFXPVWDQFHV%H\RQG2QH¶V&RQWURO([WUDRUGLQDU\FLUFXPVWDQFHVFDQ
          DOVRFDXVHDVWXGHQWRUH[FKDQJHYLVLWRUWRXQLQWHQWLRQDOO\YLRODWHVWDWXV)RUH[DPSOHLQ0D\
          DQ)VWXGHQWRQ237ZDVZDONLQJGRZQWKHVLGHZDONLQ'HQYHUZKHQDFDUKLWKLP
          DQGSLQQHGKLPWRDWUHH+LVOHJKDGWREHDPSXWDWHG8QGHU&)5 I  LL ( KH
          ZLOOEHRXWRIVWDWXVDVVRRQDVKHLVXQHPSOR\HGIRUGD\V,IKHLVKRVSLWDOL]HGIRUPRUH
          WKDQGD\VDIWHUWKHHIIHFWLYHGDWHRIWKHQHZSROLF\DQGDIWHUKHIDOOVRXWRIVWDWXVWKURXJK
          QRIDXOWRIKLVRZQKHZLOOEHVXEMHFWWRWKHWKUHH\HDUEDUZKHQKHGHSDUWV$GGLWLRQDOO\
          86&,6KDVQHYHULVVXHGFOHDUJXLGHOLQHVRQPDLQWDLQLQJVWDWXVZKHQRQPDWHUQLW\OHDYH

        'HSHQGHQWV0D\%H8QODZIXOO\3UHVHQW:LWKRXW.QRZLQJ,W6LQFHWKHVWDWXVRI
          GHSHQGHQWVRI)-DQG0QRQLPPLJUDQWVGHSHQGVXSRQWKHSULQFLSDOQRQLPPLJUDQW
          PDLQWDLQLQJKLVRUKHUVWDWXVWKRVHIDPLO\PHPEHUV ZLWKWKHH[FHSWLRQRIFKLOGUHQXQGHUWKH
          DJHRIZKRDUHVWDWXWRULO\H[HPSWIURPDFFUXLQJXQODZIXOSUHVHQFH ZRXOGEHRXWRI
          VWDWXVDQGXQODZIXOO\SUHVHQWXSRQDYLRODWLRQRIWKHSULQFLSDO¶VVWDWXV7KXVDVSRXVHZKRLV
          XQDZDUHRIDSULQFLSDO¶VVWDWXVYLRODWLRQZRXOGEHFRPHVXEMHFWWRVHULRXVLPPLJUDWLRQ
          SHQDOWLHVZLWKRXWHYHQNQRZLQJLW7KLVFRXOGRFFXUIRUH[DPSOHZKHQWKHSULQFLSDOWULHVWR
          KLGHKLVRUKHUIDLOXUHDWVFKRROIURPDQXQNQRZLQJVSRXVHRULQDQDEXVLYHVLWXDWLRQ

%\FROODSVLQJWKHGLVWLQFWLRQEHWZHHQ³XQODZIXOSUHVHQFH´DQG³VWDWXVYLRODWLRQ´DQGGHHPLQJ
XQODZIXOSUHVHQFHWRDFFUXHUHWURDFWLYHO\WKHPHPRUDQGXPUHPRYHVWKHLPSRUWDQWSURFHGXUDO
VDIHJXDUGRIQRWLFHWRLQGLYLGXDOVWKDWWKH\PD\EHGHSULYHGRIDOLEHUW\LQWHUHVW7KLVODFNRIQRWLFH
UDLVHVGXHSURFHVVFRQFHUQV7KH)LIWK$PHQGPHQW¶VGXHSURFHVVFODXVHLVDFRUHFRQFHSWLQWKH%LOO
RI5LJKWVDQGUHTXLUHVDOOOHYHOVRI$PHULFDQJRYHUQPHQWWRRSHUDWHZLWKLQWKHODZXVLQJSURFHGXUHV
WKDWDUHIXQGDPHQWDOO\IDLU7KHFRUHHOHPHQWVRIGXHSURFHVVDUHQRWLFHDQGDKHDULQJEHIRUHDQ
LPSDUWLDOWULEXQDOZKLFK³PLQLPL]HVXEVWDQWLYHO\XQIDLURUPLVWDNHQGHSULYDWLRQV´E\SURYLGLQJ
LQGLYLGXDOVDQRSSRUWXQLW\WRFRQWHVWWKHEDVLVRQZKLFKWKHJRYHUQPHQWVHHNVWRGHSULYHWKHPRI
SURWHFWHGLQWHUHVWV³$QHOHPHQWDU\DQGIXQGDPHQWDOUHTXLUHPHQWRIGXHSURFHVVLQDQ\SURFHHGLQJ
ZKLFKLVWREHDFFRUGHGILQDOLW\LVQRWLFHUHDVRQDEO\FDOFXODWHGXQGHUDOOWKHFLUFXPVWDQFHVWR
DSSULVHLQWHUHVWHGSDUWLHVRIWKHSHQGHQF\RIWKHDFWLRQDQGDIIRUGWKHPDQRSSRUWXQLW\WRSUHVHQW
WKHLUREMHFWLRQV´

7KHWKUHHDQGWHQ\HDUEDUVWRDGPLVVLELOLW\UHSUHVHQWDGHSULYDWLRQRIOLEHUW\DVVXEMHFWLQGLYLGXDOV
DUHEDUUHGIURPUHWXUQLQJWRWKH8QLWHG6WDWHVIRUDOHQJWK\SHULRGRIWLPH,QKent v. DullesWKH
6XSUHPH&RXUWKHOGWKDWWKHULJKWWRWUDYHOLVD³OLEHUW\´LQWHUHVWSURWHFWHGE\WKH)LIWK$PHQGPHQW
DQGWKDWZKHUHJRYHUQPHQWDOUHVWULFWLRQVRQWUDYHODUHLQYROYHGWKH&RXUWZLOOFRQVWUXHQDUURZO\DOO
GHOHJDWHGSRZHUVWKDWFXUWDLORUGLOXWHWKHP0RUHRYHUWKHFRQVWLWXWLRQDOJXDUDQWHHRIGXHSURFHVV
LVQRWOLPLWHGWR86FLWL]HQVEXWDSSOLHVHTXDOO\WRDOO³SHUVRQV´SUHVHQWLQWKH8QLWHG6WDWHV
UHJDUGOHVVRIDOLHQDJHRULPPLJUDWLRQVWDWXV


    KWWSNGYUFRP\HDUROGPDQVHGDWHGDQGRQYHQWLODWRUIROORZLQJFUDVKLQORQHWUHH

    Fuentes v. Shevin86  

    Mullane v. Central Hanover Bank & Trust Co86  

   86  

    Plyler v. Doe86  
                                                                                                             10

                                              AILA Doc. No. 18061135. (Posted 6/11/18)              *&&$5


      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 185 of 203
7KH6XSUHPH&RXUWKDVKHOGWKDWLQDSSO\LQJWKH)LIWK$PHQGPHQW¶VGXHSURFHVVJXDUDQWHHRQH
PXVWEDODQFHWKHSULYDWHLQWHUHVWVRIDIIHFWHGLQGLYLGXDOVZLWKWKHJRYHUQPHQW¶VLQWHUHVW,QMathews
v. EldridgeWKH&RXUWLQGLFDWHGWKDWWKHLGHQWLILFDWLRQRIWKHVSHFLILFGLFWDWHVRIGXHSURFHVVJHQHUDOO\
UHTXLUHVFRQVLGHUDWLRQRIWKUHHGLVWLQFWIDFWRUV

       >)@LUVWWKHSULYDWHLQWHUHVWWKDWZLOOEHDIIHFWHGE\WKHRIILFLDODFWLRQVHFRQGWKHULVNRIDQ
       HUURQHRXVGHSULYDWLRQRIVXFKLQWHUHVWWKURXJKWKHSURFHGXUHVXVHGDQGWKHSUREDEOHYDOXHLI
       DQ\RIDGGLWLRQDORUVXEVWLWXWHSURFHGXUDOVDIHJXDUGVDQGILQDOO\WKH*RYHUQPHQW¶VLQWHUHVW
       LQFOXGLQJWKHIXQFWLRQLQYROYHGDQGWKHILVFDODQGDGPLQLVWUDWLYHEXUGHQVWKDWWKHDGGLWLRQDO
       RUVXEVWLWXWHSURFHGXUDOUHTXLUHPHQWZRXOGHQWDLO

$SSO\LQJWKHEldridgeWHVWWRWKHDIRUHPHQWLRQHGH[DPSOHVRIFDVHVZKHUHVWXGHQWVPD\
LQDGYHUWHQWO\YLRODWHWKHLUVWDWXVLOOXVWUDWHVWKHSUREOHPVLQKHUHQWLQWKHQHZLQWHUSUHWDWLRQRI
XQODZIXOSUHVHQFH7DNHIRUH[DPSOHDVWXGHQWZKRLQDGYHUWHQWO\YLRODWHV)VWDWXVE\HQJDJLQJLQ
DFWLYLWLHVODWHUGHHPHGWRKDYHFRQVWLWXWHGXQDXWKRUL]HG³HPSOR\PHQW´)LUVWWKHVWXGHQWKDVD
SULYDWHLQWHUHVWWKDWZLOOEHDIIHFWHGE\WKHDSSOLFDWLRQRIWKHQHZSROLF\WRKLVFDVHJLYHQWKDWKH
ZLOOOLNHO\KDYHDFFUXHGVXIILFLHQWXQODZIXOSUHVHQFHDWWKHWLPHWKHGHWHUPLQDWLRQLVPDGHWRWULJJHU
DWKUHHRUWHQ\HDUEDUXSRQGHSDUWXUHIURPWKH8QLWHG6WDWHV6HFRQGWKHODFNRIOHJDOJXLGDQFHRQ
ZKDWFRQVWLWXWHV³HPSOR\PHQW´FUHDWHVDVLJQLILFDQWOLNHOLKRRGRIDQHUURQHRXVGHSULYDWLRQDQGWKH
DGGLWLRQDOSURFHGXUDOVDIHJXDUGVZKLFKSUHYLRXVO\H[LVWHGLQWKHIRUPRIQRWLFHEHIRUHGHHPLQJWKH
DFFUXDORIXQODZIXOSUHVHQFHWRKDYHFRPPHQFHGQRORQJHUH[LVW7KLUGDOWKRXJKWKHJRYHUQPHQW
PD\KDYHDFRPSHOOLQJLQWHUHVWLQHQIRUFLQJWKHLPPLJUDWLRQODZVDQGLQLPSOHPHQWLQJSROLFLHVWR
PLQLPL]HRYHUVWD\VWKHSROLF\DWLVVXHLQWKLVFDVHGRHVQRWKLQJWRIXUWKHUWKDWLQWHUHVW$VRXWOLQHG
DERYHWKHPHPRUDQGXPZLOOVHYHUHO\SHQDOL]HLQGLYLGXDOVIRUVWDWXVYLRODWLRQVWKDWZHUH
XQLQWHQWLRQDODQGRIZKLFKWKH\ZHUHOLNHO\XQDZDUHXQWLOLWLVWRRODWH,WLVSUHFLVHO\WKLVULVNRIWKH
HUURQHRXVGHSULYDWLRQRIDOLEHUW\LQWHUHVWWKDWLVDWVWDNHLQDSSOLFDWLRQRIWKHPHPRUDQGXP
7KLVQHZDSSURDFKWRXQODZIXOSUHVHQFHLVGHYRLGRIIXQGDPHQWDOIDLUQHVVDQGLVFRQVWLWXWLRQDOO\
VXVSHFW

+ &RQFOXVLRQ

)RUWKHVHUHDVRQVZHXUJH86&,6WRDEDQGRQWKLVPLVJXLGHGGLUHFWLYHDQGWRPDLQWDLQWKHXQODZIXO
SUHVHQFHJXLGDQFHWKDWKDVEHHQLQSODFHIRUGHFDGHV,WLVFULWLFDOWKDW86&,6HQVXUHWKDW
IXQGDPHQWDOIDLUQHVVLVDFULWLFDOFRPSRQHQWLQLQWHUSUHWLQJDQGLPSOHPHQWLQJWKHXQODZIXOSUHVHQFH
VWDWXWH

6LQFHUHO\



7+($0(5,&$1,00,*5$7,21/$:<(56$662&,$7,21
7+($0(5,&$1,00,*5$7,21&281&,/






     86  
                                                                                                             11

                                              AILA Doc. No. 18061135. (Posted 6/11/18)          *&&$5


       Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 186 of 203


                                                                                                              Kathy M. Foley
                                                                                                     Associate Dean/Director
                                                                                    International Student & Scholar Services
                                                                                                            @

                                                                                                          Middlebury College


                                                                                                       Middlebury, VT



    
    
    -XQH
    
    6XEPLWWHGYLDHPDLOWRSXEOLFHQJDJHPHQWIHHGEDFN#XVFLVGKVJRY
    5HAccrual of Unlawful Presence and F, J, and M Nonimmigrants (PM-602-1060)
                                   
    'HDU86&,6
    
    ,DPZULWLQJLQUHJDUGWRWKHUHFRPPHQGDWLRQVPDGHLQ“Policy Memorandum: Accrual of Unlawful
    Presence and F, J, and M Nonimmigrants (PM-602-1060).”7KHVHSURSRVDOVUHSUHVHQWDUDGLFDOFKDQJH
    LQ86&,6¶VLQWHUSUHWDWLRQDQGDSSOLFDWLRQRIWKHUHJXODWLRQVUHODWHGWRWKHDFFUXDORIXQODZIXOSUHVHQFHE\
    WKRVHLQVWXGHQW )QRQLPPLJUDQW H[FKDQJHYLVLWRU -QRQLPPLJUDQW RUYRFDWLRQDOVWXGHQW 0
    QRQLPPLJUDQW VWDWXVDQGWKHLUGHSHQGHQWVZKLOHLQWKH8QLWHG6WDWHV
    
    ,ZRUNIRUMiddlebury CollegeDQGLWVPDQ\DFDGHPLFSURJUDPVLQFOXGLQJRXUJUDGXDWHVFKRROWKH
    Middlebury Institute for International Studies:HKDYHPDQ\LQWHUQDWLRQDOVWXGHQWVIURPPRUHWKDQ
    QDWLRQVDQGIDFXOW\DQGVWDIIIURPDFURVVWKHJOREH:HKDYHGHPRQVWUDWHGDORQJVWDQGLQJ
    FRPPLWPHQWWRLQWHUQDWLRQDOHGXFDWLRQDQGHQJDJLQJLQWHUQDWLRQDOVWXGHQWVDQGVFKRODUVLQRXU
    FRPPXQLW\7KHLQWHUQDWLRQDOVWXGHQWVUHVHDUFKHUVVWDIIDQGIDFXOW\RQRXUFDPSXVHVEULQJXQLTXH
    H[SHULHQFHVDQGSHUVSHFWLYHVWRRXUFODVVURRPVLPSRUWDQWLGHDVDQGGLYHUVHDSSURDFKHVWRRXUUHVHDUFK
    SURMHFWVDQGH[FLWLQJDQGG\QDPLFOHDGHUVKLSDQGSHUVSHFWLYHVWRRXUFDPSXVFRPPXQLW\
    
    $VD3'62 3ULQFLSOH'HVLJQDWHG6FKRRO2IILFLDO DQG52 5HVSRQVLEOH2IILFHU ,ZDVDODUPHGWRUHDG
    DERXWWKHSURSRVHGFKDQJHVZLWKUHJDUGWR³XQODZIXOSUHVHQFH´0XFKRIP\GDLO\ZRUNDQGWKDWRIWKH
    ,QWHUQDWLRQDO6WXGHQW 6FKRODU6HUYLFHV ,666 WHDPFRQVLVWVRIDGYLVLQJLQWHUQDWLRQDOVWXGHQWVDQG
    VFKRODUVRQKRZWRPDLQWDLQWKHLUYLVDVWDWXV DQGWKDWRIWKHLUGHSHQGHQWV 7KLVLVVRPHWKLQJWKDWWKHYDVW
    PDMRULW\RILQWHUQDWLRQDOVWXGHQWVGHHSO\DQGVLQFHUHO\ZDQWWRGRDQGWKLVPHDQVWKH\QHHGWRUHPDLQ
    DZDUHRIYLVDUHJXODWLRQVZKLOHDOVREDODQFLQJWKHGHPDQGVDOOVWXGHQWVDQGHPSOR\HHVH[SHULHQFHDORQJ
    ZLWKWKHLULQVWLWXWLRQ¶VUHTXLUHPHQWV
    
    7KHUHKDYHEHHQVLJQLILFDQWGLVFXVVLRQVDPRQJVW'62VDQG$OWHUQDWH5HVSRQVLEOH2IILFHUV $52V VLQFH
    WKHUHOHDVHRIWKLVPHPRUDQGXPUHJDUGLQJKRZZHZLOODVVLVW)-0YLVDKROGHUVLQXQGHUVWDQGLQJWKHVH
    QHZSROLFLHVZLWKRXWLQDGYHUWHQWO\HQJDJLQJLQWKHXQDXWKRUL]HGSUDFWLFHRIODZ(It is important for us to
    stay clear about our role.):KLOHFKDQJHVLQUHJXODWLRQVDUHWREHH[SHFWHGWKHVHSURSRVHGFKDQJHVWR
    LQWHUSUHWDWLRQRIWKHUHJXODWLRQVDUHHVSHFLDOO\SUREOHPDWLF7KH\DUHDGHSDUWXUHIURPWKHORQJVWDQGLQJ
    FRPPRQVHQVHLQWHUSUHWDWLRQRIYLVDUHJXODWLRQVWKDWKDVEHHQLQSODFHIRURYHU\HDUV7KLVQHZ
    DSSURDFKFUHDWHVDV\VWHPZKHUH)-0YLVDKROGHUVPD\EHIRXQGWRKDYHYLRODWHGWKHLUYLVDVWDWXV\HDUV
    DIWHUWKHYLRODWLRQVXSSRVHGO\RFFXUUHG7KLVLVHVSHFLDOO\WURXEOLQJVLQFHWKLVPHPRUDQGXPDWWDFKHVWKH
    SRVVLELOLW\WKDWWKLVYLRODWLRQFRXOGUHVXOWLQLQGLYLGXDOVEHLQJEDUUHGIURPHQWHULQJWKH86IRUWKUHH
    \HDUVWHQ\HDUVRUSHUPDQHQWO\
    




                                                                                                       GC CAR 000743
       Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 187 of 203





    $OWKRXJKWKHDQQRXQFHPHQWUHJDUGLQJWKHVHFKDQJHVFRPHVZLWKVXIILFLHQWQRWLFHIRULQGLYLGXDOVZKRDUH
    FXUUHQWO\RXWRIVWDWXVWRWDNHVWHSVWRUHPHG\WKHLUYLVDVWDWXVEHIRUHWKH\EHJLQDFFUXLQJXQODZIXO
    SUHVHQFHWKLVQHZLQWHUSUHWDWLRQZLOOFDXVHDJUHDWGHDORIXQFHUWDLQW\IRU)-0YLVDKROGHUVPRYLQJ
    IRUZDUG
    
    +HUHDUHVRPHVSHFLILFH[DPSOHVRIVRPHSUREOHPV'62V$52VIRUHVHHZLWKWKHLPSOHPHQWDWLRQRIWKH
    FRQFHSWVRXWOLQHGLQWKHPHPRUDQGXP
    
         Recent SEVP Portal Release: 6(93UHFHQWO\LPSOHPHQWHGD3RUWDOWKURXJKZKLFK)VWXGHQWV
            RQSRVWFRPSOHWLRQRSWLRQDOSUDFWLFDOWUDLQLQJ 237 RU67(0237DUHDOORZHGWRUHSRUW
            FKDQJHVWRWKHLUSHUVRQDODQGRUHPSOR\PHQWLQIRUPDWLRQEXWWKHUHKDYHEHHQLVVXHVZLWKWKH
            V\VWHP6WXGHQWVDUHUHTXLUHGWRUHSRUWWKHVHFKDQJHVZLWKLQWHQGD\VEXWSHULRGLFSUREOHPVZLWK
            6(9,6DQGWKH3RUWDOKDYHUHVXOWHGLQLQFRPSOHWHLQIRUPDWLRQEHLQJDYDLODEOHWRVWXGHQWVDQG
            LQVWDQFHVZKHQVWXGHQWVKDYHQRWEHHQDEOHWRDFFHVVWKH3RUWDO$GGLWLRQDOO\VRPHVWXGHQWVKDYH
            EHHQFRQIXVHGDERXWZKDWLQIRUPDWLRQWRHQWHUDQGKRZWRFRUUHFWO\HQWHULW$OORIWKLVKDV
            UHVXOWHGLQLQFRPSOHWHDQGLQDFFXUDWHGDWDEHLQJUHSRUWHGWR6(9,6WKURXJKWKH3RUWDOGHVSLWHWKH
            EHVWHIIRUWVRI)YLVDKROGHUVWRUHSRUWWKHLULQIRUPDWLRQ7KHUHIRUHLI86&,6UHOLHVRQ
            LQIRUPDWLRQIURP6(9,6 VRPHWKLQJWKH3ROLF\PHPRPHQWLRQVDVDOLNHO\VRXUFHRILQIRUPDWLRQ
            IRUPDNLQJGHFLVLRQVDERXWYLRODWLRQVRIVWDWXV LWLVOLNHO\WKDWWKHUHZLOOEHVWXGHQWVMXGJHGWR
            KDYHYLRODWHGWKHLUVWDWXVEDVHGRQWKLVEDGGDWD
            
            :KLOH'62V$52VDQGRWKHUVKDYHKLVWRULFDOO\EHHQDEOHWRKHOSVWXGHQWVUHVROYHWKHVHGDWD
            LVVXHVWKHQHZLQWHUSUHWDWLRQRIWKHUHJXODWLRQVFRXOGPHDQWKDWWKHVHVWXGHQWFRXOGEHMXGJHGWR
            KDYHYLRODWHGWKHLUVWDWXVDQGFRXOGEHDFFUXLQJXQODZIXOSUHVHQFHZLWKRXWUHDOL]LQJLW
            
         Changes to Regulations Causing Previously Approved Actions to Become Violations: 7KH
            VWXGHQWDQGVFKRODUYLVDV\VWHP 6(9,6 LVVHWXSVRWKDWVFKRRORIILFLDOVEHDUDJUHDWGHDORI
            UHVSRQVLELOLW\IRUDVVLVWLQJ)-YLVDKROGHUVWRPDLQWDLQWKHLUVWDWXV$V'62V$52VZHGRRXU
            EHVWFRPPXQLFDWHZLWKRXUVWXGHQWVZKHQWKHUHDUHFKDQJHVWRYLVDUHJXODWLRQVDQGUHJXODWRU\
            LQWHUSUHWDWLRQV7KLVLVQRWDQHDV\WDVN²HVSHFLDOO\ZKHQFKDQJHVWRUHJXODWLRQVRUUHJXODWRU\
            LQWHUSUHWDWLRQVUHTXLUHWKDWZHWHOOVWXGHQWVVRPHWKLQJWKDWLVWKHUHYHUVHRIZKDWZHSUHYLRXVO\
            FRUUHFWO\DGYLVHGWKHP
            
            5HFHQWO\86&,6DQQRXQFHPHQWUHVWULFWLQJUGSDUW\HPSOR\PHQWIRUVWXGHQWVRQ67(0237,Q
            VLWXDWLRQVOLNHWKDWLWLVYHU\SRVVLEOHWKDWVWXGHQWVZLOOEHOLHYHWKDWWKH\KDYHGRQHHYHU\WKLQJ
            QHFHVVDU\WRFRPSO\ZLWKWKHUXOHV<HWZKHQWKH\DSSO\WRUHQHZDYLVDRUWRFKDQJHYLVDVWDWXV
            LQWKHIXWXUHWKH\FRXOGEHWROGWKDWWKHLUDFWLRQV SHUPLVVLEOHZKHQWKH\VWDUWHGEXWQRZQRW
            DOORZHGGXHWRFKDQJHVLQUHJXODWRU\LQWHUSUHWDWLRQV ZHUHDYLRODWLRQRIWKHLUVWDWXV7KH\PD\
            WKHQGLVFRYHUWKDWWKH\EHHQGHWHUPLQHGWRKDYHVLQFHDFFUXHGXQODZIXOSUHVHQFHEDUULQJWKHP
            IURPFKDQJLQJYLVDVWDWXVRUUHHQWHULQJWKH86
    




                                                                                                     GC CAR 000744
       Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 188 of 203





    7KHVHDUHRQO\WZRUHFHQWH[DPSOHVRIDFWLRQVWKDWFRXOGUHVXOWLQLQWHUQDWLRQDOVWXGHQWVDFFUXLQJ
    XQODZIXOSUHVHQFHGHVSLWHWKHLUDWWHPSWVWRIROORZWKHUXOHV:HIRUHVHHPDQ\DGGLWLRQDOSUREOHPVDQG
    XQLQWHQGHGFRQVHTXHQFHVWKDWZLOOUHVXOWIURPVXFKDODUJHDQGGUDPDWLFVKLIWLQUHJXODWRU\LQWHUSUHWDWLRQ
    
    In conclusion

    7KH86&,6SUHVVUHOHDVHIRUWKLVPHPRUDQGXPTXRWHV86&,6'LUHFWRU/)UDQFLV&LVVQDDVVD\LQJ
    “USCIS is dedicated to our mission of ensuring the integrity of the immigration system. F, J, and M
    nonimmigrants are admitted to the United States for a specific purpose, and when that purpose has
    ended, we expect them to depart, or to obtain another, lawful immigration status.” 7KLVFKDQJHKRZHYHU
    ZLOOQRWFRQWULEXWHPHDQLQJIXOO\WRWKDWREMHFWLYH,QVWHDGLWZLOOOLNHO\UHVXOWLQFRQIXVLRQWKDWZLOOPHDQ
    WKDWZHOOPHDQLQJLQWHUQDWLRQDOVWXGHQWVDQGH[FKDQJHYLVLWRUVFRXOGEHIRXQGWRKDYHDFFUXHGXQODZIXO
    SUHVHQFHGXHWRLQQRFHQWPLVWDNHVRUPLVXQGHUVWDQGLQJVRIFKDQJLQJUHJXODWLRQVDue to the strict bars
    that will be applied to these individuals due to these changes, these misunderstandings could have
    severe consequences. 
    
    :HDUHDWDSRLQWLQWLPHZKHUHRXULQWHUQDWLRQDOVWXGHQWVFDQFKRRVHWRVWXG\DQ\ZKHUHLQWKHZRUOG
    0DQ\LQWHUQDWLRQDOVWXGHQWVZKRHQUROODW86LQVWLWXWLRQVDUHWKHEHVWLQWKHLUVFKRROVDWKRPHDQGWKH\
    UHFHLYHRIIHUVWRDWWHQGLQVWLWXWLRQVDURXQGWKHZRUOG7KH\FKRRVHWRFRPHWRWKH8QLWHG6WDWHVEHFDXVH
    WKH\KDYHGHWHUPLQHGDQLQVWLWXWLRQLVWKHEHVWRSWLRQIRUWKHPWRSXUVXHWKHLUFKRVHQILHOGRIVWXG\:KLOH
    KHUHWKH\H[FHOLQWKHLUFODVVHVDQGWKH\SURYLGHQHZSHUVSHFWLYHVDQGH[SHULHQFHVWRWKHLUFODVVPDWHV
    DQGWKHEURDGHUKLJKHUHGXFDWLRQFRPPXQLW\
    
    ,IZHZDQWWRHQVXUHWKHVWXGHQWVIXOILOOWKH³VSHFLILFSXUSRVH´ZKHQWKH\UHFHLYHWKHLUYLVD REWDLQLQJDQ
    HGXFDWLRQDWD86LQVWLWXWLRQ ZHPXVWHQVXUHRXUODZVDQGUHJXODWLRQVDUHVWUXFWXUHGDQGLPSOHPHQWHG
    LQDIDLUDQGWUDQVSDUHQWPDQQHU:HPXVWZRUNWROLPLWXQFHUWDLQW\VRWKDWVWXGHQWVFDQIRFXVRQOHDUQLQJ
    LQVWHDGRIWUDFNLQJFRQVWDQWO\FKDQJLQJUHJXODWLRQVThis new policy has the opposite result.
    
    Recommendations
    
    ,XUJH\RXWRWDNHWKHVHFRQFHUQVLQWRFRQVLGHUDWLRQDQGUDWKHUWKDQPDNLQJWKHSURSRVHGFKDQJHV
    FRQVLGHUWKHIROORZLQJUHFRPPHQGDWLRQVVXJJHVWHGE\1$)6$ $VVRFLDWLRQRI,QWHUQDWLRQDO(GXFDWRUV 
    
    For additional contextual details, see the NAFSA Letter to Director Cissna at
    http://www.nafsa.org/ /file/ /amresource/NAFSAulpcomment20180524.pdf .
    
         x Leave in place the current policy, which has served for over 20 years. 1HLWKHU'+6QRU
              OHJDF\,16HYHUSXEOLVKHGUHJXODWLRQVWRLPSOHPHQWWKLVLPSRUWDQWDUHDRIODZ,IWKHDJHQF\
              ZLVKHVWRLPSOHPHQWVXFKDGUDVWLFFKDQJHWRORQJVWDQGLQJFRPPRQLQWHUSUHWDWLRQRIWKHODZLW
              VKRXOGEHGRQHWKURXJKWKHQRWLFHDQGFRPPHQWSURFHVV
              
              




                                                                                                       GC CAR 000745
       Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 189 of 203





           ,QRWHDIHZUHODWHGLVVXHVEHORZ
                o 8QGHUFXUUHQWSROLF\ZKLFKKDVEHHQLQSODFHIRU\HDUVWKHXQODZIXOSUHVHQFHFRXQW
                     EHJLQVRQO\DIWHUDIRUPDOILQGLQJRIDVWDWXVYLRODWLRQE\D'+6RIILFHULQWKHFRXUVHRID
                     EHQHILWVDSSOLFDWLRQRUE\DQLPPLJUDWLRQMXGJHLQWKHFRXUVHRIUHPRYDOSURFHHGLQJV
                o 8QGHUWKHQHZO\SURSRVHGSROLF\WKHXQODZIXOSUHVHQFHFRXQWEHJLQVWKHGD\DIWHUWKH
                     VWDWXVYLRODWLRQZKLFKFRXOGEHGLVFRYHUHGZHOODIWHUWKHSDVVLQJRIPRQWKVGXHWR
                     86&,6SURFHVVLQJGHOD\VDQGRWKHUUHDVRQV
                o 8QGHUERWKWKHFXUUHQWDQGSURSRVHGSROLFLHV
                           5HPDLQLQJLQWKH8QLWHG6WDWHVEH\RQGWKHH[SLUDWLRQRIDGDWHVSHFLILF)RUP
                               ,DOVRVWDUWVWKHXQODZIXOSUHVHQFHFORFN\HW
                           WKHUHDUHDQXPEHURILPSRUWDQWH[FHSWLRQV VXFKDVXQODZIXOSUHVHQFHQRWEHLQJ
                               FRXQWHGLI86&,6DSSURYHVDVWXGHQW VDSSOLFDWLRQIRUUHLQVWDWHPHQW 
                               
       x   Do not implement any policy change until implementation has been fully coordinated with
           the Department of State and other DHS units such as CBP and SEVP.,WLVXQFOHDUKRZWKLV
           QHZLQWHUSUHWDWLRQZLOODIIHFWHQIRUFHPHQWDFWLRQVDGPLVVLRQSURWRFROV6(93UHFRUGVDQGYLVD
           HOLJLELOLW\,WLVLPSHUDWLYHWKDW\RXDGGUHVVWKHVHFRQFHUQVEHIRUHLPSOHPHQWDWLRQRIWKLV
           SURSRVDO VFKHGXOHGWRWDNHHIIHFW$XJXVW 
       x   Exclude from the unlawful presence count any status violations that occurred under color
           of law, to avoid “gotcha” scenarios, where the student reasonably relied on the
           authorizations granted. )RUH[DPSOHFXUULFXODUSUDFWLFDOWUDLQLQJ &37 DXWKRUL]HGLQ6(9,6
           WKDW'+6ODWHUGHWHUPLQHVPD\KDYHEHHQLPSURSHUO\JLYHQVKRXOGQRWVWDUWWKHXQODZIXO
           SUHVHQFH³FORFN´XQWLO'+6RUDQLPPLJUDWLRQMXGJHPDNHVDIRUPDOVWDWXVGHWHUPLQDWLRQ
       x   Apply the change of status/extension of stay tolling rules to reinstatement applications.
           &XUUHQWO\LQGLYLGXDOVPD\DSSO\IRUUHLQVWDWHPHQWEDVHGRQSDUWLFXODUWLPHIUDPHVWKDWPD\QR
           ORQJHUEHYDOLGXQGHUWKHQHZLQWHUSUHWDWLRQ
       x   Expand the sections describing examples where F, J, and M nonimmigrants “do not accrue
           unlawful presence in certain situations.”6HH GUDIW $GMXGLFDWRU¶V)LHOG0DQXDO
            E  ( LLL (See https://www.uscis.gov/ilink/docView/AFM/HTML/AFM/0-0-0-1/0-0-0-
           17138/0-0-0-18383.html)
    
    7KDQN\RXIRUSURYLGLQJXVZLWKWKHRSSRUWXQLW\WRFRPPHQW
    6LQFHUHO\
    


                          
    .DWK\0)ROH\
    $VVRFLDWH'HDQ'LUHFWRURI,QWHUQDWLRQDO6WXGHQW 6FKRODU6HUYLFHV
    6(9,63ULQFLSOH'HVLJQDWHG6FKRRO2IILFLDO 3'62 5HVSRQVLEOH2IILFHU 52 
    0LGGOHEXU\&ROOHJHDQG0LGGOHEXU\,QVWLWXWHRI,QWHUQDWLRQDO6WXGLHVDW0RQWHUH\
    




                                                                                                      GC CAR 000746
       Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 190 of 203





    




                                                                     GC CAR 000747
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 191 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 192 of 203
&XUUHQWDQG KLVWRULFDO 86&,6 JXLGDQFHDUWLFXODWLQJWKLV SRVLWLRQVWDWHV³,W PXVWEHHPSKDVL]HG WKDWWKH
DFFUXDORIXQODZIXOSUHVHQFHQHLWKHUEHJLQVRQWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVQRURQWKHGD\RQ
ZKLFKUHPRYDOSURFHHGLQJVDUHLQLWLDWHG´ This longstanding policy provides certainty in determining
when unlawful presence begins to accrue, while the new policy eliminates this practice
7KHQHZSROLF\VHWRXWLQ86&,6¶V0D\PHPRGHHPVWKDWXQODZIXOSUHVHQFHVWDUWVDFFUXLQJWKH
GD\DIWHUWKHGDWHWKDWDVWDWXVYLRODWLRQRFFXUVWKXVUHPRYLQJWKHFULWLFDOSURFHGXUDOVDIHJXDUGRISURYLGLQJ
QRWLFH WR DIIHFWHG LQGLYLGXDOV WKDW PD\ ILQG WKHPVHOYHV VXEMHFW WR WKH WKUHH DQG WHQ\HDU EDUV WR
DGPLVVLELOLW\,IWKLVSROLF\LVLPSOHPHQWHGWKRVHDIIHFWHGZLOOKDYHOLWWOHWRQRRSSRUWXQLW\WRGLVSXWHRU
UHPHG\WKHVWDWHGYLRODWLRQ7KLVUDLVHVVHULRXVTXHVWLRQVUHJDUGLQJIXQGDPHQWDOIDLUQHVVDQGGXHSURFHVV
DQGZLOOKDYHDVLJQLILFDQWQHJDWLYHLPSDFWRQWKHVWXGHQWYRFDWLRQDODQGH[FKDQJHYLVLWRUFRPPXQLWLHV
(VVHQWLDOO\ WKH QHZ SROLF\ PHPR UHPRYHV WKH ORQJVWDQGLQJ DQG FRPSOH[ GLVWLQFWLRQ EHWZHHQ
QRQLPPLJUDQW³VWDWXVYLRODWLRQ´DQGZKHQRQHDFFUXHV³XQODZIXOSUHVHQFH´
,QUHFRJQLWLRQRIWKHFRPSOH[LW\DQGIOXLGLW\RIDFDGHPLFSURJUDPV)0DQG-QRQLPPLJUDQWVDUHQRW
DGPLWWHGWRWKH 86 XQWLOD FHUWDLQ RUVSHFLILF GDWH ,QVWHDGWKH\DUHDGPLWWHGIRUWKH³GXUDWLRQRIWKHLU
VWDWXV´RU³'6´ZKLFKPHDQVWKHVWXGHQWRUH[FKDQJHYLVLWRUFDQUHPDLQLQWKH8QLWHG6WDWHVDVORQJDV
WKH\PDLQWDLQWKHLUQRQLPPLJUDQWVWDWXV7KLVJHQHUDOO\PHDQVWKHVWXGHQWPXVWPDLQWDLQDIXOOFRXUVHRI
VWXG\RUUHPDLQLQWKHH[FKDQJHSURJUDPQRWHQJDJHLQXQDXWKRUL]HGHPSOR\PHQWRURWKHUXQDXWKRUL]HG
DFWLYLWLHVDQGFRPSOHWHWKHDFDGHPLFRUH[FKDQJHSURJUDPLQDWLPHO\PDQQHURUREWDLQDQH[WHQVLRQ
7KH QHZ PHPRUDQGXP IDLOV WR DGGUHVV WKH FRPSOH[ DQG QXDQFHG LVVXHV WKDW GHWHUPLQH ZKHWKHU DQ
LQGLYLGXDO YLRODWHG WKHLU QRQLPPLJUDQW VWDWXV 6WXGHQWV DQG H[FKDQJH YLVLWRUV FDQ DFFLGHQWDOO\ DQG
XQNQRZLQJO\ YLRODWH WKHLU VWDWXV E\ GURSSLQJ VOLJKWO\ EHORZ D IXOO FRXUVH RI VWXG\ RU E\ HQJDJLQJ LQ
LQQRFHQWEXWXQDXWKRUL]HGDFWLYLW\LQFOXGLQJYROXQWHHUDFWLYLWLHV)RUH[DPSOH)VWXGHQWVDUHSHUPLWWHG
WRHQJDJHLQZRUNDWD³TXDOLI\LQJRQFDPSXVMRE´IRUXSWRKRXUVSHUZHHNZKLOHVFKRROLVLQVHVVLRQ
7KHUHIRUH DQ ) VWXGHQW ZKR LQDGYHUWHQWO\ H[FHHGV WKH KRXU OLPLW E\ MXVW D FRXSOH RI KRXUV KDV
WHFKQLFDOO\YLRODWHGKLVRUKHUVWXGHQWVWDWXV,QDGGLWLRQD'HVLJQDWHG 6FKRRO2IILFLDOPD\PDNHDJRRG
IDLWKHUURULQDGYLVLQJDVWXGHQWE\DXWKRUL]LQJDUHGXFHGFRXUVHORDGWKDWVKRXOGQRWKDYHEHHQDSSURYHG
WKHUHE\ OHDGLQJ WKH VWXGHQW WR XQNQRZLQJO\ DQG XQLQWHQWLRQDOO\ YLRODWH WKHLU VWDWXV 7KLV XQIDLUQHVV LV
FRPSRXQGHGZKHQWKHVWDWXVYLRODWLRQDOVRVHUYHVDVWKH³WULJJHU´IRUWKHDFFUXDORIXQODZIXOSUHVHQFHE\
GHSHQGHQWVRIVWXGHQWVDQGH[FKDQJHYLVLWRUV
2WKHUVFHQDULRVZKHUHDVWXGHQWPLJKWXQLQWHQWLRQDOO\RUXQZLWWLQJO\KDYHDODSVHRIVWDWXVLQFOXGH

    x    $VFLHQFHVWXGHQWYROXQWHHUVLQDSURIHVVRU¶VODE

    x    $VWXGHQWLVDXWKRUL]HGRQ&37RU237DQGVRPHJRYHUQPHQWRIILFLDOODWHUGHFLGHVWKHZRUN
         ZDVQ¶WVXIILFLHQWO\UHODWHGWRWKHGHJUHH

    x    $VWXGHQWJHWVLQWRFDUDFFLGHQWDQGZLWKGUDZVIURPDFRXUVHODWHRUIDLOVWRUHJLVWHU

    x    $SUHJQDQWIHPDOHWDNHVPDWHUQLW\OHDYHRQ237

This memo eliminates the long-held distinction between violating immigration status and being
unlawfully present in the United States.  7KH FRQFHSW RI ³XQODZIXO SUHVHQFH´ ZLWK YDULRXV ³FORFNV´


 See86&,60HPRUDQGXP&RQVROLGDWLRQRI*XLGDQFH&RQFHUQLQJ8QODZIXO3UHVHQFHIRU3XUSRVHVRI6HFWLRQV
 D  % L DQG D  & L , RIWKH$FW´ 0D\ available atKWWSZZZDLODRUJLQIRQHWXVFLV
FRQVROLGDWLRQJXLGDQFHXQODZIXOSUHVHQFH
     VIRGINIA                                     Arlington, VA           p                    f
     CALIFORNIA                               San Francisco,                  p                 f
                                                  EIGLAW.COM
                                                                                                         GC CAR 000749
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 193 of 203
³WROOLQJ´SURYLVLRQVDQG³EDUV´KDVWRWKLVSRLQWEHHQWKHSXUYLHZRILPPLJUDWLRQODZVSHFLDOLVWVDQGODZ
VFKRROFODVVHV,PPLJUDWLRQSROLF\LVLQFUHGLEO\FRPSOH[DQGDOUHDG\KDVGLUHFRQVHTXHQFHVIRUYLRODWLRQ
)RUHLJQVWXGHQWVVFKRODUVDQGH[FKDQJHYLVLWRUVDUHQRWLPPLJUDWLRQDWWRUQH\VRUSROLF\SURIHVVLRQDOVDQG
LW LV XQIDLU WR WUHDW WKHP DV VXFK  8QODZIXO SUHVHQFH VKRXOG RQO\ WULJJHU ZKHQ WKHUH LV FOHDU QRWLFH RI
UHPDLQLQJ EH\RQG DQ H[SLUDWLRQ GDWH RI DXWKRUL]HG VWD\ LQ WKH 8QLWHG 6WDWHV DQG QRW ZKHQ WKHUH LV D
FRQWHVWDEOHDOOHJDWLRQRIYLRODWLRQRIVWDWXV
%DVHGRQIHHGEDFNIURPRXUFOLHQWVWKLVSURSRVDOVHHPVWRPDNHWKH8QLWHG6WDWHVOHVVDWWUDFWLYHWRWDOHQWHG
LQWHUQDWLRQDO VWXGHQWV VFKRODUV DQG H[FKDQJH YLVLWRUV DQG XQGRXEWHGO\ ZLOO HQFRXUDJH WKHP WR ORRN
HOVHZKHUHWRGRWKHLUJURXQGEUHDNLQJUHVHDUFKDQGEXLOGGLSORPDWLFWLHV)RUHLJQVWXGHQWVVFKRODUVDQG
H[FKDQJHYLVLWRUVDUHKHUHWROHDUQDQGWKH\PDNH$PHULFDVDIHUE\EHFRPLQJWKHQDWLRQ¶VEHVWDPEDVVDGRUV
DQGDOOLHV%\WUHDWLQJWKHPDOODVFULPLQDOVIRUPLQRURUWHFKQLFDOYLRODWLRQVZHZLOOEHPDNLQJ$PHULFD
OHVVVDIHDQGDOHVVGHVLUDEOHSODFHWRVWXG\7KLVLVFRQWUDU\WRRXUQDWLRQ¶VYDOXHVDVDZHOFRPLQJQDWLRQ
RILPPLJUDQWV

7KHFXUUHQWSROLF\KDVKHOGXSIRUPRUHWKDQ\HDUVEHFDXVHLWSURYLGHVEULJKWOLQHGDWHVHVWDEOLVKHGLQ
JRYHUQPHQWV\VWHPVZKLFKJLYHDGHTXDWHQRWLFHWRVWXGHQWVDQGH[FKDQJHYLVLWRUVDQGWKHLUVFKRROVDQG
H[FKDQJHSURJUDPVDQGDQRSSRUWXQLW\WRUHFWLI\LQDGYHUWHQWLQQRFHQWRUPLVFRQVWUXHGHUURUV

:KLOH DQ DOLHQ ZKR YLRODWHV KLV RU KHU QRQLPPLJUDQW VWDWXV LV FHUWDLQO\ UHPRYDEOH WKH SROLF\ LQ SODFH
GLVWLQJXLVKHVEHWZHHQVWDWXVYLRODWLRQVDQGXQODZIXOSUHVHQFHPDNHVVHQVHIRUSXUSRVHVRIDSSO\LQJ,1$
 D  % IURPERWKOHJDODQGSXEOLFSROLF\YLHZSRLQWV$FOHDUJRYHUQPHQWGHWHUPLQDWLRQZKHWKHULW
LVWKHH[SLUDWLRQGDWHRQDQRQLPPLJUDQW¶V)RUP,RUDIRUPDOILQGLQJRIDVWDWXVYLRODWLRQPDGHLQWKH
FRXUVHRID'+6EHQHILWVGHWHUPLQDWLRQRUE\DQLPPLJUDWLRQMXGJHVHUYHVDVDIDLUDQGFOHDUZDUQLQJWR
DQDOLHQWKDWWKHFORFNLVWLFNLQJDQGKHRUVKHMXVWWDNHDFWLRQWROHDYHWKH8QLWHG6WDWHVRURWKHUZLVHFXUH
WKHVWDWXVGHILFLHQF\$QDOLHQZKRSHUVLVWVDIWHUVXFKIDLUQRWLFHPXVWIDFHWKHSRVVLELOLW\RIQRWEHLQJ
DEOHWRUHWXUQWR8QLWHG6WDWHVIRUHLWKHURU\HDUV

1RQLPPLJUDQWVWDWXVLVDOHJDOFRQGLWLRQQRWDSK\VLFDOWKLQJ,WLVDOVRG\QDPLFQRWVWDWLFZKLFKPHDQV
WKDWDSHUVRQ¶VQRQLPPLJUDQWVWDWXVPXVWEHDFTXLUHGDQGPDLQWDLQHGDQGFDQEHFKDQJHGRUORVWDQGLQ
VRPH FLUFXPVWDQFHV UHLQVWDWHG  ,Q PDQ\ UHVSHFWV QRQLPPLJUDQW VWDWXV LV D UHODWLRQVKLS ZLWK WKH 86
LPPLJUDWLRQV\VWHPZLWKDFWLRQVHYHQWVDQGGDWDLQWKH³UHDO´ZRUOGFRQWULEXWLQJWRWKHDFTXLVLWLRQDQG
PDLQWHQDQFH FKDQJH ORVV RU UHVWRUDWLRQ RI WKH QRQLPPLJUDQW UHODWLRQVKLS ,Q DGGLWLRQ D VWXGHQW RU
H[FKDQJHYLVLWRUPLJKWQRWHYHQNQRZDERXWDQ\YLRODWLRQRIVWDWXVXQWLODQLPPLJUDWLRQRIILFHUDWD3RUW
RI(QWU\GHFLGHVDYLRODWLRQRFFXUUHGLQWKHSDVWDQGEDUVHQWU\WREHJLQRUUHWXUQWKHLUDFWLYLWLHV

,QOLHXRILPSOHPHQWLQJWKHSROLF\GHVFULEHGLQWKHPHPR(,*UHFRPPHQGVWKDW\RXOHDYHLQSODFHWKH
FXUUHQWSROLF\ZKLFKKDVVHUYHGIRURYHU\HDUV1HLWKHU'+6QRUOHJDF\,16HYHUSXEOLVKHGUHJXODWLRQV
WRLPSOHPHQWWKLVLPSRUWDQWDUHDRIODZ
     
:HWKDQN\RXIRUWKHRSSRUWXQLW\WRFRPPHQW

6LQFHUHO\



                    
Erickson Immigration Group
-HQQ\7'DR
$WWRUQH\

     VIRGINIA                                       Arlington, VA            p                     f
     CALIFORNIA                                 San Francisco,                   p                  f
                                                     EIGLAW.COM
                                                                                                              GC CAR 000750
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 194 of 203
Boston, Massachusetts
               F



June 11, 2018

Mr. L. Francis Cissna, Director
U. S. Citizenship & Immigration Services
Department of Homeland Security
20 Massachusetts Avenue, NW
Washington, DC 20529

Submitted via email: publicengagementfeedback@uscis.dhs.gov

RE:       PM-602-1060 - Policy Memo: Accrual of Unlawful Presence and F, J, and M Nonimmigrants

Dear Director Cissna:

We are writing on behalf of Boston University (F-1 sponsor number: BOS 214F00056000) with respect to
the U.S. Citizenship and Immigration Services (USCIS) policy memorandum of May 10, 2018: PM-602-
1060 “Accrual of Unlawful Presence and F, J, and M Nonimmigrants.”

Boston University is a large research university sponsoring over 9,700 international students, primarily in
F-1 and J-1 status, as well as over 1,300 academic scholars and faculty in H-1B, J-1, and other statuses.
We are a member of the Association of American Universities (AAU), a consortium of distinguished U.S.
research universities promoting education and academic research, and was ranked 12th in the U.S. for
institutions hosting the largest number of international students according to the 2017 Open Doors
Report by the Institute of International Education (IIE). Our international students and scholars
contribute significantly to the intellectual vitality of the United States, and we take seriously our
responsibility to guide our international community in abiding by all appropriate laws.

We also recognize the important role USCIS plays in ensuring that visitors to the United States are
lawfully present. Your work benefits both visiting scholars and Americans alike. However, we are
seriously concerned by the fundamental change in policy USCIS has proposed in which the immigration
status of F, J, and M nonimmigrants would be calculated, creating a misplaced overreliance on
information entered into the Student and Exchange Visitor Information System (SEVIS) to determine
whether individuals are in violation of their immigration status and therefore unlawfully present in the
United States without an official determination of such status by the Department of Homeland Security,
an immigration judge, or Board of Immigration Appeals.

Key Concerns of the Policy Change

      1. The new policy obscures and conflates the important distinction between “unlawful presence”
         – illegal presence in the United States – and “maintenance of status”. Furthermore, it appears
         to rely on systems that serve only as status indicators.

      For many nonimmigrants, the date-certain I-94 or document expiration date, give a clear “bright
      line” indication at the time of U.S. admission regarding the length of permitted stay. Most F, J, and

                                                       Boston University comments to PM-602-1060 Page 1
                                                                                                  GC CAR 000751
      Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 195 of 203
M nonimmigrants are admitted for “D/S” (“duration of status”) which denotes a careful balance of
maintaining unexpired documents, keeping an active and valid immigration record, and following
detailed guidelines related to academic activities, employment and reporting deadlines.

There are several documents and systems that serve as status indicators for F, J, and M
nonimmigrants. These may include: (1) a Form I-20 or DS-2019, (2) an electronic immigration record
in the Student and Exchange Visitor Information System (SEVIS), (3) a passport stamp showing entry
to the U.S. for duration of status or until a date certain, and (4) an electronic I-94 record.

Given the complexity of system interfaces and inconsistency between documents that are used as
immigration status indicators, it may not always be immediately clear to a nonimmigrant student or
exchange visitor in F, J, or M status that their immigration status is in jeopardy at the time that a
technical violation of status occurs. However, these “unlawful presence” situations can be triggered
by technical, unknown, and unintentional oversights. For example, a student or exchange visitor
may not be immediately aware:

x   If their SEVIS record is terminated whether by batch reporting or manually by a school official,
    whether in accordance with regulations or in error.

x   If their I-94 record is not extended to D/S following a timely response to an I-515A.

x   If USCIS approves incorrect dates on an Employment Authorization Document for Optional
    Practical Training, requiring a lengthy correction process to the EAD and/or SEVIS record.

x   If the USCIS-SEVIS CLAIMS interface inadvertently completes a SEVIS record early when an H-1B
    petition is approved for a future start date.

2. Accrual “clock” would begin without a government finding:
Apart from scenarios where a student may not be immediately aware of a status infraction, the new
memo also does not account for situations where a government agency may, after review and
evaluation, make a determination that a past action falls short of a regulatory requirement.

For instance, SEVP has struggled for years to develop systems to accurately capture dates and data
on OPT employment. While the recently launched SEVP Portal now allows greater functionality and
transparency in this area, there is still a high degree of subjective review that might occur when
evaluating the appropriateness or major-relatedness of employment.

It is extremely worrisome that a student may now face the risk of retroactive bars if the
employment to which they entered in good faith may later come under extreme or prejudicial
review. For instance:

x   If the student reports employment during Optional Practical Training job that is later
    determined not to be directly related to their major field of study.

x   If a student continues to work in good faith on the basis of a timely-filed pending application for
    STEM OPT extension, but the application is later denied by USCIS on the basis of a change in
    interpretation related to employer-employee relationships.

x   If a student participated in a curricular activity that is later determined after evaluation to
    require CPT authorization.




                                                  Boston University comments to PM-602-1060 Page 2
                                                                                               GC CAR 000752
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 196 of 203
    Because of this complexity of evaluating and determining lawful status in these and similar cases, a
    student or exchange visitor might not even know they are “out of status” until a formal evaluation is
    made or communicated to them by a government agency.

    3. Retroactive penalty for students who seek reinstatement or status correction:
    Under the proposed new policy, students who choose to utilize the F-1 reinstatement process as an
    avenue for legal appeal risk a lengthy adjudication process, the current reality of extreme
    adjudications, and the significant penalty of a 3-year or 10-year bar if their case is denied. Given that
    applications for reinstatement are currently taking 10-13 months for adjudication, this avenue has
    become nearly obsolete. Out of more than 9,700 international students at Boston University, less
    than a handful have opted to apply for reinstatement in the last two years. Most of these students
    were students who were not able to travel abroad due to war, travel bans, or other extreme
    personal, health, or financial circumstances.

    Under the new policy, virtually all students who apply for reinstatement would risk the possibility of
    a 3-year or 10-year bar from the U.S. A student who is denied reinstatement, and then is unable to
    rectify their legal status by travel, loses the ability to complete their U.S. degree. We believe this
    would render reinstatement essentially unusable as a legal avenue.

SUMMARY RECOMMENDATION
We join NAFSA and many other national organizations in strongly recommending that USCIS continue its
current policy of not begin the unlawful presence “clock” until after a notice of finding is made by a
government agency. Unlawful presence should only be triggered when there is clear notice of remaining
beyond an expiration date of authorized stay in the United States and not when there is a contestable
allegation of violation of status. By implementing the proposed policy, the United States risks making
our country less attractive to talented students, researchers, and scholar who have for decades spurred
impactful economic opportunities and meaningful innovations for our communities. We urge USCIS to
reconsider its plan for such an extreme policy change.

Thank you for the opportunity to submit comments on the PM-602-1060 - Policy Memo: Accrual of
Unlawful Presence and F, J, and M Nonimmigrants.

Respectfully,




  Jeanne E. Kelley
  Managing Director
  Boston University Global Programs
  International Students and Scholars Office




                                                      Boston University comments to PM-602-1060 Page 3
                                                                                                  GC CAR 000753
   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 197 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 198 of 203
    II.      The Public Should Have Adequate Opportunity to Comments Under the Administrative
             Procedure Act for any Change to Unlawful Presence Policy

:KLOHZHDSSUHFLDWHWKHRSSRUWXQLW\WRFRPPHQWRQWKLVSROLF\LQDQLQIRUPDOZD\ZHEHOLHYHWKDWDQ\
VLJQLILFDQW FKDQJH WR WKH SROLF\ RQ XQODZIXO SUHVHQFH VKRXOG XQGHUJR IRUPDO QRWLFH DQG FRPPHQW
UXOHPDNLQJ:HKDYHKHDUG'LUHFWRU/HH)UDQFLV&LVVQDRQQXPHURXVRFFDVLRQVH[SUHVVDFRPPLWPHQWWR
WKH $GPLQLVWUDWLYH 3URFHGXUH $FW $3$  IRU VLJQLILFDQW SROLF\ FKDQJHV :H UHVSHFWIXOO\ VXEPLW WKDW D
FKDQJHVXFKDVWKLV DFKDQJHWRWKH$GMXGLFDWRU¶V)LHOG0DQXDOLQWHQGHGWRKDYHWKHIRUFHRIODZ LVH[DFWO\
WKHW\SHRIFKDQJHWKDWVKRXOGEHVXEMHFWWRWKH$3$$PRQJRWKHUUHTXLUHPHQWVXQGHUWKH$3$86&,6
VKRXOGFRQGXFWDIXOOFRVWEHQHILWDQDO\VLVRIWKHQHZSROLF\ZLWKDFKDQFHIRUWKHSXEOLFWRFRPPHQWDQG
IXOO\ HQJDJH ZLWK WKH 6WXGHQW DQG ([FKDQJH 9LVLWRU 3URJUDP 6(93  'HSDUWPHQWV RI 6WDWH '26 
,PPLJUDWLRQ DQG &XVWRPV (QIRUFHPHQW ,&(  DQG &XVWRPV DQG %RUGHU 3URWHFWLRQ &%3  DQG RWKHU
LQWHUHVWHGDJHQFLHVDVWKH2IILFHRI0DQDJHPHQWDQG%XGJHW 20% FRRUGLQDWHVXQGHUWKH$3$

    III.     The Memorandum Abandons the Fundamental Fairness of the Prior Unlawful Presence
             Policy

2XU SULQFLSOHV FDOO IRU DQ LPPLJUDWLRQ V\VWHP WKDW LV IDLU LQQRYDWLYH DQG FRPSHWLWLYH :LWK UHJDUG WR
IDLUQHVVZHUHFRJQL]HWKHQHHGWRDGRSWSROLFLHVWKDWSURWHFWDQGGHYHORSWKH86ZRUNIRUFH+RZHYHUWKH
V\VWHP PXVW DOVR EH IXQGDPHQWDOO\ IDLU ZKLFK LQFOXGHV RIILFLDO QRWLFH RI DQ\ VWDWXV YLRODWLRQV DQG
RSSRUWXQLWLHVWRUHEXWRUDSSHDODVDSSURSULDWH

7KHSULPDU\UHDVRQWKHDJHQF\VKRXOGUHWDLQWKHFXUUHQWXQODZIXOSUHVHQFHSROLF\LVWKDWLWWDUJHWVWKRVH
ZKR WUXO\ KDYH RYHUVWD\HG WKHLU VWDWXV ZLWK QR LQWHQW WR PDLQWDLQ LW DQG SURYLGHV IDLU QRWLFH WR DQRWKHU
FDWHJRU\ RI SHRSOH ± WKRVH IRU ZKRP 86&,6 GHWHUPLQHV VRPH VRUW RI YLRODWLRQ RI VWDWXV KDV RFFXUUHG
LQWHQWLRQDOO\RUXQLQWHQWLRQDOO\,QGHYHORSLQJWKHFXUUHQWSROLF\IRUPHU,16$FWLQJ([HFXWLYH$VVRFLDWH
&RPPLVVLRQHU3DXO9LUWXHQRWHVWKDWWKHSROLF\ZDVGHYHORSHGIRU³UHDVRQVRISUDFWLFDOLW\DQGIXQGDPHQWDO
IDLUQHVV´

6LQFHWKHLVVXDQFHRIWKHQHZPHPRUDQGXPYDULRXVVFHQDULRVKDYHEHHQSUHVHQWHGWRXVIURPRXUPHPEHUV
WKDWVKRZKRZWKHQHZSROLF\ZRXOGYLRODWHWKHSULQFLSOHVRIIXQGDPHQWDOIDLUQHVV6HYHUDOFDWHJRULHVRI
LQGLYLGXDOVFRXOGLQDGYHUWHQWO\DFFUXHXQODZIXOSUHVHQFHXQGHUWKHQHZPHPRUDQGXPRQO\WROHDUQDIWHU
WKHIDFWWKDWWKH\KDYHGRQHVRLQFOXGLQJ

             &XUULFXODUSUDFWLFDOWUDLQLQJ$PHGLFDOVWXGHQWZKRLVDVNHGE\DVXSHUYLVRUWRZRUNDFRXSOH
              H[WUD KRXUV RQH ZHHNHQG LQDGYHUWHQWO\ H[FHHGLQJ WKH KRXU D ZHHN OLPLW IRU FXUULFXODU
              SUDFWLFDOWUDLQLQJLQDKLJKSUHVVXUHVLWXDWLRQRQO\WRKDYHWKDWYLRODWLRQSRLQWHGRXWLQDODWHU
              +%ILOLQJ



1
  For instance, while we take the issue of visa overstays very seriously, we have heard some concerns from our
members that information from the Student and Exchange Visitor Information System (SEVIS), UCSIS CLAIMS and
other systems might not be entirely reliable when calculating the number of overstays. The public should be given
a full opportunity to provide such feedback under the APA. Additionally, the DHS Office of the Inspector General
has outlined its own concerns over the calculation of overstays in its May 1, 2017 report “DHS Tracking of Visa
Overstays is Hindered by Insufficient Technology” available at
https://www.oig.dhs.gov/sites/default/files/assets/2017/OIG-17-56-May17 0.pdf.
2
  Forbes, “USCIS Policy Change Could Bar Many International Students,” June 1, 2018, available at
https://www.forbes.com/sites/stuartanderson/2018/06/01/uscis-policy-change-could-bar-many-international-
students
                                                                                                                       2




                                                                                                            GC CAR 000755
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 199 of 203
           )VWXGHQWV$VWXGHQWRQ)RSWLRQDOSUDFWLFDOWUDLQLQJ 237 ZKRP86&,6GHWHUPLQHVZDV
            LQ YLRODWLRQ RI VWDWXV D ODWHU GDWH IRU LQVWDQFH LQ DQ +% SHWLWLRQ  GXH WR D 86&,6
            LQWHUSUHWDWLRQRI237UXOHVIRUZKLFKWKHHPSOR\HUDQGVWXGHQWZHUHQRWDZDUH7KLVH[DPSOH
            LVSDUWLFXODUO\DFXWHDWWKHPRPHQWJLYHQQHZUXOHVUHJDUGLQJ237DQGWKLUGSDUW\SODFHPHQW
            RQWKH86&,6ZHEVLWH
           ([FKDQJHYLVLWRUV0LQRUGHYLDWLRQVIURPWKHVFRSHRIH[FKDQJHYLVLWRUDFWLYLWLHVWKDWFRPH
            XSLQD'HSDUWPHQWRI6WDWHVLWHYLVLWWKDWDUHVXEVHTXHQWO\UHPHGLHGE\WKHVSRQVRUKRVWDQG
            SDUWLFLSDQWDQG
           ) DQG - VSRXVHV DQG FKLOGUHQ ± 7KHVH GHSHQGHQWV FRXOG DFFUXH XQODZIXO SUHVHQFH IRU
            YLRODWLRQVRIWKH)DQG-YLVDKROGHUVWKDWWKH\KDGQRZD\RIZKLFKWREHDZDUH

7KHUHDUHRWKHUVFHQDULRVGXHWRJRYHUQPHQWHUURUWKDWFRXOGRFFXU

            237WR+%$VWXGHQWZKRJUDGXDWHVDSSOLHVIRUDQGLVJUDQWHGPRQWKVRI237IRUZKRP
             DQHPSOR\HUJHWVDQDSSURYHG+%IRUFRQVXODUSURFHVVLQJEXWLVXQDEOHWRWUDYHOWRJHWWKH
             +%DEURDGIRUVHYHQPRQWKVDQGFRQWLQXHVWRZRUNRQ237ZKLFKQHHGQRWEHWHUPLQDWHG
             XQWLOWKHLQGLYLGXDOUHFHLYHVKLV+%,QWKH+%YLVDDSSRLQWPHQWRYHUVHDVWKHVWXGHQWLV
             WROGWKDW86&,6&/$,06WHUPLQDWHGWKH)UHFRUGHUURQHRXVO\DVLIWKH+%SHWLWLRQZDVD
             FKDQJHRIVWDWXV7KHUHIRUHWKHVWXGHQWKDVEHHQZRUNLQJZLWKRXWDXWKRUL]DWLRQDQGDFFUXHG
             XQODZIXOSUHVHQFHVWDWXVIRUPRQWKVDQGFRXOGEHEDUUHGIURPHQWHULQJWKH86RQDQ\YLVD
             IRUWKUHH\HDUV
            -WR+$-GHSHQGHQWZRUNVRQDQ($'YDOLGIRUPRQWKV7KHKXVEDQGDSSOLHVIRU
             FKDQJHRIVWDWXVWR+%±DQG86&,6SURFHVVLQJWLPHVD\VPRQWKV±VRWKH-FRQWLQXHVWR
             ZRUNRQWKH($'IRURQO\VHYHQPRQWKVMXVWWREHVDIH:KHQKRPHRQYDFDWLRQWZR\HDUV
             ODWHUWKH + IRUPHU-  LVWROG WKDW KHU KXVEDQG¶V +% DSSOLFDWLRQ ZDVDSSURYHG PXFK
             HDUOLHU±DQGWKH-ZRUNHGZLWKRXWDXWKRUL]DWLRQIRUVHYHUDOPRQWKVEHFDXVHWKH6(9,6UHFRUG
             ZDVWHUPLQDWHGZLWKWKH&KDQJHRI6WDWXV±HYHQWKRXJKVKHKDGDYDOLG($'+HUXQODZIXO
             SUHVHQFHKDVEHHQWROOLQJIRURYHUD\HDUDQGVKHFRXOGEHEDUUHGIURPHQWHULQJWKH86IRUWHQ
             \HDUV

,WLVDOVRXQFOHDUKRZWKHPHPRUDQGXPZLOODFFRXQWIRU³GDWDIL[HV´WKURXJKWKH6WXGHQWDQG([FKDQJH
9LVLWRU,QIRUPDWLRQ6\VWHP 6(9,6 +HOS'HVN6LQFHWKHLQFHSWLRQRI6(9,66WXGHQWDQG([FKDQJH
6(93 JXLGDQFH KDV GLUHFWHG 'HVLJQDWHG 6FKRRO 2IILFLDOV '62  UHJLVWHUHG LQ 6(9,6 WR FRUUHFW PLQRU
LQIUDFWLRQVWKURXJKDQDFWLRQFDOOHGDGDWDIL[7KHVHHYHQWVDUHQRWXQFRPPRQ:LWKPRVWFDVHVWKH6(9,6
+HOS'HVNPDNHVWKHVWXGHQWV)UHFRUGDFWLYHDQGYDOLGQXQFSURWXQFLQFDVHVVXFKDVWKHIROORZLQJ

           0LVWDNHQ UHFRUG FRPSOHWLRQ  7KH '62 PLVWDNHQO\ FRPSOHWHV D UHFRUG ZKLFK PHDQV WKH
            VWXGHQWKDVUHPDLQHGLQWKH8QLWHG6WDWHVEH\RQGWKHHQGGDWHRIWKHSURJUDPDQGPD\KDYH
            EHHQZRUNLQJRQFDPSXVZLWKRXW)VWDWXV
           /DFN RI H[WHQVLRQ  7KH '62 PLVWDNHQO\ IRUJHWV WR H[WHQG D UHFRUG ZLWK WKH VDPH
            FRQVHTXHQFHVOLVWHGDERYH
           3UHPDWXUH WUDQVIHU GDWH  7KH '62 PLVWDNHQO\ HQWHUV DQ LQFRUUHFW SUHPDWXUH ) VFKRRO
            WUDQVIHUUHOHDVHGDWHGXULQJDSHULRGRI2377KHVWXGHQWLVXQDZDUHWKDWWKH237SHUPLVVLRQ
            KDVEHHQUHPRYHGE\WKLVDFWLRQDQGZRUNVZLWKRXWDXWKRUL]DWLRQ





                                                                                                               3




                                                                                                     GC CAR 000756
    Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 200 of 203
$GGLWLRQDOO\ZKLOHZHWKDQN86&,6IRUDFFRXQWLQJIRUDQGQRWSHQDOL]LQJ)VWXGHQWVZKRDUHSURSHUO\
UHLQVWDWHGSXUVXDQWWR&)5 I  WKHPHPRGRHVQRWDSSHDUWRDFFRXQWIRU-UHLQVWDWHPHQWV
'26 RXWOLQHV SURFHGXUHV IRU D UHVSRQVLEOH RIILFHU RU DOWHUQDWH UHVSRQVLEOH RIILFHU WR FRUUHFW PLQRU RU
WHFKQLFDOLQIUDFWLRQV DV ZHOODV D SURFHVV IRU '26 WR DSSURYH UHLQVWDWHPHQWVIRU LQGLYLGXDOV ZKR KDYH
VXEVWDQWLYHLQIUDFWLRQVDVVSHFLILHGLQ&)53DUW:HUHFRPPHQGWKDW86&,6DOVRDFFRXQWIRU-
UHLQVWDWHPHQWVDQGHQVXUHWKDW([FKDQJH9LVLWRUVZLOOQRWEHQHJDWLYHO\LPSDFWHGLIWKH\DUHSURSHUO\
UHLQVWDWHGYLDWKHSURFHGXUHVHVWDEOLVKHGLQ&)53DUW

     IV.       The New Unlawful Presence Policy Inhibits the Ability of U.S. Employers to Compete
              and Innovate

:LWKUHJDUGWRLQQRYDWLRQDQGFRPSHWLWLYHQHVVRXUSULQFLSOHVFDOOIRUDQLPPLJUDWLRQV\VWHPWKDWSURYLGHV
VROXWLRQVWKDWLQFUHDVHV\VWHPHIIHFWLYHQHVVDQGSUHGLFWDELOLW\ZKLOHFUHDWLQJDQGERRVWLQJ86HFRQRPLF
JURZWKDQGLQQRYDWLRQ7KHQHZSROLF\IDLOVRQERWKDFFRXQWV

5DWKHUWKDQDQLQQRYDWLYHVROXWLRQWKDWLQFUHDVHVHIIHFWLYHQHVVDQGSUHGLFWDELOLW\WKHSROLF\ZRXOGGHFUHDVH
WKHSUDFWLFDOLW\DFKLHYHGLQWKHRULJLQDO3DXO9LUWXHPHPRUDQGXPDQGYDVWO\UHGXFHWKHSUHGLFWDELOLW\LQ
WKHFXUUHQWV\VWHP:KHQVWXGHQWVDQGH[FKDQJHYLVLWRUVLQDOORIWKHVFHQDULRVDERYHFDQEHFKDUJHGZLWK
XQODZIXOSUHVHQFHIRU\HDUVZLWKRXWDQ\QRWLFHRUGXHSURFHVVHPSOR\HUVZLOOODFNWKHSUHGLFWDELOLW\WKH\
QHHGWRPHHWGHDGOLQHVDQGFRPSOHWHSURMHFWVLQZKLFKVWXGHQWVRQ237DUHSDUWLFLSDWLQJDQGRUJDQL]DWLRQV
DUHDWULVNRIEHLQJXQDEOHWRDPRQJRWKHUDFWLYLWLHVKRVWLQWHUQVDQGWUDLQHHV

)XUWKHUPRUHWKHSROLF\PDNHV86HPSOR\HUVOHVVFRPSHWLWLYHRQWKHZRUOGVWDJHDVLWFRXOGFDXVHWDOHQWHG
IRUHLJQVWXGHQWVZKRKDYHFRPPLWWHGQRPDMRULPPLJUDWLRQYLRODWLRQVWREHFRPHLQDGPLVVLEOHIRUDSHULRG
RIRU\HDUV$GGLWLRQDOO\LWFRXOGFDXVHRWKHUWDOHQWHGIRUHLJQVWXGHQWVWRIRUJRDQHGXFDWLRQLQWKH
8QLWHG6WDWHVLQWKHILUVWSODFHVHHLQJWKHLPPLJUDWLRQV\VWHPDVXQSUHGLFWDEOHDQGULGGOHGZLWKXQIDLU
SLWIDOOV

&)*, DQG 6+50 WKDQN 86&,6 IRU FRQWLQXHG RSSRUWXQLWLHV WR FRPPHQW RQ LVVXHV RI VXFK FULWLFDO
LPSRUWDQFHWR86HPSOR\HUV:HUHTXHVWWKLVPHPRUDQGXPWREHSXOOHGIRUWKHUHDVRQVVWDWHGDERYH,I
WKLVSROLF\LVSXUVXHGIXUWKHUZHUHVSHFWIXOO\UHTXHVWWKDWLWEHGRQHWKURXJK$3$QRWLFHDQGFRPPHQW
UXOHPDNLQJ:HORRNIRUZDUGWRZRUNLQJZLWK\RX

6LQFHUHO\      



                                                                                       

/\QQ6KRWZHOO                                    0LNH$LWNHQ
([HFXWLYH'LUHFWRU                              6HQLRU9LFH3UHVLGHQW*RYHUQPHQW$IIDLUV
&RXQFLOIRU*OREDO,PPLJUDWLRQ                            6RFLHW\IRU+XPDQ5HVRXUFH0DQDJHPHQW
      




                                                                                                                  4




                                                                                                        GC CAR 000757
   Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 201 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 202 of 203
Case 1:18-cv-00891-LCB-JEP Document 57-2 Filed 07/03/19 Page 203 of 203
